               Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 1 of 196


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                                             DISTRICT OF ARIZONA       NOV 1 6 2023
                                                                   oue us OtSTFIICT COURT
                                           EXHIBIT LIST --- CRIMI AL s Ater OF An1zoNA
                                                                                    mv                      QEPUlY
       D Motion to Suppress                              D Non-Jury Trial                        IZl Jury Trial
USA vs. Lacey, Michael, et al.                                                       CR-18-004 22-PHX-DJH
           Last, First, Middle Initial                                                    Year-Case No-Deft No-Judge



                        1ZJ GOVERNMENT                                      □ DEFENDANT

                                                                                                                '
                            Date
             Marked             Admitted                                       Description
Exhibit       For                  In
 No.        Evidence            Evidence
1.                                                 Email from Lacey to Becker, 07/29/2016
                                                   DOJ-BP-0004688931- DOJ-BP-0004741536 (email begins at DOJ-
                                q h-i. '2,,        BP-0004688935)
2.                                                 PowerPoint Presentation, August 2014
                                                   DOJ-BP-0000111177-DOJ-BP-0000111201
                  .   ,11
3.                                                 PowerPoint Presentation, July 2011
                                                   DOJ-BP-0000053245- DOJ-BP-0000053303
                       ,.
4.                                                 PowerPoint Presentation, August 2014
                                                   DOJ-BP-0000111203- DOJ-BP-0000111227
5.                                                 PowerPoint Presentation, January 2006
                                l" /10 li?J        DOJ-BP-0004602110
6.                                                 Email from Larkin to Lacey et al., 09/02/2010
                                                   DOJ-BP-000000323 l
6-a.                                               Attachment. Adult Content Statement Draft
                                                   DOJ-BP-0002118595
7.                                                 Document from BDO Consulting to Brunst, 05/13/2015
                                                   DOJ-BP-0004720537- DOJ-BP-0004720574
8.                                                 LOI re Sale of Membership Interest in Dartmoor Holdings,
                                                   12/29/2014
                                '1 IVi/l 2..,      DOJ-BP-0001862566-DOJ-BP-0001862576
9.                                                 Executed Purchase and Sale Agreement re Backpage, April 2015
                                                   DOJ-BP-0004734752- DOJ-BP-0004734879
10.                                                Email from Spear to Hyer and Ferrer (with attachments), 04/10/2007
                                   °I "'~ /-z.1;   DOJ-BP-0004602204


                                                                 1
           Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 2 of 196


                 Date
           Marked     Admitted                                     Description
Exhibit     For          In
  No.     Evidence    Evidence
lU-a.                                 Attachment. Dallas success m other marl<:ets.
                     '1/,? /z.,,;,,   DOJ-BP-0004602206- DOJ-BP-0004602207
10-b.                                 Attachment. Class Director Steps to Grow BP.
                                      DOJ-BP-0004602208- DOJ-BP-0004602209
10-c.                                 Attachment. Backpage agenda.
                                      DOJ-BP-0004602205
10-d.                                 Attachment. PersonalslmplemenationPlan.
                                      DOJ-BP-0004602210- DOJ-BP-0004602211
11.                                   Email from Hyer to Ferrer (with attachments), 06/04/2007
                     l c/ \ <ii/-Z?   DOJ-BP-0001391283
11-a.                                 Attachment. Aggregating/Uploading Content.
                             ~        DOJ-BP-0001391284
12.                                   Email from Ferrer to Ferrer (with attached agenda), 06/12/2007
                                      DOJ-BP-0004602225
12-a.                                 Attachment. Meeting Agenda
                                      DOJ-BP-0004602226
12-b.                                 Attachment. Agenda Transmittal, 06/12/2007
                                      DOJ-BP-000460224
13.                                   Email from Hyer re Backpage' s aggregation efforts, 07/18/2007
                                      DOJ-BP-0004602519
14.                                   Agenda, 07/20/2007
                                      DOJ-BP-000460222 7- DOJ-BP-0004602262
15.                                   Email from Spear to Larkin and Ferrer (with attached agenda),
                                      08/20/2007
                                      DOJ-BP-0004428646
15-a.                                 Attachment. Attached Agenda: Dallas Aggregation Update.
                                      DOJ-BP-0004428647
16.                                   Email from Ferrer to Larkin, Spear, and Brunst (with attachments),
                                      12/18/2007
                                      DOJ-BP-0000194280
16-a.                                 Attachment. Create additional Dallas adult revenue models
                                      DOJ-BP-0000194281-DOJ-BP-0000194289
16-b.                                 Attachment. Develop a paid job posting solution for NY
                                      DOJ-BP-0000194290
17.                                   Email from Larkin to Ferrer, 11/22/2008
                                      DOJ-BP-0004602604- DOJ-BP-0004602605
18.                                   Email from Ferrer to Spear, 10/25/2013
                                      DOJ-BP-0002721421- DOJ-BP-0002721422
19.                                   Email from Ferrer to Spear, 07/02/2007
                     q/,?J/1,.'J      DOJ-BP-0002134224

                                                     2
           Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 3 of 196


                 Date
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Exhibit     For         In
 No.      Evidence   Evidence
:w.                                  tma11 trom Hyer to ~pear and .Ferrer, U // l 6/l.UU I
                     ei/i" /~        DOJ-BP-0004602609- DOJ-BP-0004602611
21.                                  Agenda, 08/20/2007
                                     DOJ-BP-0004602263- DOJ-BP-0004602292
22.                                  Email from Ferrer to Larkin et al. (with attachments), 12/18/2007
                                     DOJ-BP-0000194280
22-a.                                Attachment. Document titled "Backpage strategic plan"
                                     DOJ-BP-0000194281-DOJ-BP-0000 194289
23.                                  2008 Budget and Business Plan for Backpage.com, 12/20/2007
                     9 "'" fa,"'     DOJ-BP-0004602308- DOJ-BP-0004602331
24.                                  Email from Ferrer, "How we are going to get there", 12/15/2008
                                     DOJ-BP-0002134399
24-a.                                Attachment. Document discussing BP's Budget
                          ' ii'      DOJ-BP-0002134400-DOJ-BP-0002134402
25.

26.

26-a.

27.                                  Emails between Hyer and Ferrer, 05/07/2009
                     iC /tq f1.."J   DOJ-BP-000213 2562- DOJ-BP-00021325 68
28.                                  Email from Larkin to Spear and Ferrer, 05/11/2009
                     9 /,)) J1.1i    DOJ-BP-0004602 73 5- DOJ-BP-0004602 736
29.                                  Emails between Hyer and Ferrer, June 2009
                                     DOJ-BP-0002132332- DOJ-BP-0002132336
30.                                  Agenda "Minimize restrictions ... Allow more skin and longer ads"
                                     11/01/2011, DOJ-BP-0004602745
31.                                  Email from Larkin to Spear, Brunst, and Ferrer, 07/27/2012
                     9 /2.0/~        DOJ-BP-0004602 746
32.                                  Email from Ferrer to Larkin, Spear, and Brunst, 12/19/2012
                                     DOJ-BP-0002724531
32-a.                                Attachment. Spreadsheet named Google Analytics Page Views
                                     DOJ-BP-0002724532
32-b.                                Attachment. Section Page Views Metric-December 2011 and 2012,
                                     DOJ-BP-0002 72453 3
33.                                  Email attaching Backpage meeting agenda and Google analytics
                                     reports, 03/04/2014
                                     DOJ-BP-0004602748 -DOJ-BP-0004602752
33-a.                                Attachment Backpage meeting agenda, 03/04/2014
                                     DOJ-BP-0002712368- DOJ-BP-0002712369
                                                     3
          Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 4 of 196


                 Date
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Exhibit     For           In
 No.      Evidence   Evidence
:.n-b.                              Attacnment. Monthly Uoogle Analytics Keport
                                    DOJ-BP-0002712370-DOJ-BP-0002712373
34.                                 Emails to and from Padilla re Dollar Bill, 03/05/2010
                     q /,'.:),~     DOJ-BP-0004602785
35.                                 Email from Padilla to Backpage's programmers, 03/18/2010
                         ~          DOJ-BP-0004602 786- DOJ-BP-0004602 78 7
36.                                 Email from Dollar Bill to Fe1Ter, 04/15/2010
                                    DOJ-BP-0004602788
37.                                 Email from Fe1Ter to Spear, "Q from PC Mag", 04/29/2010
                                    DOJ-BP-0000191374
38.                                 Emails between Fe1Ter and Spear, 04/30/2010
                                    DOJ-BP-00001913 71- DOJ-BP-00001913 72
39.                                 Emails from Dollar Bill and F e1Ter, 10/24/2010
                                    DOJ-BP-0004602789
39-a.                               Emails from Dollar Bill and Fe1Ter, 10/25/2010
                     C\/1 ➔ 1~      DOJ-BP-0004602 790
40.                                 Email from Hyer to Spear and Ferrer, 12/29/2010
                     10/LoJz..~     DOJ-BP-0004602 791- DOJ-BP-0004602 792
41.                                 Email from Dollar Bill to Fe1Ter, 02/26/2011
                                    DOJ-BP-0004602 793
42.                                 Email from Dollar Bill to Fe1Ter, 12/21/2011
                     o,J ,ci l2-?   DOJ-BP-0004602 794
42-a.                               Attachment, Photo: ebonyprincess-4.jpg
                          i         DOJ-BP-0000195358
43.                                 Email from Ferrer to Staff, 04/03/2008
                                    DOJ-BP-0000192 778- DOJ-BP-0000192 779
44.                                 Email to Ferrer, 02/26/2009
                                    DOJ-BP-0002125342- DOJ-BP-0002125343
45.                                 Email from Hyer to Ferrer, 05/21/2009
                                    DOJ-BP-0002132455- DOJ-BP-0002132456
46.                                 Email from Ferrer to Spear, 05/25/2009
                                    DOJ-BP-0004601947- DOJ-BP-0004601948
47.                                 Email exchange between The Erotic Review, Hyer, and Ferrer,
                                    06/24/2009
                                    DOJ-BP-0001390758- DOJ-BP-0001390761
48.                                 Email from Hyer to Spear and Ferrer, 07/02/2010
                                    DOJ-0000000927- DOJ-0000000928
49.                                 Email from Padilla to Hyer and Ferrer, 09/01/2010
                     <:1/14 /2.~    DOJ-BP-0000005736


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           Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 5 of 196


                 Date
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Exhibit     For            In
 No.      Evidence   Evidence
)0.                                    .bmail trom ten-er to ~peai-, OY/01/20 lU
                                       DOJ-BP-0000003315- DOJ-BP-0000003317
51.                                    Email from Fen-er to Hyer, Spear, and Padilla (with attachments),
                                       09/05/2010
                     °' f.2.'1 Ii'>)   DOJ-BP-0000005681
51-a.
                          ~            Attachment. Document listing banned terms.
                                       DOJ-BP-0000005682-DOJ-BP-0000005 683
52.                                    Attorneys General Letter to Backpage, 09/21/2010
                     c,/,t/2.~         DOJ-BP-0000006947- DOJ-BP-0000006949
53.                                    Emails between Fen-er and Mohan, 09/22/2010-10/16/2010
                                       DOJ-BP-000000 5334- DOJ-BP-000000 5340
54.                                    Email from Fen-er to DesertNet, 09/25/2010
                                       DOJ-BP-0002112895- DOJ-BP-0002112901
55.                                    Emails between Fe1Ter, Hyer, and Padilla, 10/4/2010
                                       DOJ-BP-0000005464- DOJ-BP-0000005469
56.                                    Emails from Padilla to Vaught and Moderators, 10/08/2010
                     9)1'4 /VJ         DOJ-BP-0000113676- DOJ-BP-0000113677
57.                       '~
                                       Emails between Padilla and Mohan, 10/11/2010
                                       DOJ-BP-0000005372 -DOJ-BP-0000005373
58.                                    Email from Padilla to Hyer, Vaught, and Moderators (with
                                       attachments), 10/16/2010
                                       DOJ-BP-0000012943
58-a.                     fih,.
                                       Attachment. PowerPoint depicting a series of 38 with approval
                                       instructions
                                       DOJ-BP-0000012944-DOJ-BP-00000 12981
58-b.                                  Attachment. Spreadsheet with list of terms
                                       DOJ-BP-0000012982
58-c.                                  PDF of Exhibit 58-b; Attachment. Spreadsheet with list of terms
                        ~ /11 '21      DOJ-BP-0000012982
59.                                    Email from Padilla to Hyer, Vaught, and Moderators, 10/16/2010
                     c,/1.-yh,,        DOJ-BP-0000005332
60.                                    Email from Fen-er to Padilla, 10/21/2010
                                       DOJ-BP-0000005232
61.                                    Emails between Fe1Ter, Hyer, Spear, and Padilla, 10/25/2010
                     q fl5;s I1.."J    DOJ-BP-0000005068- DOJ-BP-0000005069
62.                                    Email from Fen-er to Hyer and Padilla, 10/26/2010
                     \o I ,o 17-')     DOJ-BP-0000005012- DOJ-BP-0000005013
63.                                    Emails between Mohan and Ferrer, 10/27/2010
                                       DOJ-BP-0000002823 - DOJ-BP-0000002824


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          Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 6 of 196


                 Date
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Exhibit     For           In
 No.      Evidence   Evidence
64.                                 bmails between Mohan and .Padilla, l U/'2//20 l U
                                    DOJ-BP-0000002830- DOJ-BP-0000002831
65.                                 Email from Padilla to Mohan, 10/27/2010
                     q/1'-t/'-'~    DOJ-BP-0000005003
66.                                 Email from Mohan to Padilla and Ferrer (with attachment),
                                    10/27/2010
                                    DOJ-BP-0000005005
66-a.                               Attachment. Document with te1ms to edit or fail.
                                    DOJ-BP-0000005006- DOJ-BP-0000005008
67.                                 Emails between Padilla and Mohan, 10/29/2010
                                    DOJ-BP-0000004993
68.                                 Emails between Hyer, Padilla, and Ferrer, 11/02/2010
                                    DOJ-BP-0000004983- DOJ-BP-0000004984
69.                                 Emails between Ferrer and Mohan, 11/03/2010
                                    DOJ-BP-0001096349
70.                                 Email from Ferrer to Padilla and India-based Moderators, 11/04/2010
                                    DOJ-BP-0000004950
71.                                 Email from Mohan to Ferrer, 11/08/2010
                                    DOJ-BP-0000004925- DOJ-BP-0000004927
72.                                 Emails between Hyer, Ferrer and Padilla, 11/09/2010
                                    DOJ-BP-0000192169- DOJ-BP-0000192171
73.                                 Email from Ferrer to Hyer and Padilla, 11/17/2010
                     cl /1c, /z.3   DOJ-BP-000000483 9
74.                                 Emails from Padilla to Mohan, Vaught, and Moderators, 11/18/2010
                     10/10 t2~      DOJ-BP-0001096641
74-a.                               Email from Mohan to Padilla, 11/18/2010
                                    DOJ-BP-0001095945
75.                                 Emails between Mohan, Padilla, and Ferrer, 11/22/2010
                                    DOJ-BP-0000004809- DOJ-BP-0000004810
76.                                 Ernie Allen's Notes to File re Telephone Call, 11/30/2010
                                    DOJ-BP-0004601662- DOJ-BP-0004601664
77.                                 Email from Allen to NCMEC Staff, 12/01/2010
                                    DOJ-BP-0004740863- DOJ-BP-0004741563 (email begins at DOJ-
                                    BP-0004741078)
78.                                 Emails between Allen and Myles, 12/02/2010
                                    DOJ-BP-0004741606- DOJ-BP-0004742211 (email begins atDOJ-
                                    BP-0004741694
79.                                 Emails between Ferrer, Hyer, and Padilla, December 2010
                                    DOJ-BP-0000004604- DOJ-BP-0000004610


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           Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 7 of 196


                 Date
           Marked    Admitted                                     Description
Exhibit     For            In
 No.      Evidence   Evidence
80.                                    bma11 rrom Lyon to :susKm, ll./28/2010
                                       DOJ-BP-0000338230- DOJ-BP-0000338232
81.                                    Email from H. Nigam to Larkin, Lacey, Spear, and Suskin,
                                       12/28/2010
                                       DOJ-BP-00044 26419- DOJ-BP-00044 264 21
82.                                    Email from H. Nigam to Larkin, Lacey, Spear, and Suskin,
                                       12/29/2010
                                       DOJ-BP-0000338230 - DOJ-BP-0000338232
83.                                    Email from Suskin to Lyon, 12/30/2010
                                       DOJ-BP-0000003062
83-a.                                  Attachment. Backpage.com Safety & Security Backgrounder
                                       DOJ-BP-0000003063
84.                                    Letter from McNally to D. Vigilante, 01/28/2011
                                       DOJ-BP-0000006122- DOJ-BP-0000006125
85.                                    Letter from D. Vigilante to McNally, 02/02/2011
                                       DOJ-BP-0000006126- DOJ-BP-000000613 2
85-a                                   Redacted version of Exh 0085
                     9 /2-2/21;        DOJ-BP-0000006126- DOJ-BP-0000006132
86.                                    Letter from McNally to D. Vigilante, 02/04/2011
                                       DOJ-BP-000000613 3- DOJ-BP-000000613 5
87.                                    Emails from McNally and D. Vigilante, 02/06/2011
                                       DOJ-BP-0000201739- DOJ-BP-0000201745
88.                                    Email from Allen to Texas AG Office, 03/01/2011
                                       DOJ-BP-0004740863-DOJ-BP-0004741563 (email begins at DOJ-
                                       BP-0004741080)
89.                                    Email from McNally to Vigilante (with attachments), 05/04/2011
                                       DOJ-BP-0000006571
89-a.                                  Attachment. McNally Letter to Vigilante, 5/3/11
                                       DOJ-BP-0000006574- DOJ-BP-0000006585
89-b.                                  Attachment. Safety and Security Backgrounder
                                       DOJ-BP-00000065 86-DOJ-BP-00000065 87
90.                                    Email from Fen-er to Hyer and Padilla, 01/13/2011
                     lo /1c,, l2.f>J   DOJ-BP-0000004683- DOJ-BP-0000004684
91.                                    Email from Mohan to Padilla, Ferrer, 01/14/2011
                                       DOJ-BP-0000004672- DOJ-BP-0000004673
92.                                    Emails between Ferrer and DesertNet, 01/31/2011
                                       DOJ-BP-0000338027- DOJ-BP-0000338031
93.                                    Email from "licksalot" to Fen-er (with attachment), 02/03/2011
                        lo /iq h.-?\   DOJ-BP-0000012789- DOJ-BP-0000012791


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          Case 2:18-cr-00422-DJH Document 1993 Filed 11/16/23 Page 8 of 196


                 Date
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Exhibit     For            In
  No.     Evidence   Evidence
93-a.                                    Attachment. "hcl<:salot ad..
                     \c/ V-\ \-z..:1,i   DOJ-BP-0000012 792
94.                                      Email from Padilla to Mohan, Vaught, and India-based Moderators,
                                         02/16/2011
                                         DOJ-BP-0000004590- DOJ-BP-0000004591
95.                                      Email from Padilla to Fe1Ter, 02/16/2011
                                         DOJ-BP-0002129849- DOJ-BP-0002129850
96.                                      Emails between Mohan, Padilla, and Vaught, 02/18/2011
                                         DOJ-BP-0001095719- DOJ-BP-0001095720
97.                                      Email from Fe1Ter to Padilla (with attachment), 02/23/2011
                                         DOJ-BP-0000195787
97-a.                                    Attachment. Spreadsheet with words/phrases
                                         DOJ-BP-0000195788
98.                                      Email to Fe1Ter and Padilla, 02/23/2011
                                         DOJ-BP-0004601056-DOJ-BP-0004601058
99.                                      Email from Allen to Harold and Karitya Anderson, 03/01/2011
                                         DOJ-BP-0004 741098
100.                                     Email from Myles to Allen, 03/01/2011
                                         DOJ-BP-0004741515 - DOJ-BP-0004741520
101.                                     Agenda, 03/09/2011
                                         DOJ-BP-0004602450- DOJ-BP-000460245 3
102.                                     Email from Mohan to Padilla and Fe1Ter, 03/12/2011
                                         DOJ-BP-00000045 54- DOJ-BP-00000045 56
103.                                     Email from Padilla to Vaught, Mohan, and Moderators (with
                                         attachment), 04/05/2011
                     °i/1oi/p,           DOJ-BP-000000618 7
103-a.                    J.,            Attachment. 30 photos displayed.
                                         DOJ-BP-000000618 8-DOJ-BP-000000619 5
103-b.                                   Email from Padilla to moderators, "relaxed image standards",
                                         04/04/2011,
                                         DOJ-BP-0001096502
104.                                     Email from Hooper to Larkin, Spear, Fe1Ter (with attachment),
                                         04/27/2011
                     ci /19/2:1          DOJ-BP-0004426336
104-a.                                   Attachment. Document outlining action items.
                          ~
                                         DOJ-BP-0004426337- DOJ-BP-0004426339
105.                                     Emails between Padilla and Fe1Ter, April-May 2011
                                         DOJ-BP-0000053369- DOJ-BP-0000053379
106.                                     Emails between Fe1Ter, Larkin, and Spear, 04/19/2011
                                         DOJ-BP-0000196949- DOJ-BP-0000196950

                                                       8
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                 Date
           Marked    Admitted                                     Description
Exhibit     For            In
 No.      Evidence   Evidence
10'/.                                 bma11 trom J. ~hehan to Allen re Ob/OJ/LU 11 and u // 11/2011
                                      Meetings
                                      DOJ-BP-0004740863- DOJ-BP-0004741563 (email begins at DOJ-
                                      BP-0004741188)
108.                                  Email from Law Enforcement to Fen-er, 06/07/2011
                                      DOJ-BP-0004602103- DOJ-BP-0004602105
109.                                  Emails between Hyer and Sean Kim, 06/08/2011
                     i~/vil~          DOJ-BP-0000004441- DOJ-BP-000000445 0
110.                                  Emails between Mohan and Vaught, 06/14/2011
                                      DOJ-BP-000019983 8- DOJ-BP-0000199840
111.                                  Declaration of Paula Selis W.D. WA., 06/27/2012
                                      DOJ-BP-0004867 554- DOJ-BP-000486 7556
112.                                  Email from Ferrer to Hyer and Padilla re Age Verification Software,
                                      07/27/2011
                                      DOJ-BP-0002114997- DOJ-BP-0002114998
112-a.                                Email from Ferrer to Lacey and Larkin re Age Verification Software,
                                      07/27/2011
                                      DOJ-BP-0002118596- DOJ-BP-0002118597
112-b.                                Email from Peffer to Spear re Age Verification Software, 07/27/2011
                                      DOJ-BP-0002114290- DOJ-BP-0002114292
112-c.                                Email from Padilla to Ferrer re Age Verification Software,
                                      07/27/2011
                                      DOJ-BP-0002114995- DOJ-BP-0002114996
113.                                  Email from Lacey to Larkin (with attachment), 07/28/2011
                     t:t/,~ 12.'3     DOJ-BP-0000003078
113-a.                                Attachment. Document titled "Backpage understood."
                           i          DOJ-BP-0000003 079-DOJ-BP-0000003087
114.                                  Email from Larkin to Fe1Ter, 07/28/2011
                                      DOJ-BP-0000003077
114-a.                                Email from Larkin to F etTer, "please review this asap. We are
                                      considering running in Seattle Weekly", 07/28/2011, USAO-BP-
                                      0002467
115.                                  Email from Ferrer to Lacey and Larkin (with attachment), 07/28/2011
                     q' lCi, I1-:1,   DOJ-BP-0000003067
115-a.                                Attachment. Final "Backpage understood" document
                                      DOJ-BP-0000003068-DOJ-BP-0000003076
115-b.                                Attachment. "Backpage understood_earl_comments" document
                                      (displays comments/changes)
                     q   /,q /?.-?J   DOJ-BP-0004601367 -DOJ-BP-0004601376
115-c.                                Attachment. Final "Backpage understood" document

                                                    9
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                 Date
           Marked    Admitted                                  Description
Exhibit     For            In
 No.      Evidence   Evidence
                                  LNat1ve Yers10n ot .bxh. l D-aj

116.                              Letter from Seattle Mayor to Ferrer, 08/05/2011
                                  DOJ-BP-0003 796563-DOJ-BP-0003 796564
117.                              Email from Mohan to Padilla and Vaught (with attachment),
                                  08/11/2011
                                  DOJ-BP-0000001297
117-a.                            Attachment with pictures requesting clarification.
                                  DOJ-BP-0000001298-DOJ-BP-0000001300
118.                              Email from Mohan to Padilla re Update to Moderation Guidelines
                                  (with attachment), 08/15/2011
                                  DOJ-BP-0000001277
118-a.                            Attachment. Six page document containing instructions on photos
                                  DOJ-BP-0002108479 -DOJ-BP-0002108484
119.                              Letter from NAAG to Backpage, 08/31/2011
                     c:i},9 }nJ   DOJ-BP-0000003 653-DOJ-BP-000000365 9
120.                              Backpage PowerPoint, September 2011
                                  DOJ-BP-0000195807-DOJ-BP-0000195849
120-a.                  ... '     Email to Fe11'er, Transmittal- Backpage Lender Pres v6
                                  DOJ-BP-0000195806
120-b.

120-c.                            Redacted version of Exh 120, Selected slides
                                  DOJ-BP-0000195807,
                                  DOJ-BP-0000195811,
                                  DOJ-BP-0000195813,
                                  DOJ-BP-0000195816,
                                  DOJ-BP-0000195818,
                                  DOJ-BP-0000195821,
                                  DOJ-BP-0000195823 - DOJ-BP-0000195824,
                                  DOJ-BP-0000195828
121.                              Email from S. Shehan to Allen, 09/09/2011
                                  DOJ-BP-0004740863-DOJ-BP-0004741563 (email begins atDOJ-
                                  BP-0004741184)
122.                              Email from Mohan to Padilla, 09/09/2012
                                  DOJ-BP-0000314220- DOJ-BP-0000314221
123.                              Emails between Padilla and Mohan, 09/19/2011
                                  DOJ-BP-0000200771- DOJ-BP-0000200772
124.                              Email from Leggat to Fe11'er (with PowerPoint attachment),
                                  10/12/2011
                                  DOJ-BP-00021264 36
                                                10
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124-a.                              Attachment. .Power.Pomt presentat10n entitled V VM HP.com
                                    DOJ-BP-000212643 7
125.                                Email from Ferrer to Leggat, "Fwd: Ads", 10/06/2011
                                    DOJ-BP-0004601159
125-a.                              Attachment. Document titled "Screen shots of other sites",
                                    DOJ-BP-0002126194 -DOJ-BP-0002126206
125-b.                              Attachment. Spreadsheet with proposed ad information,
                                    DOJ-BP-0002128311
125-c.                              Email from Larkin, "Re: Ads (DNA UPDATE)", 10/06/2011,
                                    DOJ-BP-00001965 83 - DOJ-BP-00001965 85
126.                                Email from Leggat to Ferrer (with PowerPoint attachment),
                                    10/12/2011
                                    DOJ-BP-0004601168
126-a.                              Attachment. PDF version of PowerPoint presentation titled "Village
                                    Voice Media Backpage.com Advocacy Plan."
                                    DOJ-BP-0004601169- DOJ-BP-0004601198
127.                                Email from S. Shehan to E. Allen, 10/13/2011
                                    DOJ-BP-0004741181 -DOJ-BP-0004741183
128.                                Email from Ferrer to Larkin, 10/21/2011
                                    DOJ-BP-0000208177
129.                                Email from Padilla to Mohan (with attachment), 10/21/2011
                     10/10   (2-~   DOJ-BP-0000010264
129-a.                              Attachment. Ad
                                    DOJ-BP-0000010265
130.                                Email from Ferrer to Hyer, Padilla, 11/16/2011
                                    DOJ-BP-0000001839- DOJ-BP-0000001840
131.                                Letter from Anti-Trafficking Experts to Larkin and VVM Board of
                                    Directors, 12/02/2011
                                    DOJ-BP-0004866580- DOJ-BP-0004866585
132.                                Emails from S. Shehan to E. Allen, 12/14/2011 and 02/22/2012
                                    DOJ-BP-0004741177 - DOJ-BP-0004741181
133.                                Email from CNN to Fifer re Detroit Murders, 12/27/2011
                                    DOJ-BP-00003 37962- DOJ-BP-00003 37963
134.                                Emails between T. Knight, Lacey, Larkin, Ferrer and others,
                                    12/27/2011
                                    DOJ-BP-00044 26262- DOJ-BP-00044 26264
135.                                Email from Suskin to Larkin, Lacey, Ferrer, and others, 12/27/2011
                                    DOJ-BP-00003 3 792 7- DOJ-BP-00003 3 7928
136.                                Email between Backpage principals re Detroit Murders, 12/27/2011
                                    DOJ-BP-0000183 641- DOJ-BP-0000183 644

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U/.                                 lranscnpt ot AC::360 lnterv1ew ot E. McNally
                                    DOJ-BP-00044 26289- DOJ-BP-00044 2629 5
138.                                Emails between Sitrick, Lacey, Larkin, FeITer, and others, 12/30/2011
                                    DOJ-BP-00044 26283- DOJ-BP-00044 2628 7
139.                                Emails between Larkin, Lacey, FeITer, and others, 12/30/2011
                                    DOJ-BP-0004426274- DOJ-BP-0004426278
140.                                Letter from Auburn Seminary to Backpage, 01/05/2012
                                    DOJ-BP-0000052545- DOJ-BP-0000052551
140-a.                              Redacted version of Exh 140
                                    DOJ-BP-0000052545 -DOJ-BP-0000052551
141.                                Moderators' Performance Evaluations, January-March 2012
                                    DOJ-BP-0000036933 (email)
141-a.                              Attachment.
                                    DOJ-BP-0000036934 ( evaluation)
141-b.                              Moderators' Performance Evaluations, January-March 2012
                                    DOJ-BP-0000034508 (email)
141-c.                              Attachment
                                    DOJ-BP-0000034509 (evaluation)
142.                                Email from FeITer to McDougall (with attachment), 03/26/2012
                                    DOJ-BP-0004453 741
142-a.                              Attachment.
                                    DOJ-BP-0004453742-DOJ-BP-0004453744
143.                                Email from FeITer to Hyer, Spear, 02/22/2012
                                    DOJ-BP-0000000874- DOJ-BP-00000008 75
144.                                Legal Notice forwarded to Ferrer re Backpage ads including
                                    copyrighted content, 02/23/2012
                                    DOJ-BP-0000217717- DOJ-BP-0000217719
144-a.                              Attachment. Cease and Desist Letter and Attached Ads
                                    DOJ-BP-0000033210- DOJ-BP-0000033314
145.                                Emails between FeITer and Mohan, 03/02/2012
                                    DOJ-BP-0000053750- DOJ-BP-0000053751
146.                                Emails between Hyer, FeITer, Mohan, Padilla, and Vaught,
                                    03/02/2012
                     q I ,,, l2.~   DOJ-BP-0000000573- DOJ-BP-0000000574
147.                                Emails between Hyer and FeITer, 03/15/2012
                                    DOJ-BP-0000053710- DOJ-BP-0000053713
148.                                Emails between Padilla and Hyer, 03/15/2012
                                    DOJ-BP-0000000883
149.                                Emails between Padilla and Backpage employee re request to remove
                                    ad, 04/07/2012

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150.                                   Email from Lacey to K. Fen-is re "legalized prostitution," 04/08/2012
                                       DOJ-BP-0004485 960
151.                                   Emails between Mohan and Padilla (with attachment), 04/12/2012
                                       DOJ-BP-0000321736- DOJ-BP-0000321737
151-a.                                 Attachment. Attachment includes graphic sex act titles
                                       DOJ-BP-0000321738
152.                                   Transcript ofNew York City Council Meeting, 04/25/2012
                                       DOJ-BP-0004866376-DOJ-BP-0004866576
152-a.                                 Testimony of Elizabeth McDougall, 04/25/2012,
                                       DOJ-BP-0004553862 -DOJ-BP-0004553871
153.                                   Email from Parent of Trafficking Victim to Backpage Support and
                                       Padilla then Forwarded to Lacey and Larkin, 04/30/2012
                                       DOJ-BP-0000053044-DOJ-BP-0000053046
153-a.                                 Email from Parent of Trafficking Victim to Back.page Support, 5/1/12
                                       DOJ-BP-0000328034-DOJ-BP-000032803 5
154.                                   Email from Padilla to Vaught and Staff (with attachment), 05/11/2012
                     ct I ,ci 12-:?    DOJ-BP-0000025603
154-a.                                 Attachment. Spreadsheet identifying over 600 code words/phrases
                           i           DOJ-BP-0000025 604
154-b.                                 PDF of Exhibit 154-a; Attachment. Spreadsheet identifying over 600
                                       code words/phrases DOJ-BP-0000025604
155.                                   Email to Spear re Updated Revenue Report, May 2012
                                       DOJ-BP-0004814357
155-a.                                 Attachment. Spreadsheet with revenue reports
                                       DOJ-BP-0004814358
156.                                   Mohan email to Vaught, 07/03/2012
                        °'lU? l?--'1   DOJ-BP-0000029933
157.                                   Email from Mohan to Padilla, Vaught (with attachment), 07/09/2012
                                       DOJ-BP-0000000441
157-a.                      ..,        Attachment. Spreadsheet with list of code words
                                       DOJ-BP-0000000442
157-b.                                 PDF of Exhibit 157-a; Attachment. Spreadsheet with list of code
                                       words DOJ-BP-0000000442
158.                                   Email between Padilla, Vaught and Mohan, 07/12/2012
                                       DOJ-BP-000000023 5-DOJ-BP-000000023 7
159.                                   Emails between McDougall and Vendor re Software to screen for
                                       minors, June 2012-August 2012
                                       DOJ-BP-00044 26720-DOJ-BP-00044 26 723

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lbU.                                Press Kelease, Anzona :state Umvers1ty re Koe-:sepow1tz Study on
                                    Backpage and Human Trafficking, 11/29/2012
                                    DOJ-BP-0004601482-DOJ-BP-0004601483
161.                                Email from Solar to Lacey, 12/19/2012
                                    DOJ-BP-0004601479-DOJ-BP-0004601481
162.                                Emails between P.R. and FetTer, 10/06/2010
                     '1 fi4 I23     DOJ-BP-0002130717-DOJ-BP-0002130721
162-a.                              Attachment. Picture named Pams Body
                                    DOJ-BP-000213 0722
163.                                Emails between P.R. and Ferrer, 11/15/2010
                                    DOJ-BP-0004601120- DOJ-BP-0004601122
164.
                          t         Emails between P.R. and Ferrer, 06/06/2011
                                    DOJ-BP-0000327966- DOJ-BP-0000327968
164-a.                              Attachment. Seattle Times Article "Mayors move to curb escort ads"
                                    DOJ-BP-0002130722
165.                                Emails between P.R. and Ferrer, 07/14/2012
                     q /1y/l?       DOJ-BP-0000327964- DOJ-BP-0000327965
166.                                Emails between Backpage employee and Mohan, 09/12/2012
                                    DOJ-BP-0000000178- DOJ-BP-0000000182
167.                                Emails between Mohan and Padilla, 09/12/2012
                                    DOJ-BP-0000000832
168.                                Emails between P.R. and Ferrer, 09/17/2012
                     ci./it-f h,    DOJ-BP-000008 9030
169.                                Email re P.R. to Padilla, "Re: fyi customer complaint", 10/17/2012
                                    DOJ-BP-000003 7821- DOJ-BP-000003 7822
169-a.                              Email from Padilla, "fyi customer support request", 10/17/2012
                                    DOJ-BP-0000033565 -DOJ-BP-0000033566
170.                                Email from Moderator to Vaught, 01/07/2013
                                    DOJ-BP-0000089794
171.                                Letter from NCMEC to Moon, 06/06/2013
                     10/,i)z?y      DOJ-BP-0004601955-DOJ-BP-0004601972
172.                                Emails from BP customers re credit card issues, and Ferrer's
                                    response, 08/27/2013
                                    DOJ-BP-0004601510- DOJ-BP-0004601512
172-a.                              Redacted Exhibit 172

173.                                Email notification from Chase Bank no longer accepting transactions
                                    due to human trafficking to Larkin, Spear, Brunst, Hyer, Ferrer,
                                    08/30/2013
                     c1 /1.p /1.?
                                    DOJ-BP-0002725946

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l /4.                                Uovemor s 'lask .t<orce on Human 1rarr1ckmg Mmutes, u~; 11/2013
                                     DOJ-BP-0004601086- DOJ-BP-0004601099
175.                                 Email from Fe1Ter to Larkin, Spear, Brunst, 11/06/2013
                     C\ I zo /2.:~   DOJ-BP-0002721671- DOJ-BP-0002721673
176.                                 Email from FetTer to Larkin, Spear, Brunst (with attachment),
                                     11/06/2013,
                                     DOJ-BP-0002721674
176-a.                               Attachment. PowerPoint presentation titled "Executive Meeting
                                     Items"
                                     DOJ-BP-0002721675
177.                                 Emails between Brunst, Spear, and others re Website Technologies,
                                     03/10/2014
                     9 '2.o /2:~     DOJ-BP-0002712394- DOJ-BP-0002712395
178.                      J,         Email from Brunst to FetTer, Spear and other attaching letter
                                     DOJ-BP-0002712518
178-a.
                           i         Attachment. Letter from US Bank to Brunst closing account,
                                     04/02/2014
                                     DOJ-BP-0002712519
179.                                 Email from BP employee to Padilla and Vaught, 04/03/2014
                                     DOJ-BP-0004601536-DOJ-BP-000460153 7
180.                                 Emails between Ferrer, Larkin, and Brunst, 04/14/2014
                                     DOJ-BP-00046014 74- DOJ-BP-00046014 78
181.                                 Email from Vaught to Moderators, Padilla, 04/24/2014
                     q /2.0/7,..,,   DOJ-BP-0000131050
181-a.                               Attachment.
                                     Object_Editor_2.8_(andrew@admin.www.backpage.com)
                                     DOJ-BP-0000131051
182.                                 NCMECAmicus Curiae BriefinJ.S. case, 09/04/2014
                                     DOJ-BP-0004455811- DOJ-BP-0004455837
183.                                 Emails between Ferrer, Hyer, and others, 09/17/2014
                                     DOJ-BP-0003741295- DOJ-BP-0003741297
184.                                 Brian Fichtner Affidavit, 08/26/2015
                                     DOJ-BP-000460207 5- DOJ-BP-0004602100
185.                                 Emails between Ferrer, Brunst, and others re Mastercard potentially
                                     stopping payments, 04/01/2015
                                     DOJ-BP-0002710840- DOJ-BP-0002710841
186.                                 Backpage v. Dart, Seventh Circuit, Appendix to Brief, 10/02/2015
                                     DOJ-BP-0004471624- DOJ-BP-0004471880
187.                                 Letter from Sex Workers Outreach Project to Lacey and Larkin,
                                     07/19/2015

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                                         UOJ-1:3.P-0004602847- UOJ-HP-UUU4bUL~D l

188.                                     Emails between Moderators (with attachment), 07/30/2015
                                         DOJ-BP-0001145687
188-a.                                   Attachment. Document titled "trainingJuly2015"
                                         DOJ-BP-0001145688- DOJ-BP-0001145689
188-b.                                   Attachment. Document titled "trainingJuly2015"
                                         DOJ-BP-0001145690- DOJ-BP-0001145691
189.                                     Emails between BP employees and Hyer re alternative payment
                                         methods, 07/23/2015
                                         DOJ-BP-0003 722 721- DOJ-BP-0003 722 724
190.                                     Emails between Ferrer and Payment Processing Company,
                                         07/31/2015
                                         DOJ-BP-0000092322-DOJ-BP-0000092324
191.                                     Declaration of Sergeant Detective Donna M. Gavin, 08/13/2015
                                         DOJ-BP-0004857590- DOJ-BP-0004857592
192.                                     Affidavit of Staca Shehan, 08/14/2015
                                         DOJ-BP-0004455838- DOJ-BP-0004455845
193.                                     Email from BP employee to Padilla, forwarded to Vaught, 10/07/2015
                                         DOJ-BP-0000118931
194.                                     Emails between BP and Customer re Payment Methods, 10/16/2015
                                         DOJ-BP-0000040865- DOJ-BP-0000040869
195.                                     Email from Stefanie at Website Technologies to Fe1Ter, 11/16/2015
                                         DOJ-BP-0003030341
196.                                     Email from Toronto Reporter to BP, 12/09/2015
                                         DOJ-BP-0004601461
197.                                     Email from Payment Processing Company to Fe1Ter re Suspension of
                                         Account, 04/29/2016
                                         DOJ-BP-0004601519- DOJ-BP-00046015 24
198.                                     Email from Moderator to Vaught re no longer removing ads for GFE,
                                         01/28/2016
                         <~ /i.1   /21   DOJ-BP-0000099614
199.
                               i         Email between Moderators re GFE ads, 03/09/2016
                                         DOJ-BP-000009413 5
200.                                     Email from BP employee to Moderator re GFE ads, 03/25/2016
                                         DOJ-BP-000008 9984
201.                                     Email from Fe1Ter to Spear, Hyer, Padilla re GFE ads, 10/26/2010
                         q   /,'-! h-1   DOJ-BP-0000003278
202.                                     Email from Hyer to Padilla and Moderators re GFE ads, 05/04/2011
          ,                              DOJ-BP-00000013 86

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LUj.                                 bmalls between .Pactwa and te1Ter re Ut'l:'- acts, u~/J l/LU 11
                     °' ha. Ii.1     DOJ-BP-0002115387- DOJ-BP-0002115390
204.                                 Email from Moderators to Padilla and Vaught re GFE ads, 11/02/2011
                                     DOJ-BP-0000001194
205.                                 Email from Ferrer re Executive Meeting Review, 11/04/2013
                                     DOJ-0004601973- DOJ-0004601977
206.                                 Email from Ferrer to Larkin, Brunst, Spear (with attachment),
                                     11/06/2013
                                     DOJ-BP-0002721674
206-a.                               Attachment. PowerPoint presentation re BP International Expansion
                                     DOJ-BP-0002721675
207.                                 Email from Hyer to Ferrer, 08/07/2014
                                     DOJ-BP-0004601535
208.                                 Email from BP employee attaching 5-year business plan and
                                     succession plan, 04/10/2015
                                     DOJ-BP-0003396184
208-a.                               Attachment. Document titled "Succession plan"
                                     DOJ-BP-0003 396185
208-b.                               Attachment. Spreadsheet with Back.page Revenue Reports
                                     DOJ-BP-0003396186
208-c.                               Attachment. Document titled "5 year BUSINESS PLAN"
                                     DOJ-BP-0003396187-DOJ-BP-0003396190
209.                                 Email from BP employee to prostitute re free advertising then emails
                                     forwarded to Hyer and Ferrer, 05/15/2015
                                     DOJ-BP-0003361867 - DOJ-BP-0003361868
210.                                 Email from BP employee to Ferrer re process for creating and selling
                                     prostitution ads, 12/14/2015
                                     DOJ-BP-0004601527- DOJ-BP-0004601528
211.                                 Victim #4 - Back.page Ads
                                     DOJ-BP-0004719554- DOJ-BP-0004719682
211-a.                               Victim #4 Transcript of testimony, 01/24/2011"
                                     DOJ-BP-0004683545- DOJ-BP-0004683596
211-b.                               Victim #4 Defense Interview Memo, 12/10/2010
                                     DOJ-BP-0004683597- DOJ-BP-0004683647
211-c.                               Victim #4 Additional Back.page ads
                     ,ofv~/,_:~      USAO-BP-0033004 - USAO-BP-0033019
212.                                 Victim #5 - Back.page Ad, 09/10/2013
                     '1/ '2-0/i-'h   DOJ-BP-0004738635
212-a.                     i         Victim #5 Back.page Ad, page 2
                                     DOJ-BP-0004738634

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213.                                   v 1ct1m #6 - Bacl<.page Acts, June 2012
                                       DOJ-BP-0004719683- DOJ-BP-0004719704
214.                                   Victim #8 - Backpage Ads
                     9 I u,/z?t        DOJ-BP-0004719330- DOJ-BP-0004719341
214-a.
                          t            Victim #8 - Backpage Ads
                                       DOJ-BP-0004719342- DOJ-BP-0004719347
215.                                   Victim #10-Backpage Ads, 01/31/2015
                     q /2-1 / 2.?,     DOJ-BP-0004719379- DOJ-BP-0004719389
215-a.                                 Victim# 10 Backpage Ads 11/23/14,
                                       DOJ-BP-0004719354- DOJ-BP-0004719369
216.                                   Victim #11 -Backpage Ads, 02/04/2015,
                                       DOJ-BP-0004 719401- DOJ-BP-0004719407
216-a.                                 Victim # 11 - Backpage Ads, 02/18/2015
                                       DOJ-BP-0004 719408- DOJ-BP-0004719415
217.                                   Victim # 12 - Backpage Ads, 01/31/2015
                                       DOJ-BP-0004719390- DOJ-BP-0004719400
217-a.                                 Victim #12-Backpage Ads, 01/29/2015
                                       DOJ-BP-0004719370- DOJ-BP-0004719378
218.                       ~k(         Victim #13 -Backpage Ads, 08/13/2015
                                       DOJ-BP-0004719471- DOJ-BP-0004719473
219.                                   Victim # 14 - Backpage Ads, 2015
                                       DOJ-BP-0004719705- DOJ-BP-0004719709
220.                                   Victim #15 -Backpage Ads, 05/18/2015
                     9/2-t/2-,         DOJ-BP-0004719417- DOJ-BP-0004719426
220-a.                                 Victim #15 - Backpage Ads, 05/19/2015
                     q h-1-   I2. ?J   DOJ-BP-0004719427- DOJ-BP-0004719438
220-b.                                 Victim # 15 - Backpage Ads, 05/28/2015
                                       DOJ-BP-0004685225- DOJ-BP-0004685241
221.                                   Victim #16-Backpage Ads, 08/15/2015
                     O\h,.1 ],z'?      DOJ-BP-0004719474-DOJ-BP-0004719481
222.                                   Victim #17 -Backpage Ads, 07/01/2015
                     9/2,2.k~          DOJ-BP-0004719439- DOJ-BP-0004719456
222-a.                                 Victim #17 - Backpage Ads, 07/02/2015
                          ~            DOJ-BP-0004719457- DOJ-BP-0004719470
223.                                   Ad entitled "GFE Service Available! Private Encounters w/
                                       Pampering Beauty," 01/26/2018
                     q /2-'1.-/2,'3    DOJ-BP-0004 719534-DOJ-BP-0004 719537
224.                                   Ad entitled "241 & white plans area Carfun Perfect Treat Available
                          t            No Rush," with "Sweet Sexy GFE" in accompanying text, 01/30/2018
                                       DOJ-BP-0004 719538-DOJ-BP-0004 719540

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LL).                                   Ad ent1t1ee1 .. vl'b RbAL HOl ~weet DRbAM AMAZlNG 1:H:<,c:, l
                                       RELAX," 01/30/2018
                        I
                     ct 2.•.-z../z.3   DOJ-BP-0004719541-DOJ-BP-0004719543
226.                                   Ad entitled "Tall, Slim & Sexy Luxe Goddess * NARCISA * Sensual
                                       Body Rub+ Fetish Sessions," with accompanying text "gfe Hh: $160
                                       H: $220," 01/30/2018
                                       DOJ-BP-0004719544-DOJ-BP-0004719545
227.                                   Ad entitled "Exotic Asian Beauty," with accompanying text "I am an
                                       independent GFE with excellent massage skills," 01/31/2018
                                       DOJ-BP-0004719546-DOJ-BP-0004719547
228.                                   Ad entitled "Nuru (Best GFE ever) incall only," 02/01/2018
                                       DOJ-BP-0004719548
229.                                   Ad entitled "Tuesday with Ashleigh. Available now," with "GFE" in
                                       accompanying text, 02/06/2018
                                       DOJ-BP-0004719549-DOJ-BP-0004 719551
230.                                   Ad entitled "GFE Kisskisspop 100% Real Photo Choice 9Asian girl
                        ',ii
                                       Nurunude," 02/06/2018
                                       DOJ-BP-0004 719552-DOJ-BP-0004719553
231.                                   BP Google alert received by Padilla, "Ex-Leigh County inmate used
                                       heroin to control prostitutes," 10/06/2015
                                       DOJ-BP-00000409 59
232.                                   BP Google alert received by Padilla, "Police: Pimp found holding
                                       baby in Copley hotel room while prostitute had sex with client,"
                                       10/02/2015
                                       DOJ-BP-0000040989
233.                                   BP Google alert received by Padilla, "Providence police arrest 7 in
                                       Operation Backpage Sting," 10/01/2015
                                       DOJ-BP-0000041004- DOJ-BP-0000041005
234.                                   BP Google alert received by Padilla, "Sold for Sex Teens Trafficked
                                       in Indy", 02/06/2016
                                       DOJ-BP-000008 7723- DOJ-BP-000008 7724
235.                                   BP Google alert received by FeITer, "Man arrested after being accused
                                       of disfiguring women before raping her" "Women pleads guilty to
                                       pimping out teen girl in Macon," 12/11/2015
                                       DOJ-BP-0000098 725- DOJ-BP-0000098 726
236.                                   BP Google alert received by FeITer, "FBI sting recovers teen
                                       prostitute in Kitsap" "Minot man arrested for promoting prostitution,"
                                       10/14/2015
                                       DOJ-BP-0000098731
237.                                   BP Google alert received by Padilla, "Man charged with Sex
                                       Trafficking of Children," 11/10/2015
                                                       19
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238.                             BP Google alert received by Padilla, "Oak Park Man to be Tried in
                                 Backpage.com Slaying" and "Pennsylvania Women Pleads guilty to
                                 Child Sex Trafficking," 11/06/2015
                                 DOJ-BP-0000894241
239.                             BP Google alert received by Padilla, "Maine man charged with
                                 Human Trafficking after Advertising on Backpage," 10/03/2015
                                 DOJ-BP-0001347366
240.                             BP Google alert received by Fe1Ter, "3 Men Plead Guilty to Role in
                                 Brutal Prostitution Ring that included 14-year-old girl," 03/29/2016
                                 DOJ-BP-0004126044
241.                             BP Google alert received by FetTer, "Man charged in Back.page.com
                                 Murder," 05/05/2012
                                 DOJ-BP-0002698185
242.                             BP Google alert received by FetTer, "Trial Set for Woman in
                                 Backpage Robbery Case," 05/17/2016,
                                 DOJ-BP-0002727091
243.                             BP Google alert received by Fe1Ter, "Montana Officials Host
                                 Conference on Sex Trafficking" "4 Men Sentenced for Sex
                                 Trafficking of New Jersey Teen Runaway," 05/28/2016
                                 DOJ-BP-0002735596
244.                             BP Google alert received by Fe1Ter, "Trio Ran Prostitution Ring With
                                 Teen Girls," 06/01/2016
                                 DOJ-BP-0002 73 7440
245.                             BP Google alert received by FetTer, "Cleveland Man Accused of
                                 Being Pimp for group of prostitutes, including teen," 06/09/2016
                                 DOJ-BP-0002 740997
246.                             BP Google alert received by Larkin, "Woman Finds Herself in Bogus
                                 Escort Ad," 01/10/2012
                                 DOJ-BP-0004810519
246-a.                           Email from FetTer with ad text and news story, 01/10/2012
                                 DOJ-BP-0004900757- DOJ-BP-0004900758
247.                             BP Google alert received by Spear, "Back.page.com escort ads linked
                                 to Four Detroit Murders," 01/02/2012
                                 DOJ-BP-0004810780
248.                             BP Google alert received by Spear, "Back.page Defends Policies After
                                 Child Prostitution Ring Bust," 02/02/2012
                                 DOJ-BP-0004811555
249.                             BP Google alert received by Spear, "For Sale: Girls and Women on
                                 Backpage.com," 02/14/2012
                                                20
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250.                            BP Google alert received by Spear, "Sex Ads Targeted by Activists
                                Fighting Human Trafficking," 03/10/2012
                                DOJ-BP-0004812552
251.                            BP Google alert received by Spear, "Age 16, she was sold on
                                Backpage.com," 03/18/2012
                                DOJ-BP-0004812646
252.                            BP Google alert received by Spear, "Former Underage Prostitute Sold
                                on Backpage.com," 03/19/2012
                                DOJ-BP-0004812668
252-a.                          Redacted version ofExh 252
                                DOJ-BP-0004812668
253.                            BP Google alert received by Spear, "I 18 and my friend is only 20.
                                We will come clean your house topless for $80/hour," 03/23/2012
                                DOJ-BP-0004812785
254.                            BP Google alert received by Spear, "How to end Sex Trafficking on
                                Backpage," 04/16/2012
                                DOJ-BP-0004813404
255.                            BP Google alert received by Larkin, "City Council Admonishes
                                Village Voice's Backpage.com at Hearing," 04/29/2012
                                DOJ-BP-0004841535
256.                            BP Google alert received by Larkin, "Musicians Call on Back.page to
                                Shut Down Sex Ads," 04/28/2012
                                DOJ-BP-0004841549
257.                            BP Google alert received by Larkin, "Backpage Defends Prostitution
                                Ads on Nightline," 04/25/2012
                                DOJ-BP-0004841636
258.                            BP Google alert received by Larkin, "Police Say Back.page Being
                                Used for Human Trafficking," 05/01/2012
                                DOJ-BP-0004845259
259.                            BP Google alert received by Larkin, "Man Charged in Backpage.com
                                Murders," 05/05/2012
                                DOJ-BP-000485 0908
260.                            Excel Sheet - list of news articles maintained by Backpage - 2010-
                                2016
                                DOJ-BP-0004440233
261.                            Email to Hyer, Padilla, FetTer, Brunst, Spear, attaching page view and
                                revenue repotis, 02/21/2012
                                DOJ-BP- 0004809001

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Exhibit     For         In
  No.     Evidence   Evidence
2.61-a.                         Attachment. Spreadsheet titled Page View Urowth Post CL change
                                through 2-19-12
                                DOJ-BP- 0004809002
261-b.                          Attachment. Spreadsheet titled Revenue by Category 021312-021912
                                DOJ-BP- 0004809003
262.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 05/08/2012
                                DOJ-BP-0004809004
262-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 5-6-12
                                DOJ-BP-0004809005
262-b.                          Attachment. Spreadsheet titled Revenue by Category 043012-050612
                                DOJ-BP-0004809006
263.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, attaching page view and
                                revenue reports, 09/25/2012
                                DOJ-BP-0004809008
263-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 9-23-12
                                DOJ-BP-0004809009
263-b.                          Attachment. Spreadsheet titled Revenue by Category 091712-
                                092312.xls
                                DOJ-BP-0004809010
264.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 05/22/2012
                                DOJ-BP-0004809011
264-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 5-20-12
                                DOJ-BP-0004809012
264-b.                          Attachment. Spreadsheet titled Revenue by Category 051412-052012
                                DOJ-BP-0004809013
265.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue repmis, 06/12/2012
                                DOJ-BP-0004809014
265-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 6-10-12
                                DOJ-BP-0004809015
265-b.                          Attachment. Spreadsheet titled Revenue by Category 060412-061012
                                DOJ-BP-0004809016
266.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 06/26/2012
                                DOJ-BP-0004809017
                                              22
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Exhibit     For         In
  No.     Evidence   Evidence
266-a.                          Attachment. Spreadsheet titled .Page View Growth .Post CL change
                                through 6-24-12
                                DOJ-BP-0004809018
266-b.                          Attachment. Spreadsheet titled Revenue by Category 061812-062412
                                DOJ-BP-0004809019
267.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 07/17/2012
                                DOJ-BP-0004809020
267-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 7-15-12
                                DOJ-BP-0004809021
267-b.                          Attachment. Spreadsheet titled Revenue by Category 070912-071512
                                DOJ-BP-0004809022
268.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 11/13/2012
                                DOJ-BP-0004809023
268-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 11-11-12
                                DOJ-BP-0004809024
268-b.                          Attachment. Spreadsheet titled Revenue by Category 110512-111112
                                DOJ-BP-0004809025
269.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 08/14/2012
                                DOJ-BP-000480902 7
269-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 8-12-12
                                DOJ-BP-0004809028
269-b.                          Attachment. Spreadsheet titled Revenue by Category 080612-081212
                                DOJ-BP-0004809029
270.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, attaching page view and
                                revenue reports, 01/24/2012
                                DOJ-BP-0004809030
270-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 1-22-12
                                DOJ-BP-0004809031
270-b.                          Attachment. Spreadsheet titled Revenue by Category 011612-012212
                                DOJ-BP-0004809032
271.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 06/05/2012
                                DOJ-BP-0004809033

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LI 1-a.                         Attacnment. ~preactsl1eet titled Page View U-rowth Post CL change
                                through 6-3-12
                                DOJ-BP-0004809034
271-b.                          Attachment. Spreadsheet titled Revenue by Category 052812-060312
                                DOJ-BP-000480903 5
272.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, attaching page view and
                                revenue reports, 02/28/2012
                                DOJ-BP-0004809036
272-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 2-26-12
                                DOJ-BP-000480903 7
272-b.                          Attachment. Spreadsheet titled Revenue by Category 022012-022612
                                DOJ-BP-0004809038
273.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 08/07/2012
                                DOJ-BP-0004809039
273-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 8-5-12
                                DOJ-BP-0004809040
273-b.                          Attachment. Spreadsheet titled Revenue by Category 073012-080512
                                DOJ-BP-0004809041
274.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 10/23/2012
                                DOJ-BP-000480904 2
274-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 10-21-12
                                DOJ-BP-0004809043
274-b.                          Attachment. Spreadsheet titled Revenue by Category 101512-102112
                                DOJ-BP-0004809044
275.                            Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                view and revenue rep01is, 04/10/2012
                                DOJ-BP-0004809045
275-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 4-8-12
                                DOJ-BP-0004809046
275-b.                          Attachment. Spreadsheet titled Revenue by Category 040212-040812
                                DOJ-BP-000480904 7
276.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 03/13/2012
                                DOJ-BP-0004809049

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'2'/6-a.                         Attachment. ~preactslleet t1tlect .Page View Urowtll Post CL change
                                 through 3-11-12
                                 DOJ-BP-0004809050
276-b.                           Attachment. Spreadsheet titled Revenue by Category 030512-031112
                                 DOJ-BP-0004809051
277.                             Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                 view and revenue reports, 05/15/2012
                                 DOJ-BP-0004809052
277-a.                           Attachment. Spreadsheet titled Page View Growth Post CL change
                                 through 5-13-12
                                 DOJ-BP-000480905 3
277-b.                           Attachment. Spreadsheet titled Revenue by Category 050712-051312
                                 DOJ-BP-0004809054
278.                             Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                 view and revenue reports, 10/09/2012
                                 DOJ-BP-0004809055
278-a.                           Attachment. Spreadsheet titled Page View Growth Post CL change
                                 through 10-7-12
                                 DOJ-BP-0004809056
278-b.                           Attachment. Spreadsheet titled Revenue by Category 100112-100712
                                 DOJ-BP-0004809057
279.                             Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                 view and revenue reports, 09/11/2012
                                 DOJ-BP-0004809060
279-a.                           Attachment. Spreadsheet titled Page View Growth Post CL change
                                 through 9-9-12
                                 DOJ-BP-0004809061
279-6.                           Attachment. Spreadsheet titled Revenue by Category 090312-090912
                                 DOJ-BP-0004809062
280.                             Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                 view and revenue reports, 12/11/2012
                                 DOJ-BP-0004809063
280-a.                           Attachment. Spreadsheet titled Page View Growth Post CL change
                                 through 12-9-12
                                 DOJ-BP-0004809064
280-b.                           Attachment. Spreadsheet titled Revenue by Category 120312-120912
                                 DOJ-BP-0004809065
281.                             Email to Hyer, Padilla, Ferrer, Brunst, attaching page view and
                                 revenue reports, 07/03/2012
                                 DOJ-BP-0004809072

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llH-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 7-1-12
                                DOJ-BP-0004809073
281-b.                          Attachment. Spreadsheet titled Revenue by Category 062512-070112
                                DOJ-BP-000480907 4
282.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 11/07/2012
                                DOJ-BP-000480907 5
282-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 11-04-12
                                DOJ-BP-000480907 6
282-b.                          Attachment. Spreadsheet titled Revenue by Category 102912-110412
                                DOJ-BP-0004809077
283.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, attaching page view and
                                revenue reports, 01/17/2012
                                DOJ-BP-0004809078
283-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 1-15-12
                                DOJ-BP-0004809079
283-b.                          Attachment. Spreadsheet titled Revenue by Category 010912-011512
                                DOJ-BP-0004809080
284.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 12/28/2012
                                DOJ-BP-0004809081
284-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 12-23-12- UPDATED
                                DOJ-BP-0004809082
284-b.                          Attachment. Spreadsheet titled Revenue by Categ01y 121712-122312
                                DOJ-BP-0004809083
285.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue rep01is, 06/19/2012
                                DOJ-BP-0004809084
285-a.                          Attachment. Spreadsheet titled Revenue by Categ01y 061112-061712
                                DOJ-BP-0004809085
285-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 6-17-12
                                DOJ-BP-0004809086
286.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 12/27/2012
                                DOJ-BP-0004809087

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2~6-a.                          Attachment. :Spreadsheet titled Page View Urowth Post CL change
                                through 12-23-12
                                DOJ-BP-000480908 8
286-b.                          Attachment. Spreadsheet titled Revenue by Category 121 712-122312
                                DOJ-BP-0004809089
287.                            Email to Hyer, Padilla, Fen-er, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 12/19/2012
                                DOJ-BP-0004809090
287-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 12-16-12
                                DOJ-BP-0004809091
287-b.                          Attachment. Spreadsheet titled Revenue by Category 121012-121612
                                DOJ-BP-0004809092
288.                            Email to Hyer, Padilla, Fen-er, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 10/16/2012
                                DOJ-BP-0004809093
288-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 10-14-12
                                DOJ-BP-0004809094
288-b.                          Attachment. Spreadsheet titled Revenue by Category 100812-101412
                                DOJ-BP-0004809095
289.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, attaching page view and
                                revenue reports, 04/24/2012
                                DOJ-BP-0004809096
289-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 4-22-12
                                DOJ-BP-0004809097
289-b.                          Attachment. Spreadsheet titled Revenue by Category 041612-042212
                                DOJ-BP-0004809098
290.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching
                                revenue report, 08/14/2012
                                DOJ-BP-0004809099
290-a.                          Attachment. Spreadsheet titled Revenue by Category 080612-081212
                                DOJ-BP-0004809100
291.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 09/18/2012
                                DOJ-BP-0004809101
291-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 9-16-12
                                DOJ-BP-0004809102

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291-b.                          Attachment. Spreadslleet titled Kevenue by Category U9lU12-091612
                                DOJ-BP-0004809103
292.                            Email to Hyer, Padilla, FeITer, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 10/02/2012
                                DOJ-BP-0004809104
292-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 9-30-12
                                DOJ-BP-0004809105
292-b.                          Attachment. Spreadsheet titled Revenue by Category 092412-093012
                                DOJ-BP-0004809106
293.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue rep01is, 07/31/2012
                                DOJ-BP-0004809107
293-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 7-29-12
                                DOJ-BP-0004809108
293-b.                          Attachment. Spreadsheet titled Revenue by Category 072312-072912
                                DOJ-BP-0004809109
294.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 08/28/2012
                                DOJ-BP-0004809110
294-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 8-26-12
                                DOJ-BP-0004809111
294-b.                          Attachment. Spreadsheet titled Revenue by Category 082012-082612
                                DOJ-BP-0004809112
295.                            Email to Hyer, Padilla, FeITer, Brunst, Spear, attaching page view and
                                revenue rep01is, 08/21/2012
                                DOJ-BP-0004809113
295-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 8-19-12
                                DOJ-BP-0004809114
295-b.                          Attachment. Spreadsheet titled Revenue by Category 081312-081912
                                DOJ-BP-0004809115
296.                            Email to Hyer, Padilla, FeITer, Brunst, Spear, attaching page view and
                                revenue rep01is, 01/03/2012
                                DOJ-BP-0004809116
296-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 1-1-12
                                DOJ-BP-0004809117

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Exhibit     For         In
 No.      Evidence   Evidence
2~b-b.                          Attacnment. Spreadsheet t1tied Kevenue by category 122611 -
                                010112
                                DOJ-BP-0004809118
297.                            Email to Hyer, Padilla, Fe1Ter, Bmnst, Spear, Larkin, attaching page
                                view and revenue reports, 05/29/2012
                                DOJ-BP-0004809120
297-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 5-27-12
                                DOJ-BP-0004809121
297-b.                          Attachment. Spreadsheet titled Revenue by Category 052112-052712
                                DOJ-BP-0004809122
298.                            Email to Hyer, Padilla, Fe1Ter, Bmnst, Spear, attaching page view and
                                revenue reports, 01/31/2012
                                DOJ-BP-0004809125
298-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 1-29-12
                                DOJ-BP-0004809126
298-b.                          Attachment. Spreadsheet titled Revenue by Category O12312-012912
                                DOJ-BP-000480912 7
299.                            Email to Hyer, Padilla, Fe1Ter, Bmnst, Spear, Larkin, attaching page
                                view and revenue reports, 03/06/2012
                                DOJ-BP-0004809128
299-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 3-4-12
                                DOJ-BP-0004809129
299-b.                          Attachment. Spreadsheet titled Revenue by Category 022712-030412
                                DOJ-BP-000480913 0
300.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, attaching page view and
                                revenue rep01is, 02/14/2012
                                DOJ-BP-0004809131
300-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 2-12-12
                                DOJ-BP-0004809132
300-b.                          Attachment. Spreadsheet titled Revenue by Category 020612-021212
                                DOJ-BP-0004809133
301.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, attaching page view and
                                revenue rep01is, 01/12/2012
                                DOJ-BP-0004809134
301-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 1-8-12
                                DOJ-BP-0004809135
                                              29
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Exhibit     For         In
 No.      Evidence   Evidence
301-b.                          Attachment. :spreadsl1eet titled Kevenue by Category ul UL l L-U l ms l L
                                DOJ-BP-000480913 6
302.                            Email to Hyer, Padilla, Ferrer, Brnnst, Spear, Larkin, attaching page
                                view and revenue reports, 09/04/2012
                                DOJ-BP-000480913 7
302-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 9-2-12
                                DOJ-BP-000480913 8
302-b.                          Attachment. Spreadsheet titled Revenue by Category 082712-090212
                                DOJ-BP-0004809139
303.                            Email to Hyer, Padilla, FeITer, Brnnst, Spear, Larkin, attaching page
                                view and revenue rep01is, 12/04/2012
                                DOJ-BP-0004809141
303-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 12-2-12
                                DOJ-BP-0004809142
303-b.                          Attachment. Spreadsheet titled Revenue by Category 112612-120212
                                DOJ-BP-0004809143
304.                            Email to Hyer, Padilla, FeITer, Brnnst, Spear, Larkin, attaching page
                                view and revenue reports, 07/24/2012
                                DOJ-BP-0004809144
304-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 7-22-12
                                DOJ-BP-0004809145
304-b.                          Attachment. Spreadsheet titled Revenue by Category 071612-072212
                                DOJ-BP-0004809146
305.                            Email to Hyer, Padilla, FeITer, Brnnst, Spear, Larkin, attaching page
                                view and revenue reports, 10/30/2012
                                DOJ-BP-0004809150
305-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 10-28-12
                                DOJ-BP-0004809151
305-b.                          Attachment. Spreadsheet titled Revenue by Category 102212-102812
                                DOJ-BP-0004809152
306.                            Email to Hyer, Padilla, FeITer, Brnnst, Spear, Larkin, attaching page
                                view and revenue reports, 07/10/2012
                                DOJ-BP-0004809153
306-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 7-8-12
                                DOJ-BP-0004809154

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Exhibit     For             In
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jUb-b.                                   Attachment. :spreadsheet t1t1ect Kevenue by Category U'/0212-070?S 12
                                         DOJ-BP-0004809155
307.                                     Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                         view and revenue reports, 03/27/2012
                                         DOJ-BP-0004809156
307-a.                                   Attachment. Spreadsheet titled Page View Growth Post CL change
                                         through 3-25-12
                                         DOJ-BP-0004809157
307-b.                                   Attachment. Spreadsheet titled Revenue by Category 031912-032512
                                         DOJ-BP-0004809158
308.                                     Email to Hyer, "Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                         view and revenue reports, 03/20/2012
                                         DOJ-BP-0004809162
308-a.                                   Attachment. Spreadsheet titled Page View Growth Post CL change
                                         through 3-18-12
                                         DOJ-BP-0004809163
308-b.                                   Attachment. Spreadsheet titled Revenue by Category 031212-031812
                                         DOJ-BP-0004809164
309.                                     Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                         view and revenue reports, 11/27/2012
                                         DOJ-BP-0004809167
309-a.                                   Attachment. Spreadsheet titled Page View Growth Post CL change
                                         through 11-25-12
                                         DOJ-BP-0004809168
309-b.                                   Attachment. Spreadsheet titled Revenue by Category 111912-112512
                                         DOJ-BP-0004809169
310.                                     Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching
                                         revenue report, 08/14/2012
                                         DOJ-BP-0004809170
310-a.                                   Attachment. Spreadsheet titled Revenue by Category 080612-081212
                                         DOJ-BP-0004809171
311.                                     Daily Google Analytics Report, 03/22/10
                        9 /i ,_, '2.?J   DOJ-BP-0004602753-DOJ-BP-0004602760
312.                                     Daily Google Analytics Report, 02/1/2012
                                         DOJ-BP-0004602 761-DOJ-BP-0004602 77 4
313.                                     Monthly Google Analytics Report, August 2013
                                         DOJ-BP-0004602 77 5-DOJ-BP-0004602778
314.                                     Monthly Google Analytics Report, November 2014
                                         DOJ-BP-0004602779-DOJ-BP-0004602784


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Exhibit     For         In
 No.      Evidence   Evidence
JD.                             Emall to Hyer, Padilla, .Ferrer, Brnnst, Spear, Larl<Jn, attachmg page
                                view and revenue reports, 04/17/2012
                                DOJ-BP-0004809172
315-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 4-15-12
                                DOJ-BP-0004809173
315-b.                          Attachment. Spreadsheet titled Revenue by Category 040912-041512
                                DOJ-BP-0004809174
316.                            Email to Hyer, Padilla, Fe1Ter, Brnnst, Spear, attaching page view and
                                revenue reports, 02/7/2012
                                DOJ-BP-0004809175
316-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 2-5-12
                                DOJ-BP-0004809176
316-b.                          Attachment. Spreadsheet titled Revenue by Category 013012-020512
                                DOJ-BP-0004809177
317.                            Email to Hyer, Padilla, Fe1Ter, Brnnst, Spear, Larkin, attaching page
                                view and revenue reports, 04/03/2012
                                DOJ-BP-0004809178
317-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 4-1-12
                                DOJ-BP-0004809179
317-b.                          Attachment. Spreadsheet titled Revenue by Category 032612-040112
                                DOJ-BP-0004809180
318.                            Email to Hyer, Padilla, Fe1Ter, Brnnst, Spear, Larkin, attaching page
                                view and revenue reports, 05/01/2012
                                DOJ-BP-0004809181
318-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 4-29-12
                                DOJ-BP-0004809182
318-b.                          Attachment. Spreadsheet titled Revenue by Category 042312-042912
                                DOJ-BP-0004809183
319.                            Email to Hyer, Padilla, Ferrer, Brnnst, Spear, Larkin, attaching page
                                view and revenue rep01is, 11/20/2012
                                DOJ-BP-0004809184
319-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 11-18-12
                                DOJ-BP-0004809185
319-b.                          Attachment. Spreadsheet titled Revenue by Category 111212-111812
                                DOJ-BP-0004809186

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J:LU.                           Emall to Hyer, .Padllla, .r errer, tlrunst, :spear, LarKm, attacnmg page
                                view and revenue reports, 02/26/2013
                                DOJ-BP-000480918 7
320-a.                          Attachment. Spreadsheet titled revenue by category 021813 - 022413
                                DOJ-BP-0004809188
320-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 2-
                                17-13
                                DOJ-BP-0004809189
321.                            Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                view and revenue repmis, 01/23/2013
                                DOJ-BP-0004809193
321-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 1-20-13
                                DOJ-BP-0004809194
321-b.                          Attachment. Spreadsheet titled Revenue by Category O10713-011313
                                DOJ-BP-000480919 5
321-c.                          Attachment. Spreadsheet titled Revenue by Category 011413-012013
                                DOJ-BP-0004809196
321-d.                          Attachment. Spreadsheet titled Revenue by Category 123112-010613
                                DOJ-BP-0004809197
322.                            Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 02/26/2013
                                DOJ-BP-0004809198
322-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 2-
                                24-13
                                DOJ-BP-0004809199
322-b.                          Attachment. Spreadsheet titled revenue by category 021813 - 022413
                                DOJ-BP-0004809200
323.                            Email to Hyer, Padilla, Fen-er, Brunst, Spear, Larkin, attaching page
                                view and revenue repmis, 02/19/2013
                                DOJ-BP-0004809201
323-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 2-
                                17-13
                                DOJ-BP-0004809202
323-b.                          Attachment. Spreadsheet titled revenue by category 021113 - 021713
                                DOJ-BP-0004809203
324.                            Email to Hyer, Padilla, Ferrer, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 02/05/2013
                                DOJ-BP-0004809204


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Exhibit     For         In
  No.     Evidence   Evidence
324-a.                          Attachment. ~preacts11eet titled Page view Urowth Post CL change 2-
                                3-13
                                DOJ-BP-0004809205
324-b.                          Attachment. Spreadsheet titled revenue by category O12813-020313
                                DOJ-BP-0004809206
325.                            Email to Hyer, Padilla, FetTer, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 03/19/2013
                                DOJ-BP-0004809207
325-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 3-
                                17-13
                                DOJ-BP-0004809208
325-b.                          Attachment. Spreadsheet titled revenue by category 031113 - 031713
                                DOJ-BP-0004809209
326.                            Email to Hyer, Padilla, Fen-er, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 03/26/2013
                                DOJ-BP-0004809211
326-a.                          Attachment. Spreadsheet titled Revenue by category 031813 - 032413
                                DOJ-BP-0004809212
326-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 3-
                                24-13
                                DOJ-BP-0004809213
327.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 03/12/2013
                                DOJ-BP-0004809214
327-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 3-
                                10-13
                                DOJ-BP-0004809215
327-b.                          Attachment. Spreadsheet titled revenue by category 030413 - 031013
                                DOJ-BP-0004809216
328.                            Email to Hyer, Padilla, Fen-er, Brunst, Spear, Larkin, attaching page
                                view and revenue rep01is, 01/29/2013
                                DOJ-BP-0004809217
328-a.                          Attachment. Spreadsheet titled revenue by category 012113 - 012713
                                DOJ-BP-0004809218
328-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 1-
                                27-13
                                DOJ-BP-0004809219
329.                            Email to Hyer, Padilla, Fe1Ter, Brunst, Spear, Larkin, attaching page
                                view report, 02/13/2013
                                DOJ-BP-0004809220

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SL9-a.                          Attachment. Spreadsheet titled Page View Urowth Post CL change 2-
                                10-13
                                DOJ-BP-0004809221
330.                            Email to Hyer, Padilla, FeITer, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 01/03/2013
                                DOJ-BP-0004809224
330-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 12-30-12
                                DOJ-BP-0004809225
330-b.                          Attachment. Spreadsheet titled Revenue by Category 122412-123012
                                DOJ-BP-0004809226
331.                            Email to Hyer, Padilla, FeITer, Brunst, Spear, Larkin, attaching page
                                view and revenue reports, 03/05/2013
                                DOJ-BP-0004809229
331-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 3-
                                3-13
                                DOJ-BP-000480923 0
331-b.                          Attachment. Spreadsheet titled revenue by category 022513 - 030313
                                DOJ-BP-0004809231
332.                            Email to Fe1Ter and Spear re September 2012 Financial Reports (with
                                attachments), 10/09/2012
                                DOJ-BP-0004809246
332-a.                          Attachment. Spreadsheet titled Backpage.com by Category - Sep
                                2012
                                DOJ-BP-000480924 7
332-b.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Sep 2012
                                DOJ-BP-0004809248
332-c.                          Attachment. Spreadsheet titled BP SEP12 P&L
                                DOJ-BP-0004809249
332-d.                          Attachment. Spreadsheet titled BP.com Financials - Sep 2012
                                DOJ-BP-0004809250
332-e.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS SEP 2012
                                DOJ-BP-0004809251
333.                            Email to Ferrer and Spear re January 2012 Financial Reports (with
                                attachments), 02/07/2012
                                DOJ-BP-0004809263
333-a.                          Attachment. Spreadsheet titled VVM cities VD vs BP city site - Jan
                                DOJ-BP-0004809264


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Exhibit     For         In
 No.      Evidence   Evidence
jjj-b.                                     Attachment. :Spreadsheet titled V V M .PKU!'ll-LU:S:S JAN UAK y
                                           2012
                                           DOJ-BP-0004809265
333-c.                                     Attachment. Spreadsheet titled Backpage.com by Category - Jan 2012
                                           DOJ-BP-0004809266
333-d.                                     Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                           Metrics - Jan 2012
                                           DOJ-BP-0004809267
333-e.                                     Attachment. Spreadsheet titled BP.com Financials - Jan 2012
                                           DOJ-BP-0004809268
333-f.                                     Attachment. Spreadsheet titled JAN 12 DET BP P&L
                                           DOJ-BP-0004809269
334.                                       Email from Ferrer to Spear re monthly revenue (with attachment),
                                           12/22/2012
                                           DOJ-BP-0004809281
334-a.                                     Attachment. Spreadsheet titled Monthly Revenue & Ad Count report
                                           by Section and Category
                                           DOJ-BP-0004809282
335.                                       Email from Fe1Ter to Larkin, attaching page view and revenue repmis,
                                           09/18/2012
                        (' h ..o I?:>.;,   DOJ-BP-0004809310
335-a.                                     Attachment. Spreadsheet titled Page View Growth Post CL change
                                           through 9-16-12
                                           DOJ-BP-0004809311
335-b.                                     Attachment. Spreadsheet titled Revenue by Category 091012-091612
                        °t /20 Ji9         DOJ-BP-0004809313
335-c.                                     PDF of Exhibit 335-b; Attachment. Spreadsheet titled Revenue by
                                           Category 091012-091612 DOJ-BP-0004809313
335-d.                                     PDF of Exhibit 335-b; Attachment. Spreadsheet titled Revenue by
                                           Category 091012-091612 DOJ-BP-0004809313
336.                                       Email to Hyer, Fe1Ter, Spear attaching revenue repmt, 05/25/2012
                                           DOJ-BP-0004809343
336-a.                                     Attachment. Spreadsheet titled May 2012 Revenue Repmi 4-25 to 5-
                                           22
                                           DOJ-BP-0004809344
337.                                       Email to Fe1Ter and Spear, attaching November 2012 revenue rep01i,
                                           11/28/2012
                                           DOJ-BP-00048093 79
337-a.                                     Attachment. Spreadsheet titled Nov 2012 Revenue Repmi 10-24 to
                                           11-20- UPDATED 11-28

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338.                                 Email to Ferrer and Spear, attaching January 2012 revenue repmi,
                                     01/27/2012
                                     DOJ-BP-0004809402
338-a.                               Attachment. Spreadsheet titled January 2012 Revenue Repmi
                                     Updated
                                     DOJ-BP-0004809403
339.                                 Email from Larkin to Ferrer, attaching revenue rep01i, 10/09/2012
                                     DOJ-BP-0004809413
339-a.                               Attachment. Spreadsheet titled Revenue by Category 100112-100712
                                     DOJ-BP-0004809414
340.                                 Email to Spear, Ferrer, Larkin, attaching financial reports for March
                                     2012, 04/17/2012
                                     DOJ-BP-0004809446
340-a.                               Attachment. Spreadsheet titled VVM PROFIT-LOSS MARCH 2012
                                     DOJ-BP-000480944 7
340-b.                               Attachment. Spreadsheet titled Backpage.com by Category - Mar
                                     2012
                                     DOJ-BP-0004809448
340-c.                               Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                     Metrics - Mar 2012
                                     DOJ-BP-0004809449
340-d.                               Attachment. Spreadsheet titled BP.com Financials - Mar 2012
                                     DOJ-BP-0004809450
340-e.                               Attachment. Spreadsheet titled MAR 12 DET BP P&L
                                     DOJ-BP-0004809451
341.                                 Email to Fen-er, Spear, Hyer, attaching March 2012 revenue report,
                                     04/27/2012
                                     DOJ-BP-0004809463
341-a.                               Attachment. Spreadsheet titled March 2012 Revenue Repmi 3-28 to
                                     4-24
                                     DOJ-BP-0004809464
342.                                 Email from Fen-er to Brunst, Larkin, attaching revenue report,
                                     08/06/2012
                        q   l1.0h~   DOJ-BP-0004809 504
342-a.                       .je     Attachment. PDF titled backpage.com
                                     DOJ-BP-0004809505
343.                                 Email to Fen-er, Spear, Hyer, attaching October 2012 revenue report,
                                     10/29/2012
                                     DOJ-BP-0004809 513
                                                    37
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j4j-a.                          Attachment. :spreacts11eet titled uct 2u LL Kevenue Kepmi ~-2b to l u-
                                23
                                DOJ-BP-0004809 514
344.                            Email to Larkin, Spear, Fen-er, attaching April 2012 financial reports,
                                05/07/2012
                                DOJ-BP-0004809529
344-a.                          Attachment. Spreadsheet titled APR 12 DET BP P&L
                                DOJ-BP-0004809 530
344-b.                          Attachment. Spreadsheet titled Backpage.com by Category - Apr
                                2012
                                DOJ-BP-0004809531
344-c.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Apr 2012
                                DOJ-BP-0004809532
344-d.                          Attachment. Spreadsheet titled BP.com Financials - Apr 2012
                                DOJ-BP-0004809533
344-e.                          Attachment. Spreadsheet titled VVM cities VD vs BP city site - Apr
                                DOJ-BP-0004809534
344-f.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS APRIL 2012
                                DOJ-BP-0004809535
345.                            Email to Larkin, Spear, Ferrer, attaching August 2012 financial
                                repmis, 08/31/2012
                                DOJ-BP-0004809545
345-a.                          Attachment. Spreadsheet titled AUG12 DET BP P&L
                                DOJ-BP-0004809546
345-b.                          Attachment. Spreadsheet titled Backpage.com by Category - Aug
                                2012
                                DOJ-BP-0004809547
345-c.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Aug 2012
                                DOJ-BP-0004809548
345-d.                          Attachment. Spreadsheet titled BP.com Financials - Aug 2012
                                DOJ-BP-0004809549
345-e.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS AUG 2012
                                DOJ-BP-0004809 55 0
346.                            Email to Fen-er and Spear, attaching page view and revenue repmis,
                                02/21/2012
                                DOJ-BP-0004809574
346-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 2-19-12

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Exhibit     For         In
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346-b.                          Attachment. Spreadsheet titled Revenue by Category 021312-021912
                                DOJ-BP-0004809576
347.                            Email to Spear, Hyer, Fen-er, attaching June 2012 revenue report,
                                07/02/2012
                                DOJ-BP-0004809603
347-a.                          Attachment. Spreadsheet titled Backpage - Jun 2012 Revenue Report
                                5-23 to 6-26
                                DOJ-BP-0004809604
348.                            Email to Fe1Ter, Spear, Larkin, Brunst, attaching November 2012
                                financial reports, 12/05/2012
                                DOJ-BP-0004809620
348-a.                          Attachment. Spreadsheet titled Backpage.com by Category -Nov 2012
                                DOJ-BP-0004809621
348-b.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Nov 2012
                                DOJ-BP-0004809622
348-c.                          Attachment. Spreadsheet titled BP NOV 12 P&L
                                DOJ-BP-0004809623
348-d.                          Attachment. Spreadsheet titled BP.com Financials -Nov 2012
                                DOJ-BP-0004809624
349.                            Email from Fe1Ter to Larkin, 12/04/2012
                                DOJ-BP-0004809644
350.                            Email to Ferrer, Hyer, attaching February 2012 financial repo1i,
                                02/23/2012
                                DOJ-BP-0004809645
350-a.                          Attachment. Spreadsheet titled Backpage - February 2012 Revenue
                                Report 1-25 to 2-21
                                DOJ-BP-0004809646
351.                            Email to Ferrer, Spear, Larkin, attaching January 2012 financial
                                rep01is, 02/07/2012
                                DOJ-BP-0004809656
351-a.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS JANUARY
                                2012
                                DOJ-BP-000480965 7
351-b.                          Attachment. Spreadsheet titled Backpage.com by Category - Jan 2012
                                DOJ-BP-000480965 8
351-c.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Jan 2012
                                DOJ-BP-000480965 9
                                               39
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Exhibit       For         In
    No.     Evidence   Evidence
j'.) 1-d.                            Attachment. Spreadsl1eet titled HP.com .t<mancials - Jan 2012
                                     DOJ-BP-0004809660
351-e.                               Attachment. Spreadsheet titled JAN 12 DET BP P&L
                                     DOJ-BP-0004809661
351-f.                               Attachment. Spreadsheet titled VVM cities VD vs BP city site - Jan
                                     DOJ-BP-0004809662
352.                                 Email from Fe11'er to Larkin, Spear, attaching page view and revenue
                                     reports, 05/08/2012
                                     DOJ-BP-0004809676
352-a.                               Attachment. Spreadsheet titled Page View Growth Post CL change
                                     through 5-6-12
                                     DOJ-BP-0004809677
352-b.                               Attachment. Spreadsheet titled Revenue by Category 043012-050612
                                     DOJ-BP-0004809679
353.                                 Email to Larkin, Spear, Ferrer, attaching financial reports for June
                                     2012, 07/10/2012
                                     DOJ-BP-0004809686
353-a.                               Attachment. Spreadsheet titled Back.page.com by Category - Jun 2012
                                     DOJ-BP-0004809687
353-b.                               Attachment. Spreadsheet titled Back.page.com Graphs and Primary
                                     Metrics - Jun 2012
                                     DOJ-BP-000480968 8
353-c.                               Attachment. Spreadsheet titled BP.com Financials - Jun 2012
                                     DOJ-BP-0004809689
353-d.                               Attachment. Spreadsheet titled TIJN 12 DET BP P&L
                                     DOJ-BP-0004809690
353-e.                               Attachment. Spreadsheet titled VVM cities VD vs BP city site - Jun
                                     DOJ-BP-0004809691
353-f.                               Attachment. Spreadsheet titled VVM PROFIT-LOSS JUN 2012
                                     DOJ-BP-0004809692
354.                                 Emails between Ferrer and Larkin, "Pent up demand going forward.
                                     Perhaps." 11/01/2012
                                     DOJ-BP-0004809750
355.                                 Email from Fe1Ter to Larkin, Brunst, attaching revenue report and ad
                                     count, 12/22/2012
                       ~ /2.,0 IVJ   DOJ-BP-0004809751
355-a.                               Attachment. Spreadsheet titled Monthly Revenue & Ad Count report
                                     by Section and Category
                                     DOJ-BP-0004809752


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355-b.                            .PDF otbxhlb1t j.))-a; Attach!nent. ~preadsheet t1t1ect Monthly
                                  Revenue & Ad Count report by Section and Category
                     ct/1.0/2?]   DOJ-BP-00048097 52
356.                              Email from Larkin to Ferrer, 08/06/2012
                                  DOJ-BP-00048097 66
357.                              Email to Ferrer, Spear, Larkin, attaching January 2012 financial
                                  repmis, 02/08/2012
                                  DOJ-BP-0004809801
357-a.                            Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                  Metrics - Jan 2012
                                  DOJ-BP-0004809802
357-b.                            Attachment. Spreadsheet titled Backpage.com by Category - Jan 2012
                                  DOJ-BP-0004809803
358.                              Email to Ferrer, Spear, Larkin, attaching July 2012 financial repo1is,
                                  08/07/2012
                                  DOJ-BP-0004809828
358-a.                            Attachment. Spreadsheet titled Backpage.com by Category - Jul 2012
                                  DOJ-BP-0004809829
358-b.                            Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                  Metrics - Jul 2012
                                  DOJ-BP-0004809830
358-c.                            Attachment. Spreadsheet titled BP.com Financials - Jul 2012
                                  DOJ-BP-0004809831
358-d.                            Attachment. Spreadsheet titled JUL12 DET BP P&L
                                  DOJ-BP-0004809832
358-e.                            Attachment. Spreadsheet titled VVM PROFIT-LOSS JUL 2012
                                  DOJ-BP-0004809833
359.                              Email to Hyer, Ferrer, Spear, attaching August 2012 revenue report,
                                  08/23/2012
                                  DOJ-BP-0004809840
359-a.                            Attachment. Spreadsheet titled Backpage - Aug 2012 Revenue Repmi
                                  7-25 to 8-21
                                  DOJ-BP-0004809841
360.                              Emails from Fen-er to Larkin, page view and revenue repmis,
                                  09/28/2012
                                  DOJ-BP-000480985 7
360-a.                            Attachment. Spreadsheet titled Page View Growth Post CL change
                                  through 9-23-12
                                  DOJ-BP-000480985 8
360-b.                            Attachment. Spreadsheet titled Revenue by Category 091 712-092312

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Exhibit     For         In
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361.                            Email to FetTer, Spear, Hyer, attaching December 2011 revenue
                                rep01i, 01/03/2012
                                DOJ-BP-0004809885
361-a.                          Attachment. Spreadsheet titled Backpage - December 2011 Revenue
                                Report
                                DOJ-BP-0004809886
362.                            Email to Ferrer, Spear, Larkin, attaching February 2012 financial
                                rep01is, 03/05/2012
                                DOJ-BP-0004809899
362-a.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS FEBRUARY
                                2012
                                DOJ-BP-0004809900
362-b.                          Attachment. Spreadsheet titled Backpage.com by Category - Feb
                                2012
                                DOJ-BP-0004809901
362-c.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Feb 2012
                                DOJ-BP-0004809902
362-d.                          Attachment. Spreadsheet titled BP .com Financials - Feb 2012
                                DOJ-BP-0004809903
362-e.                          Attachment. Spreadsheet titled FEB 12 DET BP P&L
                                DOJ-BP-0004809904
362-f.                          Attachment. Spreadsheet titled VVM cities VD vs BP city site - Feb
                                DOJ-BP-0004809905
363.                            Email to Hyer, Ferrer, Spear, attaching August 2012 revenue rep01i,
                                08/24/2012
                                DOJ-BP-0004809946
363-a.                          Attachment. Spreadsheet titled Backpage - Aug 2012 Revenue Rep01i
                                7-25 to 8-21
                                DOJ-BP-000480994 7
364.                            Email to Ferrer, Spear, Larkin, attaching November 2012 financial
                                reports, 12/04/2012
                                DOJ-BP-0004809952
364-a.                          Attachment. Spreadsheet titled Backpage.com by Category -Nov 2012
                                DOJ-BP-0004809953
364-b.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Nov 2012
                                DOJ-BP-0004809954

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                 Date
           Marked    Admitted                                Description
Exhibit     For         In
  No.     Evidence   Evidence
3b4-c.                          Attachment. Spreadsheet titled HP.com Fmanciais -Nov 2012
                                DOJ-BP-0004809955
364-d.                          Attachment. Spreadsheet titled NOV 12 P&L
                                DOJ-BP-0004809956
365.                            Email to Hyer, FetTer, Spear, attaching January 2012 revenue rep01i,
                                01/25/2012
                                DOJ-BP-0004809998
365-a.                          Attachment. Spreadsheet titled Backpage - January 2012 Revenue
                                Repoti
                                DOJ-BP-0004809999
366.                            Email to Ferrer, Hyer, Spear, attaching July 2012 revenue rep01i,
                                07/30/2012
                                DOJ-BP-0004810026
366-a.                          Attachment. Spreadsheet titled Backpage - Jul 2012 Revenue Report
                                6-27 to 7-24
                                DOJ-BP-000481002 7
367.                            Email to FetTer, Hyer, Spear, attaching March 2012 revenue repoti,
                                03/30/2012
                                DOJ-BP-0004810032
367-a.                          Attachment. Spreadsheet titled Backpage - March 2012 Revenue
                                Report 2-22 to 3-27
                                DOJ-BP-000481003 3
368.                            Email to FetTer, Hyer, Spear, attaching September 2012 revenue
                                rep01i, 10/01/2012
                                DOJ-BP-0004810048
368-a.                          Attachment. Spreadsheet titled Backpage - Sep 2012 Revenue Report
                                8-22 to 9-25
                                DOJ-BP-0004810049
369.                            Email to Ferrer, Spear, Larkin, attaching May 2012 financial repo1is,
                                06/06/2012
                                DOJ-BP-0004810051
369-a.                          Attachment. Spreadsheet titled Backpage.com by Category - May
                                2012
                                DOJ-BP-0004810052
369-b.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - May 2012
                                DOJ-BP-0004810053
369-c.                          Attachment. Spreadsheet titled BP.com Financials - May 2012
                                DOJ-BP-0004810054
369-d.                          Attachment. Spreadsheet titled MAY 12 DET BP P&L
                                DOJ-BP-0004810055
                                               43
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                 Date
           Marked    Admitted                                Description
Exhibit     For         In
  No.     Evidence   Evidence
J69-e.                          Attacnment. Spreadsheet titled V VM cities VU vs HP city site - May
                                DOJ-BP-0004810056
369-f.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS MAY 2012
                                DOJ-BP-0004810057
370.                            Email to Fener, Spear, Larkin, attaching October 2012 financial
                                reports, 11/02/2012
                                DOJ-BP-0004810185
370-a.                          Attachment. Spreadsheet titled Backpage.com by Category -Oct 2012
                                DOJ-BP-0004810186
370-b.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Oct 2012
                                DOJ-BP-0004810187
370-c.                          Attachment. Spreadsheet titled BP OCT 12 P&L
                                DOJ-BP-0004810188
370-d.                          Attachment. Spreadsheet titled BP .com Financials -Oct 2012
                                DOJ-BP-0004810189
371.                            Email to Ferrer, Hyer, Spear, attaching February 2013 revenue report,
                                03/05/2012
                                DOJ-BP-000481025 5
371-a.                          Attachment. Spreadsheet titled Backpage -Feb 2013 Revenue Report
                                2-01 to 2-28
                                DOJ-BP-0004810256
372.                            Email from Larkin to Ferrer, attaching page view report, 02/14/2013
                                DOJ-BP-0004810316
372-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 2-
                                10-13
                                DOJ-BP-0004810317
373.                            Email to Ferrer, Spear, Larkin, attaching February 2013 financial
                                repmis, 03/15/2013
                                DOJ-BP-0004810411
373-a.                          Attachment. Spreadsheet titled Backpage.com by Category -Feb 2013
                                DOJ-BP-0004810412
373-b.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Feb 2013
                                DOJ-BP-0004810413
373-c.                          Attachment. Spreadsheet titled BP FEB 13 P&L
                                DOJ-BP-0004810414
373-d.                          Attachment. Spreadsheet titled BP.com Financials -Feb 2013
                                DOJ-BP-0004810415


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          Marked     Admitted                                Description
Exhibit     For         In
 No.      Evidence   Evidence
j   /4.                         .Email to .Ferrer, Hyer, Spear, attaching January 20 U revenue report,
                                02/14/2013
                                DOJ-BP-0004810427
374-a.                          Attachment. Spreadsheet titled Backpage -Jan 2013 Revenue Report
                                 1-01 to 1-31
                                DOJ-BP-0004810428
375.                            Email to Fen-er, Hyer, Spear, attaching December 2012 revenue
                                report, 01/25/2013
                                DOJ-BP-0004810431
375-a.                          Attachment. Spreadsheet titled Backpage - Dec 2012 Revenue Report
                                 11-21 to 12-31- updated
                                DOJ-BP-0004810432
376.                            Email to Ferrer, Spear, Larkin, attaching December 2012 and January
                                2013 financial reports, 02/19/2013
                                DOJ-BP-0004810473
376-a.                          Attachment. Spreadsheet titled BP DEC 12 P&L
                                DOJ-BP-0004810474
376-b.                          Attachment. Spreadsheet titled BP.com Financials -Dec 2012--
                                REVISED
                                DOJ-BP-0004810475
376-c.                          Attachment. Spreadsheet titled BP JAN 13 P&L
                                DOJ-BP-0004810476
376-d.                          Attachment. Spreadsheet titled BP.com Financials -Jan 2013
                                DOJ-BP-00048104 77
376-e.                          Attachment. Spreadsheet titled Backpage.com by Category -Jan 2013
                                DOJ-BP-0004810478
376-f.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Jan 2013
                                DOJ-BP-00048104 79
376-g.                          PDF of Exhibit 376-f; Attachment. Spreadsheet titled Backpage.com
                                Graphs and Primary Metrics - Jan 2013
                                DOJ-BP-0004810479
377.                            Email from Ferrer to Brunst, attaching revenue report from 2014-
                                2015, 02/23/2016
                                DOJ-BP-0004810600
377-a.                          Attachment. Spreadsheet titled Non-
                                US_Revenue_analysis_using_rev_report
                                DOJ-BP-0004810601
378.                            Email from Brunst to Fe11'er, attaching revenue report from 2015,
                                03/03/2016
                                DOJ-BP-0004810602
                                                 45
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Exhibit     For         In
  No.     Evidence   Evidence
j ns-a.                         Attachment. ~preacts11eet titled 20 l:, Kevenue by ~tate_ Country
                                DOJ-BP-0004810603
379.                            Email from Gage to F e1Ter, Brunst, attaching revenue report from
                                2015, 02/25/2016
                                DOJ-BP-0004810604
379-a.                          Attachment. Spreadsheet titled UGC PROFIT AND LOSS 12.15 adj
                                for % of credits
                                DOJ-BP-0004810605
380.                            Email from Gage to Fe1Ter, Brunst, attaching revenue report (non-
                                U.S.) from 2015, 02/24/2016
                                DOJ-BP-0004810609
380-a.                          Attachment. Spreadsheet titled Non-
                                US_Revenue_analysis_using_rev_report
                                DOJ-BP-0004810610
381.                            Email from Gage to Brunst, attaching revenue reports, 02/02/2016
                                DOJ-BP-0004810652
381-a.                          Attachment. Spreadsheet titled SMAB Weekly Activity
                                DOJ-BP-0004810653
382.                            Email from Fe1Ter to Brunst, attaching Januaiy 2016 revenue report,
                                02/02/2016
                                DOJ-BP-000481065 5
382-a.                          Attachment. Spreadsheet titled Revenue Report - Januaiy 2016
                                DOJ-BP-0004810656
383.                            Email from Fe1Ter to Brunst, Gage, attaching December 2015 revenue
                                report, 02/02/2016
                                DOJ-BP-0004810658
383-a.                          Attachment. Spreadsheet titled Revenue Report - December 2015
                                DOJ-BP-000481065 9
384.                            Email from Fe1Ter to Brunst, attaching revenue report re credit sales
                                from May tlnu December, 03/03/2016
                                DOJ-BP-0004810720
384-a.                          Attachment. Spreadsheet titled May tln·ough December 2015 Buy
                                Credits - Pay Bill purchases
                                DOJ-BP-0004810721
385.                            Email from Fe1Ter to Brunst, attaching revenue repmis 03/03/2016,
                                DOJ-BP-0004810722
385-a.                          Attachment. Spreadsheet titled 2015 Revenue by State_Country
                                DOJ-BP-0004810723
385-b.                          Attachment. Spreadsheet titled SMAB Weekly Activity (1)
                                DOJ-BP-0004810724

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Exhibit     For         In
 No.      Evidence   Evidence
3~6.                            Email trom t e1Ter to Brunst, Larkm, attachmg revenue reports tor
                                2014, 2015, 07/01/2016
                                DOJ-BP-0004810740
386-a.                          Attachment. Spreadsheet titled Revenue Report - June 2016
                                DOJ-BP-00048107 41
387.                            Email to Spear, attaching December 2011 revenue report, 01/10/2012
                                DOJ-BP-0004810986
387-a.                          Attachment. Spreadsheet titled Backpage - December 2011 Revenue
                                Report
                                DOJ-BP-0004810987
388.                            Email to Spear, attaching December revenue repmis, 01/10/2012
                                DOJ-BP-0004810988
388-a.                          Attachment. Spreadsheet titled Google Revenue 10-26 to 11-22
                                DOJ-BP-0004810989
388-b.                          Attachment. Spreadsheet titled Google Revenue 11-23 to 12-31
                                DOJ-BP-0004810990
389.                            Email to Spear, attaching revenue projections, 01/25/2012
                                DOJ-BP-0004811374
389-a.                          Attachment. Spreadsheet titled 2012 Revenue projections and run
                                rates v4- Updated
                                DOJ-BP-0004811375
390.                            Email to Spear, attaching revenue repoti, 01/31/2012
                                DOJ-BP-0004811469
390-a.                          Attachment. Spreadsheet titled Backpage.com Revenue Report
                                Budget Values 2012
                                DOJ-BP-0004811470
391.                            Email to Spear, attaching December 2011 revenue rep01is,
                                01/31/2012
                                DOJ-BP-0004811477
391-a.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS Dec 2011
                                DOJ-BP-0004811478
391-b.                          Attachment. Spreadsheet titled Backpage Gross Revenue Report -
                                Dec 2011
                                DOJ-BP-0004811479
391-c.                          Attachment. Spreadsheet titled Backpage.com by Category - Dec
                                2011
                                DOJ-BP-0004811480
391-d.                          Attachment. Spreadsheet titled Backpage.com Graphs and Primary
                                Metrics - Dec 2011
                                DOJ-BP-0004811481

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Exhibit     For         In
 No.      Evidence   Evidence
3Yl-e.                          Attacnment. :s preadsl1eet titled tl.P .com .t< mancials - Dec 2011
                                DOJ-BP-0004811482
391-f.                          Attachment. Spreadsheet titled dee 11 bp p&l - final
                                DOJ-BP-0004811483
392.                            Email to Spear, attaching January 2012 revenue rep01i, 01/31/2012
                                DOJ-BP-0004811488
392-a.                          Attachment. Spreadsheet titled Backpage - January 2012 Revenue
                                Report Updated 2
                                DOJ-BP-0004811489
393.                            Email to Hyer, Fe1Ter, Brnnst, Spear, Larkin, attaching page view and
                                revenue rep01is, 05/08/2012
                                DOJ-BP-0004813928
393-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                through 5-6-12
                                DOJ-BP-0004813929
393-b.                          Attachment. Spreadsheet titled Revenue by Category 043012-050612
                                DOJ-BP-0004813930
394.                            Email to Spear, attaching May 2012 revenue report, 05/25/2012
                                DOJ-BP-0004814280
394-a.                          Attachment. Spreadsheet titled Backpage - May 2012 Revenue Rep01i
                                4-25 to 5-22
                                DOJ-BP-0004814281
395.                            Email to Spear, attaching May 2012 updated revenue rep01i,
                                05/30/2012
                                DOJ-BP-0004814357
395-a.                          Attachment. Spreadsheet titled Backpage - May 2012 Revenue Report
                                4-25 to 5-22
                                DOJ-BP-0004814358
396.                            Email to Spear, attaching July 2012 revenue report, 07/30/2012
                                DOJ-BP-0004815514
396-a.                          Attachment. Spreadsheet titled Backpage - May 2012 Revenue Rep01i
                                4-25 to 5-22
                                DOJ-BP-0004815515
397.                            Email from Ferrer to Spear, attaching monthly revenue and ad count,
                                12/21/2012
                                DOJ-BP-0004817865
397-a.                          Attachment. Spreadsheet titled Monthly Revenue & Ad Count rep01i
                                by Section and Category
                                DOJ-BP-0004817866


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                 Date
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Exhibit     For         In
 No.      Evidence   Evidence
j~~-                            bmail trom .t<etTer to Larl<m, tlrunst, spear, attachmg monthly
                                revenue and ad count, 12/22/2012
                                DOJ-BP-0004817867
398-a.                          Attachment. Spreadsheet titled Monthly Revenue & Ad Count report
                                by Section and Category
                                DOJ-BP-0004817868
399.                            Email to Hyer, FetTer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 04/02/2013
                                DOJ-BP-0004818821
399-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 3-
                                31-13
                                DOJ-BP-0004818822
399-b.                          Attachment. Spreadsheet titled Revenue by category 032513 - 033113
                                DOJ-BP-0004818823
400.                            Email to Hyer, FetTer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 04/09/2013
                                DOJ-BP-0004818893
400-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 4-
                                7-13
                                DOJ-BP-0004818894
400-b.                          Attachment. Spreadsheet titled Revenue by category 040113 - 040713
                                DOJ-BP-0004818895
401.                            Email to Hyer, FetTer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 04/16/2013
                                DOJ-BP-0004818966
401-a.                          Attachment. Spreadsheet titled Revenue by category 040813 - 041413
                                DOJ-BP-0004818967
401-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 4-
                                14-13
                                DOJ-BP-0004818968
402.                            Email to Hyer, FetTer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue rep01is, 04/23/2013
                                DOJ-BP-000481903 5
402-a.                          Attachment. Spreadsheet titled Revenue by category 041413 - 042113
                                DOJ-BP-0004819036
402-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 4-
                                21-13
                                DOJ-BP-000481903 7
403.                            Email to Hyer, FetTer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 05/01/2013
                                DOJ-BP-0004819195
                                               49
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                 Date
           Marked    Admitted                                Description
Exhibit     For         In
  No.     Evidence   Evidence
40j-a,                          Attachment. Spreactsheet titled Kevenue by categmy 0422lj - 042283
                                DOJ-BP-0004819196
403-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 4-
                                28-13
                                DOJ-BP-0004819197
404.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 05/07/2013
                                DOJ-BP-0004819270
404-a.                          Attachment. Spreadsheet titled Revenue by categ01y 042913 - 050513
                                DOJ-BP-0004819271
404-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 5-
                                5-13
                                DOJ-BP-0004819272
405.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 05/14/2013
                                DOJ-BP-0004819350
405-a.                          Attachment. Spreadsheet titled Revenue by categmy 050613 - 051213
                                DOJ-BP-0004819351
405-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 5-
                                12-13
                                DOJ-BP-0004819352
406.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 05/21/2013
                                DOJ-BP-0004819443
406-a.                          Attachment. -Page View Growth Post CL change 5-9-13
                                DOJ-BP-0004819444
406-b.                          Attachment. Spreadsheet titled Revenue by categ01y 051313 - 051913
                                DOJ-BP-0004819445
407.                            Email to Hyer, Feirer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue repmis, 05/29/2013
                                DOJ-BP-0004819525
407-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 5-
                                26-13
                                DOJ-BP-0004819526
407-b.                          Attachment. Spreadsheet titled Revenue by categ01y 052013 - 052613
                                DOJ-BP-0004819527
408.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 06/04/2013
                                DOJ-BP-0004819574


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Exhibit     For         In
  No.     Evidence   Evidence
408-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 6-
                                02-13
                                DOJ-BP-0004819575
408-b.                          Attachment. Spreadsheet titled Revenue by category 052713 - 060213
                                DOJ-BP-0004819576
409.                            Email from Brunst to Spear noting New York revenue and Brunst's
                                new contact information (Cereus Properties), 06/10/2013
                                DOJ-BP-0004819631
410.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue rep01is, 06/11/2013
                                DOJ-BP-0004819646
410-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 6-
                                09-13
                                DOJ-BP-000481964 7
410-b.                          Attachment. Spreadsheet titled Revenue by category 060313 - 060913
                                DOJ-BP-0004819648
411.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 06/19/2013
                                DOJ-BP-0004819692
411-a.                          Attachment. Spreadsheet titled Revenue by category 060913 - 061613
                                DOJ-BP-0004819693
411-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 6-
                                16-13
                                DOJ-BP-0004819694
412.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 06/26/2013
                                DOJ-BP-0004819736
412-a.                          Attachment. Spreadsheet titled Revenue by category 061713 - 062313
                                DOJ-BP-000481973 7
412-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 6-
                                23-13
                                DOJ-BP-000481973 8
413.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 07/02/2013
                                DOJ-BP-0004819820
413-a.                          Attachment. Spreadsheet titled Revenue by category 062413 - 063013
                                DOJ-BP-0004819821
413-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 6-
                                30-13
                                DOJ-BP-0004819822

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Exhibit     For         In
 No.      Evidence   Evidence
414.                            bmail to Hyer, tel1'er, tlmnst, Spear, Larl<Jn, Padilla, attaclung page
                                view and revenue reports, 07/10/2013
                                DOJ-BP-0004819896
414~a.                          Attachment. Spreadsheet titled Revenue by categmy 070113 - 070713
                                DOJ-BP-0004819897
414-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 7-
                                7-13
                                DOJ-BP-0004819898
415.                            Email to Hyer, Fe1Ter, Bmnst, Spear, Larkin, Padilla, attaching page
                                view and revenue repo1is, 07/16/2013
                                DOJ-BP-0004819952
415-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 7-
                                14-13
                                DOJ-BP-0004819953
415-b.                          Attachment. Spreadsheet titled Revenue by category 070813 - 071413
                                DOJ-BP-0004819954
416.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 07/23/2013
                                DOJ-BP-0004820007
416-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 7-
                                21-13
                                DOJ-BP-0004820008
416-b.                          Attachment. Spreadsheet titled Revenue by categmy 071513 - 072113
                                DOJ-BP-0004820009
417.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 07/30/2013
                                DOJ-BP-0004820067
417-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 7-
                                28-13
                                DOJ-BP-0004820068
417-b.                          Attachment. Spreadsheet titled Revenue by category 072213 - 072813
                                DOJ-BP-0004820069
418.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue repmis, 08/07/2013
                                DOJ-BP-0004820128
418-a.                          Attachment. Spreadsheet titled Revenue by categmy 072913 - 080413
                                DOJ-BP-0004820129
418-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 8-
                                4-13
                                DOJ-BP-0004820130

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Exhibit     For         In
 No.      Evidence   Evidence
419.                            Email to Hyer, .Fe1Ter, Hrunst, Spear, Larlon, .Pad11la, attachmg page
                                view and revenue reports, 08/13/2013
                                DOJ-BP-0004820180
419-a.                          Attachment. Spreadsheet titled Revenue by category 080513 - 081113
                                DOJ-BP-0004820181
419-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 8-
                                11-13
                                DOJ-BP-0004820182
420.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 08/20/2013
                                DOJ-BP-0004820208
420-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 8-
                                18-13
                                DOJ-BP-0004820209
420-b.                          Attachment. Spreadsheet titled Revenue by category 081213 - 081813
                                DOJ-BP-0004820210
421.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 08/28/2013
                                DOJ-BP-000482023 5
421-a.                          Attachment. Spreadsheet titled Revenue by category 081913 - 082513
                                DOJ-BP-000482023 6
421-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 8-
                                25-13
                                DOJ-BP-000482023 7
422.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 09/03/2013
                                DOJ-BP-0004820380
422-a.                          Attachment. Spreadsheet titled Revenue by category 082613 - 090113
                                DOJ-BP-00048203 81
422-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 9-
                                1-13
                                DOJ-BP-0004820382
423.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue rep01is, 09/10/2013
                                DOJ-BP-0004820429
423-a.                          Attachment. Spreadsheet titled Revenue by category 090213 - 090813
                                DOJ-BP-0004820430
423-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 9-
                                8-13-1
                                DOJ-BP-0004820431

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Exhibit     For         In
 No.      Evidence   Evidence
424.                            Email to Hyer, .FeITer, tlrnnst, Spear, Larl<Jn, .l:'acillla, attachmg page
                                view and revenue reports, 09/17/2013
                                DOJ-BP-0004820467
424-a                           Attachment. Spreadsheet titled Revenue by category 090913 - 091513
                                DOJ-BP-0004820468
424-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 9-
                                15-13
                                DOJ-BP-0004820469
425.                            Email from FeITer to Hyer, Spear, attaching preliminary August 2013
                                revenue report, 09/20/2013
                                DOJ-BP-0004820502
425-a.                          Attachment. Spreadsheet titled New Total Revenue Rep01i format -
                                AUG 092013
                                DOJ-BP-0004820503
426.                            Email to Hyer, FeITer, Brnnst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 09/24/2013
                                DOJ-BP-0004820523
426-a.                          Attachment. Spreadsheet titled Revenue by category 091613 - 092213
                                DOJ-BP-0004820524
426-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change 9-
                                22-13
                                DOJ-BP-0004820525
427.                            Email to Hyer, FeITer, Brnnst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 10/01/2013
                                DOJ-BP-0004820576
427-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change 9-
                                29-13
                                DOJ-BP-0004820577
427-b.                          Attachment. Spreadsheet titled Revenue by category 092313 - 092913
                                DOJ-BP-0004820578
428.                            Email to Hyer, FeITer, Brnnst, Spear, Larkin, Padilla, attaching page
                                view and revenue rep01is, 10/08/2013
                                DOJ-BP-0004820633
428-a.                          Attachment. Spreadsheet titled Revenue by category 093013 - 100613
                                DOJ-BP-0004820634
428-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                10-6-13
                                DOJ-BP-0004820635
429.                            Email to Hyer, Fe1Ter, Brnnst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 10/16/2013
                                DOJ-BP-0004820697
                                               54
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 No.      Evidence   Evidence
4 -a.                           Attachment. Spreadsheet titled .Page View Urowth .Post CL change
                                10-13-13
                                DOJ-BP-0004820698
429-b.                          Attachment. Spreadsheet titled Revenue by category 100713 - 101313
                                DOJ-BP-0004820699
430.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 10/22/2013
                                DOJ-BP-0004820732
430-a.                          Attachment. Spreadsheet titled Revenue by Category 101413-102013
                                DOJ-BP-000482073 3
430-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                10-20-13
                                DOJ-BP-0004820734
431.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 10/29/2013
                                DOJ-BP-0004820811
431-a.                          Attachment. Spreadsheet titled Revenue by category 102113 - 102713
                                DOJ-BP-0004820812
431-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                10-27-13
                                DOJ-BP-0004820813
432.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 11/05/2013
                                DOJ-BP-0004820865
432-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                11-03-13
                                DOJ-BP-0004820866
432-b.                          Attachment. Spreadsheet titled Revenue by categmy 102813 -110313
                                (3)
                                DOJ-BP-0004820867
433.                            Email to Hyer, Ferrer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 11/13/2013
                                DOJ-BP-0004820963
433-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                11-10-13 ( 1)
                                DOJ-BP-0004820964
433-b.                          Attachment. Spreadsheet titled Revenue by Categmy 110413-111013
                                DOJ-BP-0004820965
434.                            Email to Hyer, Ferrer, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 11/26/2013
                                DOJ-BP-0004821067
                                              55
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Exhibit     For         In
  No.     Evidence   Evidence
4J4-a.                          Attacnment. ~preacts11eet titled Page View Urowth Post CL change
                                11-24-13 (1)
                                DOJ-BP-0004821068
434-b.                          Attachment. Spreadsheet titled Revenue by category 111813-112413
                                DOJ-BP-0004821069
435.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 12/03/2013
                                DOJ-BP-0004821118
435-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                12-01-13 (1)
                                DOJ-BP-0004821119
435-b.                          Attachment. Spreadsheet titled Revenue by Category 112413-120113
                                DOJ-BP-0004821120
436.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 12/10/2013
                                DOJ-BP-0004821169
436-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                12-08-13 (1)
                                DOJ-BP-0004821170
436-b.                          Attachment. Spreadsheet titled Revenue by Category 120213-120813
                                DOJ-BP-0004821171
437.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 12/17/2013
                                DOJ-BP-0004821242
437-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                12-15-13
                                DOJ-BP-0004821243
437-b.                          Attachment. Spreadsheet titled Revenue by Category 120913-121513
                                DOJ-BP-0004821244
438.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching
                                revenue report, 12/19/2013
                                DOJ-BP-0004821272
438-a.                          Attachment. Spreadsheet titled Revenue by Category 120913-121513
                                DOJ-BP-00048212 73
439.                            Email to Hyer, Fe1Ter, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue repmis, 12/26/2013
                                DOJ-BP-0004821307
439-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                12-22-13
                                DOJ-BP-0004821308

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439-b.                          Attachment. ::,;preadsheet titled Kevenue by Category 121613-1'2'2'213
                                DOJ-BP-0004821309
440.                            Email to Hyer, Fener, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 01/07/2014
                                DOJ-BP-00048213 96
440-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                01-05-14
                                DOJ-BP-0004821397
440-b.                          Attachment. Spreadsheet titled Revenue by Category 123013-010514
                                DOJ-BP-0004821398
441.                            Email to Hyer, Fener, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 01/14/2014
                                DOJ-BP-0004821439
441-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                01-12-14
                                DOJ-BP-0004821440
441-b.                          Attachment. Spreadsheet titled Revenue by Category 010614-011214
                                DOJ-BP-0004821441
442.                            Email to Hyer, Fener, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 01/21/2014
                                DOJ-BP-0004821493
442-a.                          Attachment. Spreadsheet titled Revenue by Category O11314-011914
                                DOJ-BP-0004821494
442-b.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                01-19-14
                                DOJ-BP-0004821495
443.                            Email to Hyer, Fener, Brunst, Spear, Larkin, Padilla, attaching page
                                view and revenue reports, 01/28/2014
                                DOJ-BP-0004821575
443-a.                          Attachment. Spreadsheet titled Page View Growth Post CL change
                                01-26-14
                                DOJ-BP-0004821576
443-b.                          Attachment. Spreadsheet titled Revenue by Category 012014-012614
                                DOJ-BP-0004821577
444.                            Email to Fener, Hyer, Spear, attaching December 2014 revenue
                                report, 01/06/2015
                                DOJ-BP-0004822964
444-a.                          Attachment. Spreadsheet titled Revenue Report - December vl
                                DOJ-BP-0004822965


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Exhibit     For         In
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44'.).                          bmall to :Spear, attacnmg Apnl-May :LU l '.) tmancrnl statements,
                                07/07/2015
                                DOJ-BP-0004823277
445-a.                          Attachment. PDF titled April 2015 Building Expenses
                                DOJ-BP-0004823278
445-b.                          Attachment. PDF titled April 2015 Building Income Statement
                                DOJ-BP-0004823279
445-c.                          Attachment. PDF titled April 2015 Capital Expenses
                                DOJ-BP-0004823280
445-d.                          Attachment. PDF titled May 2015 Building Income Statement
                                DOJ-BP-0004823 281
445-e.                          Attachment. PDF titled May 2015 Building Expenses
                                DOJ-BP-0004823282
445-f.                          Attachment. PDF titled May 2015 Capital Expenses
                                DOJ-BP-0004823283
446.                            Email to Spear, attaching June 2015 financial statements, 08/03/2015
                                DOJ-BP-0004823348
446-a.                          Attachment. PDF titled June 2015 Building Expense Report
                                DOJ-BP-0004823 349
446-b.                          Attachment. Spreadsheet titled June 2015 Building Expense Repmi
                                DOJ-BP-0004823350
446-c.                          Attachment. Spreadsheet titled June 2015 Building P & L
                                DOJ-BP-0004823351
447.                            Email from Spear, attaching July 2012 financial statements,
                                08/07/2012
                                DOJ-BP-0004824 228
447-a.                          Attachment. Spreadsheet titled Back.page.com by Category - Jul 2012
                                DOJ-BP-0004824229
447-b.                          Attachment. Spreadsheet titled Back.page.com Graphs and Primary
                                Metrics - Jul 2012
                                DOJ-BP-0004824230
447-c.                          Attachment. Spreadsheet titled BP.com Financials - Jul 2012
                                DOJ-BP-0004824231
447-d.                          Attachment. Spreadsheet titled illL12 DET BP P&L
                                DOJ-BP-0004824 23 2
447-e.                          Attachment. Spreadsheet titled VVM PROFIT-LOSS JUL 2012
                                DOJ-BP-0004824233
448.                            Email from Spear, attaching page view and revenue repmis,
                                08/07/2012
                                DOJ-BP-0004824374

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Exhibit     For           In
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441S-a.                             Attachment. ~preadsheet titled .Page View Urowth .Post CL change
                                    through 8-5-12
                                    DOJ-BP-0004824375
448-b.                              Attachment. Spreadsheet titled Revenue by Category 073012-080512
                                    DOJ-BP-0004824376
449.                                Email to Spear, attaching May 2012 revenue report, 05/25/2012
                                    DOJ-BP-0004825591
449-a.                              Attachment. Spreadsheet titled Backpage - May 2012 Revenue Report
                                    4-25 to 5-22
                                    DOJ-BP-0004825592
450.                                Email to Spear, attaching July 2012 revenue rep01i, 07/30/2012
                                    DOJ-BP-000482615 6
450-a.                              Attachment. Spreadsheet titled Backpage - Jul 2012 Revenue Rep01i
                                    6-27 to 7-24
                                    DOJ-BP-0004826157
451.                                Beverlie Berry Audit
                                    DOJ-BP-0000000615
452.                                Trygar Audit
                                    DOJ-BP-0000001211
453.                                Angela Boyd Audit
                                    DOJ-BP-00000283 80
454.                                Kolter Whelan Audit
                                    DOJ-BP-0000130950
455.                                Bryan Patenge Audit
                                    DOJ-BP-0000033458
456.                                Miquela Tevis Audit
                                    DOJ-BP-000003 6934
457.                                Marco Hernandez Audit
                                    DOJ-BP-0000034509
458.                                Affidavit of Martin Elliot, Visa, Inc., 08/11/2015
                                    DOJ-BP-000485 73 94-DOJ-BP-000485 73 96
459.                                Letter from Sheriff Dart to Visa CEO re Backpage, 06/29/2015
                                    DOJ-BP-000485 73 89-DOJ-BP-000485 73 93
460.                                Visa Merchant Data Standards, October 2015
                                    DOJ-BP-0004700150-DOJ-BP-0004700395
461.                                Visa Statement re Backpage.com prepared by VP John Earnhardt,
                                    07/01/2015
                                    DOJ-BP-0004692205
462.                                Email from Ferrer to Snedden re American Express, 01/27/2015
                     to /1'1. liJ   DOJ-BP-000492 733 0-DOJ-BP-000492 73 31

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Exhibit     For         In
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46.5.                              bmalls between .t<errer and ttansen re Amencan bxpress, Ul/2//J.OD
                                   DOJ-BP-0005064678-DOJ-BP-0005064679
464.                               Email from Snedden to Ferrer re American Express, 03/16/2015
                                   DOJ-BP0004884344
465.                               Emails between Ferrer and Hansen re American Express, 03/31/2015-
                                   04/01/2015
                                   DOJ-BP-0004927327-DOJ-BP-0004927329
466.                               Email from Ferrer to Hansen re American Express, 04/22/2015
                     10/1 I h?J DOJ-BP-0004929197
466-a.                             Attachment. AMEX- Screen- shot
                     Ib /1 I /z.1, DOJ-BP-0004929198
467.                               Email from Hansen to Ferrer re American Express, 04/22/2015
                                   DOJ-BP-000492 777 6- DOJ-BP-000492 7777
468.                               Email from Ferrer to Hansen re American Express, 04/22/2015
                                   DOJ-BP-0004926785- DOJ-BP-0004926787
469.                               Emails between Ferrer and Hyer re Back.page.com customers who use
                                   American Express, 04/21/2015-04/22/2015
                     9/21 /-z.,;;  DOJ-BP0004900005- DOJ-BP-0004900008
470.                               Email from Ferrer to Hansen re American Express, 04/24/2015
                     \0/11/2:~     DOJ-BP-0005064721
471.                               Email re disabling American Express charges adult category
                                   payments, 04/30/2015
                     q /.1.. , Ii? DOJ-BP-0003410608-DOJ-BP-0003410612
472.                               Email from Hansen to Ferrer re American Express, 07/10/2015
                                   DOJ-BP-0005064 729
473.                               Emails between Ferrer and Hansen re American Express, 07/21/2015
                                   DOJ-BP-0004486716- DOJ-BP-0004486718
474.                               Email from Ferrer to Hansen re American Express, 07/22/2015
                     9{,Ll h~      DOJ-BP-0005064739- DOJ-BP-0005064740
475.                               American Express Merchant Reference Guide, April 2015
                      10/,, h,3 DOJ-BP-0004694982- DOJ-BP-0004695047
476.                               American Express Merchant Reference Guide, October 2013
                                   DOJ-BP-0004694920- DOJ-BP-0004694981
477.                               Email from Paolucci to Simon forwarding letter from Sheriff Dart,
                                   06/29/2015
                                   DOJ-BP-0004455742- DOJ-BP-0004455744
478.                               Letter from Sheriff Dart to MasterCard CEO, 06/29/2015
                                   DOJ-BP-0004455745- DOJ-BP-0004455749
479.                               MasterCard Rules, 12/11/2014
                                   DOJ-BP-0004695472- DOJ-BP-0004695731

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Exhibit     For         In
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480.                            Letter tram .Pearson to Brunst re US Banlc account closure,
                                04/02/2014
                                DOJ-BP-0002712519
481.                            Thomas Adam Umporowicz, Jr., CV
                                United States v. Lacey, et al., Case No. 2: l 8-cr-00422-SMB, D. Ariz.,
                                Doc. 638-1 at 6-14
482.                            Declaration of Thomas Adam Umporowicz, Jr., 08/14/2015
                                DOJ-BP-0004543818- DOJ-BP-0004543822
483.                            Donna M. Gavin, CV
                                United States v. Lacey, et al., Case No. 2: 18-cr-00422-SMB, D. Ariz.,
                                Doc. 638-1 at 4
484.                            Declaration of Sgt.-Det. Donna M. Gavin, 08/13/2015
                                DOJ-BP-0004857593- DOJ-BP-0004857595
485.                            Declaration of Paula Selis, 06/27/2012 -
                                DOJ-BP-0004457055 -DOJ-BP-0004457057
486.                            Letter from NAAG to Fifer re Backpage's failure to limit prostitution
                                activity on its website, 08/31/2011
                                DOJ-BP-0000003653- DOJ-BP-0000003659
487.                            Letter from Fifer to NAAG responding to original letter, 09/23/2011
                                DOJ-BP-0004440806- DOJ-BP-0004440815
488.                            Brian C. Fichtner, CV
                                United States v. Lacey, et al., Case No. 2:18-cr-00422-SMB, D. Ariz.,
                                Doc. 638-1 at 2
489.                            Fichtner Declaration and Exhibit A (DVD) re video capture of
                                Backpage.com's Sacramento webpage, 05/23/2019
                                DOJ-BP-0004885289- DOJ-BP-0004885290
489-a.                          Video- 2015-03-06- 091756.wmv
                                fBrian Fichtner-created video on DVD referenced in 4891
489-al.                         Clip from Exhibit 489-a

489-a2.                         Clip from Exhibit 489-a

489-a3.                         Clip from Exhibit 489-a

489-a4.                         Clip from Exhibit 489-a

489-a5.                         Clip from Exhibit 489-a

489-a6.                         Clip from Exhibit 489-a


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4~9-b.                          ~creen s11ot Auto Kepost prices trom .t< 1c11tner vldeo
                                USAO-BP-0032488
489-c.                          Screen shot SponsorAd prices from Fichtner video
                                USAO-BP-0032489
490.                            CalDOJ Investigation Report #3 re 3/6/15 posting of two fictional
                                undercover ads on Backpage.com's Sacramento webpage -plus
                                evidence item nos. 003-001, 003-002; 003-003 and attachments 3-1
                                thru 3-5, 03/29/2015
                                USAO-BP-0032495 - USAO-BP-0032535
490-a.                          Email from sacramento.backpage.com to katiecatt19@gmail.com, x
                                re Edit/Delete link. Sweet dreams do come true! Call me!, 3/6/15
                                USAO-BP-0032490
490-b.                          Email from sacramento.backpage.com to katiecatt19@gmail.com, x
                                re Edit/Delete link. Sofa for sale! ... , 3/6/15
                                USAO-BP-0032491
490-c.                          Email from sacramento.backpage.com to katiecattl 9@gmail.com, x
                                re Edit/Delete link. Sofa for sale! ... , 3/6/15
                                USAO-BP-0032492
490-d.                          Screen shot of ad Sweet dreams do come true! Call me! - 24
                                USAO-BP-0032493
490-e.                          Screen shot of ad $150, sofa for sale!
                                USAO-BP-0032494
491.                            CalDOJ Investigation Report #4 re responses to 3/6/15 fictional
                                undercover adult escoti ad - plus evidence item nos. 004-001 and
                                004-002, and attachments 4-1 and 4-2, 03/16/2015
                                DOJ-BP-0004857649- DOJ-BP-0004857676
492.                            CalDOJ Investigation Repoti #5 re 5/5/15 successful posting of
                                undercover adult esc01i ad on Back.page.com with Rocklin Police
                                Dept. Det. Zackary Krempin - plus evidence item nos. 005-001 and
                                005-002 and attachments 5-1 thru 5-4, 05/07/2015
                                DOJ-BP-0004857677- DOJ-BP-0004857706
493.                            CalDOJ Investigation Repoti #6 re 5/6/15 re purchase with Back.page
                                "Credits" and attempted unsuccessful posting of fictional adult
                                undercover ad with forbidden terms - plus evidence item nos. 006-
                                001 and 006-002 and attachments 6-1 thru 6-4, 05/16/2015
                                DOJ-BP-0004857707- DOJ-BP-0004857718
494.                            CalDOJ Invesigation Rep01i #21 re Fichtner's attempt to interview
                                "Pinky" - plus evidence item no. 021-001 and attachment 21-1,
                                03/07/2016
                                DOJ-BP-0004857719- DOJ-BP-0004857724

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Exhibit     For                In
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49).                                     CalDUJ lnvest1gat10n Report fU.2 re Fichtner' s attempt to mterv1ew
                                         Doretha F. - plus evidence item no. 022-001 and attachment 22-1,
                                         03/07/2016
                                         DOJ-BP-0004857725- DOJ-BP-0004857730
496.                                     CalDOJ Investigation Report #23 re Fichtner' s attempt to interview
                                         Marquisa W. - plus evidence item no. 023-001 and attachment 23-1,
                                         03/07/2016
                                         DOJ-BP-0004857731- DOJ-BP-0004857735
497.                                     CalDOJ Interview Report #24 re Fichtner's attempt to interview
                                         Angelica J. - plus evidence item no. 024-001 and attachment 24-1,
                                         03/07/2016
                                         DOJ-BP-0004857736- DOJ-BP-0004857748
498.                                     Confidential Information Memo, created by Duff and Phelps, June
                                         2011
                                         DOJ-BP-00000063 56- DOJ-BP-00000064 26
499.                                     Emails between Spear and Kopecky re 2014 Backpage Budget,
                                         attaching salary information and revenue, August-September 2014
                                         DOJ-BP-0000868447- DOJ-BP-0000868448
499-a.                                   Attachment. 2014 Backpage Budget
                                         DOJ-BP-0000868449- DOJ-BP-0000868699
500.                                     Emails between Brunst and BDO Consulting re Backpage's financial
                                         forecast, 11/11/2015
                        <-i   lu /2-11   DOJ-BP-0004 732467 - DOJ-BP-0004 732468
501.                                     Email to Padilla, Ferrer, entitled "Good Articles," 12/11/2015
                                         DOJ-BP-0003079338
502.                                     Email from Parent of Trafficking Victim to Backpage Support,
                                         4/27/12
                                         DOJ-BP-00003 2 7960
503.                                     Email from Spear to Ferrer with attached memos, 6/22/07
                                         DOJ-BP-0000194003
503-a.                                   Attachment entitled "Backpage.com Personals Criteria"
                                         DOJ-BP-0000194004-0000194005
503-b.                                   Second Attachment entitled "Backpage.com Personals Criteria"
                                         DOJ-BP-0000194006
504.                                     Ad involving P.R. entitled "50 Red
                                         R *O*S*E*S S*P*E*C*I* A *L - DONTMISS OUT!!!!!"
                                         DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                     '1/14 h?J           0005070384)
505.                     4,              Ad involving P.R. entitled "75 Red
                                         R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"

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                                       UUJ-UUU)U/U31H-UUJ-.l:fP-UUU)U /Uj':Jj (ad begms at UUJ-.1:H-'-
                                       0005070385)
506.                                   Ad involving P.R. entitled "50 Red
                                       R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                       DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                        °' I1>4 /2-9   0005070386)
507.                                   Ad involving P.R. entitled "50 Red
                                       R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                            I
                                       DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                                       0005070387)
508.                                   Ad involving P.R. entitled "50 Red
                                       R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                       DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                                       0005070388)
509.                                   Ad involving P.R. entitled "50 Red
                                       R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                       DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                                       0005070389)
510.                                   Ad involving P.R. entitled "50 Red
                                       R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                \      DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                                       0005070390)
511.                                   Ad involving P.R. entitled "50 Red
                                       R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                       DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                                       0005070391)
512.                                   Ad involving P.R. entitled "50 Red
                                       R*O*S*E*S S*P*E*C*I*A*L - DONT MISS OUT!!!!!"
                                       DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                                       0005070392)
513.                                   Ad involving P.R. entitled "50 Red
                            ~          R*O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                       DOJ-0005070381-DOJ-BP-0005070393 (ad begins at DOJ-BP-
                                       0005070393)
514.                                   Ad entitled "Finally!! PSE & GFE-Kimber Rae and MIA Marie
                                       Together BOOK NOW"
                                       DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                       0005070398)
515.                                   Ad entitled "GFEE New - 18"
                                       DOJ-BP-0005070394-DOJ-BP-0005070440
                                       (ad begins at DOJ-BP-0005070400)
                                                      64
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)lb.                            Ad entitled "Mmd blowmg 11rrany. lncall m launton- :YI," with
                                accompanying text "Soft GFE ... Im real and reviewed"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070402)
517.                            Ad entitled "Top Model 2016 Special 'Best Looking Young Asian'
                                . .. - 22," with accompanying text "Sexy Asian Girl Incall Service"
                                and "GFE"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070405)
518.                            Ad entitled "Snowbirds and Mature Businessmen Safe & Discreet
                                Passion Awaits You - 44," with accompanying text "You can find a
                                few cmTent reviews at T3R xxxxxx#" and "I have been EROS
                                authenticated"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070411)
519.                            Ad entitled "The True (G)irl (F)riend (E)xperience ... Visiting
                                November 27th Sunday~ PRE-BOOKING SPECIAL~ - 100," with
                                accompanying text "Let's blur restrictions between financial
                                transaction & Romantic Connection"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070408)
520.                            Ad entitled "Top Asian Grand Opening 100% Young 100% Sexy ...
                                -23," with accompanying text "BEST INCALL IN TOWN!" and
                                "GFE"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070413)
521.                            Ad entitled "I LOVE MEN!! I'm a GFE. OutCall and Incall with
                                exception on the Incall! ! - 42"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070416)
522.                            Ad entitled "OMO Sexy Sensual 36DD-24-36 Stacked College Coed
                                With The Best Mouth Ever! BOOK NOW! -24," with accompanying
                                text "I do ALL the things YOU Wish Your Wife Did!!" and
                                "(G).(F).(E) 30 min/$180"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070419)
523.                            Ad entitled "Real & Reviewed Girlfriend Theonesweet.weebly.com -
                                30," with accompanying text "250 G F E"
                                DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                0005070422)

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)24.                                 Ad entitled "KlSSlNU & U.F..b KO.KEAN Ul.KLS - 20"
                                     DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                     0005070424)
525.                                 Ad entitled "Pettit Sexy #Corey# 4407239339 - 39," with
                                     accompanying text "complete GFE experience"
                                     DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                     0005070426)
526.                                 Ad entitled "WANNA HANG OUT NOW UpScale New In Town!
                                     Call ME now for an unforgettable visit-20," with accompanying text
                                     "100% GFE with 100% no Pimps"
                                     DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                     0005070429)
527.                                 Ad entitled "Ready for some fun daddy? This is your chance too have
                                     a amazing time - 21," with accompanying text "Slim body, nice tits,
                                     freaky, GFE"
                                     DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                     0005070432)
528.                                 Ad entitled "New in town BiGBubble Booty SWEETLiPS HOT
                                     BODY - 24," with "GFE" in accompanying text
                                     DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                     0005070435)
529.                                 Ad entitled "Pettit Sexy #Corey# 4407239339 - 30," with
                                     accompanying text "complete GFE experience"
                                     DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                     0005070437)
530.                                 Ad entitled "ASIAN GODDESS - 100% young- 20," with
                                     accompanying text "100% Discreet service" and "#GFE"
                                     DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                     0005070439)
531.                                 Email from Elliott to Aditya and Richey re Backpage accepting Visa
                                     through Bank of China, 12/15/2016
                                     VISA-BP-AZ07561-VISA-BP-AZ07566
532.                                 Email from Padilla to Moderators Dated 4-3-12 and Titled "Image
                                     Restoration Development is Done" with Attached DOJ-BP-
                     ci fiq I1..-,   0000000190
532-a.
                         ~           Attachment "Image Restore" Powerpoint
                                     DOJ-BP-0000000191-0000000197
533.                                 Email from Fen-er to Spear Re Backpage Tenns of Use, 03/02/2004,
                                     DOJ-BP-0002118687
533-a.                               Attachment entitled "Terms & Conditions (BACKPAGE.COM)"
                                     DOJ-BP-0002118689-0002118692
                                                   66
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)34.                                    Document entitled "New Y orl<. Agenda , 09/ l ~/2006,
                                        DOJ-BP-0004602152- DOJ-BP-0004602154
535.                                    Email from Ferrer to Larkin, Spear and others, Subject: "Proposed
                                        Oct 11 agenda", 10/10/2006,
                                        DOJ-BP-0004602179
535-a.                                  Attachment entitled "October Backpage Agenda"
                                        DOJ-BP-0004602181-DOJ-BP-0004602190
536.                                    Email from Ferrer to Spear and Hyer, "Recommendation to grow sites
                                        more aggressively ( draft)", 03/16/2007,
                     CJ   /.21e ,~      USAO-BP-0002453 - USAO-BP-0002454
537.                                    Document entitled "RE: Recommendations to grow sites more
                                        aggressively", 03/16/2007,
                                        USAO-BP-0002455 - USAO-BP -0.002456
538.                                    Email to Ferrer on Community Removed Message Notifications,
                                        06/26/2007,
                                        DOJ-BP-0001394458- DOJ-BP 0001394459
539.                                    Email from Ferrer, "Hey David-Carl at Backpage", 07/13/2007,
                                        DOJ-BP-0002134191
540.                                    Email from Padilla to Ferrer and others, "Fwd: Error", 07/20/2007,
                                        DOJ-BP-0002125519 - DOJ-BP-0002125520
541.                                    Email from Ferrer, "banner ad and city re-directs", 08/13/2007,
                                        DOJ-BP-0002134085
541-a.                                  Attachment, Backpage.com Banner Ad
                                        DOJ-BP-000213086
542.                                    Document entitled "Meeting Agenda for 9-19-07", 09/19/2007,
                                        DOJ-BP-0004602295 - DOJ-BP-0004602296
543.                                    Email from Spear to Ferrer, "memo", 10/26/2007,
                                        DOJ-BP-0002133844
543-a.                                  Attachment, "Policy Memo on adult advertisers 10-22-07"
                                        DOJ-BP-000213845
544.                                    Email from Ferrer on Ads Removed for Illegal Language, 11/05/2007,
                                        DOJ-BP-0002125517
545.                                    Email from Ferrer, "Your ads on backpage.com", 11/06/2007,
                                        DOJ-BP-0002125495
546.                                    PowerPoint presentation named Personals Project, 12/20/2007,
                                        DOJ-BP-0002125495
547.                                    Capture of Popular Adult Searches for Phoenix as of0l/18/2008,
                        9 /r'> I1..?J   USAO-BP-0024582
548.                                    Email from Spear to Ferrer, "Updated Terms of Use", 01/22/2008,
                                        DOJ-BP-0002117955

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54~-a.                               Attachment, 1 e1ms or Use rewnte lL-2::,-u I ,
                                     DOJ-BP-0002117956 - DOJ-BP-0002117964
549.                                 Report on Refe1Tals to Backpage from TER, 01/2008 and O1/2011
                        9 Ir~ h.?    DOJ-BP-0004900291- DOJ-BP-0004 900292
550.                                 Document entitled "RE: TER Review", dated 02/08/2008
                                     USAO-BP-0000976 - USAO-BP-0000977 -"
551.                                 Emails from Fe1Ter and Spear, "Te1ms of Use changes", 02/22/2008,
                        c1/1;; /V;   DOJ-BP-0002127277 - DOJ-BP-0002127278
551-a.                               Attachment, "Craig vs BP erotic services 2",
                                     DOJ-BP-0002127281 - DOJ-BP-0002127296
551-b.                               Attachment, "Te1ms of Use changes Section 4 Feb 15 2008.doc",
                                     DOJ-BP-0002127297
552.                                 Emails between Fe1Ter and Spear, "Dan Job desc (I spoke to Dan)",
                                     03/04/2008,
                                     USAO-BP-0000691- USAO-BP-0000692
553.                                 Email to Hyer, Fe1Ter, Spear and others, "Revised Adult Policy and
                                     Process for Backpage.com", 03/20/2008,
                                     DOJ-BP-0002127306 - DOJ-BP-0002127307
553-a.                               Attachment, "Adult Advertising Policy Backpage.doc",
                                     DOJ-BP-0002127309
554.                                 Email from Fe1Ter, "User found a loophole", 03/28/2008,
                                     DOJ-BP-0001394454 - DOJ-BP-0001394456
555.                                 Emails between Fe1Ter and Mersey, "Re: traffic", 03/31/2008,
                                     USAO-BP-0002462 - USAO-BP-0002463
555-a.                               Attachment, Google Analytics Report for New York page titles
                                     containing the word "esc01i" for month ended 03/30/2008,
                                     USAO-BP-015345 - USAO-BP-015357
556.                                 Email from Fe1Ter to Spear, "MBO- affiliate program", 04/11/2008,
                                     DOJ-BP-00046023 33-00046023 3 6
557.                                 Email from Fe1Ter to Spear and others, "April 30 (Dese1inet meeting
                                     in Phx)", 04/28/2008,
                                     DOJ-BP-00046023 38
557-a.                               Attachment, Dese1inet Agenda April 2008,
                                     DOJ-BP-0004602339 - DOJ-BP-0004602341
558.                                 Emails between Fe1Ter and Elms, re: Desert Divas, 04/29/2008,
                                     DOJ-BP-0002133415
559.                                 Capture of News A1iicle re: David Elms, 06/17/2008,
                                     USAO-BP-015358
560.                                 Emails between Fe1Ter and Elms, "Re: A little birdie", 07/31/2008,
                                     DOJ-BP-0002133350

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)bl.                                   bmalls between .t<etTer, :spear and others, .. Keg1stenng tlacl<.page with
                                       the CyberTipline", 09/09/2008,
                                       USAO-BP-0000857-0000858
562.                                   Document entitled "RE: Adult Strategy", 11/03/2008,
                                       DOJ-BP-0004900254 - DOJ-BP-0004900526
563.                                   Email "Re Backpage is now registered with the CyberTipline",
                                       11/18/2008, DOJ-BP-0002133088
564.                                   Emails between Fe1Ter and Elms, "Invoice Example", 11/24/2008,
                                       DOJ-BP-0002134665
564-a.                                 Attachment, Elms Web Services invoice dated 11/24/2008,
                                       DOJ-BP-0002134666
565.                                   Email to Fener and Spear re: CyberTipline, 12/09/2008,
                                       DOJ-BP-0002125356 - DOJ-BP-0002125357
566.                                   PowerPoint presentation named 2008ClassConf, 10/14/2008,
                                       DOJ-BP0004900253
567.                                   Email from Fener, "January Invoice for Banner Ad", 01/12/2009,
                     q /i?J h"J        USAO-BP-0001006
567-a.

568.
                             +         Attachment, Elms Web Services dated 01/01/2009,
                                       USAO-BP-0000975
                                       Emails between FetTer and Elms, "Hoping to double refetTals this
                                       way", 01/13/2009,
                                       DOJ-BP-0002132933 - DOJ-BP-0002132936
569.                                   Email from Backpage sales, "We accept VISA and AMEX gift
                                       cards", 01/26/2009,
                                       DOJ-BP-0002132882 - DOJ-BP-0002132883
570.                                   Email from FetTer to Elms, Agenda for Tues Feb 10 th, 02/03/2009,
                        q /r,, Ii.'?   DOJ-BP-0002132844 - DOJ-BP-0002132845
571.                                   Email from Elms to FetTer with Craigslist ad referrals, 02/10/2009,
                                       DOJ-BP-0002135611 - DOJ-BP-0002135620
572.                                   Capture of News Article, "Desert Divas Alleged Prostitution Ring
                                       Client List Released", 02/12/2009,
                                       USAO-BP-015359
573.                                   Capture of News Article, "TheEroticReview.com Founder David
                                       Elms AtTested in Phoenix", 02/17/2009,
                                       USAO-BP-015360
573-a.                                 Redacted version of Exh 573
                        9/vJJ h..lJJ   USAO-BP-015360
574.                                   Emails (with attachment) between Ferrer and TER Staff, "Banner ad
                            i'         change", 02/19/2009,
                                       USAO-BP-015361 - USAO-BP-015365

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YI).                                 bmall to tener, .. bLM~ analysis (tor ~cott) , U2/2o/2Uu~,
                        Cl (,?J /~   DOJ-BP-0002132711
575-a.                               Attachment, ELMS analysis Excel spreadsheet, 02/26/2009,
                                     DOJ-BP-0002132712
575-b.                               PDF of Exhibit 575-a; Attachment, ELMS analysis Excel spreadsheet,
                        qfi,h.?      02/26/2009, DOJ-BP-0002132712
576.                                 Emails between Fe1Ter and Somad, "Image Review in NYC",
                                     04/03/2009,
                                     USAO-BP-0000877 - USAO-BP-0000878
577.                                 Emails between Backpage and TER Staff, "user is slandering The
                                     Erotic Review", 04/10/2009,
                                     USAO-BP-015370
578.                                 Excel spreadsheet, "Carl Fener CY 2009 bonus package" 04/14/2009,
                                     DOJ-BP0004900278
579.                                 Emails between Fe1Ter and Padilla, "Craigslist throws backpage under
                                     the bus", 05/17/2009,
                     °' Ir'; /z,     DOJ-BP-0002125289 - DOJ-BP-0002125290
579-a.                               Linked blog post from Craigslist, "Target Practice",
                                     USAO-BP-00245 83
580.                                 Email to Ferrer and Padilla, "adult abuse and abatement", 05/26/2009,
                                     DOJ-BP-0002125275 - DOJ-BP-0002125277
581.                                 Email from Spear to Ferrer, "Draft of adult abuse abatement",
                                     05/26/2009,
                     c\ / 2-2s{2-3   DOJ-BP-0002125279 - DOJ-BP-0002125280
582.                                 Email from Dollar Bill to Fener, re: links to blog, 05/27/2009,
                                     USAO-BP-0002464 - USAO-BP-0002466
583.                                 Emails to FeITer re: unauthorized photos on Backpage, 06/05/2009,
                                     DOJ-BP-0001390818 - DOJ-BP-00001390822
584.                                 Email from Hyer to Ferrer, "Friday Conference Agenda", 11/12/2009,
                                     DOJ-BP-0004602396
584-a.                               Attachment entitled Sales and Marketing State of the Union,
                                     DOJ-BP-0004602393 - DOJ-BP-0004602395
585.                                 Email from Spear to FeITer, "list", 11/19/2009,
                        cijpl   h?   DOJ-BP-0002131723
585-a.                               Attachment, Common te1ms and code words resulting in a post being
                           ~         removed 8-15-09.doc,
                                     DOJ-BP-0002131724
586.                                 Email from Spear to Ferrer, 2010 Budget Presentation drafts,
                                     11/23/2009,
                                     DOJ-BP-0000193193 - DOJ-BP-0000193194

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J~b-a.                              Attachment, PowerPomt presentat10n entitled HacKpage.com Starr
                                    Presentation,
                                    DOJ-BP-0000193195 - DOJ-BP-0000193208
586-b.                              Attachment, PowerPoint presentation, Backpage.com 2010 Budget
                                    Presentation,
                                    DOJ-BP-0000193209 - DOJ-BP-0000193236
586-c.                              Attachment, PowerPoint presentation, Backpage.com 2010 Budget
                                    Presentation with comments from Spear,
                                    DOJ-BP-0004602403
587.                                Email forwarded by FeITer, "final adult presentations", 12/07/2009,
                                    DOJ-BP-0000198221
587-a.                              Attachment, PowerPoint presentation entitled Backpage.com Adult
                                    Content Training Session, DOJ-BP-0000198223-0000198229
587-b.                              Attachment, PowerPoint presentation, Backpage.com Adult Content
                                    Training Session with notes, DOJ-BP-0000198223-0000198229
588.                                PowerPoint presentation, 2010 Budget Presentation, 12/10/2009,
                     911-?J/2.1.,   DOJ-BP-0004602403
589.                                Excel Spreadsheet, 2010 Dan Hyer CY bonus package,
                                    DOJ-BP-0004885297
590.                                Emails to Hyer and FeITer regarding blocked ads, 02/23/2010,
                                    DOJ-BP-0000197668 - DOJ-BP-0000197678
591.                                News Article on David Elms being sentenced to 4 ½ years for assault
                                    attempt, 03/22/2010,
                                    USAO-BP-00023232 - USAO-BP-0023236
592.                                Capture of posting on Backpage blog, "$1 Charge to Post in Personals
                                    Now Implemented in Most Cities", 04/13/2010,
                                    USAO-BP-0024584
593.                                Capture of posting on Craigslist blog, "Sad State of Affairs at the
                                    New York Times", 04/28/2010,
                                    USAO-BP-00245 85
593-a.                              Screenshot linked to posting, "Ev3Ry !!! M@N's!///! !% W3tt ***
                                    Dre@M_ CuM% TrnE* ** - 24",
                     r1/1i, l1-"J   USAO-BP-00245 86
593-b.                              Screenshot linked to posting,"** I JuST TuRNeD 18
                         i          YeSTeRDaYY** FiNaLLY LeGal -18",
                                    USAO-BP-0024587
593-c.                              Redacted version of Exh 593
                                    USAO-BP-0024585
594.                                Capture of posting on Backpage blog "Buckmaster Attacks
                                    Backpage ... Again", 04/30/2010,

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                                  USAO-l:H'-UU24)88

595.                              Email from Fen-er to Spear, Desert net Agenda, 08/19/2010,
                                  DOJ-BP-0004602432
595-a.                            Attachment Backpage.com agenda: August 18, 2010,
                                  DOJ-BP-0004602431
596.                              Email from Fen-er to Desertnet, Update on Priorities, 09/04/2010,
                                  DOJ-BP-0002124672 - DOJ-BP-0002124675
597.                              Email from Fe1Ter to Spear, "Fwd: Any idea on subpoena volume?",
                                  09/10/2010,
                                  DOJ-BP-0002127713
597-a.                            Attachment PowerPoint presentation,
                                  Backpage_ adult_content_control_revised. ppt,
                                  DOJ-BP-0002127714 - DOJ-BP-0002127730
598.                              Dese1inet issue rep01i, Special rights for India, 09/23/2010,
                                  DOJ-BP-0002112885 - DOJ-BP-0002112892
599.                              Emails between H Nigam and E Allen, 09/28/2010,
                                  USAO-BP-0000860
600.                              Emails between FetTer, Padilla and Hyer, Review/Moderation
                                  Instmctions for Indian Moderators, 10/05/2010,
                     9/14 /V;     DOJ-BP-0002124350 - DOJ-BP-0002124355
601.                              Emails between H Nigam and E Allen transmitting review document
                                  and recommendations regarding Backpage, 10/05/2010,
                                  USAO-BP-0000861
601-a.                            Attachment Backpage Review.doc,
                                  USAO-BP-015371 - USAO-BP-015374
602.                              Email from Larkin to Spear, "heads up", 10/17/2010,
                                  DOJ-BP-0001131744 - DOJ-BP-0001131745
603.                              Email from H Nigam, Backpage Safety Pres Release, 10/18/2010,
                                  DOJ-BP-00021183 59
603-a.                            Attachment Backpage Safety Press Release,
                                  DOJ-BP-0002118360 - DOJ-BP-0002118361
604.                              Email from H Nigam to Spear and Fen-er and Reply from Padilla,
                                  "NYC Esc01is Ads -Prostitution", 10/18/2010,
                     9/111/27     USAO-BP-0015411
605.                              Email from Spear to H Nigam, re Polaris Project feedback,
                                  10/18/2010,
                     ci/1s / 23   USAO-BP-00015409- USAO-BP-0015410
606.                              Email to Spear, FetTer, Lacey, Larkin and others, Letter to Attorney
                                  Generals Working Group, 10/22/2010,
                                  DOJ-BP-0002134419
                                                 72
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b06-a.                              Attachment Letter to Attorney Uenerals Worlcmg Uroup, l 0/22/2010,
                                    DOJ-BP-0002134420 - DOJ-BP-0002134423
607.                                Email from E Allen to H Nigam, "BP Escort Area", 10/25/2010,
                                    DOJ-BP-0005068774 - DOJ-BP-0005068775
608.                                Email from Feffer to Padilla, "rules on text to appear at top of queue",
                                    10/25/2010,
                                    DOJ-BP-0002125864 - DOJ-BP-0002125865
609.                                Email from Feffer to Spear, "Update on adult content technology",
                                    10/27/2010,
                     to /It) J,_3   DOJ-BP-0002123889 - DOJ-BP-0002123890
610.                                Email from Padilla, "clarification on female nudity and pricing,"
                                    10/28/2010,
                        c,/Hh'"'>   DOJ-BP-0002110558
611.                                Email to Ferrer, Messages from Backpage Sales Staff, 11/04/2010,
                                    DOJ-BP-0002123775 - DOJ-BP-0002123777
612.                                Email from Padilla, "Upcoming development and more moderation
                                    changes", 11/08/2010,
                     9/1y h--;      DOJ-BP-0002110567 - DOJ-BP-0002110568
613.                                Email to Fe1Ter and Padilla, "New words", 11/10/2010,
                                    DOJ-0001095953 - DOJ-BP-0001095954
614.                                Email from Ferrer to Spear, "Call to discuss content", 11/10/2010,
                     9/14 /.i?j     DOJ-BP-0002126357 - DOJ-BP-0002126358
615.                                Email from TER Staff to Feffer, Issues with Backpage rules,
                          ~         11/12/2010,
                                    DOJ-BP-0002123627 - DOJ-BP-0002123628
616.                                Email from Spear, "We suspended the following categories",
                                    11/12/2010,
                                    DOJ-BP-0000338058 - DOJ-BP-0000338059
616-a.                              Redacted version of Exh 616
                     9/ie; Ii.'?    DOJ-BP-0000338058 - DOJ-BP-0000338059
617.                                Emails from Larkin and H Nigam, "back.page response", 11/18/2010,
                                    DOJ-BP-0004426366 - DOJ-BP-0004426368
618.                                Emails from Ferrer and H Nigam, "Posting Rules Changed",
                                    11/19/2010,
                                    DOJ-BP-0000338053 - DOJ-BP-0000338054
619.                                Email to Backpage and Newspaper Staff, "Message to Staff from Jim
                                    Larkin and Scott Spear", 11/19/2010,
                                    DOJ-BP-0001129048
620.                                Email to named employees, "Message to Staff from Jim Larkin and
                                    Scott Spear", 11/19/2010,

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                                     1JUJ-1::W-UUU4)6903'/ - 1JUJ-BP-UUU4)69U38

621.                                 Emails to Hyer, Ferrer and Padilla, Pregnancy Ads, 11/22/2010,
                                     DOJ-BP-0002123571 - DOJ-BP-0002123572
622.                                 Emails from E Allen and H Nigam, "The Call", 12/02/2010,
                                     USAO-BP-015378
623.                                 Email from H Nigam to Larkin, Spear, F e1Ter and others, "The Call",
                                     12/03/2010,
                                     USAO-BP-015379
624.                                 Email from H Nigam, "NCMEC John Shehan/Backpage.com intro",
                                     12/03/2010,
                     \D / 12,ji.?;   USAO-BP-0000863
625.                                 Email to Ferrer, "API to repmt ads to cybe1tipline", 11/29/2010,
                                     DOJ-BP-0002123165 - DOJ-BP-0002123174
626.                                 Email from H Nigam to Spear, Larkin, Lacey and Ferrer, "Ambush
                                     talking points", 12/08/2010,
                                     DOJ-BP-0004426350 - DOJ-BP-0004426355
627.                                 Email to Ferrer, "NCMEC - Child pom URL list", 12/16/2010,
                                     DOJ-BP-0002121865 - DOJ-BP-0002121870
628.                                 Email from J Shehan to Spear, "Backpage MOUs", 12/16/2010,
                     10 /1i   /1-~   DOJ-BP-0002127668
628-a.                               Attachment NCMEC and Backpage Memorandum of Understanding,
                                     DOJ-BP-0002127669 - DOJ-BP-0002127674
628-b.                               Attachment NCMEC and Backpage Memorandum of Understanding,
                                     DOJ-BP-0002127675 - DOJ-BP-0002127680
629.                                 Email from Padilla to Ferrer, "Moderation Expectations for December
                                     and January", 12/29/2010,
                                     DOJ-BP-0002123197 - DOJ-BP-0002123198
630.                                 Email from H Nigam, "Interview Request", 12/30/2010,
                     Cf/1rj / 1..?   DOJ-BP-0004426419 - DOJ-BP-0004426421
631.                                 Emails from Ferrer and H Nigam to NCMEC, "teenager being held
                                     for prostitution", 01/05/2011,
                                     DOJ-BP-0004742077 - DOJ-BP-0004742079
632.                                 Email from Ferrer to Padilla, "Notes from El Camino Meeting",
                                     01/14/2011,
                                     DOJ-0001129937 - DOJ-BP-0001129938
633.                                 Capture of Ad posted by Lyon in Memphis, TN, 01/20/2011,
                     9/1s/;_?        USAO-BP-0024589- USAO-BP-0024590
634.                                 Capture of Ad posted by Lyon in Nashville, TN, 01/20/2011,
                                     USAO-BP-0024591 - USAO-BP-0024592

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()j).                                     capture or Ad posted by Lyon m lnCltles Area, lN, Ul/2U/2Ul 1,
                                          USAO-BP-0024593 - USAO-BP-0024594
636.                                      Export of Back.page Filter Term Database as of 01/21/2011,
                                          USAO-BP-0024748
636-a.                                    Formatted excerpt of data from Exhibit 636 rows 10452 to 10459

636-b.                                    Formatted excerpt of data from Exhibit 636 rows 6001 to 6024

637.                                      Emails between Spear, Lacey and Fe1Ter, on Lyon Ads and NCMEC
                                          Reporting, 01/22/2011,
                     q/1c, /2.~           DOJ-BP-0002106677 - DOJ-BP-0002106678
638.                                      Emails between Lacey and Fen-er on NCMEC Reporting, 01/22/2011,
                             ~
                                          DOJ-BP-0000001412
639.                                      Email to Spear, Larkin and H Nigam, "Updated backgrounder",
                                          01/24/2011,
                                          DOJ-BP-0000337911
639-a.                                    Attachment. Backpage Safety and Security Backgrounder updated
                                          January 24, 2011,
                                          DOJ-BP-0000337912 - DOJ-BP-0000337913
640.                                      Email from H Nigam to Spear, "Interview Request", 01/24/2011,
                                          DOJ-BP-0004426497 - DOJ-BP-0004426499
641.                                      Google Analytics report showing refe1ral traffic for Back.page.com for
                                          the month ended Ol /31/2011,
                     o,/,q h,-,,          DOJ-BP0004900288 - DOJ-BP-0004900290
642.                                      Email from McNally to D. Vigilante, "RUSH/Co1Tection re: Sunday
                                          broadcasts", 02/06/2011,
                                          DOJ-BP-0002127889 - DOJ-BP-0002127892
643.                                      Issue log for "Deep cleaning strip out", 12/02/2010 to 02/07/2011,
                        qfi7 h.1          DOJ-BP-0002122685 - DOJ-BP-0002122691
644.                       ~              Emails between H Nigam and Fe1Ter, "Back.page?", 02/14/2011,
                                          DOJ-BP-0004426500 - DOJ-BP-0004426501
644-a.                                    CNN Article linked from message, "Grocery CEO resigns after arrest
                                          in child prostitution sting", 02/13/2011,
                                          USAO-BP-0024595 - USAO-BP-0024597
645.                                      Emails between Ferrer and Padilla, "delete whole ad terms (draft)",
                                          02/16/2011,
                        °' /,?     /i1;   DOJ-0004601131 - DOJ-BP-0004601132
646.                                      Email from Vaught, "Edit Lock Out", 02/18/2011,
                          ....,i          DOJ-BP-0002110559
647.                                      Email from Padilla "another te1m bites the dust", 02/18/2011,
                                          DOJ-BP-0002126003
                                                          75
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b4 /-a.                            Attacnment. Uood..Jpg
                      9/10/2"'> DOJ-BP-0002126004
647-b.                             Attachment. Bad.jpg

647-c.
                        l          DOJ-BP-0002126005
                                   Attachment. Bad(l).jpg
                                   DOJ-BP-0002126006
647-d.                             Attachment. Bad(2).jpg
                                   DOJ-BP-0002126007
647-e.                             Attachment. Bad(3).jpg
                         '~        DOJ-BP-0002126008
648.                               PowerPoint presentation, "Backpage.com and Litle & Co. Business
                                   Review", 02/24/2011,
                                   USAO-BP-0024749
649.                               Email from Ferrer to M Mohan, "Removing Good Pies. Please stop
                                   at27", 02/22/2011,
                                   DOJ-BP-0001114246 -DOJ-BP-0001114247
649-a.                             Attachment. "at27_sucks.tiff',
                                   USAO-BP-0024598 - USAO-BP-0024600
650.                               Letter from McNally, "AIM Group's Tortious Interference with
                                   Backpage.com's Business", 02/25/2011,
                                   USAO-BP-015380 - USAO-BP-015389
651.                               Emails to Larkin, Spear, Ferrer, "holding conference call time for
                                   Friday," 02/28/2011,
                     9/iq Ii-,,    DOJ-BP-0000338222 - DOJ-BP-0000338226
651-a.                             Attachment: PowerPoint presentation, Backpage Presentation v 10,
                                   02/28/2011,
                                   USAO-BP-0024750
652.                               PowerPoint presentation, "The Internet and Selling Sex", 03/01/2011,
                                   DOJ-BP-0004791132 - DOJ-BP-0004791163
652-a.                             Redacted 652-a; PowerPoint presentation, "The Internet and Selling
                     \ () j\riJiJ Sex", 03/01/2011, DOJ-BP-0004791132 - DOJ-BP-0004791163
653.                               PowerPoint presentation, "Backpage Advertisements and the Erotic
                                   Review", DOJ-BP-0004791164 - DOJ-BP-0004791185
654.                               Emails between Ferrer and NCMEC, "CyberTipline reports",
                                   03/21/2011,
                                   DOJ-BP-0002122090 - DOJ-BP-0002122091
655.                               Emails between Ferrer and Brunst, "2 nd moderation team in Florida",
                                   03/29/2011,
                     ci l,ci Ia..; DOJ-BP-0002114271 - DOJ-BP-0002114273


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6)6.                                  hxcel spreadsheet, .. uan Hyer bonus pacl<.age 2011 , 04/U / /2011,
                                      DOJ-BP-00048 85293
657.                                  Email from Ferrer, "NCMEC Agenda", 06/01/2011,
                     \o{1v / 2.?,     DOJ-BP-0002114656 - DOJ-BP-0002114657
658.                                  Email from Ferrer to Lacey and Larkin, "A couple of recent items you
                                      should know about", 06/21/2011,
                                      DOJ-BP-0002114451 - DOJ-BP-0002114453
659.                                  Emails between Larkin and Ferrer, "Seattle plan", 06/28/2011,
                                      USAO-BP-015390 - USAO-BP-015391
659-a.                                PowerPoint "Village Voice Online Classified Advertising New
                                      Investigative Tools for Law Enforcement," 6/30/11
                                      USAO-BP-0032279- USAO-BP-0032314
660.                                  Emails between Larkin and Ferrer, "Real Men Get their Facts
                                      Straight", 07/01/2011,
                                      DOJ-BP-0002120376 - DOJ-BP-0002120377
661.                                  Letter from Seattle Mayor to Larkin, 07/01/2011,
                      ct/1c, ( 2.?,   DOJ-BP-0002127109
661-a.                                Redacted 661; Letter from Seattle Mayor to Larkin, 07/01/2011,
                                      DOJ-BP-000212 7109
662.                                  Email from Ferrer to Larkin and Lacey, "Sgt Byron Fassett",
                                      07/06/2011,
                     9h.111.?J        DOJ-BP-0002114645 - DOJ-BP-0002114646
662-a.                                Attachment. Backpage.com Safety & Security Backgrounder,
                                      DOJ-BP-0002114647 - DOJ-BP-0002114648
662-b.                                Email from Larkin to Lacey, "Sgt Byron Fassett", 07/06/2011,
                      9/1c1 '7._~     DOJ-BP-0002118555 - DOJ-BP-0002118557
663.                                  Email to Larkin, Lacey, Brnnst and Ferrer, "Meeting with Cook
                                      County SheriffDart's Office", 07/06/2011,
                                      DOJ-BP-00049013 77
663-a.                                Attachment. Memo - Highlights of Sheriff Dart Meeting - 6-27-
                                      2011.doc,
                                      USAO-BP-0024601- USAO-BP-0024607
664.                                  Email from Ferrer, "NCMEC Call in (Final Agenda)", 07/08/2011,
                                      DOJ-BP-0001373794 - DOJ-BP-0001373795
665.                                  Email from D Moon to Larkin, Lacey and Ferrer, "Shehan",
                                      07/14/2011,
                                      DOJ-BP-0002119264
666.                                  Email from Ferrer to Padilla, re Global Philanthropy, 07/15/2011,
                                      DOJ-BP-0002109038 - DOJ-BP-0002109040


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(J(J !.                                Letter trom McNally, "Ulobal .t'l11lant11ropy uroup s 1 ort10us
                                       Interference & Defamation", 07/15/2011,
                                       USAO-BP-015392 - USAO-BP-015398
668.                                   Email from Ferrer to Lacey, "RE: Age verification ID", 07/15/2011,
                     9 /27 /Z?         DOJ-BP-0001127479 - DOJ-BP-0001127481
669.                                   Emails between Spear, Larkin, FeITer, and Lacey, "stats ... more info",
                          t            07/15/2011,
                                       DOJ-BP-0001127482 - DOJ-BP-0001127483
670.                                   Emails between Lacey and Ferrer, "Re: the three examples of under
                                       aged girls handed to me at the meeting", 07/17/2011,
                     9 ftq I 2.,,,,,   DOJ-BP-0001127477
670-a.                    J..          Capture of linked ad "sweet-petite-the-one-guys-want-to-meet-19",
                                       USAO-BP-0024608- USAO-BP-0024610
670-b.                                 Capture of linked ad "oo-naughty-oo-playmate-oo- l-oo-choice-0021"
                                       USAO-BP-0024611- USAO-BP-0024613
670-c.                                 Capture oflinked ad "100-real-pictures-new-in-town-19",
                                       USAO-BP-0024614 - USAO-BP-0024616
671.                                   Emails between Larkin and Lacey, "who placed the 3 ads",
                                       07/18/2011,
                                       USAO-BP-015399- USAO-BP-015401
672.                                   Email from Ferrer to Lacey, "Additional information on web based
                                       verification", 08/02/2011,
                                       DOJ-BP-0001828693 - DOJ-BP-0001828694
673.                                   Letter, "Backpage.com's Agreement to Four Requests from Seattle
                                       Mayor Mike McGinn", 08/04/2011                              I
                                       DOJ-BP-0002114623 - DOJ-BP-0002114634
674.                                   Email to Ferrer, "draft follow-up letter form Carl to head of Vice at
                                       Cook Co. Sheriff's Officy'', 08/04/2011,
                                       DOJ-BP-0004426382 - DOJ-BP-0004426384
674-a.                                 Letter to Sheriff's Office of Cook County, Illinois, "Re: Village Voice
                                       Media Holdings, LLC/Backpage.com", 08/04/2011,
                                       DOJ-BP-0000001445 - DOJ-BP-000000144 7
675.                                   Emails to and from Padilla, "Re: deleted", 08/09/2011,
                                       DOJ-BP-0002116998 - DOJ-BP-0002116999
676.                                   Email chain, "McGinn responds to our post ... " 08/10/2011,
                                       DOJ-BP-0004426391 -DOJ-BP-0004426403
677.                                   Email from Lacey to Larkin with attachment, 08/24/2011,
                                       DOJ-BP-0002118432
677-a.                                 Attachment, "concerned clergy response.doc",
                                       DOJ-BP-0002118433 - DOJ-BP-0002118434

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6'/'i',.                             bmail trom Larl<m to Lacey, "letter to holy men and women ,
                                     08/25/2011,
                                     DOJ-BP-0002118428
678-a.                               Attachment, "concerned clergy response.doc",
                                     DOJ-BP-0002118429 - DOJ-BP-0002118430
679.                                 Emails between Larkin, Lacey, and others, "Suggestions re: draft
                                     response to Clergy", 08/27/2011,
                                     DOJ-BP-0004426168 - DOJ-BP-0004426170
680.                                 Emails from Padilla and Vaught, "Re: Deleted", 09/07/2011,
                                     DOJ-BP-0002115824 - DOJ-BP-0002115825
681.                                 Letter from NAAG to Back.page, 09/16/2011,
                                     DOJ-BP-0004543459 - DOJ-BP-0004543465
682.                                 Email from Padilla, "8 images per ad", 09/20/2011,
                                     DOJ-BP-0002113114
683.                                 Email from McNally to Larkin, Lacey and Ferrer, "draft Clergy letter
                                     for Carl to send on Tuesday(?)", 09/27/2011,
                                     DOJ-BP-0002119092 - DOJ-BP-0002119097
683-a.                               Attachment. Letter from Back.page to Auburn,
                                     DOJ-BP-0002118356- DOJ-BP-0002118358
684.                                 Email from Ferrer to H Nigam, Larkin and Spear, "NCMEC under
                                     aged pies test", 03/02/2011,
                                     DOJ-BP-0001561370 - DOJ-BP-0001561374
684-a.                               Copy of Email and image from 03/02/2011 included in Appendix to
                                     2017 Senate Subcommittee report
                      q/,c, /1..?J   App.000767 -App.000768
685.                                 Emails between Padilla and Ferrer, "Personals- removed postings",
                                     10/06/2011,
                                     DOJ-BP-0002113627
686.                                 Email from Ferrer, "ncmec Sept", 10/08/2011,
                      lo /10 '1.1    DOJ-BP-0002126060 - DOJ-BP-0002126061
686-a.
                         J           Attachment. "OtherESPs_ escorts.pdf',
                                     DOJ-BP-0002126062 - DOJ-BP-0002126075
687.                                 Email to Ferrer from Litle & Co, "Business Review", 10/10/2011,
                                     DOJ-BP-0003799312
687-a.                               Attachment. "Back.page Business Review 10-11-11 Final.pptx",
                                     DOJ-BP-0003799313
688.                                 Email appointment, "Litle on site Visit", 10/11/2011,
                                     DOJ-BP-0003742250
689.                                 Letter to Larkin from Auburn, 10/25/2011,
                                     DOJ-BP0004885041 - DOJ-BP-0004885043

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689-a.                          Redacted vers10n ot bxh 689,
                                DOJ-BP0004885041 - DOJ-BP-0004885043
690.                            Email from Larkin to Ferrer, "Backpage press release", 10/25/2011,
                                DOJ-BP-0002134652
690-a.                          Attachment. "Village Voice Media Responds to Clergy",
                                DOJ-BP-0002134656 - DOJ-BP-0002134658
691.                            Emails Spear and Larkin to Fe1Ter, "Backpage Story list", 11/10/2011,
                                DOJ-BP-0000002116 - DOJ-BP-0000002118
692.                            Email from Larkin, "village voice media/backpage.com response to
                                demonstrations", 11/11/2011,
                                DOJ-BP-0002117990
692-a.                          Attachment. "2011-11-16 Village Voice Media Staffers Doc",
                                DOJ-BP-000211 7992
692-b.                          Attachment. "2011-10-30 NYTimes, "Backpage.com Confronts New
                                Fight Over Online Sex Ads",
                                DOJ-BP-0002117993 - DOJ-BP-0002117996
692-c.                          Attachment. "2011-11-16 Backpage Conversation",
                                DOJ-BP-0002117998 - DOJ-BP-0002118002
692-d.                          Attachment. "2011-11-16 Backpage Safety & Security
                                Backgrounder",
                                DOJ-BP-0002118004 - DOJ-BP-0002118005
692-e.                          Attachment. "2007-09-23 The Washington Post Human Trafficking
                                Evokes Outrage Little Evidence",
                                DOJ-BP-0002118007 - DOJ-BP-0002118013
693.                            Emails between Spear, Fe1Ter, Larkin, "Blurb for AAN", 11/17/2011,
                                DOJ-BP-0002126783 - DOJ-BP-0002126785
694.                            Emails between Fe1Ter, Spear and Larkin, "launched in beta for
                                Washington State", 11/17/2011,
                                DOJ-BP-0004568938 - DOJ-BP-0004568974
695.                            Letter from McNally to Auburn Theological Seminary, 11/23/2011,
                                DOJ-BP-0000003026 - DOJ-BP-0000003039
696.                            Emails between Larkin and F e1Ter, "Happy Thanksgiving! - Here's
                                the download link", 11/24/2011,
                                DOJ-BP-0002128368 - DOJ-BP-0002128369
697.                            Letter from McNally to Auburn Theological Seminary, 11/28/2011,
                                DOJ-BP-0004884921 - DOJ-BP-0004884944
698.                            Email from McNally with attachment, 11/30/2011,
                                DOJ-BP-0000054231 - DOJ-BP-0000054233
698-a.                          Attachment. "Notice to Auburn Board 11.30.11 ",
                                DOJ-BP-0000054234 - DOJ-BP-0000054267

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699.                                   1-'owerpomt presentat10n, 'Clergy.ppt , 1:2/U / /2U 11,
                                       DOJ-BP-0004884945 - DOJ-BP-0004885026
700.                                   Email to Ferrer and Padilla, "cleveland.backpage.com Report Ad to
                                       NCMEC", 12/12/2011,
                                       DOJ-BP-0001037842 - DOJ-BP-0001037843
701.                                   Email from Vaught, "NCMEC reminder", 12/12/2011,
                                       DOJ-BP-0000009709
701-a.                                 Attachment. Ad titled "in out party celebrate my 18 th Bday with me!",
                                       DOJ-BP-0000009710
702.                                   Email between Fen-er and Lacey, "Conversation with Detroit PD",
                                       12/27/2011,
                                       DOJ-BP-00044 26265
703.                                   Email to Fen-er and Hyer, "Draft of Links, Numbers and Names",
                                       12/28/2011,
                                       DOJ-BP-0003 828106
703-a.                                 Attachment. "Names and Sites.pdf',
                                       DOJ-BP-0003828107 - DOJ-BP-0003828109
704.                                   Emails between Lacey, Larkin, and others "Tony pls make any edits
                                       in Lacey's draft", 12/29/2011,
                                       DOJ-BP-0004426316 - DOJ-BP-0004426318
704-a.                                 Attachment. "Tlk Pts and QA for AZ360 v3.0 12-28-11.docx",
                                       DOJ-BP-0004426319 - DOJ-BP-0004426322
705.                                   Document, "Other sites final NSFW.pdf', 12/29/2011
                                       USAO-BP-0000544 - USAO-BP-0000628
706.                                   Email from McNally to Lacey, Larkin, Fen-er and others, 12/30/2011
                                       DOJ-BP-0004426288 (Transmittal for Exh 137)
707.                                   Emails between Lacey and Larkin and attachment, "craigslist
                                       agreement 110608.pdf', 01/06/2012,
                                       USAO-BP-015402- USAO-BP-015408
708.                                   Email to Larkin, Lacey, Fen-er and others, "Following up on the
                                       AC360 postmortem", 01/07/2012,
                                       DOJ-BP-0004426517
708-a.                                 Attachment. "Q and A - Messaging for Question Adult Services
                                       Advertising on BP", DOJ-BP-0004426518
709.                                   Email from Larkin, "Keith Kelly of nypost", 01/12/2012,
                                       DOJ-BP-0004900733
710.                                   Bonus memo for Padilla, 01/17/2012,
                                       DOJ-BP-0004885142
711.                                   Email from Ferrer to Larkin and Brunst, "Update agenda on
                     <-it,A {'J..?;,   Backpage", 01/18/2012,

                                                      81
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                                        lJUJ-1:H'-UUU4bUL4b / - lJUJ-tlP-UUU4bUL4b~


712.                                    Emails to and from Hyer, "Re: Erotic Review", 01/20/2012, USAP-
                                        BP-0001035
713.                                    Emails between Larkin and Fe11'er, "Re: backpage", 01/23/2012,
                                        DOJ-BP-00044 26511 - DOJ-BP-00044 26514
714.                                    Emails between Lacey and others, "Re: backpage", 01/24/2012,
                                        DOJ-BP-0004426613 - DOJ-BP-0004426615
714-a.                                  Redacted version of Exh 714
                     Ci   IIOj IZ:1.)   DOJ-BP-0004426613 - DOJ-BP-0004426615
715.                                    Emails between Larkin, Ferrer and others, "He removed the
                                        reference", 01/26/2012,
                                        DOJ-BP-0000052841 - DOJ-BP-0000052849
716.                                    Emails regarding Forbes Article, "Backpage takes heat for
                                        Prostitution Ads That Are Everywhere", 01/26/2012,
                                        DOJ-BP-0004426561 - DOJ-BP-0004426570
717.                                    Email from FeITer, "email list", 01/26/2012
                                        DOJ-BP-0004434732
717-a.                                  Attachment. Spreadsheet (native), "Backpage Stories",
                                        DOJ-BP-0004434733
718.                                    Email message to Lacey, Larkin, FeITer and others, "Village Voice
                                        News 1 26 12", 01/27/2012,
                                        DOJ-BP-0000052807
718-a.                                  Attachment. "Village Voice News 1 26 12.doc",
                                        DOJ-BP-0000052808 - DOJ-BP-0000052826
719.                                    Emails between Larkin, Lacey and Ferrer, "Indiana AG says
                                        Backpage is already spiking with ad count", 01/27/2012,
                                        DOJ-BP-0000052827 - DOJ-BP-0000052828
720.                                    Email to Larkin, Lacey, Ferrer and others, "Media monitoring-
                                        Denver 2nd day", 02/02/2012,
                                        DOJ-BP-0004901045 - DOJ-BP-0004901050
720-a.                                  Redacted exhibit 720; Email to Larkin, Lacey, Fe1Ter and others,
                                        "Media monitoring - Denver 2nd day", 02/02/2012,
721.                                    Emails between Fe1Ter, Larkin and Lacey, "Google Adwords accused
                                        us supporting Human trafficking", 2/28/2012,
                                        DOJ-BP-0004833386
721-a.                                  Linked Article. StopSlavery2012.com, 02/27/2012
                                        USAO-BP-0024617
721-b.                                  Linked Petition. Change.org, Stop Sexual Exploitation of Girls on
                                        Google,
                                        USAO-BP-0024618
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ILL                                    Emails between Lacey, .Ferrer and Larl<.1n, .. Where Pimps Peddle
                                       Their Goods - NYTimes", 03/19/2012,
                                       USAO-BP-0000640- USAO-BP-0000641
723.                                   Emails between Ferrer and others, "from kirsten powers at daily
                                       beast", 03/29/2012,
                                       USAO-BP-0002468- USAO-BP-0002471
724.                                   Email from Padilla, "services for less than an hour are no longer
                                       violations", 04/06/2012,
                        ~/'Pt h.1      DOJ-BP-0000887875
725.                                   Email from Padilla, "Moderation Reminder/ Update", 04/05/2012,
                           J,          DOJ-BP-000003204 7
725-a.                                 Attachment. Spreadsheet (native), "banned.xis",
                                       DOJ-BP-0000032048
725-b.                                 PDF of Exhibit 725-a; Attachment. Spreadsheet (native),
                        li/ici/1..1,   "banned.xis", DOJ-BP-0000032048
726.                                   Email from Mersey to Ferrer, "In Defense of Backpage.com",
                                       04/14/2012,
                                       USAO-BP-00024 72
727.                                   Email, "agenda for strategic comms meeting 4/19/12", 04/18/2012,
                                       DOJ-BP-0004602475
727-a.                                 Attachment. "strategic comms agenda 4-19-12",
                                       DOJ-BP-0004602476
728.                                   Spreadsheet (native) titled "Dan Hyer Compensation Plan 2012"
                                       04/18/2012,
                                       DOJ-BP-0004885294
729.                                   Document titled "Strategic Communications Outline", 04/19/2012,
                                       DOJ-BP-0004602477 - DOJ-BP-0004602478
730.                                   Resume for Roessner,
                                       DOJ-BP-0004602479 - DOJ-BP-0004602481
731.                                   Memo from Larkin to advertisers, "An Appeal to Reason",
                                       04/19/2012,
                                       DOJ-BP-0004602482 - DOJ-BP-0004602483
732.                                   Document titled "Craigslist Still Runs Adult Ads",
                                       USAO-BP-0023276- USAO-BP-0023388
733.                                   Emails between Lacey and Ferrer, "Human Trafficking", 04/30/2012,
                                       DOJ-BP-0000051486
733-a.                                 Redacted version ofExh 733
                     9/1q/2-,,,        DOJ-BP-0000051486
734.                                   Bonus memo for Hyer, 07/09/2012
                                       DOJ-BP-0004885144

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'/'3':J.                         Article, ·Prost1tut10n ad revenue still 1alls short o1 past Cra1gsllst
                                 totals", 08/21/2012,
                                 USAO-BP-0023389- USAO-BP-0023394
736.                             Email to Fen-er, "Prostitution Ads on Backpage.com", 11/14/2012,
                                 DOJ-BP-0000089318
737.                             Press Release, re: Advertising Agency Samad Enterprises, Inc.,
                                 11/20/2012,
                                 USAO-BP-0000890 - USAO-BP-0000895
738.                             Letter to the IRS, re Subpoena Response, 11/29/2012,
                                 USAO-BP-0002473
739.                             Letter from Backpage to Mersey, 11/30/2012,
                                 DOJ-BP-0004541178
740.                             Agenda for meeting 02/26/2013,
                                 DOJ-BP-0004885136 - DOJ-BP-0004885137
741.                             Agenda for meeting on 04/05/2013
                                 DOJ-BP0004885134 - DOJ-BP-0004885135
742.                             Emails to Ferrer, Larkin Brunst and Spear, "Prepaid and new
                                 customer repmi", 04/12/2013,
                                 DOJ-BP-0002725289 - DOJ-BP-0002725292
743.                             Email from Peffer, "Agenda for June 18-19 meetings", 06/06/2013,
                                 DOJ-BP-0004602485
743-a.                           Attachment. "Agenda For Dallas Meetings June 18-19",
                                 DOJ-BP-0004602486
744.                             Email from Moon, "Fw: NCMEC suggestions sheet", 06/19/2013,
                                 USAO-BP-0000874 - USAO-BP-0000875
745.                             Documents for Classified Solutions, Ltd., 07/18/2013,
                                 DOJ-BP-0004695871 - DOJ-BP-0004695878
746.                             Spreadsheet summary of credit card transactions, January 2014,
                                 USAO-BP-0002765
747.                             Document titled "Our plan", 09/04/2013
                                 DOJ-BP-0004885054
748.                             Document titled "Status by Processor", 09/11/2013,
                                 DOJ-BP-0004885095 - DOJ-BP-0004885103
749.                             Meeting Agenda for 09/18/2013,
                                 DOJ-BP0004885387 - DOJ-BP-0004885389
750.                             Website Technologies Adult Advertising Policy Fmm,
                                 DOJ-BP-0000099636
751.                             Agreement between Backpage and A vion BPO Corporation,
                                 10/23/2013,
                                 DOJ-BP-0004602855 - DOJ-BP-0004602860

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IYL                                Emall rrom ten-er to J::Srunst, Larkm and :spear, "EMP lransact10n
                                   Summaiy", 10/24/2013,
                     9/wh~         DOJ-BP0004900335 - DOJ-BP-0004900336
753.                               Email from Ferrer to Spear, "To Do List", 10/25/2013
                                   DOJ-BP-0004602488-0004602489
754.                               Email from Fen-er to Larkin, Spear and Brunst, "Transactions
                                   update", 10/31/2013,
                                   DOJ-BP-0002721607
755.                               Document titled "Budget Meeting: 10 AM Phoenix", 11/03/2013,
                                   DOJ-BP-0004885090 - DOJ-BP-0004885092
756.                               Meeting agenda dated 11/18/2013,
                                   DOJ-BP-0004885093 - DOJ-BP-0004885094
757.                               Email from Ferrer to Spear and Brunst, "Budget Outline Document",
                                   11/26/2013,
                                   DOJ-BP-0004602490
757-a.                             Attachment: Document titled "Budget Meeting: 2014 Business Plan",
                                   DOJ-BP-0004602491
758.                               Email from Ferrer to Brunst, Larkin and Spear, "Agenda",
                                   01/08/2014, DOJ-BP-0004602494
758-a.                             Attachment: "Agendas j an_2014_PHXBD",
                                   DOJ-BP-0004885111 - DOJ-BP-0004885120
759.                               Document titled, "Dallas Meeting", 01/20/2014,
                                   DOJ-BP-0004885057 - DOJ-BP-0004885065
760.                               Bonus memo for Hyer, 01/31/2014,
                                   DOJ-BP0004900259 - DOJ-BP-0004900263
761.                               Meeting notes, 02/27/2014,
                                   USAO-BP-0002474
762.                               Document titled "Top Ten Projects", 04/10/2014,
                                   DOJ-BP-0004885124- DOJ-BP-0004885129
763.                               Email from Brunst to Fen-er and Larkin, "Comments on long term biz
                                   plans", 05/06/2014,
                     q /1.o h?.J   DOJ-BP0002712839 - DOJ-BP-0002712842
764.                               Agenda re Payment Processing, 11/04/2014,
                                   DOJ-BP0004885 l 04 - DOJ-BP-0004885105
765.                               Spreadsheet listing news stories, 11/19/2014
                                   USAO-BP-0000639
766.                               Agenda, Payment Processing and Decline Mitigation, December 2014
                                   DOJ-BP0004885106 - DOJ-BP-0004885107
                                                                                             ',,

767.                               Email to Vaught, "March training doc", 06/29/2015
                     9 {u Ii-">    USAO-BP-0015563                                                 ~




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lb /-a.                              Document named March trammg Doc,
                     q / z.d VJ      DOJ-BP-0001401908
768.                                 Email to Peffer, "JetPay: Backpage.com and Postfastr.com",
                                     08/07/2015,
                                     DOJ-BP-0004929076 - DOJ-BP-0004929078
769.                                 Email "Please try out Cracker USD MID again", 08/27/2015
                                     USAO-BP-0002475 - USAO-BP-0002476
770.                                 Email "Please try out Cracker USD MID again", 08/27/2015
                                     USAO-BP-00024 77 - USAO-BP-00024 79
771.                                 Emails re backpagecredits.com, 12/22/2015,
                                     USAO-BP-0002480 - USAO-BP-0002487
772.                                 Email from Peffer, "Tasks to improve payments", 12/30/2015
                                     DOJ-BP-0004130390 - DOJ-BP-0004130392
773.                                 Emails from Brunst, "Inwood Bank Resolution", 01/05/2016
                                     DOJ-BP-0002867036 - DOJ-BP-0002867038
774.                                 Emails from Brunst, "Borgun", 01/10/2016
                                     DOJ-BP-0004124807 - DOJ-BP-0004124809
775.                                 Email from Brunst, "Receivable reconciliation", 01/11/2016,
                                     DOJ-BP-0004121966
776.                                 Emails between Brunst to Peffer, "Revenue repmiing by
                                     Country/state", 02/02/2016,
                                     DOJ-BP-0004124815 - DOJ-BP-0004124816
776-a.                               Emails between Brunst to Ferrer, "Revenue reporting by
                                     Country/state", 02/02/2016
                                     USAO-BP-025474- USAO-BP-025475
777.                                 Email to Peffer, "Payment Page Implementation", 03/02/2016,
                                     DOJ-BP-0002915 825 - DOJ-BP-0002915 829
778.                                 Backpage.com manual for Avion BPO Corp., 04/23/2015,
                                     DOJ-BP-0004602861 - DOJ-BP-0004602900
779.                                 Transcript of Carlin Deposition, 04/06/2016,
                                     USAO-BP-0002488 - USAO-BP-0002614
780.                                 PowerPoint presentation, "Internet Speech Foundation", 04/08/2016,
                                     DOJ-BP-00049002 79
781.                                 Email from Peffer to Brunst, "Euro Account", 06/21/2016,
                                     USAO-BP-0002615 - USAO-BP-0002616
782.                                 Emails from Moon/Brunst to Peffer, "Conference Call", 07/22/2016,
                                     USAO-BP-0002617
783.                                 Email from Brunst, "Frick wire received today", 08/08/2016,
                     9 / Li /1--1;   DOJ-BP-0003359493


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Exhibit     For         In
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'/M.                                       uevelopment log, •• v oucner payment via Georgia banK solut10n ,
                                           08/09/2016,
                                           USAO-BP-0002618- USAO-BP-0002623
785.                                       Settlement Agreement with Backpage dated 09/16/2016,
                                           USAO-BP-0002624- USAO-BP-0002631
786.                                       Plea agreement for Mersey, 09/22/2016,
                                           USAO-BP-0002632 -USAO-BP-0002645
787.                                       List of Affiliate Commissions, 05/31/2017,
                                           USAO-BP-000083 7-USAO-BP-0000841
788.                                       Audio Recording, Sales Call,
                                           USAO-BP-0000850
789.                                       Audio Recording, Sales Call,
                                           USAO-BP-0000851
790.                                       Email from Ferrer to Larkin, "ASU Study", 08/29/2012,
                                           DOJ-BP-0004530017 - DOJ-BP-0004530021
791.                                       Email to Ferrer, "Media query", 12/09/2015,
                                           DOJ-BP-0004601461
792.                                       Emails between Brunst and Spear, "MC", 04/01/2015
                        q   l2..t l1-?;;   DOJ-BP-0004601462 - DOJ-BP-0004601463
793.                                       Groundswell Article, "The Horrible Truth-Penn State is the tip of the
                                           Iceberg", 11/14/2011,
                                           DOJ-BP-0000201767 - DOJ-BP-0000201771
794.                                       Email to Moon and Ferrer, "details", 07/09/2016,
                                           DOJ-BP-0004440504 - DOJ-BP-0004440518
795.                                       Email from Ferrer, "Landing pages", 03/20/2014,
                                           DOJ-BP-0003758583
796.                                       Letter to Larkin, Lacey and Ferrer from Auburn, 01/05/2012,
                                           DOJ-BP-0000052545 - DOJ-BP-0000052551
797.                                       Email to Moon, "details", 07/05/2016,
                                           DOJ-BP-0004468711 - DOJ-BP-0004468714
798.                                       Emails from Peffer and Hyer, re TER links, 08/31/2010,
                     u,/,ct /2.fJ,         DOJ-BP-0001379194 - DOJ-BP-0001379195
799.                                       Email from Moon to Lacey and Larkin, "New Case", 04/20/2013,
                                           DOJ-BP-0004541167-DOJ-BP-0004541170
800.                                       Emails to and from Moon, "Mitigation", 05/24/2014,
                                           DOJ-BP-0004487096 - DOJ-BP-0004487098
801.                                       Emails to Larkin and Brunst, "Backpage.com", 03/29/2012,
                                           DOJ-BP-0004486144 - DOJ-BP-0004886147
802.                                       Emails between Moon and Ferrer, "Ad", 08/28/2011
                                           DOJ-BP-0002120173

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~Uj,                                 Keport, "Haclcpage.com .Potentially Vulnerable to UUJ lnvest1gat10n ,
                                     01/19/2012,
                                     USAO-BP-0015412 -USAO-BP-0015420
804.                                 Emails between Lacey and Spear, "Re: the whole CNN Transcript",
                     C\   /H (2.'?   04/28/2010, DOJ-BP-0002131048
805.                                 Email from Padilla to Vaught, "Fwd: Child Recovered", 06/21/2011,
                                     DOJ-BP-0001365583 -DOJ-BP-0001365585
806.                                 Emails between Ferrer, Padilla and Hyer, "Re: Photo ID and Age
                                     Verification", 06/08/2011,
                                     DOJ-BP-0001126826 - DOJ-BP-0001126829
807.                                 Emails from Fe1Ter and others, "Scheduling McGinn & Diaz",
                                     07/11/2011,
                                     DOJ-BP-0002120352 -DOJ-BP-0002120356
808.                                 Email from Larkin to Ferrer, "porn, porn escmis and more porn",
                                     10/04/2011,
                                     DOJ-BP-0002128376
809.                                 Emails to and from Ferrer, "NCMEC comments", 10/05/2011,
                                     DOJ-BP-00013 6 7909
809-a.                               Linked Aliicle, Dayton Daily News, "Sex trade thrives by exploiting
                                     Internet", 09/27/2011
                                     USAO-BP-0024576- USAO-BP-0024577
810.                                 Emails between Ferrer and Moon, "NCMEC Agenda (December
                                     Meeting)", 12/09/2011
                                     DOJ-BP-0001094562 -DOJ-BP-0001094564
811.                                 Email from Ferrer to Moon, "Re: NCMEC Agenda", 12/09/2011,
                                     DOJ-BP-0002126624
811-a.                               Attachment. "Google Image Search"
                                     DOJ-BP-0002126626 -DOJ-BP-0002126627
812.                                 Email from Ferrer to Larkin and Moon, "Not public info yet",
                                     01/31/2012,
                                     DOJ-BP-000005404 7
813.                                 Email to Fe1Ter and Moon, "Update from the AM meeting",
                                     02/24/2012,
                                     DOJ-BP-0001351595 -DOJ-BP-0001351596
814.                                 Email to McDougall, Larkin and Lacey, " ... Washington state bill",
                                     03/01/2012,
                                     DOJ-BP-0004902394 - DOJ-BP-0004902395
815.                                 Email from Fe1Ter to Spear, "Draft of ideas for Washington state",
                                     03/02/2012,
                                     DOJ-BP-0001064279 - DOJ-BP-0001064280

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816.                            Message to Lacey, Larlon and terrer, "Message rrom WA State AU',
                                03/06/2012,
                                DOJ-BP-0004900600 - DOJ-BP-0004900603
817.                            Email message, "Meeting with comms firm," 03/15/2012,
                                DOJ-BP-0004902688 - DOJ-BP-0004902690
817-a.                          Attachment. "Greenberg agreement"
                                USAO-BP-0019547 - USAO-BP-0019550
818.                            Email message, "this is ten'ible, 03/22/2012",
                                DOJ-BP-0004902067
818-a.                          Linked Article. "What Nick Kristof Got Wrong",
                                USAO-BP-0019551- USAO-BP-0019555
819.                            Email message to McDougall and Moon, "research proposal",
                                03/22/2012, DOJ-BP-0004902212
819-a.                          Attachment. "Taking on Child Trafficking - Proposal for Additional
                                Research"
                                USAO-BP-0019559- USAO-BP-0019562
820.                            Email from McDougall, "Village Voice Media/Backpage.com",
                                03/23/2012,
                                DOJ-BP-0004544846
820-a                           Letter to National Association of Attorneys General, 03/23/2012,
                                DOJ-BP-0004544871 - DOJ-BP-0004544876
820-b                           Enclosed Letter Exhibit A, "Backpage.com Supplemental Responses"
                                DOJ-BP-0004544853 - DOJ-BP-0004544859
820-c                           Enclosed Letter Exhibit B, "Affidavit of Carl Fe1Ter"
                                DOJ- BP-0004544861 - DOJ-BP-0004544862
820-d                           Enclosed Letter Exhibit C, "Samples of Backpage Prohibited Words,
                                Acronyms and Codes",
                                DOJ-BP-0004544863
820-e                           Enclosed Letter Exhibit D, "Confidentiality Agreement",
                                DOJ-BP-0004544864 - DOJ-BP-0004544868
821.                            Email from Moon, "Kristof and the New York Times", 04/16/2012,
                                DOJ-BP-0004901928 - DOJ-BP-0004901933
822.                            Email to Ferrer and Moon, "Fwd: Article Export", 07/10/2012,
                                DOJ-BP-0004900604 - DOJ-BP-0004900605
822-a                           Attachment. "Comprehensive Article Export 071012",
                                USAO-BP-0016097 - USAO-BP-0019546
823.                            Email from McDougall, "Fwd: Brand Analysis", 07/11/2012
                                DOJ-BP-0004900629 - DOJ-BP-0004900630
823-a                           Attachment. "Backpage.com Media and Digital Brand Analysis",
                                USAO-BP-0019579 - USAO-BP-0019591

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~24.                                         Email trom Moon, "_Fw: Better solut10n than bloclcmg , U / /2':>/2012,
                                             DOJ-BP-0004543487 - DOJ-BP-0004543488
825.                                         Email, "Comment from Liz McDougall ASU study of Backpage?",
                                             DOJ-BP-0004426738 - DOJ-BP-0004426739
826.                                         Report "ASU Finds Prostitution ads on Backpage.com to be prolific",
                                             11/29/2012
                                             DOJ-BP-0004735443 - DOJ-BP-0004735454
827.                                         Email to Lacey, "Newest research on Phoenix-based Backpage.com",
                                             12/19/2012,
                                             DOJ-BP-0002715541 - DOJ-BP-0002715543
827-a                                        Attachment, "Human trafficking activity on adult entertainment
                                             website more pervasive than expected",
                                             DOJ-BP-0002715544 - DOJ-BP-0002715545
828.                                         Email to McDougall, "Human Trafficking Bill", 02/06/2014,
                                             DOJ-BP-0004474099 - DOJ-BP-0004474100
829.                                         Email, "Important - Letter from your acquirer", 07/04/2015
                                             DOJ-BP-0004472080 - DOJ-BP-0004472083
830.                                         Email from McDougall "Fwd: Advancing Anti-Human Trafficking
                                             Movement", 10/09/2015,
                                             DOJ-BP-0004657544 - DOJ-BP-0004657546
831.                                         Letter to Permanent Subcommittee on Investigations, 10/23/2015,
                                             DOJ-BP-0004579187 - DOJ-BP-0004579215
832.                                         Declaration of Andrew Padilla with Exhibits, 01/15/2016,
                                             DOJ-BP-0004473638 - DOJ-BP-0004473667
833.                                         Email, "Effort to hold Backpage.com in Contempt of Congress",
                                             02/09/2016,
                                             DOJ-BP-0004567535 - DOJ-BP-0004567537
834.                                         Declaration of Andrew Padilla with Exhibits, 03/15/2016,
                                             DOJ-BP-0004507584 - DOJ-BP-0004507604
835.                                         Email, Wall Street Journal Article, 07/11/2016,
                                             DOJ-BP-0004529919 - DOJ-BP-0004529923
836.                                         Email from McDougall, "Fwd: More Answers", 07/11/2016,
                                             DOJ-BP-0004487399 - DOJ-BP-0004487401
836-a                                        Redacted version ofExh 836
                     Ci I ,. .-1...   l-i,   DOJ-BP-0004487399 - DOJ-BP-0004487401
837.                                         Email from Elms to F etTer "TER Inbound refe1Tal report",
                                             11/07/2008,
                     Cj /I??) 'L'J,          USAO-BP-0000983 - USAO-BP-0000991
838.                                         Email to Ferrer, "Re: NCMEC Report", 01/14/2011,
                                             DOJ-BP-0000209073

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838-a                               Email to Ferrer, "Ke: NCMbC Keport", U1/14/2011,
                                    DOJ-BP-000020907 5
839.                                Developer log, "Restoring Deleted Images", 04/11/2011,
                                    DOJ-BP-0000054177 - DOJ-BP-0000054180
840.                                Email message, "CEOS & etc", 05/16/2011,
                                    USAO-BP-0022 - USAO-BP-0023
841.                                Email message, "DOJ Slides", 06/02/2011,
                                    DOJ-BP-0004426425 - DOJ-BP-0004426426
841-a                               Attachment, "New Tools for Law Enforcement",
                                    DOJ-BP-0004426427 - 0004426463
842.                                PowerPoint presentation, "New Investigative Tools ... ", 07/15/2011
                                    DOJ-BP-0000001961 - DOJ-BP-0000001992
843.                                Email from Larkin, "Fwd: Follow up to our call", 07/18/2011,
                                    DOJ-BP-0002120333
844.                                Email from FetTer, "Re: bullet point", 07/21/2011,
                                    DOJ-BP-0000001960
844-a                               Attachment, "BP_MASTER-VERSION_WA_SEATTLEv3",
                                    DOJ-BP-0000001961 - DOJ-BP-0000001992
844-b                               Attachment, "Backpage Safety and Security Backgrounder July 4,
                                    2011",
                                    DOJ-BP-0000001993 - DOJ-BP-0000001994
845.                                Email from Ferrer, "follow up re: today's call", 07/27/2012,
                                    DOJ-BP-0002136071
845-a                               Attachment, "Documented Backpage.com Incidents",
                                    DOJ-BP-0002136072 - DOJ-BP-0002136079
846.                                Email from FetTer, "Fwd: follow up re: today's call", 07/27/2012,
                     q /1c1 li.?J   DOJ-BP-0001651119
846-a                               Attachment, "Documented Backpage.com Incidents",
                         i          DOJ-BP-0001851120 - DOJ-BP-0001851127
847.                                Email from Lacey, "Statement", 07/29/2011,
                                    DOJ-BP-0001828706
848.                                Email form Ferrer, "Re: Statement", 07/29/2011,
                                    DOJ-BP-0002118540
848-a                               Attachment, "Documented Backpage.com Incidents",
                                    DOJ-BP-0002118541 - DOJ-BP-0002118548
849.                                Email from Ferrer" ... Aristotle's Customer List", 07/29/2011,
                                    DOJ-BP-0001828703 - DOJ-BP-0001828705
850.                                Email to Larkin, "August 22 Letter", 08/22/2011,
                     9/ic'v/i")     DOJ-BP-0002127111


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8)U-a                                 Attachment, Letter trom Washmgton State Mayors,
                        ui/19 /z_-,   DOJ-BP-0002127112 - DOJ-BP-0002127113
851.                                  Email from Fe1Ter, " ... NCMEC Call in (Final agenda), 09/04/2011,
                                      DOJ-BP-0002120163 - DOJ-BP-0002120164
852.                                  Emails, "Are we still on contract with SSP Blue?", 10/04/2011,
                                      DOJ-BP-0005068776 - DOJ-BP-0005068777
853.                                  Developer log, "SOP- Violent Crime", 01/03/2012,
                                      DOJ-BP-0000053981 - DOJ-BP-0000053983
854.                                  Emails to Fe1Ter, "Re: Child exploitation", 01/26/2012,
                                      DOJ-BP-0001351507 - DOJ-BP-0001351508
854-a                                 Emails to Fe1Ter, "Re: Child exploitation", 01/30/2012,
                                      DOJ-BP-0000054026 - DOJ-BP-0000054029
855.                                  Emails to FeITer "Washington.backpage.com Report Ad to NCMEC",
                                      01/31/2012,
                                      DOJ-BP-0000054030 - 0000054035
855-a                                 Emails to Fe1Ter "Washington.backpage.com Report Ad to NCMEC",
                                      02/01/2012, DOJ-BP-0000054050 - 0000054054
856.                                  Emails, "Latonero will meet, see below ... (The plan)", 02/01/2011,
                                      DOJ-BP-00000054057 - DOJ-BP-00000054060
856-a                                 Emails, "Latonero will meet, see below ... (The plan)", 02/01/2011,
                                      DOJ-BP-00000054061 - DOJ-BP-00000054064
856-b                                 Emails, "Latonero will meet, see below ... (The plan)", 02/01/2011,
                                      DOJ-BP-00000054065 - DOJ-BP-00000054070
856-c                                 Emails, "Latonero will meet, see below ... (The plan)", 02/01/2011,
                                      DOJ-BP-00000054071 - DOJ-BP-00000054076
857.                                  Emails to FeITer, "Re: Superbowl- ... " 02/04/2012
                                      DOJ-BP-0000054091 - DOJ-BP-0000054093
858.                                  Developer log, "NCMEC- add note in User notes", 02/09/2012,
                                      DOJ-BP-0000054152 - DOJ-BP-0000054154
859.                                  Emails, "Trafficking Proposal Signature Page", 03/29/2012,
                                      DOJ-BP-0004901571
859-a                                 "Taking on Child Trafficking, Proposal for Additional Research",
                                      03/27/2012,
                                      USAO-BP-0019563 - USAO-BP-0019567
860.                                  Emails, "Bobbie and Marla", 04/02/2012,
                                      DOJ-BP-0004901524
860-a                                 Attachment. "VVM Agreement", 04/02/2012,
                                      DOJ-BP-0001273681 - DOJ-BP-0001273683
861.                             ')
                                      Email, "Focus Group Guide Draft", 04/05/2012,
                                      DOJ-BP-0004901921

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~6:L.                                     .bmails to .t<en-er, '"Ke: emergency , U)/LJ/LU 12,
                                          DOJ-BP-0001263056
862-a                                     Emails to Fen-er, "Fwd: emergency", 05/24/2012,
                                          DOJ-BP-0001273681 - DOJ-BP-0001273683
863.                                      Declaration of Carl Ferrer in support of temporary restraining order,
                                          06/03/2012,
                                          DOJ-BP-00.05068790 - DOJ-BP-0005068800
864.                                      Email to Ferrer and Larkin, "CNN Article on FBI An-ests,"
                                          07/29/2013,
                                          DOJ-BP-0005068780
864-a                                     Linked Article, "FBI crackdown nabs pimps, rescues children",
                                          USAO-BP-0019737 - USAO-BP-0019740
865.                                      Email from Brunst, "Re: Backpage", 08/05/2013,
                                          DOJ-BP-0002725794 - DOJ-BP-0002725797
866.                                      Emails from Fen-er and Hyer, "Testing",
                                          DOJ-BP-0003740975
866-a                                     Attachment, "BP-Declined",
                                          DOJ-BP-0003740976
866-b                                     Attachment, "YMas-Declined",
                                          DOJ-BP-0003 7400977
867.                                      Email to Ferrer and Hyer, "Famwille Payment Page", 09/03/2013
                                          DOJ-BP-0003 740978
867-a                                     Attachment, "Farmville",
                                          DOJ-BP-0003 740979
868.                                       JetPay Merchant Application and Agreement, 09/26/2013,
                                          DOJ-BP-0004924739 - DOJ-BP-0004924751
869.                                      Email from Fe1Ter, "Werther/ PrivatBank", 01/22/2014,
                        C\   /2.o Ii."'   DOJ-BP-0002711810
869-a                                     Attachment, "APPl Classified Solutions Ltd",
                                          DOJ-BP-0002711811
869-b                                     Attachment, "ECOM Classified Solutions Ltd",
                                          DOJ-BP-0002711812 - DOJ-BP-0002711825
869-c                                     Attachment, "EMP EU Service Agreement - Classified",
                                          DOJ-BP-0002711826 - DOJ-BP-0002711842
870.                                      JetPay Merchant Application and Agreement, 02/11/2014,
                                          DOJ-BP-0004924704 - DOJ-BP-0004924710
871.                                      Email from Padilla, "Moderating BigCity", 03/05/2014,
                                          DOJ-BP-0001347660 - DOJ-BP-0001347661
872.                                      Email from Brunst, " ... corp docs for PostFaster LLC", 10/01/2014,
                     ct li.o h..1;,       DOJ-BP-0003392628

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~ /j,                                   Emails trom Fen-er to .Padilla, "lnto on Kopes Uray , 03/23/20 l::,
                                        DOJ-BP-0003718631
873-a                                   Attachment. Attempted_TOU_violations_Boston, 10/12/2014,
                                        DOJ-BP-0003718632 - DOJ-BP-0003718639
874.                                    Email from Fen-er, "RE: Carl Fe1Ter Bio", 12/12/2014,
                                        DOJ-BP-0002709690
875.                                    Email from Brunst, "info for hsr filing", 02/24/2015,
                        9/ul2."'>       DOJ-BP-0002710431
875-a                                   Email from Fen-er, "Re: info for hsr filing", 02/24/2015,
                                        DOJ-BP-0002710432
875-b                                   Attachment. Updated DuffBackpage Mgmt Pres - FINAL
                                        DOJ-BP-0002710473
875-c                                   Attachment. PowerPoint_forjed_Ins_VS _2
                                        DOJ-BP-0002710439 -DOJ-BP-0002710471
876.                                    Emails, "Fwd: Classified Solutions", 04/22/2015,
                                        DOJ-BP-0002711130 - DOJ-BP-0002711136
876-a                                   Attachment, "Company House",
                                        DOJ-BP-0002711137 - DOJ-BP-0002711138
876-b                                   Attachment, BDO Letter,
                                        DOJ-BP-0002711139
877.                                    Email from Brunst, "Final forecast and loan calculations", 04/22/2015
                     q / i..1 f1:7      DOJ-BP-0003405975
877-a                                   Attachment, "BP Revenue and EBITDA Reconciliation",
                                        DOJ-BP-000340 597 6
878.                                    Emails, "Classified Solutions Ltd- phone number", 06/05/2015,
                     ci/2-1 h:;;        DOJ-BP-0002711366 - DOJ-BP-0002711373
878-a                                   Attachment, Borgun Change Form for existing merchants,
                                        DOJ-BP-0002711374 - DOJ-BP-0002711375
879.                                    Emails, "AMS -Potential Office Space", 06/14/2015,
                                        DOJ-BP-0002711381 - DOJ-BP-0002711382
880.                                    Email from Ferrer, "Fwd: Site 1 gear", 07/27/2015,
                     <=-t/2.1      h?   DOJ-BP-0003695241 - DOJ-BP-0003695242
881.                                    Email from Brunst, "call next Wednesday", 08/14/2015,
                                        DOJ-BP-0003620886
882.                                    Emails from Brunst, "Re: Customer Credit Transfer", 08/17/2015,
                           ....,
                                        DOJ-BP-0003505066 - DOJ-BP-0003505067
883.                                    Emails, "I'll be at the Sanctuary tonight", 09/09/2015,
                                        DOJ-BP-0004124931
884.                                    Email, "Business Plan and Succession Plan", 04/10/2015,
                     c1 (2.1 /2:':,     DOJ-BP-0002711084

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884-a                                  Attachment, Succession Plan .Fmal,
                     er '1--1 /-,..-:; DOJ-BP-0002711085
884-b                                  Attachment, BP Revenue and EBITDA Reconciliation,
                                       DOJ-BP-0002711086
884-c                                  Attachment, 2015 Business Plan,
                                       DOJ-BP-0002711087
885.                                   Email from Brunst, "Fwd: Responses to AML Request", 10/06/2015,
                       ct I2.1 I,,__." DOJ-BP-0004124826 - DOJ-BP-0004124827
886.                                   Emails, "Just need to update our files", 10/07/2015,
                        i              DOJ-BP-0002711451 -DOJ-BP-0002711453
886-a                                  Attachment, Answer
                      ci 11..i ,~ DOJ-BP-0002711454
887.                                   Email, "RE: Just need to update our files", 10/09/2015,
                                       DOJ-BP-0004121746 - DOJ-BP-0004121747
888.                                   Email to Brunst and Ferrer, "November Financials", 12/18/2015,
                                       DOJ-BP-0002711470
888-a                                  Attachment, AH Profit and Loss,
                                       DOJ-BP-0002711471
888-b                                  Attachment, Atlantic Holdings Balance Sheet,
                                       DOJ-BP-0002711472
889.                                   Email from Brunst, "Forbearance agreement", 12/23/2015,
                                       DOJ-BP-0002711473
889-a                                  Attachment, Backpage US Operations Loan Forbearance Agreement,
                                       DOJ-BP-0002711474-001 -DOJ-BP-0002711474-009
890.                                   Email from Brunst, "Re: CV Bank account", 03/16/2016,
                                       DOJ-BP-0004801073 - DOJ-BP-0004801074
891.                                   Email from Brunst, Website and UGC revenue, 03/16/2016,
                                       DOJ-BP-0004792840 - DOJ-BP-0004792842
892.                                   Emails from Brunst, "May interest statement attached", 05/17/2016,
                       9 /2-1 (z:; DOJ-BP-0004124783 - DOJ-BP-0004124784
893.                                   Email, "Children of the Night donations", 05/24/2016,
                                       USAO-BP-0023398 - USAO-BP-23400
894.                                   Emails from Brunst, "Fwd: collections", 06/21/2016,
                      9 /2-, f.21? DOJ-BP-0004124788 - DOJ-BP-0004124789
895.                                   Email from Brunst, "Frick", 07/08/2016,
                                       DOJ-BP-0004124790
896.                                   Emails from Brunst, "Bank Frick bank accounts", 07/21/2016,
                                       DOJ-BP-0002814623 - DOJ-BP-0002814624
897.                                   Email from Brunst, "Re: Another alternative to banks", 08/03/2016
                      9 /u h-1         DOJ-BP-000283 6402

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898.                               Email, "tacials, pedicures & hair removal , U~/LJ/LU 12,
                                   DOJ-BP-000107 4085
899.                               Email to Speai·, "Docs you requested for budget", 12/05/2008,
                     9/t?J /2."J   DOJ-BP-0000195525
899-a                              Attachment, Budget issues and comments,
                                   DOJ-BP-0000195527
899-b                              Attachment, Backpage.com Marketing Position,
                                   DOJ-BP-0000195528
899-c                              Attachment, Backpage pay schedule,
                                   DOJ-BP-0000195529
899-d                              Attachment, Village Voice Media Adult Advetiising Policy,
                                   DOJ-BP-0000195530
899-e                              Attachment, Manager Job Description,
                     '1·/j~ h-~    DOJ-BP-0000195531 -DOJ-BP-0000195532
900.                               Letter from Ferrer to Consumer Protection Division, 07/06/2009
                                   DOJ-BP-0004429436 -DOJ-BP-0004429439
901.                               Summary of Meeting on September 4, 2009
                                   DOJ-BP-0004429446 -DOJ-BP-0004429448
902.                               Letter from Eight State Attorneys General, 10/02/2009
                     9 IP) h~      DOJ-BP-0000196538 -DOJ-BP-0000196540
902-a                              Attachment, Lawsuit complaint from Missouri,
                                   DOJ-BP-0000012986 -DOJ-BP-0000012989
903.                               Letter to Attorneys General Working Group, 11/16/2009
                                   DOJ-BP-0002127562 -DOJ-BP-0002127564
904.                               Letter to Attorneys General Working Group, 05/03/2010
                                   DOJ-BP-0002127773 -DOJ-BP-0002127778
905.                               Letter to Attorneys General Working Group, 09/02/2010
                                   DOJ-BP-0002127741 -DOJ-BP-0002127744
906.                               Email, "Carl's recitation of his actions ... ", 09/19/2010,
                                   DOJ-BP-0000012984 -DOJ-BP-0000012985
906-a                              Attachment, Lawsuit complaint from Missouri,
                                   DOJ-BP-0000012986 -DOJ-BP-0000012989
906-b                              Attachment, Ad printouts from stlouis.backpage.com,
                                   DOJ-BP-0000012990 -DOJ-BP-0000013079
907.                               Email from Fen-er regarding TER, 09/22/2010
                     ci/11-1/z.~   DOJ-BP-0002124449 -DOJ-BP-0002124451
908.                               Letter to Attorney General for Minnesota, 09/28/2010
                                   DOJ-BP-0001560006
909.                               Letter to Attorney General for Pennsylvania, 09/28/2010
                                   DOJ-BP-0001560009

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YlU.                                 Vallas Observer article 'The Superbowl Prostitute Mytn , Ulr2'//2Ul l
                                     USAO-BP-0016079 - USAO-BP-0016080
910-a                                Captured page from Archive.org, dallas.backpage.com, 02/04/2011,
                                     USAO-BP-0016081
911.                                 Dallas Observer article, "Super Bowl prostitution", 03/03/2011,
                                     USAO-BP-0016082 - USAO-BP-0016083
911-a                                Captured page from Archive.org, dallas.backpage.com, 03/12/2011,
                                     USAO-BP-0016084
912.                                 Email from Lacey, "Re: Seattle Mayor", 07/11/2011,
                     c, /1q Il.">    USAO-BP-0019687
913.                                 Email to McDougall, Moon, "Focus Group memo", 04/25/2012,
                                     DOJ-BP-0004901512
913-a                                Attachment - GQRR Memo "Positioning Backpage.com in the Public
                                     Debate - Focus Group Research Report",
                                     USAO-BP-0019569 - USAO-BP-0019578
914.                                 Email from Padilla, "Image Doubts from Training", 09/14/2012,
                                     DOJ-BP-001112743
914-a                                Attachment - "Doubts - Andrew edit"
                                     DOJ-BP-0001112744
915.                                 Email from Ferrer to Spear, "MBOs 1st Qtr", 02/07/2012
                                     DOJ-BP-000480964 7
916.                                 AIM Group article, "Sites set combined record for online prostitution-
                                     ad revenue", 02/24/2012,
                                     DOJ-BP-0004692759 - DOJ-BP-0004692762
917.                                 Email from Spear, "Re: 9-1 Settlement Numbers", 09/02/2010,
                                     USAO-BP-0023401- USAO-BP-0023402
918.                                 Emails from Padilla, Fe1Ter, Spear, "equipment and staff', 09/05/2010
                     9 /,L-J Ii.?    USAO-BP-0023403 - USAO-BP-0023404
919.                                 Email from Spear, "Fwd: Google Alert - craigslist", 09/07/2010,
                                     USAO-BP-0023405 - USAO-BP-0023406
920.                                 Email from Spear, "Re: Craigslist", 09/11/2010,
                                     USAO-BP-0023407- USAO-BP-0023408
921.                                 Emails from Fe1Ter, Spear, "Additional Hardware (FYI)", 09/12/2010,
                                     USAO-BP-0023409- USAO-BP-0023410
922.                                 Emails from Fe1Ter, Spear "Amazing how I feel better ... ", 09/13/2010
                                     USAO-BP-0023411
923.                                 Email, "Fwd: Change.org petition against VVM", 09/14/2010
                     9 /1'-I I z.~   USAO-BP-0023412
923-a                                Linked page, Petition, Tell Village Voice Media to Stop Trafficking
                                     Children on Backpage.com

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                                     USAU-Hl'-UU246YL - USAU-.l:W-UU246.'.l4

924.                                 Emails from Fe1Ter, Spear "Additional Hardware request" 09/15/2010
                                     USAO-BP-0023413 - USAO-BP-0023415
925.                                 Emails from Spear, Larkin, "Ernie Allen testimony", 09/15/2010
                     Cj /,,-1 /2~    USAO-BP-0023416
925-a                                Testimony of Ernie Allen before US Congress
                                     USAO-BP-0024655 - USAO-BP-0024663
926.                                 Email form Spear, "Re: Wall Street Journal reporter", 09/15/2010
                                     USAO-BP-0023417 - USAO-BP-0023418
927.                                 Emails from Spear, Lacey, "one more blog for the book", 09/17/2010
                                     USAO-BP-0023419- USAO-BP-0023420
928.                                 Emails from Spear, Lacey, "backpage ranking in US", 09/19/2010
                                     USAO-BP-0023421- USAO-BP-0023422
929.                                 Email, "One last thought - a trnncated response", 09/19/2010
                                     USAO-BP-0023423
930.                                 Emails, "Questions regarding Latasha McFarland", 09/19/2010
                                     USAO-BP-0023424 - USAO-BP-0023425
931.                                 Email, "Press inquiries about lawsuit in Missouri", 09/20/2010
                                     USAO-BP-0023426
932.                                 Letter to Backpage from Montgomery County, MD, faxed 09/21/2010
                     '1/1'-f /,u'J   USAO-BP-0023427 - USAO-BP-0023428
933.                                 Emails from FeITer, Spear, "Response to Maryland fax", 09/22/2010
                           ~         USAO-BP-0023429
933-a                                Redacted version ofExh 933
                                     USAO-BP-0023429
934.                                 Email from Spear, "Fwd: Backpage.com Amend 2", 09/22/2010
                                     USAO-BP-0023430 - USAO-BP-0023431
934-a                                Attachment, Backpage Amendment with Litle & Co.
                                     USAO-BP-0024664
935.                                 Emails from FeITer, Spear, "Overseas help", 09/26/2010
                                     USAO-BP-0023432
936.                                 Email from Spear to Lacey, Larkin, FeITer and others, 09/27/2010,
                                     USAO-BP-0023433
937.                                 Email, "Re: Matt Dameron-General Koster's COS", 09/27/2010,
                                     USAO-BP-0023434 - USAO-BP-0023437
938.                                 Emails from Spear to Lacey, Larkin, FeITer and others, 09/30/2010,
                        9 /H /1-?;   USAO-BP-0023438 - USAO-BP-0023440
939.                                 Email from Spear to Ferrer, "backpage adult policy", 10/12/2010,
                                     USAO-BP-0023441

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94U.                                Email trom Lacey, "Kansas schedules 'Perp Walk ... ", 10/12/2010,
                     q/1'4 h.-,.,   USAO-BP-0023442 - USAO-BP-0023444
940-a                               Email from Larkin, "Kansas schedules 'Perp Walk' ... ", 10/12/2010,
                                    USAO-BP-025356 - USAO-BP-025358
941.                                Emails from Spear re: Consumer Affairs article, 10/19/2010
                                    USAO-BP-0023445 - USAO-BP-0023446
941-a                               Linked article, "Backpage.com Agrees to suspend Adult Service Ads"
                                    USAO-BP-002344 7
942.                                Email from Ferrer to Padilla, "4 homicides in Detroit", 12/26/2011,
                                    USAO-BP-0023448
942-a                               Linked article, "Detroit Police Chief Makes Public Safety
                                    Announcement",
                                    USAO-BP-0023449
943.                                Emails from Ferrer and Larkin, "Detroit homicides", 12/26/2011,
                                    USAO-BP-0023450
944.                                Emails from Padilla and Ferrer, "Support Ticket", 12/27/2011,
                                    USAO-BP-0023451
945.                                Emails, "Interview Request - CNN, Anderson Cooper", 12/27/2011,
                                    USAO-BP-0023452 -USAO-BP-0023454
946.                                Email from Ferrer, "Link to ads and other sites", 12/27/2011,
                                    USAO-BP-0023455 - USAO-BP-0023458
947.                                Email form Ferrer to Larkin, "Compiled PR URLs ... ", 12/27/2011,
                                    USAO-BP-0023459
948.                                Email from Ferrer, "Conversation with Detroit PD", 12/27/2011,
                                    USAO-BP-0023460
948-a                               Attachment, "LawEnforcementGuide_BP20111128",
                                    USAO-BP-0023461- USAO-BP-0023462
949.                                Email from Lacey. "Tea leafs from Anderson Cooper's producer",
                                    12/27/2011,
                                    USAO-BP-0023463 - USAO-BP-0023465
950.                                Emails, "More phone number and ad urls", 12/27/2011,
                                    USAO-BP-0023466- USAO-BP-0023468
950-a                               Attachment, "Eroticmugsscreenshot",
                                    USAO-BP-0023469- USAO-BP-0023472
951.                                Emails, "Fixing the 'record' w/ Detroit PD ... ", 12/27/2011
                                    USAO-BP-0023473 - USAO-BP-0023475
951-a                               Attachment, "Articles about Craigslist ads after Sept 201 0",
                                                                                               ,-
                                    USAO-BP-0024665- USAO-0024683
952.                                Email, "Examples of ads and urls on other sites", 12/27/2011,
                                    USAO-BP-0023476- USAO-BP-0023478

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9)3.                            bmail to Lacey. "Ke: lea leats trom Anderson Cooper s producer",
                                12/27/2011,
                                USAO-BP-0023479- USAO-BP-0023481
954.                            Email from Fen-er to Padilla, "More phone numbers and ad urls
                                (final)", 12/27/2011,
                                USAO-BP-0023482 - USAO-BP-0023484
955.                            Emails, "Cai·l,this gives you a little more time ... ", 12/27/2011,
                                USAO-BP-0023485 - USAO-BP-0023487
956.                            Email forwarding voicemail from AP Reporter, 12/27/2011,
                                USAO-BP-0023488 - USAO-BP-0023489
957.                            Email from Larkin, "Carl: did we ever hear from a CNN reporter
                                other than Cooper's producers?", 12/27/2011,
                                USAO-BP-0023490 - USAO-BP-0023491
958.                            Email from Ferrer to Larkin with attachment, 12/27/2011,
                                USAO-BP-0023492
958-a                           Attachment, "Additional links containing phone numbers of Detroit
                                Homicide Victims",
                                USAO-BP-0023493 - USAO-BP-0023494
959.                            Email, "Re: draft statement", 12/27/2011,
                                USAO-BP-0023495 - USAO-BP-0023498
960.                            Email from Ferrer, "Clean pdf', 12/27/2011,
                                USAO-BP-0023499
960-a                           Attachment, "Additional links containing phone numbers of Detroit
                                Homicide Victims",
                                USAO-BP-0023500 - USAO-BP-0023501
961.                            Email from Fener, "Attached-Phone number searches of ads and
                                other web sites," 12/27/2011,
                                USAO-BP-0023 502
961-a                           Attachment, "Additional links containing phone numbers of Detroit
                                Homicide Victims",
                                USAO-BP-0023503 - USAO-BP-0023504
961-b                           Linked page from attachment, The Erotic Review, Sasha From Detroit
                                USAO-BP-0023505 - USAO-BP-0023506
962.                            Email from Hyer to Fener, "Possible agency account", 12/27/2011,
                                USAO-BP-0023507
963.                            Emails, "Carl's follow up call to DPD Sgt. Now", 12/27/2011,
                                USAO-BP-0023508 - USAO-BP-0023509
964.                            Email from Padilla, "Re More numbers and ad urls", 12/27/2011,
                                USAO-BP-0023510- USAO-BP-0023512
965.                            Email from Fen-er, "Detroit ad records", 12/27/2011,

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965-a                           Attachment, "Detroit Record Preservation 122711",
                                USAO-BP-0023514 - USAO-BP-0023958
966.                            Email from Larkin, "Washington area media Detroit", 12/27/2011,
                                USAO-BP-0023959
967.                            Email from Lacey, "minor comments Re draft statement", 12/27/2011
                                USAO-BP-0023960 - USAO-BP-0023963
968.                            Email from Ferrer, "clean list of the 16 other websites", 12/27/2011
                                USAO-BP-0023964- USAO-BP-0023966
969.                            Email, "FW: DPD public safety ale1i: List of 15 add'l websites re:
                                homicides investigation", 12/27/2011
                                USAO-BP-0023967- USAO-BP-0023971
970.                            Email, "Fwd: abc repmi on dead Detroiters includes language flour
                                statement", 12/27/2011
                                USAO-BP-0023972
970-a                           Linked article, "Detroit Police: Killer May Be Targeting Escorts",
                                USAO-BP-0023973
971.                            Email, "Media Monitoring 12-27-11 ", 12/27/2011,
                                USAO-BP-0023974
971-a                           Attachment, "Detroit Murders Coverage 12-27-11",
                                USAO-BP-0024684- USAO-BP-0024713
972.                            Email from Lacey, "Re: follow up note sent to Chief Godbee at
                                Detroit PD", 12/28/2011,
                                USAO-BP-0023975 - USAO-BP-0023976
973.                            Email from Larkin, "Re: USC", 12/28/2011,
                                USAO-BP-0023977- USAO-BP-0023979
974.                            Email from Lacey, "Re: USC", 12/28/2011,
                                USAO-BP-0023980 - USAO-BP-0023983
975.                            Email, "12:20 call (Eastern)", 12/28/2011,
                                USAO-BP-0023984 - USAO-BP-0023987
976.                            Email from Larkin, "Fwd: USC", 12/28/2011,
                                USAO-BP-0023988 - USAO-BP-0023991
977.                            Email, Re disclosure of phone numbers and websites, 12/28/2011,
                                USAO-BP-0023 992
978.                            Email from Ferrer to Larkin, "Re: USC", 12/28/2011,
                                USAO-BP-0023993
978-a                           Attachment, "Craigslist-Rep01i",
                                USAO-BP-0023994- USAO-BP-0024049


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"JI').                           bmall, "toctay Kh UPU public sarety alert: List or D ae1e1·1 websites
                                 re: homicides investigation", 12/28/2011,
                                 USAO-BP-0024050 - USAO-BP-0024054
980.                             Email from FeITer to Larkin, "Fwd: Analytics backpage.com
                                 20111227", 12/28/2011,
                                 USAO-BP-0024055
981.                             Email from FeITer to Hyer, "Fwd: Analytics backpage.com
                                 20111227", 12/28/2011,
                                 USAO-BP-0024056
982.                             Email to Ferrer, "Carl-You're in Phoenix, right?", 12/28/2011,
                                 USAO-BP-0024057
983.                             Email, "Good news on USC professor", 12/28/2011,
                                 USAO-BP-0024058 - USAO-BP-0024059
984.                             Email, "Re: CNN update ... ", 12/28/2011,
                                 USAO-BP-0024060
985.                             Emails from FeITer and Larkin, "Anderson's rips TheDirty.com",
                                 12/28/2011,
                                 USAO-BP-0024061
986.                             Email from Spear, "Fwd: Analytics backpage.com 20111227",
                                 12/28/2011,
                     9 ftq '2,   USAO-BP-0024062
986-a                            Attachment. "Analytics backpage.com 20111227",
                        ~
                                 USAO-BP-0024063 - USAO-BP-0024076
987.                             Email from Padilla, "Re: purge progress", 12/29/2011,
                                 USAO-BP-0024077 - USAO-BP-0024078
988.                             Email from Lacey, "List of 22 other websites ... ", 12/29/2011;
                                 USAO-BP-0024079 - USAO-BP-0024080
988-a                            Attachment. "Detroit" (with Lacey edits)
                                 USAO-BP-0024714 - USAO-BP-0024716
989.                             Email, " ... Larkin' s sound admonition re: DPD", 12/29/2011,
                                 USAO-BP-0024081- USAO-BP-0024084
990.                             Email from Lacey, "Re: Not victim's ads--", 12/29/2011,
                                 USAO-BP-0024717- USAO-BP-0024724
991.                             Email from Lacey, "Re: Detroit Free Press request", 12/29/2011,
                                 USAO-BP-0024725 - USAO-BP-0024729
992.                             Email from Lacey, "Kasowitz will provide bullets to Suskin on AIM",
                                 12/29/2011,
                                 USAO-BP-0024730 - USAO-BP-0024735
993.                             Email about AC360 story on Backpage, 12/29/2011,
                                 USAO-BP-0024085 - USAO-BP-0024086

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994.                            .bmail trom ~pear, ".Fwd 1ermmat10n letter trom tlacl<page.com",
                                12/29/2011,
                                USAO-BP-0024087- USAO-BP-0024088
995.                            Email from Ferrer to Hyer and Padilla, "Cut and paste the URL to see
                                the interview", 12/29/2011,
                                USAO-BP-0024089
996.                            Email, "Complete Transcript of the full CNN interview", 12/29/2011
                                USAO-BP-0024090- USAO-BP-0024091
997.                            Email to Lacey, "They are not backing down", 12/29/2011,
                                USAO-BP-0024092 - USAO-BP-0024096
998.                            Emails from Fen-er and Hyer, "Standard Operating Procedure on a
                                murder or violent crime", 01/03/2012,
                                USAO-BP-0024097- USAO-BP-0024098
999.                            Email from Spear, "Dan compensation", 01/12/2012,
                                USAO-BP-0024099
999-a                           Attachment. "Dan Hyer Comp analysis 1-12-12",
                                USAO-BP-0024246
1000.                           Email from Lacey, "Re: pos avenues for revenue calc", 01/12/2012,
                                USAO-BP-0024100 - USAO-BP-0024103
1001.                           Email from Spear, "bonuses", 01/13/2012,
                                USAO-BP-0024104
1001-a                          Attachment. "Back.page bonus memo"
                                USAO-BP-0024105
1002.                           Email from Lacey, "Re: can we schedule a brief call to discuss
                                strategy?", 01/17/2012
                                USAO-BP-0024106- USAO-BP-0024107
1003.                           Email from Lacey about Super Bowl articles, 01/23/2012,
                                USAO-BP-0024108
1004.                           Email from Lacey, "Re: Kristof Statement", 01/24/2012,
                                USAO-BP-0024109 - USAO-BP-0024110
1005.                           Email from Lacey, about Kristof question, 01/26/2012,
                                USAO-BP-0024111
1006.                           Email from Lacey about adult search words, 01/26/2012,
                                USAO-BP-0024112
1007.                           Emails from Ferrer, Spear and Larkin, "Top 10 countries for
                                backpage expansion", 01/26/2012,
                                USAO-BP-0024113 - USAO-BP-0024118
1008.                           Email from Lacey to Ferrer about Super Bowl articles, 01/27/2012,
                                USAO-BP-0024119


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1009.                                    .bmail trom Lacey, "Ke: Denver Statement tor Suslcm v LU 1-31-12",
                                         01/31/2012,
                                         USAO-BP-0024120
1010.                                    Email from Spear, "bonus package details", 02/02/2012,
                                         USAO-BP-0024121
1011.                                    Email from Spear, "Re: bonus package details", 02/03/2012,
                                         USAO-BP-0024122- USAO-BP-0024124
1012.                                    Email from Lacey, "Re: fyi- Kristof today", 02/05/2012,
                                         USAO-BP-0024125 - USAO-BP-0024128
1013.                                    Email from Lacey, "Re: Sheriff Dart Letter of 1/31/2012", 02/06/2012
                                         USAO-BP-0024129 - USAO-BP-0024139
1014.                                    Email, "Forbes wants a story for the magazine", 02/07/2012,
                                         USAO-BP-0024140 - USAO-BP-0024141
1015.                                    Email from Spear, "comp packages for managers", 02/08/2012
                                         USAO-BP-0024142
1015-a                                   Attachment. "Dan Hyer Bonus Package 2012"
                                         USAO-BP-0024247
1015-b                                   Attachment. "Management comp packages 2012"
                                         USAO-BP-0024245
1016.                                    Email from Lacey, "Re: Forbes has appended its online story today
                                         with a McKenna statement", 02/14/2012,
                                         USAO-BP-0024143 - USAO-BP-0024145
1017.                                    Email from Lacey, "Kristof speaks about human trafficking at U. of
                                         Texas, Austin", 02/14/2012,
                                         USAO-BP-0024146- USAO-BP-0024147
1018.                                    Emails from Spear and Larkin, "Craigslist censored his adult section
                                         entirely", 09/04/2010,
                                         USAO-BP-0024148
1019.                                    Email from Larkin, "Lacey will write response", 09/18/2010,
                                         USAO-BP-0024149
1020.                                    Emails from Larkin, "FYI, My message to Lacey", 09/28/2010,
                                         USAO-BP-0024150- USAO-BP-0024151
1021.                                    Emails from Speai· and Larkin, "meeting tomorrow" 10/13/2010,
                     9 /,i c; {;,--7;,   USAO-BP-0024152
1022.                                    Emails from Fe1Ter and Larkin, "NY_pdf'', 01/09/2012,
                                         USAO-BP-0024153
1022-a                                   Attachment. "Other_esp_ny2"
                                         USAO-BP-0024154 - USAO-BP-0024201
1023.                                    Emails from Fe1Ter and Larkin, "Preparation for Meetings",
                                         01/20/2012,

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                                USAU-tlP-001.4202 - USAU-tlP-0024203

1024.                           Emails from Ferrer and Larkin, "Search engine economics",
                                01/16/2012,
                                USAO-BP-0024204
1025.                           Emails from Spear and Larkin, "This is amazing-more popular than
                                'CNN' ... ",
                                USAO-BP-0024205
1026.                           Emails from Fen-er and Larkin, "TMZ is holding the story for the
                                day", 01/19/2012
                                USAO-BP-0024206- USAO-BP-0024207
1027.                           Emails from Fen-er and Larkin, "Re: backpage", 01/23/2012,
                                USAO-BP-0024208 - USAO-BP-0024210
1028.                           Email from Larkin, "Re: Kristof', 01/23/2012,
                                USAO-BP-0024211 - USAO-BP-0024212
1029.                           Email from Larkin, "Re: Kristof Statement", 01/24/2012,
                                USAO-BP-0024213
1030.                           Email from Larkin, "Re: Another idea leveraging existing content and
                                development", 01/24/2012,
                                USAO-BP-0024214
1031.                           Emails from Lacey and Larkin, "Forbes - Who stopped Pipa and
                                Sopa", 01/26/2012,
                                USAO-BP-0024215 - USAO-BP-0024216
1032.                           Email from Larkin with Link to New York Times Article, 01/26/2012
                                USAO-BP-0024217
1032-a                          Linked article, How Pimps Use the Web to Sell Girls
                                USAO-BP-0024218


1033.                           Email from Larkin, "Carl: this woman has written favorably about
                                us", 01/26/2012,
                                USAO-BP-0024219
1033-a                          Linked webpage, deepthroated.wordpress.com
                                USAO-BP-0024220
1034.                           Emails from Larkin and Ferrer, "Indiana AG says backpage is already
                                spiking with ad count", 01/26/2012,
                                USAO-BP-0024221 - USAO-BP-0024222
1034-a                          Emails from Larkin and Ferrer, "Indiana AG says backpage is already
                                spiking with ad count", 01/30/2012,
                                USAO-BP-0024223 - USAO-BP-0024225

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103).                           bmall trom Larlnn, ··_uacl<:page strategy conterence toctay ,
                                02/01/2012,
                                USAO-BP-0024226
1036.                           Email from Larkin, "Monday morning conference call", 02/05/2012,
                                USAO-BP-0024227 - USAO-BP-0024230
1037.                           Emails from Fen-er and Larkin, "Fortune call went well", 02/06/2012
                                USAO-BP-0024231 - USAO-BP-0024232
1038.                           Email from Larkin, "Unbanked and unprotected", 10/19/2015,
                                USAO-BP-0024233
1038-a                          Linked article from Jezebel.com,
                                USAO-BP-0024234- USAO-BP-0024238
1039.                           Emails from Fen-er and Larkin, "We grabbed VillageVoicePimps.com
                                for you", 12/16/2015,
                                USAO-BP-0024239- USAO-BP-0024240
1040.                           Emails from Moon, Ferrer and Larkin, "Lender Call", 06/20/2016,
                                USAO-BP-0024241
1041.                           Email from Larkin, "Lois Lee", 01/06/2017,
                                USAO-BP-0024242 - USAO-BP-0024243
1042.                           Email from Spear, "First draft of Powerpoint", 12/10/2010,
                                DOJ-BP-0002134574
1042-a                          Attachment, "2011 BudgetPresentation v 1 12-09-1 0",
                                DOJ-BP-0002134575 -DOJ-BP-0002134587
1042-b                          Updated "201 lBudgetPresentation",
                                DOJ-BP-000460244 2
1043.                           Kristof article, "Financiers and Sex Trafficking", 03/31/2012,
                                USAO-BP-0024736- USAO-BP-0024738
1044.                           Emails from Larkin, "UK guardian weighs in on backpage",
                                03/26/2012,
                                DOJ-BP-0004810494
1044-a                          Linked aiiicle, Guardian, "The unintended consequences of Nick
                                Kristof's anti-sex trafficking crusade",
                                USAO-BP-0024739- USAO-BP-0024741
1045.                           Email to Lacey and Larkin, "The Backpage Backlash",
                                DOJ-BP-0004834115
1045-a                          Linked aiiicle, New York Observer, "The Backpage Backlash",
                                USAO-BP-0024 742
1046.                           Emails from Lacey and Larkin re Kristof, 03/27/2012,
                                DOJ-BP-0004834109
1047.                           Email from Larkin to Brnnst, "Jed: read these before you send.",
                                DOJ-BP-000484823 6

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104 /-a                               Lml<ed article, Keason, ·was Nicholas Knstot s story ... ,
                                      USAO-BP-0024743
1047-b                                Linked article, Salon, "The Backpage dilemma",
                                      USAO-BP-0024 744
1048.                                 Email to Brunst, "Re" Canu please send me", 06/09/2014,
                                      DOJ-BP-0002 712993
1048-a                                Attachment, BP Marketplaces
                                      DOJ-BP-0002 712994
1049.                                 Email to Fen-er and Brunst, "Latest PPT", 06/23/2014,
                     cr1·"4?,:}J      DOJ-BP-0002713130
1049-a                                Attachment, Afterjed_call_BP Presentation-Nathan-6-23-14,
                                      DOJ-BP-0002 713131
1049-b                                Presentation; Backpage.com June 2014; 17 Pages
                        q lu (z.,,,
1050.                                 Craigslist Blog post, "Striking a New Balance", 05/13/2009,
                                      USAO-BP-0024745
1051.                                 Backpage Blog post, "Backpage Rejects Calls for Censorship",
                                      09/21/2010
                                      USAO-BP-0024746
1052.                                 CNN Broadcast aired 01/23/2011, "Selling the Girl Next Door",
                                      USAO-BP-0001041 - USAO-BP-0001043
1052-a.                               Clip from Exhibit 1052

1052-b.                               Clip from Exhibit 1052

1052-                                 Clip from Exhibit 1052
bl.                  q/, <:, /1--1
1052-c.                               Clip from Exhibit 1052

1052-                                 Clip from Exhibit 1052
cl.
1053.                                 CNN Broadcast aired 12/29/2011, Anderson Cooper 360",
                                      USAO-BP-0001044 - USAO-BP-000104 7
1053-a.                               Clip from Exhibit 1053

1053-b.                               Clip from Exhibit 1053

1053-c.                               Clip from Exhibit 1053

1053-d.                               Clip from Exhibit 1053

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10)4.                                 CNN tlroactcast Affect U)/ 1012012, .. Anderson cooper Jou ,
                                      USAO-BP-0001048
1055.                                 CNN Broadcast Aired 06/07/2012, "Anderson Cooper 360",
                                      USAO-BP-0001049- USAO-BP-0001052
1055-a.                               Clip from Exhibit 1055

1055-b.                               Clip from Exhibit 1055

1055-c.                               Clip from Exhibit 1055

1055-d.                               Clip from Exhibit 1055

1056.                                 Email from FetTer to Spear, "Backpage work plan", 11/21/2005
                     9/ 17.. /1,';J   DOJ-BP-0002118696
1056-a                                Attachment, "Backpage Work Plan",
                                      DOJ-BP-0002118698
1057.                    ".           Emails f01m Spear and FetTer, "adult changes", 05/08/2006,
                                      DOJ-BP-0002118699
1057-a                                Attachment titled "Changes to Backpage Terms of Use and
                                      Disclaimer Warnings",
                                      DOJ-BP-0002118701 -DOJ-BP-0002118706
1058.                                 Email, "Backpage.com Ad - In your book in your city", 11/20/2010,
                                      DOJ-BP-0000003040
1058-a                                Attachment, "Backpage ad layout specs",
                                      DOJ-BP-0000003041
1059.                                 Email from FetTer to Padilla re: Rebecca Project Ads, 11/24/2010,
                                      DOJ-BP-0001579342
1060.                                 Email to Spear and Ferrer, "Updated Excel for call", 12/20/2010,
                                      DOJ-BP-0004426153
1060-a                                Attachment, "Backpage Changes Excel v5",
                                      DOJ-BP-0004426154 -DOJ-BP-0004426158
1061.                                 Email from F etTer, "cnn demand letter", 01/24/2011,
                                      DOJ-BP-0000210641
1062.                                 Email from FetTer, "cnn demand letter", 01/24/2011,
                     °' lic:j I2.")   DOJ-BP-0000195863
1062-a                                Attachment, Ad titled "New BooTy in ToWn",
                          J           DOJ-BP-0000195864 -DOJ-BP-0000195865
1063.                                 Email to Larkin and Spear, "An idea from Ireland", 03/04/2011,
                                      DOJ-BP-000212243 7
1064.                                 Email from Padilla to Vaught, "Canada and more pies soon",
                                      08/31/2011,
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1065.                           Article, Kristof: "Where Pimps Peddle Their Goods", 03/17/2012,
                                DOJ-BP-0004456419 -DOJ-BP-0004456422
1066.

1067.

1068.

1069.                           Email from Larkin, "463/DCV Scope and Budget", 07/30/2012,
                                DOJ-BP-00008692 78
1070.                           Facebook posting from Connecticut U.S. Attorney, 12/02/2011,
                                USAO-BP-0024751
1070-a                          Facebook posting from Somaly Mam Foundation, 12/02/2011,
                                USAO-BP-0024752
1071.                           Email from Lacey re: Superbowl article, 01/11/2012,
                                USAO-BP-0024753
1072.                           Facebook posting from Westword reader, 01/26/2012,
                                USAO-BP-0024754
1073.                           Press release from Connecticut U.S. Attorney, 01/27/2012,
                                USAO-BP-0024755
1074.                           Report on Arizona State University study on Back.page, 05/20/2012,
                                USAO-BP-0024756 - USAO-BP-0024759
1075.                           Emails from Brunst and Ferrer, "Rates Info", 07/23/2013,
                                USAO-BP-0024760 - USAO-BP-0024766
1075-a                          Attachment, "rates_comparison_cc_trans2",
                                USAO-BP-0024767
1075-b                          Attachment, "CashFlows_Application_Updated_by_earl",
                                USAO-BP-0024 768 - USAO-BP-0024800
1076.                           Email from Fen-er to Brunst, "Backpage-Paymentworld", 08/05/2013
                                USAO-BP-00240801- USAO-BP-0024804
1076-a                          Attachment, "Application",
                                USAO-BP-0024805 - USAO-BP-0024807
1076-b                          Attachment, "Backpage.comAddendum",
                                USAO-BP-0024808
1076-c                          Attachment, "PWReserve 1 week 10%",
                                USAO-BP-0024809
1077.                           Email from Ferrer to Brunst re: eMerchantPay, 08/09/2013,
                                USAO-BP-0024810 - USAO-BP-0024825

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l u / /-a                         Attacnment, ·1ntemat10nal Merchant Agreement lerms ... ,
                                  USAO-BP-0024826 - USAO-BP-0024838
1078.                             Email from Ferrer, "Back.page-Issuing the MID", 08/12/2013,
                                  USAO-BP-0024839 - USAO-BP-0024848
1079.                             Email to Spear, "Back.page-Issuing the MID", 08/12/2013,
                                  USAO-BP-0024849 - USAO-BP-0024871
1080.                             Email from Ferrer, "Draft of what I am being asked to send to EMP",
                                  08/12/2013,
                                  USAO-BP-0024872 - USAO-BP-0024875
1081.                             Email from Spear, "Draft of what I am being asked to send to EMP",
                                  08/12/2013,
                                  USAO-BP-0024876
1081-a                            Attachment to go to EMP,
                                  USAO-BP-0024877
1081-b                            Attachment to go to Borgun
                                  USAO-BP-0024878
1082.                             Email messages, "Back.page - Issuing the MID", 08/13/2013,
                                  USAO-BP-0024879 - USAO-BP-0024895
1082-a                            Attachment "IMA_Classified_Solutions",
                                  USAO-BP-0024896 - USAO-BP-0024908
1082-b                            Attachment, "IMA Terms and Conditions",
                                  USAO-BP-0024908 - USAO-BP-0024921
1082-c                            Attachment, "PCI DDS Compliance F01m - Classified Solutions",
                                  USAO-BP-0024922 - USAO-BP-0024923
1082-d                            Attachment, "PCI DDS Additional Compliance F 01m",
                                  USAO-BP-0024924
1082-e                            Attachment, "pci_saq_c_ v2 - ClassifiedSolutions",
                                  USAO-BP-0024925 - USAO-BP-0024950
1083.                             Email from Spear, "Back.page -Issuing the MID", 08/13/2013,
                                  USAO-BP-0024951 - USAO-BP-0024953
1083-a                            Attachment "IMA_Classified_Solutions",
                                  USAO-BP-0024954 - USAO-BP-0024966
1083-b                            Attachment, "IMA Terms and Conditions",
                                  USAO-BP-0024967 - USAO-BP-0024979
1083-c                            Attachment, "PCI DDS Compliance F01m - Classified Solutions",
                                  USAO-BP-0024980 - USAO-BP-0024981
1083-d                            Attachment, "PCI DDS Additional Compliance F01m",
                                  USAO-BP-0024982
1083-e                            Attachment, "pci_saq_c_ v2 - ClassifiedSolutions",
                                  USAO-BP-0024983 - USAO-BP-0025008

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10~4.                                 bmail trom Hrunst, "Hacl<.page- lssumg the MUr, U~/ U/:LUU,
                                      USAO-BP-0025009 - USAO-BP-0025027
1084-a                                Attachment "Website Technologies, LLC Written Consent
                                      01032013",
                                      USAO-BP-0025028 - USAO-BP-0025032
1084-b                                Attachment "Website Technologies, LLC Agreement 01032013",
                                      USAO-BP-0025033 - USAO-BP-0025045
1084-c                                Attachment "Website Technologies, LLC DE Name Change
                                      01292013",
                                      USAO-BP-0025046 - USAO-BP-0025047
1085.                                 Email from Ferrer, "Jetpay for signature-terms for legal",
                                      08/14/2013,
                                      USAO-BP-0025048 - USAO-BP-0025050
1085-a                                Attachment, "JetPay terms",
                                      USAO-BP-0025051 - USAO-BP-0025054
1086.                                 Email from Spear, "Backpage Agreement", 08/22/2013,
                                      USAO-BP-0025050 - USAO-BP-0025057
1086-a                                Attachment, "International Merchant Agereement",
                                      USAO-BP-0025058 - USAO-BP-0025083
1087.                                 Email chain, "Backpage Agreement", 08/22/2013,
                                      USAO-BP-0025084 - USAO-BP-0025110
1088.                                 Email from Brunst, "Amended Agreement ready for signature",
                                      08/23/2013,
                                      USAO-BP-0025111 - USAO-BP-0025114
1088-a                                Attachment, "International Merchant Agereement",
                                      USAO-BP-0025115 - USAO-BP-0025140
1089.                                 Email from Ferrer with JetPay application, 08/26/2013,
                                      USAO-BP-0025141 - USAO-BP-0025142
1089-a                                Attachment, "JetPay Application",
                                      USAO-BP-0025143 - USAO-BP-0025146
1090.                                 Email from Ferrer, "Backpage-Agreement", 08/26/2013,
                                      USAO-BP-002514 7 - USAO-BP-0025170
1090-a                                Attachment, "International Merchant Agreement",
                                      USAO-BP-0025171 - USAO-BP-0025183
1091.                                 Email chain, "Backpage Agreement", 08/27/2013,
                                      USAO-BP-0025184 - USAO-BP-0025210
1092.                                 Email from Ferrer, "Netcash part 2", 09/06/2013,
                     9 Il-l/) /1--,   USAO-BP-0025211
1092-a                                Attachment, "BP NDA",
                                      USAO-BP-0025212 - USAO-BP-0025216

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10~2-b                          Attacnment, .. J oml:'age ,
                                USAO-BP-0025217
1092-c                          Attachment, "Backpage EU Merchant Agreement",
                                USAO-BP-0025218 - USAO-BP-0025225
1092-d                          Attachment, "BP pricing document",
                                USAO-BP-0025226
1093.                           Email from Spear, "Netcash Part 2", 09/08/2013,
                                USAO-BP-0025227
1093-a                          Attachment, "Comments to N etcash Processing Agreement",
                                USAO-BP-0025228 - USAO-BP-0025229
1093-b                          Attachment, "Online Payment Processing Agreement",
                                USAO-BP-0025230 - USAO-BP-0025237
1094.                           Email to Spear, Brunst, "Jetpay for Backpage", 09/18/2013,
                                USAO-BP-0025238 - USAO-BP-0025239
1094-a                          Attachment, "Jetpay Te1ms and Conditions - Backpage",
                                USAO-BP-0025240 - USAO-BP-0025256
1095.                           Email from Spear, "Rates compared to Litle", 09/19/2013,
                                USAO-BP-0025257 - USAO-BP-0025259
1095-a                          Email from Spear, "Rates compared to Litle", 09/19/2013,
                                USAO-BP-0025260
1095-b                          Attachment, "Te1ms and Conditions -Merchant Operating Guide",
                                USAO-BP-0025261 - USAO-BP-0025277
1096.                           Email from Brnnst, "Te1ms and Conditions", 09/25/2013,
                                USAO-BP-0025278 - USAO-BP-0025279
1096-a                          Attachment, "Te1ms and Conditions -Merchant Operating Guide",
                                USAO-BP-0025280 - USAO-BP-0025296
1097.                           Email from FeITer, "Important for tonight - jetpay", 10/15/2013,
                                USAO-BP-0025297 - USAO-BP-0025299
1098.                           Email from Ferrer, "Prepaid for back page", 10/16/2013,
                                USAO-BP-0025300 - USAO-BP-0025304
1098-a                          Attachment, "Ukash MOD Classified Solutions - Updated",
                                USAO-BP-0025305 - USAO-BP-0025314
1099.                           Email from Spear to Brnnst, "Prepaid for back page", 10/16/2013,
                                USAO-BP-0025315 - USAO-BP-0025319
1100.                           Email from Fe1Ter, "Jetpay I Esquire update" 10/21/2013,
                                USAO-BP-0025320
1101.                           Email from Ferrer, "Options for the future of Backpage", 11/07/2013,
                                USAO-BP-0025321 - USAO-BP-0025323
1102.                           Email from Fe1Ter, "back.page update", 01/10/2014,
                                USAO-BP-0025324 - USAO-BP-0025325

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llUJ.                              bmail trom !'errer, ·teedbacl<. trom bacl<.page tor NUM~",
                                   01/23/2014,
                                   USAO-BP-0025326 - USAO-BP-0025327
1103-a                             Attachment, "OPEN NDMS Merchant Agreement CB 2012",
                                   USAO-BP-0025328 - USAO-BP-0025335
1104.                              Email to Ferrer, "ROC", 08/06/2015,
                                   USAO-BP-0025336 - USAO-BP-0025338
1105.                              Email to Brunst, "Jed-Here's a ppt we did ... " 03/05/2013,
                                   DOJ-BP-0000053310
1106.                              Emails with Litle & Co, "Backpage.com", 07/03/2013,
                                   USAO-BP-0025339 - USAO-BP-0025341
1107.                              Email to Larkin, Brunst, "Backpage Transition", 07/05/2013,
                                   USAO-BP-0025342 - USAO-BP-0025344
1108.                              Email from Larkin, Postpone until 10am status update", 09/03/2013,
                                   USAO-BP-0025345 - USAO-BP-0025347
1109.                              Email from Ferrer, "Meeting at ccBill Thursday 10 AM", 09/03/2013,
                                   DOJ-BP-0001037311 -DOJ-BP-0001037317
1110.                              Email to Larkin, Spear, Brunst, "Yesterday-update", 09/06/2013
                     9 /2(;, li'JJ DOJ-BP-0002 72613 8
1111.

1111-a
                        +          Email to Larkin, Spear, Brunst, "Friday- 413k Gross", 09/07/2013
                                   DOJ-BP-0002 726189
                                   Attachment, "20130906_Stats",
                                   DOJ-BP-0002 726190 - DOJ-BP-0002 72619 5
1112.                              Email to Spear, "Impmiant for tonight- jetpay", 10/15/2013,
                                   DOJ-BP-0002726719 - DOJ-BP-0002726720
1113.                              Email to Brunst, Spear, "Credit Committee", 10/17/2013,
                                   DOJ-BP-0000516414 - DOJ-BP-0000516415
1114.                              Emails from Fener, Spear, "Billing descriptor changes", 10/28/2013,
                                   DOJ-BP-0002721424
1115.                              Email to Larkin, "REPU and EU strategies", 11/08/2013,
                                   DOJ-BP-0003392368
1116.                              Email to Spear, "Agenda- Business plan discussion", 12/01/2013,
                     G /7.(; h:>J  DOJ-BP-0002721778
1116-a                             Attachment, "Business_plan_2014",
                          ~        DOJ-BP-0002721779
1117.                              Email to Brunst, Spear, Ferrer, Larkin, "CC Processor and Bank
                                   Update", 0l/22/2014
                                   DOJ-BP-0002711894
1118.                              Emails from Fener, Brunst, "Ad count", 03/07/2014,
                                   DOJ-BP-0002712379 -DOJ-BP-0002712380

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11 l~.                                  bmall to :Spear, Larl<.m, tlrunst, ".Posttastr plan and plan or act10n ,
                                        06/11/2014,
                                        DOJ-BP-0003818315 -DOJ-BP-0003818316
1120.                                   Email to Brunst, Spear, Larkin, "Chase is blocking JetPay",
                                        08/20/2014,
                        q/,_o /1~       DOJ-BP-0003 812808
1121.                                   Email to Larkin, Brunst, "Content Moderation/more info" 01/07/2015
                                        DOJ-BP-0004899991 -DOJ-BP-0004899994
1122.                                   Emails from Feffer, Brunst, "Stripe, Inc. confomed on Visa/MC
                                        approved PSP lists", 01/08/2015,
                        C) f'1.o /z.7   DOJ-BP-0004899995 - DOJ-BP-0004899997
1123.                                   Email to Brunst, "PowerPay Application-Please Review",
                                        01/13/2015,
                                        DOJ-BP-0002710015 -DOJ-BP-0002710016
1124.                                   Email to Brunst, "Nathan goals for 2015", 01/22/2015,
                     <-i /2.6 h?J       DOJ-BP-0002710211 - DOJ-BP-0002710212
1125.                                   Email to Brunst, "Bank partner", 01/25/2015,
                        9   /2, /17)    DOJ-BP-0002710215 -DOJ-BP-0002710217
1126.                                   Emails to Feffer, "Postfastr.com", 02/26/2015,
                                        DOJ-BP-0004926841 - DOJ-BP-0004926855
1127.                                   Email from Ferrer, "Decline Rate Threshold Surpassed for EMP",
                                        07/01/2015,
                                        DOJ-BP-0003433993 -DOJ-BP-0003433994
1128.                                   Email from Fe1Ter, "Visa", 07/01/2015,
                                        DOJ-BP-0003390578
1129.                                   Email from Larkin, "Metro Article - 10.20.10 -Attached",
                                        10/20/2010,
                                        USAO-BP-025359
1129-a                                  Attachment, "Metro Article 10.20.10",
                                        USAO-BP-025360
1129-b                                  Attachment, "Untitled attachment 002 73 ",
                                        USAO-BP-025361
1130.                                   Email from Vaught, "weekend dee 10-11 ", 12/09/2011,
                     CJ /Jct) 2-,       DOJ-BP-000000123 5
1131.                                   Email from Larkin, "Kristof on Twitter", 01/28/2012,
                                        USAO-BP-025390
1132.                                   Email from Larkin, "Re: Forbes Update - the story was held out of
                                        the book in favor of other stories", 02/16/2012,
                                        USAO-BP-025393 - USAO-BP-025395
1133.                                   Email from Peffer, "Anderson Cooper Live Wed 7 pm", 05/08/2012,

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                                     UUJ-l::H'-UUUL1LljL1219 - UUJ-Bl:'-UUUL1LljL122U

1133-a                               Attachment, "Rescue_lakewood_county",
                                     DOJ-BP-0001058883 -DOJ-BP-0001058885
1134.                                Email to Fen-er, "Fwd: [MAYORMCGINN] The Reader ... "
                                     05/10/2012,
                                     DOJ-BP-0004567096 -DOJ-BP-0004567100
1135.                                Emails from Ferrer and Larkin, "Identifying people and age",
                                     05/11/2012,
                                     DOJ-BP-0004486118 -DOJ-BP-0004486120
1136.                                Email from Ferrer, "Police- Backpage advertising", 05/11/2012,
                                     DOJ-BP-0004565345 -DOJ-BP-0004505346
1137.                                Email from Vaught, "all ages", 07/24/2012
                                     DOJ-BP-0000341674
1138.                                Email from Padilla, "updated terms list 092512", 09/25/2012,
                     io /,o /2. ry   DOJ-BP-0004434184
1138-a                    .}         Attachment, "banned092512",
                                     DOJ-BP-0004434185
1139.                                Email to moderator, "Moderator procedures", 10/03/2012,
                                     DOJ-BP-0000138917
1140.                                Email to moderators, "Re: FAQ - assignments", 10/12/2012,
                                     DOJ-BP-0000095925 -DOJ-BP-0000095926
1141.                                Emails to Vaught, "Re: Audit", 11/22/2012,
                                     DOJ-BP-0001125756 -DOJ-BP-0001125757
1142.                                Emails to and from Vaught, "Re: Audit", 11/26/2012,
                                     DOJ-BP-0001656881 - DOJ-BP-0001656882
1143.                                Email to Vaught and Padilla, "Issue with removed images",
                                     10/03/2013,
                                     DOJ-BP-0000106449
1144.                                Email to moderator, "Image Removals", 10/07/2013
                                     DOJ-BP-0000042538
1144-a                               Attachments, Images in bp31.zip,
                                     DOJ-BP-0000042539 -DOJ-BP-0000042556
1145.                                Email to moderator re: links in ads, 04/30/2014,
                                     DOJ-BP-000009 585 6
1146.                                Email from Vaught, "Wednesday 5.28.14 audit", 05/29/2014,
                                     DOJ-BP-0003 715921
1147.                                Email to moderator, "Review 2-26-15 BP3 l ", 02/26/2015,
                                     DOJ-BP-0000111036
1148.                                Email from Vaught to Padilla, "Ad Removal 3-5-15", 04/21/2015,

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                                      UUJ-.tH'-UUUUU9.'.) 19'/ - UUJ-1::H'-UUUUU9.'.) 198

1149.                                 Email from Padilla, "jason mcgoldrick termination 051215,"
                                      05/12/2015,
                                      DOJ-BP-0002675662
1150.                                 Emails to Hyer and Ferrer, "Is mb.bpgator@gmail.com Phoenix?",
                                      08/31/2007,
                     lo/ 19 / 2.?:J   DOJ-BP-0004602612 - DOJ-BP-0004602613
1151.                                 Email to FeITer, "Re: Hey Jess", 02/02/2009,
                      <:i/i?]h.:-,,   DOJ-BP-0002132854
1151-a                                Attachment, Google Analytics January 2009 Referring sites,
                          4           DOJ-BP-0002132855 -DOJ-BP-0002132858
1152.                                 Emails to Ferrer, "Many ads we can not send a message to change
                                      links," 06/22/2009,
                                      DOJ-BP-0002132332 -DOJ-BP-0002132336
1153.                                 Email from FeITer, "Re: David@ the erotic review contact info",
                                      07/02/2007,
                                      DOJ-BP-0002134220
1154.                                 Email to Ferrer, "RE: LA trip", 07/23/2007,
                                      DOJ-BP-0002134152 -DOJ-BP-0002134154
1155.                                 Email to FeITer, "RE: Attn: Dave ... July25-LA confomation"
                                      07/24/2007,
                     c-1/P:;/u,       DOJ-BP-0002134131
1156.                                 Email to FeITer, "RE: Attn: Dave (second batch ofurls to change on
                          J           reviews.", 08/01/2007
                                      DOJ-BP-0002134109-DOJ-BP-0002134110
1156-a                                Email to staff@theeroticreview.com copying Ferrer, "Fwd: RE: Attn:
                                      Dave (second batch ofurls to change on reviews.", 08/01/2007
                                      DOJ-BP-0002134097 -DOJ-BP-0002134409
1157.                                 Email to Ferrer, "Your banners are up", 09/20/2007,
                                      DOJ-BP-0002133993
1158.                                 Email from FeITer, "Fwd: Here is our stuff(to Dave)", 09/27/2007,
                                      DOJ-BP-0002133982
1158-a                                Attachment, Here is our stuff (to Dave), 09/26/2007,
                                      DOJ-BP-0002133983 -DOJ-BP-0002133984
1159.                                 Email to Spear, "Position 3 on sponsor ads", 10/03/2007,
                                      DOJ-BP-0002133970
1160.                                 Email from FeITer, "RE: RE: Here is our stuff (to Dave)", 10/09/2007,
                                      DOJ-BP-0002133964 -DOJ-BP-0002133965
1160-a                                Attachment, Analytics_back.page.com_20070930-20071006,
                                      DOJ-BP-0002133966
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1161.                                  Email trom Adams, "Ke: U.KU.bNl SUH.PU.ENA , 1U/l8/2UU'/,
                                       DOJ-BP-000213 3869
1162.                                  Emails from Fener and Adams, "Subpoena filled- take down ad"?,
                                       11/06/2007,
                     q /l 1 (1-'1      DOJ-BP-0002133820
1163.                                  Email to Adams and Fener, "Re: FBI- Minor investigation",
                                       11/07/2007,
                                       DOJ-BP-0002133816
1164.                                  Email to Padilla and Fen-er, "Fwd: ter/backpage links 1/4/07",
                                       01/31/2008,
                     q / I'~ /1..-,,   DOJ-BP-0002133607 -DOJ-BP-0002133608
1164-a                                 Attachment, "ter/backpage links 1/4/07", 01/05/2008
                                       DOJ-BP-0002133609-DOJ-BP-0002133610
1165.                                  Email from Ferrer, "Ad plan", 02/29/2008,
                                       DOJ-BP-000213578 -DOJ-BP-0002133579
1165-a                                 Attachment, Spreadsheet, "sexsearch_ bp_ ad_plan",
                                       DOJ-BP-0002133578
1166.                                  Emails from Adams and Fener, "massage category", 03/20/2008,
                                       DOJ-BP-0000192886
1167.                                  Emails from Adams and Ferrer Re health ads in esc01is, 08/25/2008,
                     (0 /11 /z.?,      DOJ-BP-000213 3296
1168.
                         i             Email from Ferrer, "Please don't remove this ad", 09/09/2008,
                                       DOJ-BP-0002133259
1169.                                  Email from Adams to Ferrer, "heads-up/what do you think?",
                                       11/05/2008,
                                       DOJ-BP-0002133164
1170.                                  Email from Adams to Ferrer, "Registering Backpage with the
                                       CyberTipline", 11/13/2008,
                                       DOJ-BP-0002133102 -DOJ-BP-0002133103
1171.                                  Email from Fener to Adams, Spear, "Invoice to be paid", 12/03/2008,
                     10 Ill   t:,..?   DOJ-BP-0002134636 -DOJ-BP-0002134637
1171-a                                 Attachment, Invoice, web_services_dee,
                          i            DOJ-BP-0002134638
1172.                                  Email from Ferrer to Elms, "(invoice)", 12/03/2008,
                     q 1r~ /2.;        DOJ-BP-0002134640 - DOJ-BP-0002134641
1172-a                                 Attachment, Invoice, web- services- dee,
                         +             DOJ-BP-0002134642
1173.                                  Emails to Adams, "Minneapolis.backpage.com supp01i ticket ... ",
                                       12/05/2008,
                                       DOJ-BP-0002133034

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11'/4.                                  .bmail trom Fener to Adams, 'Payment plan (dratt) , Ul/:ZU/:ZUUY,
                     9/1-;,,,Jk-?       DOJ-BP-0002132885
1175.                                   Email from Adams to Fener, "Fwd: April TER", 03/02/2009,
                                        DOJ-BP-0002134644
1175-a                                  Attachment, Email from Fen-er to Adams, "April TER", 03/02/2009,
                                        DOJ-BP-0002134633
1175-b                                  Attachment, Invoice, AprilTER,
                                        DOJ-BP-0002134646
1176.                                   Email from Adams to Fener, "Fwd ... Removed I LOVE
                                        GR@@@K", 08/31/2009,
                     \6 /, I lz.?;      DOJ-BP-0002125218
1176-a                                  Attachment, Email to Adams, "Fwd ... Removed I LOVE
                                        GR@@@K", 08/31/2009,
                     \c/11/1.::,        DOJ-BP-0002125219
1177.                                   Emails from Hyer, Adams, "Transaction rep01i 9/5-9-7", 09/08/2009,
                                        DOJ-BP-0002131955 -DOJ-BP-0002131957
1178.                                   Emails from Adams and Ferrer, "Backpage adve1iising", 09/09/2009,
                                        DOJ-BP-0002131935 -DOJ-BP-0002131939
1179.                                   Email to Adams, "Backpage.com underage esc01i(s)", 09/23/2009,
                                        DOJ-BP-0002125113
1180.                                   Email to Hyer, "RE: Erotic Review", 10/05/2009,
                                        DOJ-BP-0002131778
1181.                                   Email from Padilla to Ferrer, "Denver.backpage.com ... ", 01/27/2010,
                                        DOJ-BP-0002131243 -DOJ-BP-0002131244
1182.                                   Emails from Adams and Ferrer, "Re: Ghosting Ads", 03/04/2010,
                     tll/1 I /2-,,__,   DOJ-BP-0000210042 -DOJ-BP-000210043
1183.                                   Email from Adams to Fen-er, "Information from the Austin Police
                                        Department," 03/18/2020,
                                        DOJ-BP-0000197639 -DOJ-BP-0000197640
1184.                                   Email to Adams, "Re: Subpoena", 05/05/2010,
                                        DOJ-BP-0002136292 -DOJ-BP-0002136293
1185.                                   Emails from Fener, "Hey Steve (I just received your voice mail),
                                        06/07/2010,
                                        DOJ-BP-0000338014 -DOJ-BP-000338019
1185-a                                  Redacted version ofExh 1185
                        '-' /14 /1-7    DOJ-BP-0000338014 -DOJ-BP-000338019
1186.                                   Emails from Adams and Ferrer, "Changes/Updates for handling Adult
                                        Print Ads and Print Ad Imports", 06/23/2010,
                                        DOJ-BP-0001380327 = DOJ-BP-0001380329
1187.                                   Filter te1m f01m noting Padilla banning the te1m "cum", 09/01/2010,
                     ci/1y '2--1
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                                    UUJ-l:H'-UUUU l U4J62 - UUJ-1:H'-UUUU l U4J6J

1188.                               Filter te1m fo1m noting Padilla banning the te1m "holes", 09/01/2010,
                                    DOJ-BP-0000104355 -DOJ-BP-0000104356
1189.                               Filter te1m form noting Padilla banning the term "wet", 09/30/2010,
                                    DOJ-BP-0000104359 -DOJ-BP-0000104360
1190.                               Email to Larkin and Spear, "RE: backpage response, 11/18/2010,
                                    DOJ-BP-0004426366 -DOJ-BP-0004426368
1191.                               Email from Larkin, "Re: Meeting with SheriffDmi", 04/08/2011,
                                    DOJ-BP-0004426345 - DOJ-BP-0004426349
1192.                               Email to FetTer, "Chicago PD issues re: blog Folks Ale1i", 04/21/2011
                                    DOJ-BP-0004426340 - DOJ-BP-0004426344
1193.                               Email to Ferrer and Padilla, "Backpage Terms of Use Violations",
                                    04/29/2011,
                     \bh(;, /7.-1   DOJ-BP-0000338012
1194.                               Email to Lacey and Larkin, "Messaging Points", 07/01/2011,
                                    DOJ-BP-00044 26404
1194-a                              Attachment, VMM Q&A 7.1.11, Backpage Questions & Answers,
                                    DOJ-BP-00044 26405 - DOJ-BP-0004426410
1195.                               Email from Padilla, "Re ... Nemec call in (Final Agenda)" 09/04/2011,
                                    DOJ-BP-0000006229 - DOJ-BP-0000006231
1196.                               Email to Ferrer, "Kailyn - Backpage ads x2", 11/28/2011,
                                    DOJ-BP-0001373857
1196-a                              Attachment, Kailyn, Ad posted 11/24/2011,
                                    DOJ-BP-0001373858
1196-b                              Attachment, Kailin2, Ad posted 11/25/2011,
                                    DOJ-BP-0001373859 - DOJ-BP-0001373860
1197.                               Email to Lacey, Larkin, "Nicholas Kristof response package",
                                    01/24/2012,
                                    DOJ-BP-0004426672-DOJ-BP-0004426673
1197-a                              Attachment, Kristof Package vl.0 1-23-12,
                                    DOJ-BP-0004426674 -DOJ-BP-0004426681
1197-b                              Attachment, News About Craigslist Crime,
                                    DOJ-BP-0004426682 -DOJ-BP-0004426709
1198.                               Email from Lacey, "Now with 2nd Observer hyperlink activated",
                                    01/24/2012,
                                    DOJ-BP-00044 26668
1198-a                              Attachment, Lacey Note EDIT,
                                    DOJ-BP-0004426669 -DOJ-BP-0004426671
1199.                               Email to Lacey, Larkin, "Lacey Note EDIT Tk edits", 01/24/2012,

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                                      1JUJ-l::W-UUU4426664

1199-a                                Attachment, Lacey Note EDIT Tk edits,
                                      DOJ-BP-0004426665 -DOJ-BP-0004426677
1200.                                 Email to Lacey and Larkin, "NYT, Jan 26: How Pimps Use the Web
                                      to Sell Girls", 01/26/2012,
                                      DOJ-BP-0000089315 - DOJ-BP-000008931 7
1200-a.                               Redacted Exhibit 1200; Email to Lacey and Larkin
                     Cj hci {7.:JJ
1201.                                 Email to Fen-er, Hyer, "Kristof's response to the VV article",
                                      03/21/2012,
                                      DOJ-BP-0000089324
1201-a                                Attachment, Responding to Village Voice on Sex Trafficking,
                                      USAO-BP-0033312 - USAO-BP-0033313
1202.                                 Email from Fen-er to Padilla, "Juvenile Prostitution Ad", 05/11/2012,
                     q /1.0 IVJ       DOJ-BP-0001126261
1203.                                 Filter te1m f01m noting Hyer banning the te1m "tvcmatrix",
                                      06/15/2012,
                                      DOJ-BP-0000104367 -DOJ-BP-0000104368
1204.                                 Email from Ferrer to Padilla, "Fwd: Identified Prositution Ads on
                                      Back.page", 06/28/2012,
                     ci I)../; /1?    DOJ-BP-0000029078 - DOJ-BP-0000029079
1205.                                 Email from Padilla to Ferrer, "Re: Prostitution Ads Depicting a
                                      Child", 07/14/2012
                                      DOJ-BP-0000016697 - DOJ-BP-0000016699
1206.                                 Email from Fen-er, "Re: Prostitution Ads Depicting a Child",
                                      07/23/2012,
                                      DOJ-BP-000005 2965
1207.                                 Email from Padilla to Fen-er, "Re: Prostitution Ads Depicting a
                                      Child", 11/14/2012,
                        I
                     c-, 1o /1, ?:J   DOJ-BP-0000888474 -DOJ-BP-0000888475
1208.                                 Email from Padilla to Fen-er, "Re: Prostituion Ads Depicting a
                         t            Child", 11/15/2012,
                                      DOJ-BP-0000000174 -DOJ-BP-0000000175
1209.                                 Filter te1m fo1m noting Hyer banning the term
                                      "postingadsforcash.com", 05/20/2013,
                                      DOJ-BP-0000104364 -DOJ-BP-0000104365
1210.                                 Agreement with Avion BPO, 10/23/2013,
                                      DOJ-BP-0004602855 - DOJ-BP-0004602860
1211.                                 Transcript of victim interview by Salem PD Detective Gleason,
                                      02/04/2014,
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                                         UUJ-HP-UUU4~ /4636 - UUJ-HP-UUU4~ /469 /

1212.                                    Email from Fen-er to Padilla, "More thoughts on Wikipedia",
                                         06/16/2014,
                                         DOJ-BP-0003715978 - DOJ-BP-0003715980
1213.                                    Email from Brunst to Fen-er, "Fwd: backpage update slides",
                                         02/05/2015,
                     q l2.1 /i.,.,       DOJ-BP-0002710247 -DOJ-BP-0002710248
1213-a                                   Attachment, BP Sale of Business Summary Draft 2-4-15
                                         DOJ-BP-0002710249
1214.                                    Email from Brunst to Fe1Ter, "loan modification-interest only for
                                         October", 10/21/2015,
                     9/u /1-?            USAO-BP-025441
1214-a                                   Attachment, First Loan Modification Agreement,

1215.
                        °''   2-'8[2:~   USAO-BP-025442 - USAO-BP-025454
                                         Email from Brunst to Fe1Ter, "Re loan modification-interest only for
                                         October", 10/22/2015,
                                         USAO-BP-025455 - USAO-BP-025456
1216.                                    Email from Spear to Larkin, "Wikipedia", 10/30/2015,
                                         DOJ-BP-000448 5640
1216-a                                   Attachment, Wikipedia Re-Write Project As of 10-29-15,
                                         DOJ-BP-0004485641 - DOJ-BP-0004485663
1217.                                    Emails from Padilla, Vaught to Avion, "Adult Moderation Feedback",
                                         11/05/2015,
                        9 / 2,1 l1-7J    DOJ-BP-0004602903 - DOJ-BP-0004602905
1218.                                    Email from Brunst to Fe1Ter, "management agreement", 11/09/2015,
                                         USAO-BP-025457
1219.                                    Email from Vaught to Avion, "restored images 11/10/15", 11/10/2015
                        ct lu /1,1       DOJ-BP-0004602906 -DOJ-BP-0004602921
1220.                                    Email from Brunst to Fe1Ter, "Re: BMO Hairis: Website
                                         technologies-extension January 30 th 2016", 12/02/2015,
                                         USAO-BP-025448- USAO-BP-025459
1221.                                    Email from Brunst, "Re: November Financials And Interest Request",
                     q 1-i.i 1~"'1       USAO-BP-025460
1222.                                    Email from Brunst, "Re: Budget 2016", 12/30/2015,
                                         USAO-BP-025461
1223.                                    Email from Backpage to A vion, "Unworked Lead Sites", 01/05/2016,
                                         DOJ-BP-0004602922 -DOJ-BP-0004602923
1224.                                    Email from Vaught to Avion, "Review 1/15/16", 01/15/2016,
                        9/u /1...1;      DOJ-BP-0004602924 -DOJ-BP-0004602925

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122).                                  bma11 tram Hrunst, "Ke: HMO Hains: Website tecnnolog1es-
                                       extension January 30 th 2016", 01/29/2016,
                                       USAO-BP-025470- USAO-BP-025473
1226.                                  Email from Vaught to A vion, "VERY important note about the video
                                       inbox", 02/19/2016
                     tl / z.t }1..:,   DOJ-BP-0004602926
1227.                                  Emails from Brunst and Ferrer, "forbearance agreement extension",
                                       06/20/2016,
                                       DOJ-BP-0003351172 - DOJ-BP-0003351173
1228.                                  Email from Brunst, "Re: AIR Schedule with updates", 06/27/2016,
                                       USAO-BP-025540 - USAO-BP-025541
1229.                                  Emails from Brunst and Ferrer, "Bank Frick Bank accounts",
                                       07/27/2016,
                      q /i.i /1-:;     USAO-BP-025542 - USAO-BP-025559
1230.                                  Email from Brunst to Ferrer, Larkin, "Frick", 08/08/2016,
                           J.          DOJ-BP-0003358288
1231.                                  Emails from Brunst and Ferrer, "Bitpay", 09/16/2016,
                                       USAO-BP-025560
1232.                                  Emails from Brunst and Ferrer, "Bitpay", 10/04/2016,
                                       USAO-BP-0034599
1233.                                  Email from Brunst, "agreements needing signature", 10/05/2016,
                                       USAO-BP-025561
1233-a                                 Attachment, Collateral assignment-mgmt serv agmt,
                                       USAO-BP-025562 - USAO-BP-025574
1233-b                                 Attachment, Modification-Foreign loan,
                                       USAO-BP-025575 - USAO-BP-025581
1233-c                                 Attachment, Modification-US loan,
                                       USAO-BP-025582- USAO-BP-025589
1234.                                  Email from Brunst, "Re: Description of payment", 10/06/2016,
                                       USAO-BP-025590 - USAO-BP-025591
1235.                                  Email from Brunst, "my email address", 10/19/2016,
                     q./1.t jl'J;J     USAO-BP-025592
1236.                                  Emails from Brunst to Ferrer, "projections", 11/29/2016,
                                       USAO-BP-025594
1237.                                  Email from Brunst to Fener, "bonus", 02/20/2017,
                      9 /1..,1 Ii"}    USAO-BP-025595
1238.                                  Email from Brunst to Ferrer, "call Monday", 03/30/2017,
                         *             USAO-BP-025596
1239.                                  Emails from Larkin and Brunst, "Carl's quarterly bonus", 04/17/2017,
                                       USAO-BP-025598

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1240.                            Email trom tlrunst to Fe1Ter, "lnto reportmg , 04/0:>/201'/,
                                 USAO-BP-025599 - USAO-BP-025600
1241.                            Email from Brunst, "Re: Fw: Ad Data Solutions", 06/02/2017,
                                 USAO-BP-025601- USAO-BP-025604
1242.                            Email from Brunst to F e1Ter, "Philippine firm", 07/11/2017,
                                 USAO-BP-025605
1243.                            Email from Brunst to Fe1Ter, "Revenue data", 08/11/2017,
                                 USAO-BP-025606
1244.                            Email from Brunst, "see attached reve by category report" 08/18/2017
                                 USAO-BP-025607
1244-a                           Attachment, 2016 Rev by category,
                                 USAO-BP-025621
1245.                            Email from Brunst, "payments", 01/08/2018,
                                 USAO-BP-025608- USAO-BP-025614
1246.                            Emails from Brunst and Fe1Ter, "csob", 02/12/2018,
                     q {2.1-/~   USAO-BP-025615
1247.                            902( 11) Certifications
                                 DOJ-BP-0004903627-DOJ-BP-0004903628; DOJ-BP-0004907980;
                                 DOJ-BP-0004907981; DOJ-BP-0004907986; DOJ-BP-0004907989;
                                 DOJ-BP-0004907997; DOJ-BP-0004908032-DOJ-BP-0004908033;
                                 DOJ-BP-0004908035; DOJ-BP-0004908086; DOJ-BP-0004908099;
                                 DOJ-BP-0004908102; DOJ-BP-0004908182; DOJ-BP-0004908194;
                                 DOJ-BP-0004908286; DOJ-BP-0004908341; DOJ-BP-0004908407;
                                 DOJ-BP-0004908405; DOJ-BP-0004910140; DOJ-BP-0004910144;
                                 DOJ-BP-0004910163; DOJ-BP-0004910201-DOJ-BP-0004910202;
                                 DOJ-BP-0004920394-DOJ-BP-0004920395; DOJ-BP-0004920958,
                                 DOJ-BP-0004920963; DOJ-BP-0004920965; DOJ-BP-0004920973;
                                 DOJ-BP-0004921181; DOJ-BP-0004902895-DOJ-BP-0004902896;
                                 DOJ-BP-0004921628; DOJ-BP-0004922498; DOJ-BP-0004922670;
                                 DOJ-BP-0004923094; DOJ-BP-0004923098; DOJ-BP-000492321 O;
                                 DOJ-BP-0004923215; DOJ-BP-0004923227; DOJ-BP-0004923239;
                                 DOJ-BP-0004924186; DOJ-BP-0004930058; DOJ-BP-0004930262;
                                 DOJ-BP-0004930264; DOJ-BP-0004930416; DOJ-BP-0004930540,
                                 DOJ-BP-0004930543; DOJ-BP-0004931210; DOJ-BP-0004931221;
                                 DOJ-BP-0004931245; DOJ-BP-0004931327, DOJ-BP-0004931517;
                                 DOJ-BP-0004931518; DOJ-BP-0004931646; DOJ-BP-0004931649;
                                 DOJ-BP-0004931732, DOJ-BP-0004931862, DOJ-BP-0004931872;
                                 DOJ-BP-0004931876; DOJ-BP-0004931967, DOJ-BP-0004931974;
                                 DOJ-BP-0004932479; DOJ-BP-0004932507-DOJ-BP-0004932508;
                                 DOJ-BP-000493 265 5; DOJ-BP-000493 265 8; DOJ-BP-000493284 2;
                                 DOJ-BP-0004933245; DOJ-BP-0004933251; DOJ-BP-0004933828;
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                                                 .                   .                  .
                                                 '                  '                  '
                                DOJ-BP-0004934028, DOJ-BP-0004934043; DOJ-BP-0004934900,
                                DOJ-BP-0004934902, DOJ-BP-0004949545; DOJ-BP-0004951579;
                                DOJ-BP-0004954766; DOJ-BP-0005017224; DOJ-BP-0005023981;
                                DOJ-BP-0005024446, DOJ-BP-0005024452; DOJ-BP-0005024742;
                                DOJ-BP-0005028188-DOJ-BP-0005028189; DOJ-BP-0005030847;
                                DOJ-BP-0005031008, DOJ-BP-0005031034; DOJ-BP-0005033299,
                                DOJ-BP-0005033323, DOJ-BP-0005033546, DOJ-BP-0005033566;
                                DOJ-BP-0005036114-DOJ-BP-0005036117; DOJ-BP-0005040379;
                                DOJ-BP-0005040428, DOJ-BP-0005040431; DOJ-BP-0005040503;
                                DOJ-BP-0005043421; DOJ-BP-0005043470; DOJ-BP-0005043471;
                                DOJ-BP-0005043563; DOJ-BP-0005043624; DOJ-BP-0005043648;
                                DOJ-BP-0005043686; DOJ-BP-0005043747, DOJ-BP-0005044073;
                                DOJ-BP-0005044427; DOJ-BP-0005044430, DOJ-BP-0005044451;
                                DOJ-BP-0005044475; DOJ-BP-0005045130; DOJ-BP-0005045419;
                                DOJ-BP-0005045539; DOJ-BP-0005045586; DOJ-BP-0005045700,
                                DOJ-BP-0005045702-DOJ-BP-0005045703, DOJ-BP-0005045998-
                                DOJ-BP-0005045999; DOJ-BP-0005046508; DOJ-BP-0005046774,
                                DOJ-BP-0005046825; DOJ-BP-0005046974, DOJ-BP-0005046983,
                                DOJ-BP-000504 7278; DOJ-BP-000504 7678; DOJ-BP-000504 7871;
                                DOJ-BP-0005047912, DOJ-BP-0005047914; DOJ-BP-0005048110;
                                DOJ-BP-0005048113-DOJ-BP-0005048114; DOJ-BP-0005048136;
                                DOJ-BP-0005048191; DOJ-BP-0005048298; DOJ-BP-0005048452;
                                DOJ-BP-0005048509; DOJ-BP-0005048512; DOJ-BP-0005049089;
                                DOJ-BP-0005049324, DOJ-BP-0005049327, DOJ-BP-0005049568;
                                DOJ-BP-0005049569; DOJ-BP-0005049574; DOJ-BP-0005049579;
                                DOJ-BP-0005051462; DOJ-BP-0005051632; DOJ-BP-0005051634;
                                DOJ-BP-0005051672; DOJ-BP-0005051779; DOJ-BP-0005051788;
                                DOJ-BP-0005051995, DOJ-BP-0005051997, DOJ-BP-0005051999;
                                DOJ-BP-0005052086; DOJ-BP-0005052200; DOJ-BP-0005052703;
                                DOJ-BP-0005052827; DOJ-BP-0005052830; DOJ-BP-0005053011;
                                DOJ-BP-0005053016; DOJ-BP-0005053054; DOJ-BP-0005053064;
                                DOJ-BP-0005053089; DOJ-BP-0005053118; DOJ-BP-0005053119;
                                DOJ-BP-0005055250, DOJ-BP-0005055253; DOJ-BP-0005055311;
                                DOJ-BP-0005055798; DOJ-BP-0005055900; DOJ-BP-0005056228;
                                DOJ-BP-0005056814; DOJ-BP-0005056874; DOJ-BP-0005056957;
                                DOJ-BP-0005057044; DOJ-BP-0005057049, DOJ-BP-0005057051;
                                DOJ-BP-0005057964-DOJ-BP-0005057965; DOJ-BP-0005058114;
                                DOJ-BP-0005058124; DOJ-BP-0005060329; DOJ-BP-0005060338;
                                DOJ-BP-0005060536; DOJ-BP-0005061086; DOJ-BP-0005061503;
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                                DOJ-BP-0005062914; DOJ-BP-0005040510; DOJ-BP-0005040714;
                                DOJ-BP-0005040750; DOJ-BP-0005041013-DOJ-BP-0005041014;
                                DOJ-BP-0005041195, DOJ-BP-0005041435; DOJ-BP-0005041531;
                                DOJ-BP-0005041540; DOJ-BP-0005041548; DOJ-BP-0005041788;
                                DOJ-BP-0005041991; DOJ-BP-0005042035; DOJ-BP-0005042179,
                                DOJ-BP-0005042181; DOJ-BP-0005042216, DOJ-BP-0005042219;
                                DOJ-BP-0005042428; DOJ-BP-0005042477; DOJ-BP-0005042782;
                                DOJ-BP-0005042802; DOJ-BP-0005042939; DOJ-BP-0005042997;
                                DOJ-BP-0005062998, DOJ-BP-0005063003; DOJ-BP-000506301 O;
                                DOJ-BP-0005063066; DOJ-BP-0005063077, DOJ-BP-0005063079;
                                DOJ-BP-0005063417; DOJ-BP-0005063422, DOJ-BP-0005063426;
                                DOJ-BP-0005064392, DOJ-BP-0005064398; DOJ-BP-0005064429;
                                DOJ-BP-0005064508; DOJ-BP-0005064510; DOJ-BP-0005070509
1248.                           Arizona Bank & Trust records
                                DOJ-BP-0004903014-DOJ-BP-0004907979
1249.                           ING Financial records
                                DOJ-BP-0004907980
1250.                           BitFinex.com records
                                DOJ-BP-0004907981-DOJ-BP-0004907984
1251.                           BitFury.com records
                                DOJ-BP-0004907985-DOJ-BP-0004907988
1252.                           Bitgo.com records
                                DOJ-BP-0004907989-DOJ-BP-0004907991
1253.                           Bitpay.com records
                                DOJ-BP-0004907992-DOJ-BP-0004908016
1254.                           BitStamp.com records
                                DOJ-BP-0004908017-DOJ-BP-0004908034
1255.                           Circle.com records
                                DOJ-BP-000490803 5-DOJ-BP-0004908094
1256.                           Coinbase, Inc. records
                                DOJ-BP-0004908095-DOJ-BP-0004908 l O1
1257.                           CoinX.com records
                                DOJ-BP-0004908102
1258.                           Kraken records
                                DOJ-BP-0004908103-DOJ-BP-0004908193
1259.                           NetKi.com records
                                DOJ-BP-0004908194-DOJ-BP-0004908197
1260.                           PAXFUL records
                                DOJ-BP-0004908198-DOJ-BP-0004908340

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1261.                           Kipple.com records
                                DOJ-BP-0004908341
1262.                           Wall of Coins/Genitrnst Inc. records
                                DOJ-BP-0004908343-DOJ-BP-0004910139
1263.                           Xapo.com records
                                DOJ-BP-0004910140-DOJ-BP-0004910143
1264.                           Enom.com records
                                DOJ-BP-0004910144-DOJ-BP-0004910162
1265.                           Namecheap.com records
                                DOJ-BP-0004910163-DOJ-BP-0004910199
1266.                           Charles Schwab & Co. records
                                DOJ-BP-0004910200-DOJ-BP-0004920393
1267.                           Charles Schwab Bank records
                                DOJ-BP-0004920394-DOJ-BP-0004920911
1268.                           GoCoin records
                                DOJ-BP-0004920912-DOJ-BP-0004920963
1269.                           Dubuque Bank & Trust records
                                DOJ-BP-0004920964-DOJ-BP-0004920972
1270.                           Inwood Bank records
                                DOJ-BP-0004920973-DOJ-BP-0004921130
1271.                           Veritex records
                                DOJ-BP-0004921131-DOJ-BP-0004921443
1272.                           ASCIO records
                                DOJ-BP-0004902872-DOJ-BP-0004903013
1273.                           AB Investor Services records
                                DOJ-BP-0004921444-DOJ-BP-0004922497
1274.                           ADM Investor Services records
                                DOJ-BP-0004922498-DOJ-BP-0004922669
1275.                           Ally Bank records
                                DOJ-BP-0004922670-DOJ-BP-0004923089
1276.                           American Funds Distributors records
                                DOJ-BP-0004923 090-DOJ-BP-0004923 097
1277.                           APEX Clearing records
                                DOJ-BP-0004923098-DOJ-BP-0004923205
1278.                           AXA Advisors records
                                DOJ-BP-0004923206-DOJ-BP-0004923214
1279.                           Bank of New York Mellon records
                                DOJ-BP-0004923215-DOJ-BP-0004923226
1280.                           Bank of the West records
                                DOJ-BP-0004923227-DOJ-BP-0004923238

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1281.                           tlarclays tla <ue1aware recoras
                                DOJ-BP-0004923239-DOJ-BP-0004924177
1282.                           BB&T records
                                DOJ-BP-0004924178-DOJ-BP-0004924633
1283.                           JetPay Corp. records
                                DOJ-BP-0004924634-DOJ-BP-0004930261
1284.                           BB&T records
                                DOJ-BP-000493 0262-DOJ-BP-000493 0263
1285.                           Capital Brokerage (Genworth Life) records
                                DOJ-BP-0004930264-DOJ-BP-0004930415
1286.                           Cetera Advisor records
                                DOJ-BP-0004930416-DOJ-BP-0004930537
1287.                           CitiGroup, Inc. records
                                DOJ-BP-0004930538-DOJ-BP-0004930782
1288.                           Colonial Savings records
                                DOJ-BP-0004930783-DOJ-BP-0004931220
1289.                           ComputerShare records
                                DOJ-BP-0004931221-DOJ-BP-0004931244
1290.                           CreditOne Bank records
                                DOJ-BP-0004931245-DOJ-BP-0004931326
1291.                           Credit Union of TX records
                                DOJ-BP-0004931327-DOJ-BP-0004931517
1292.                           De Lage Landen records
                                DOJ-BP-0004931518-DOJ-BP-0004931530
1293.                           Desert Schools FCU records
                                DOJ-BP-0004931531-DOJ-BP-0004931648
1294.                           Dividend Capital records
                                DOJ-BP-0004931649-DOJ-BP-0004931684
1295.                           Fidelity records
                                DOJ-BP-0004931685-DOJ-BP-0004931875
1296.                           GreenDot Corp. records
                                DOJ-BP-0004931876-DOJ-BP-0004931891
1297.                           Jackson National records
                                DOJ-BP-0004931892-DOJ-BP-0004931974
1298.                           LegacyTexas Bank records
                                DOJ-BP-0004931975-DOJ-BP-0004932489
1299.                           Liberty Life Assurance records
                                DOJ-BP-0004932490-DOJ-BP-0004932517
1300.                           Meridian Bank records
                                DOJ-BP-0004932655-DOJ-BP-0004932657

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UUl.                            Meinel<: tlanl<: records
                                DOJ-BP-0004932658-DOJ-BP-0004932841
1302.                           Motif records
                                DOJ-BP-000493 284 2-DOJ-BP-000493 3244
1303.                           New York Community Bank records
                                DOJ-BP-0004933245-DOJ-BP-0004933250
1304.                           Northern Trust Company records
                                DOJ-BP-0004933251-DOJ-BP-0004933827
1305.                           SEI Private Trust Co. records
                                DOJ-BP-0004933828-DOJ-BP-0004933830
1306.                           Pennsylvania State Employees records
                                DOJ-BP-0004933831-DOJ-BP-0004933832
1307.                           Scottrade, Inc. records
                                DOJ-BP-0004933833-DOJ-BP-0004933835
1308.                           SIA Securities Corp. records
                                DOJ-BP-0004933836-DOJ-BP-0004933843
1309.                           Sanford C. Bernstein & Co. records
                                DOJ-BP-0004933844-DOJ-BP-0004934899
1310.                           BDO USA, LLP records
                                DOJ-BP-0004934900-DOJ-BP-0004949545
1311.                           BMO Harris Bank records
                                DOJ-BP-0004949546-DOJ-BP-0004951579
1312.                           BMO HatTis Bank, NA records
                                DOJ-BP-0004951580-DOJ-BP-0004954769
1313.                           Branch Banking and Trust Co records
                                DOJ-BP-0005015025-DOJ-BP-0005017227
1314.                           U.S. Bank National Association records
                                DOJ-BP-0005017228-DOJ-BP-0005023983
1315.                           Greenbank records
                                DOJ-BP-0005023984-DOJ-BP-0005024 718
1316.                           Western Union records
                                DOJ-BP-0005024719-DOJ-BP-0005024743
1317.                           HSBC records
                                DOJ-BP-0005024 744-DOJ-BP-0005028189
1318.                           Bank of America records
                                DOJ-BP-0005028190-DOJ-BP-0005031007
1319.                           Bank of America records
                                DOJ-BP-0005031008-DOJ-BP-0005033176
1320.                           Bank of America records
                                DOJ-BP-0005033177-DOJ-BP-0005033568

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Exhibit     For         In
 No.      Evidence   Evidence
U2l.                            Nat10nal Banlc ot Anzona records
                                DOJ-BP-0005033569-DOJ-BP-0005036121
1322.                           Prosperity Bank records
                                DOJ-BP-0005036122-DOJ-BP-0005040379
1323.                           Republic Bank of Arizona records
                                DOJ-BP-00050403 80-DOJ-BP-0005040431
1324.                           Green Bank records
                                DOJ-BP-0005040432-DOJ-BP-0005040509
1325.                           Bank of America records
                                DOJ-BP-0005043421-DOJ-BP-0005043440
1326.                           Standard Charter Bank records
                                DOJ-BP-0005043441-DOJ-BP-0005043470
1327.                           Aquila Distributions LLC records
                                DOJ-BP-0005043471-DOJ-BP-0005043494
1328.                           Ascensus Broker Dealer Service, Inc. records
                                DOJ-BP-0005043495-DOJ-BP-0005043565
1329.                           Black Creek Capital Markets, LLC records
                                DOJ-BP-0005043566-DOJ-BP-0005043639
1330.                           Fidelity Investments records
                                DOJ-BP-0005043640-DOJ-BP-0005043651
1331.                           First Fidelity Bank records
                                DOJ-BP-0005043 652-DOJ-BP-0005043 691
1332.                           Midfirst Bank records
                                DOJ-BP-0005043692-DOJ-BP-0005044236
1333.                           PlainsCapital Bank records
                                DOJ-BP-0005044237-DOJ-BP-0005044429
1334.                           Compass Bank records
                                DOJ-BP-0005044430-DOJ-BP-0005044474
1335.                           Excel Title Group records
                                DOJ-BP-0005044475-DOJ-BP-0005045128
1336.                           Bank of America records
                                DOJ-BP-0005045129-DOJ-BP-0005045187
1337.                           Bank of America records
                                DOJ-BP-0005045188-DOJ-BP-0005045538
1338.                           Comerica Bank records
                                DOJ-BP-0005045539-DOJ-BP-0005045541
1339.                           Live Oak Bank records
                                DOJ-BP-0005045542-DOJ-BP-0005045699
1340.                           National Bank of Arizona records
                                DOJ-BP-0005045700-DOJ-BP-0005046500

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Exhibit     For         In
 No.      Evidence   Evidence
U4l.                            1-'ershmg records
                                DOJ-BP-0005046501-DOJ-BP-0005046773
1342.                           Ally Bank/Ally Financial records
                                DOJ-BP-0005046774-DOJ-BP-0005046973
1343.                           National Bank of Arizona records
                                DOJ-BP-0005046974-DOJ-BP-0005047535
1344.                           Charles Schwab & Co., Inc records
                                DOJ-BP-0005047536-DOJ-BP-0005047680
1345.                           Plains Capital Bank records
                                DOJ-BP-000504 7681-DOJ-BP-000504 7873
1346.                           SF Fire records
                                DOJ-BP-0005047874-DOJ-BP-0005048107
1347.                           BitPay records
                                DOJ-BP-0005048108-DOJ-BP-0005048110
1348.                           Bitstamp records
                                DOJ-BP-0005048111-DOJ-BP-0005048134
1349.                           Coinbase, Inc records
                                DOJ-BP-0005048135-DOJ-BP-0005048141
1350.                           GoCoin records
                                DOJ-BP-0005048142-DOJ-BP-0005048297
1351.                           The Kraken LLC records
                                DOJ-BP-0005048298-DOJ-BP-0005048301
1352.                           First FS&L of San Rafael records
                                DOJ-BP-0005048302-DOJ-BP-0005048453
1353.                           Green Bank N.A. records
                                DOJ-BP-0005048454-DOJ-BP-0005048511
1354.                           JP Morgan Chase records
                                DOJ-BP-0005048512
1355.                           Northern Trust records
                                DOJ-BP-0005048513-DOJ-BP-0005049089
1356.                           TD Ameritrade records
                                DOJ-BP-0005049090-DOJ-BP-0005049568
1357.                           Ally Bank/Ally Financial records
                                DOJ-BP-0005049569-DOJ-BP-0005049573
1358.                           Ally Bank/Ally Financial records
                                DOJ-BP-0005049574-DOJ-BP-0005049578
1359.                           AllianceBernstein records
                                DOJ-BP-0005049579-DOJ-BP-0005051454
1360.                           Perkins Coie Trust Company records
                                DOJ-BP-0005051455-DOJ-BP-000505163 l

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Exhibit     For         In
 No.      Evidence   Evidence
U61.                            Co1nbase,lnc. records
                                DOJ-BP-0005051632-DOJ-BP-0005051633
1362.                           Coinbase, Inc. records
                                DOJ-BP-0005051634-DOJ-BP-0005051635
1363.                           Bank of the Ozarks records
                                DOJ-BP-0005051636-DOJ-BP-0005051739
1364.                           Umpqua Bank records
                                DOJ-BP-0005051740-DOJ-BP-0005051783
1365.                           Bank of America records
                                DOJ-BP-0005051784-DOJ-BP-0005051994
1366.                           E*Trade Bank records
                                DOJ-BP-0005051995-DOJ-BP-0005052041
1367.                           Live Oak Bank records
                                DOJ-BP-0005052042-DOJ-BP-0005052199
1368.                           Principal Funds Distributor, INC records
                                DOJ-BP-0005052200-DOJ-BP-0005052228
1369.                           Republic Bank of AZ records
                                DOJ-BP-0005052229-DOJ-BP-0005052826
1370.                           The Independent Bankers Bank records
                                DOJ-BP-0005052827-DOJ-BP-0005052829
1371.                           UBS Financial Services records
                                DOJ-BP-0005052830-DOJ-BP-0005052831
1372.                           LPL Financial records
                                DOJ-BP-0005052832-DOJ-BP-0005053015
1373.                           PCBB records
                                DOJ-BP-0005053016-DOJ-BP-0005053049
1374.                           BMO Harris Bank records
                                DOJ-BP-0005053050-DOJ-BP-0005053063
1375.                           Bank of New York Mellon records
                                DOJ-BP-0005053064-DOJ-BP-0005053088
1376.                           Bank of New York Mellon records
                                DOJ-BP-0005053089-DOJ-BP-0005053091
1377.                           Great Western Bank records
                                DOJ-BP-0005053092-DOJ-BP-0005053118
1378.                           S&W Payroll Services, LLC dba Netchex records
                                DOJ-BP-0005053119-DOJ-BP-0005054830
1379.                           National Bank of Arizona records
                                DOJ-BP-0005055250-DOJ-BP-0005055310
1380.                           Johnson Bank records
                                DOJ-BP-0005055311-DOJ-BP-0005055449

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Exhibit     For         In
 No.      Evidence   Evidence
U~l.                            Persnmg        records
                                DOJ-BP-0005055450-DOJ-BP-0005055899
1382.                           Barclays Bank Delaware records
                                DOJ-BP-0005055900-DOJ-BP-0005056227
1383.                           Commercial Bank of California records
                                DOJ-BP-0005056228-DOJ-BP-0005056813
1384.                           Desert Financial records
                                DOJ-BP-0005056814
1385.                           Dime Community Bank records
                                DOJ-BP-0005056815-DOJ-BP-0005056875
1386.                           First Republic Bank records
                                DOJ-BP-0005056876-DOJ-BP-0005057037
1387.                           Grandpoint Bank records
                                DOJ-BP-0005057038-DOJ-BP-0005057046
1388.                           OneAZ Credit Union records
                                DOJ-BP-0005057047-DOJ-BP-0005057111
1389.                           TD Ameritrade records
                                DOJ-BP-0005057112-DOJ-BP-0005057984
1390.                           BBVA Compass records
                                DOJ-BP-0005057985-DOJ-BP-0005058123
1391.                           Gust Rosenfeld, PLC records
                                DOJ-BP-0005058124-DOJ-BP-0005058126
1392.                           First American Title Company records
                                DOJ-BP-0005058127-DOJ-BP-0005060337
1393.                           Equity Title Agency, Inc. records
                                DOJ-BP-000506033 8-DOJ-BP-000506053 5
1394.                           Security Title Agency, Inc. records
                                DOJ-BP-0005060536-DOJ-BP-0005061085
1395.                           JP Morgan Chase records
                                DOJ-BP-0005061086-DOJ-BP-0005061502
1396.                           JP Morgan Chase records
                                DOJ-BP-0005061503-DOJ-BP-0005061504
1397.                           Fidelity National Title records
                                DOJ-BP-0005061505-DOJ-BP-0005062145
1398.                           Becker & House, PLLC records
                                DOJ-BP-0005062146-DOJ-BP-0005062293
1399.                           Clear Title Agency of Arizona records
                                DOJ-BP-0005 062294-DOJ-BP-0005062515
1400.                           Empire West records
                                DOJ-BP-0005062516-DOJ-BP-0005062911

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Exhibit     For         In
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1401.                           1'Cl::H3 records
                                DOJ-BP-0005062914
1402.                           Navajo County Assessor's Office records
                                DOJ-BP-000504051 0-DOJ-BP-0005040555
1403.                           Maricopa County Assessor's Office records
                                DOJ-BP-0005040556-DOJ-BP-0005040718
1404.                           Coconino County Assessor's Office records
                                DOJ-BP-0005040719-DOJ-BP-0005040758
1405.                           Count1y Bank records
                                DOJ-BP-0005040759-DOJ-BP-0005041066
1406.                           Maricopa County Treasurer's Office records
                                DOJ-BP-0005041067-DOJ-BP-0005041436
1407.                           USAA Federal Savings Bank records
                                DOJ-BP-000504143 7-DOJ-BP-0005041539
1408.                           BBVA Compass records
                                DOJ-BP-0005041540-DOJ-BP-0005041542
1409.                           Bank of America records
                                DOJ-BP-0005041548-DOJ-BP-0005041786
1410.                           Ally Bank/Ally Financial records
                                DOJ-BP-0005041787-DOJ-BP-0005041814
1411.                           Synchrony Bank records
                                DOJ-BP-0005041815-DOJ-BP-0005042034
1412.                           Republic Bank of Arizona records
                                DOJ-BP-0005042035-DOJ-BP-0005042174
1413.                           Nationwide Bank records
                                DOJ-BP-0005042175-DOJ-BP-0005042203
1414.                           Goldman Sachs records
                                DOJ-BP-0005042204-DOJ-BP-0005042427
1415.                           Dime Community Bank records
                                DOJ-BP-0005042428-DOJ-BP-0005042476
1416.                           Compass Bank records
                                DOJ-BP-0005042477-DOJ-BP-0005042481
1417.                           Capital One records
                                DOJ-BP-0005042482-DOJ-BP-0005042801
1418.                           Barclays Bank Delaware records
                                DOJ-BP-0005042802-DOJ-BP-0005042938
1419.                           Wine Cellar Experts records
                                DOJ-BP-0005042939-DOJ-BP-0005042955
1420.                           Discover Bank records
                                DOJ-BP-0005042956-DOJ-BP-0005042997

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Exhibit     For         In
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1421.                           Umpqua Banl<: records
                                DOJ-BP-0005062918-DOJ-BP-0005063009
1422.                           Republic Bank of AZ records
                                DOJ-BP-0005063010-DOJ-BP-0005063064
1423.                           American Express records
                                DOJ-BP-0005063065-DOJ-BP-0005063075
1424.                           National Bank of Arizona records
                                DOJ-BP-0005063076-DOJ-BP-0005063416
1425.                           PayPal records
                                DOJ-BP-0005 063417-DOJ-BP-0005063421
1426.                           JP Morgan Chase records
                                DOJ-BP-0005063422-DOJ-BP-00050643 91
1427.                           Community First Credit Union records
                                DOJ-BP-00050643 92-DOJ-BP-0005064403
1428.                           Bank of Marin records
                                DOJ-BP-0005064404-DOJ-BP-0005064455
1429.                           Wells Fargo records
                                DOJ-BP-000506451 0-DOJ-BP-0005064512
1430.                           Texas Bank and Trust records
                                DOJ-BP-0005064456-DOJ-BP-0005064509
1431.                           Stewaii Title records
                                DOJ-BP-0005070459-DOJ-BP-0005070504
1432.                           2012 Ce1iified IRS Income Tax Return for John E. Brunst and M.B.
                                USAO-BP-0020246-USAO-BP-0020286

1433.                           2013 Certified IRS Income Tax Return for John E. Brunst and M.B.
                                USAO-BP-002028 7-USAO-BP-00203 3 8
1434.                           2014 Certified IRS Income Tax Return for John E. Brunst and M.B.
                                USAO-BP-0020339-USAO-BP-0020395
1435.                           2015 Ce1iified IRS Income Tax Return for John E. Brunst and M.B.
                                USAO-BP-0020396-USAO-BP-0020449
1436.                           IRS Account Transcript for John E. Brunst and M.B.
                                USAO-BP-00207 59-USAO-BP-00207 66
1437.                           2012 Certified IRS Income Tax Return for Michael Lacey
                                USAO-BP-0021274-USAO-BP-0021318
1438.                           2013 Ce1iified IRS Income Tax Return for Michael Lacey
                                USAO-BP-0021319-USAO-BP-0021360
1439.                           2014 Certified IRS Income Tax Return for Michael Lacey
                                USAO-BP-0021361-USAO-BP-0021398


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Exhibit     For         In
 No.      Evidence   Evidence
1440.                           2015 Cert1t1ed lK~ lncome 1 ax Keturn tor Michael Lacey
                                USAO-BP-0021399-USAO-BP-0021437
1441.                           IRS Information Returns Processing Report for Michael Lacey
                                USAO-BP-0021438-USAO-BP-0021503
1442.                           IRS Account Transcript for Michael Lacey
                                USAO-BP-0021504-USAO-BP-002151 l
1443.                           2012 Certified IRS Income Tax Return for James Larkin and M.L.
                                USAO-BP-0021512-USAO-BP-0021567
1444.                           2013 Certified IRS Income Tax Return for James Larkin and M.L.
                                USAO-BP-0021568-USAO-BP-0021636
1445.                           2014 Certified IRS Income Tax Return for James Larkin and M.L.
                                USAO-BP-0021637-USAO-BP-0021700
1446.                           2015 Certified IRS Income Tax Return for James Larkin and M.L.
                                USAO-BP-0021701-USAO-BP-0021763
1447.                           IRS Information Returns Processing Report for James Larkin and
                                M.L.-
                                USAO-BP-0021764-USAO-BP-0021838
1448.                           IRS Account Transcript for James Larkin and M.L.
                                USAO-BP-002183 9-USAO-BP-0021846
1449.                           2012 Certified IRS Income Tax Return for Medalist Holdings, Inc.
                                USAO-BP-0021847-USAO-BP-0021910
1450.                           2013 Certified IRS Income Tax Return for Medalist Holdings, Inc.
                                USAO-BP-0021911-USAO-BP-0021982
1451.                           2014 Certified IRS Income Tax Return for Medalist Holdings, Inc.
                                USAO-BP-0021983-USAO-BP-0022066
1452.                           2015 Ce1iified IRS Income Tax Return for Medalist Holdings, Inc.
                                USAO-BP-0022067-USAO-BP-0022 l 96
1453.                           IRS Information Returns Processing Report for Medalist Holdings,
                                Inc.
                                USAO-BP-0022197-USAO-BP-002222 l
1454.                           IRS Account Transcript for Medalist Holdings, Inc.
                                USAO-BP-0022222-USAO-BP-0022229
1455.                           2012 Ce1iified IRS Income Tax Return for Scott Spear and E.S.
                                USAO-BP-0022355-USAO-BP-0022362
1456.                           2013 Ce1iified IRS Income Tax Return for Scott Spear and E.S.
                                USAO-BP-0022363-USAO-BP-0022376
1457.                           2014 Certified IRS Income Tax Return for Scott Spear and E.S.
                                USAO-BP-00223 77-USAO-BP-002243 8
1458.                           2015 Ce1iified IRS Income Tax Return for Scott Spear and E.S.
                                USAO-BP-002243 9-USAO-BP-0022484

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Exhibit     For         In
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14)9.                           lKS lntormat10n Keturns .Processmg Keport tor Scott Spear and b.S.
                                USAO-BP-0022485-USAO-BP-0022769
1460.                           IRS Account Transcript for Scott Spear and E.S.
                                USAO-BP-0022770-USAO-BP-0022777
1461.                           2015 Ad Tech BV Profit & Loss Spreadsheet
                                DOJ-BP-00005070451
1462.                           February 2018 Ad Tech BV Profit & Loss Spreadsheet
                                DOJ-BP-0005070457
1463.                           December 2016 Ad Tech BV Profit & Loss Spreadsheet
                                DOJ-BP-0005070453
1464.                           December 2017 Ad Tech BV Profit & Loss Spreadsheet
                                DOJ-BP-0005070455
1465.                           February 2018 Website Technologies, LLC Profit & Loss Spreadsheet
                                DOJ-BP-0005070458
1466.                           December 2015 Website Technologies, LLC
                                Profit & Loss Spreadsheet
                                DOJ-BP-0005070452
1467.                           December 2016 Website Technologies, LLC
                                Profit & Loss Spreadsheet
                                DOJ-BP-0005070454
1468.                           December 2017 Website Technologies, LLC
                                Profit & Loss Spreadsheet
                                DOJ-BP-0005070456
1469.                           Medalist Holdings and Subsidiaries Flowchart
                                DOJ-BP-0004938922
1470.                           Business Structure Flowchart
                                DOJ-BP-0004939585
1471.                           Proposed Business Structure Flowchart
                                DOJ-BP-0004939586
1472.                           Business Flowchart
                                DOJ-BP-0004899969
1473.                           Email from Brunst to Zavoronkova, 11/15/2015
                                DOJ-BP-0004946901- DOJ-BP-0004 946902
1474.                           Amended and Restated Earn-Out Agreement
                                DOJ-BP-0004948941- DOJ-BP-0004948951
1475.                           Loan Agreement for Back.page US Operations
                                DOJ-BP-000494 23 3 5- DOJ-BP-000494 2400
1476.                           Loan Agreement for UGC Tech Group C.V. Foreign Operations
                                DOJ-BP-0004949058- DOJ-BP-0004949112


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Exhibit     For                In
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14 / /.                                   Apnl 22, 20 D Membership lnterest Purchase Agreement
                                          DOJ-BP-000494 2403-DOJ-BP-000494 24 72
1478.                                     October 2015 Notes to Revised Backpage.com Financial Forecast
                                          DOJ-BP-0004946024- DOJ-BP-0004946025
1479.                                     Summary Exhibit -Money Laundering Counts Tracing
                     \l-:.   I,~ lz.-i,   USAO-BP-0032699-USAO-BP-0032732
1480.                                     Summary Exhibit-Backpage Gross Revenue by Ad Category
                      lo {11J l1.._1;     USAO-BP-014976
1481.
                                l         Summary Exhibit - Annual Revenue for Business Entities
                                          USAO-BP-0025779
1482.                                     Backpage Ad Revenue Spreadsheet
                                          DOJ-BP-0002724567
1483.                                     Master List Spreadsheet

1484.                                     Financial Records Supporting Count 53

1485.                                     Financial Records Supporting Count 54

1486.                                     Financial Records Supporting Count 55

1487.                                     Financial Records Supporting Count 56

1488.                                     Financial Records Supporting Count 57

1489.                                     Financial Records Supporting Count 58

1490.                                     Financial Records Supporting Count 59

1491.                                     Financial Records Supporting Count 60

1492.                                     Financial Records Supporting Count 61

1493.                                     Financial Records Supporting Count 62

1494.                                     Financial Records Supporting Count 63

1495.                                     Financial Records Supporting Count 64

1496.                                     Financial Records Supporting Count 65



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149/.                           Fmancial Kecorcts Supportmg Count 66

1498.                           Financial Records Supporting Count 67

1499.                           Financial Records Supporting Count 68

1500.                           Financial Records Supporting Count 69

1501.                           Financial Records Supporting Count 70

1502.                           Financial Records Supporting Count 71

1503.                           Financial Records Supporting Count 72

1504.                           Financial Records Suppmting Count 73

1505.                           Financial Records Supporting Count 74

1506.                           Financial Records Supporting Count 75

1507.                           Financial Records Suppmting Count 76

1508.                           Financial Records Supporting Count 77

1509.                           Financial Records Suppmting Count 78

1510.                           Financial Records Supporting Count 79

1511.                           Financial Records Supporting Count 80

1512.                           Financial Records Suppmting Count 81

1513.                           Financial Records Suppmting Count 82

1514.                           Financial Records Supporting Count 83

1515.                           Financial Records Suppmting Count 84

1516.                           Financial Records Supporting Count 85

1517.                           Financial Records Suppmting Count 86

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Exhibit     For         In
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Dl~.                            .rmancial Kecords :Suppmimg Count ~ /

1519.                           Financial Records Supporting Count 88

1520.                           Financial Records Suppmiing Count 89

1521.                           Financial Records Supporting Count 90

1522.                           Financial Records Suppmiing Count 91

1523.                           Financial Records Supporting Count 92

1524.                           Financial Records Suppmiing Count 93

1525.                           Financial Records Supporting Count 94

1526.                           Financial Records Supporting Count 95

1527.                           Financial Records Suppmiing Count 96

1528.                           Financial Records Supporting Count 97

1529.                           Financial Records Supp01iing Count 98

1530.                           Financial Records Supporting Count 99

1531.                           Financial Records Suppmiing Count 100

1532.                           January 2015-September 2015, Website Technologies LLC Financial
                                Spreadsheet
                                DOJ-BP-0004920945
1533.                           October 2015-December 2015, Website Technologies LLC Financial
                                Spreadsheet
                                DOJ-BP-0004920946
1534.                           January 2016 Invoices Spreadsheet for Website Technologies LLC
                                DOJ-BP-0004920947
1535.                           Febrnary 2016 Invoices Spreadsheet for Website Technologies LLC
                                DOJ-BP-0004920948
1536.                           March 2016 Invoices Spreadsheet for Website Technologies LLC
                                DOJ-BP-0004920949


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l ) j /.                         Apnl l.U lb 1nv01ces :Spreacts11eet tor W ebs1te l eclmolog1es LLC
                                 DOJ-BP-0004920950
1538.                            May 2016 Invoices Spreadsheet for Website Teclmologies LLC
                                 DOJ-BP-0004920951
1539.                            June 2016 Invoices Spreadsheet for Website Technologies LLC
                                 DOJ-BP-0004920952
1540.                            July 2016 Invoices Spreadsheet for Website Teclmologies LLC
                                 DOJ-BP-0004920953
1541.                            August 2016 Invoices Spreadsheet for Website Technologies LLC
                                 DOJ-BP-0004920954
1542.                            September 2016 Invoices Spreadsheet for Website Technologies LLC
                                 DOJ-BP-0004920955
1543.                            October-December 2016 Invoices Spreadsheet for Website
                                 Technologies LLC
                                 DOJ-BP-0004920956
1544.                            2017 Invoices Spreadsheet for Website Technologies LLC
                                 DOJ-BP-0004920957
1545.                            Summary Exhibit- Website Technologies LLC Revenue Through
                                 GoCoin
                      10/r~ /2?> USAO-BP-0025780
1546.                            Victim #7 -Backpage Ads, 03/19/2013,
                      9(?-t h.? USAO-BP-0024349
1547.                            Photograph of Victim #7
                                 USAO-BP-0024248
1548.                            Email, Cervantes to Support Backpage, 11/28/14
                                 DOJ-BP-0005069052
1549.                            Text Messages re: Victim #10
                                 DOJ-BP-0005069053 - DOJ-BP-0005069055
1550.                            Mackey Recorded Calls WS710050.WMA
                                 USAO-BP-0032265
1551.                            Transcript of Mackey Recorded Calls WS710050.WMA
                                 USAO-BP-0032252 - USAO-BP-0032254
1552.                            Mackey Recorded Calls WS710055.WMA
                                 USAO-BP-0032266
1553.                            Transcript of Mackey Recorded Calls WS710055.WMA
                                 USAO-BP-0032255 - USAO-BP-0032259
1554.                            Mackey Recorded Calls WS710056.WMA
                                 USAO-BP-0032267
1555.                            Transcript of Mackey Recorded Calls WS710056.WMA
                                 USAO-BP-0032260 - USAO--BP-0032262

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l.'.))6.                         Macl(ey Kecorded Calls WS'/10060. WMA
                                 USAO-BP-0032268
1557.                            Transcript of Mackey Recorded Calls WS710060.WMA
                                 USAO-BP-0032263 - USAO-BP-0032264
1558.                            Email from Vaught to Sarah, "Support/Abuse", 2/24/2012
                                 DOJ-BP-0000322392
1558-a.                          Attachment, Letter to Copyright Agent Backpage.com, LLC
                                 DOJ-BP-0000322393 -DOJ-BP-0000322394
1559.

1560.

1561.                            Email from Andrew Backpage to Vaught, Hutchinson, et al.,
                                 "Moderation Reminder/ Update", 04/05/2012
                                 DOJ-BP-0000032047
1562.                            Attachment. Banned Te1ms
                                 DOJ-BP-0000032048
1563.

1564.                            Email from Andrew Backpage to Vaught, Hutchinson, et. al.,
                                 "Moderation Reminder/ Update FOLLOW-UP 4-7-12", 04/07/2012
                                 DOJ-BP-0000000714 - DOJ-BP-0000000715
1565.                            Attachment. Banned.xls
                                 DOJ-BP-0000000716
1566.                            Email from James Backpage to Vaught, Paiano, Hutchinson, et. al.,
                                 "Re: Moderation Reminder/Update FOLLOW-UP 4-7-12", 4/30/2012
                                 DOJ-BP~0000000356 -DOJ-BP-0000000358
1567.                            Email from Andrew Backpage to Vaught, Hyer, McDougall,
                                 Hutchinson, Paiano, et. al., "Updated Terms List 092512",
                                 09/25/2012
                                 DOJ-BP-0004505096
1568.                            Attachment. Banned092512.xls
                                 DOJ-BP-0004505097
1569.                            ABC News Nightline: Entire Broadcast from 04/24/2012
                                 USAO-BP-0033853
1569-a.                          Segment from Exhibit 1569: Girls bought and sold online (0:00-
                                 11 :26)
1569-b.                          Clip from Exhibit 1569 (07:21-07:32)

1569-c.                          Clip from Exhibit 1569 (07:46-08:00)

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Db9-d.                          Cllp rrom bxh1b1t Db9 (U~:2J-U~:JUJ

1569-e.                         Screenshots from Exhibit 1569
                                USAO-BP-0033844 - USAO-BP-0033846
1570.                           Email from Sarah Backpage to Reporting Backpage, 3/21/12
                                DOJ-BP-0000154033
1571.                           Email from Sarah Backpage to James Backpage, 5/28/2012
                                DOJ-BP-0000134233
1572.                           Email from Sarah Backpage to James Backpage, 7/29/2012
                                DOJ-BP-0000134936
1573.                           Mastercard 4-Party Model (demonstrative), source: Mastercard 2020
                                F 01m 10-K filing
                                USAO-BP-0041674
1574.                           Email from P. Paolucci to J. Verdeschi re Backpage, 3/27/15
                                DOJ-BP-0004543309
1575.                           Email from P. Paolucci to E. Simon re Letter from Cook County
                                Sheriff to Mastercard.pdf, 6/29/15, forwarding email of same date
                                from S. Eisen to C. Monteiro, cc: J. Verdeschi and P. Paolucci
                                MC DCTAZBP000168 - MC DCTAZBP000l 71
1576.                           Letter from Cook County Sheriff Thomas J. Dait to Ajaypal Banga,
                                Mastercard President and CEO, 6/29/15
                                MC DCTAZBP000201 -MC DCTAZBP000205
1577.                           Mastercard Security Rules and Procedures, Merchant Edition, 2/14/19
                                USAO-BP-0032735 - USAO-BP-0032903
1578.                           MATCH inquiry results re Backpage.com LLC, 7/1/15
                                MC DCTAZBP000 185-86
1579.                           [subset of Ex. 186] Email from P. Paolucci to J. Verdeschi FW:
                                Backpages.com Advice re Closure / Closure confomed, 7/1/15
                                DOJ-BP-0004471858 - DOJ-BP-0004471864
1580.                           Visa Core Rules and Visa Produce and Service Rules, 4/15/15
                                USAO-BP-0001053
1581.                           Communications between Hyer and F e1Ter, 10/27/2010
                                DOJ-BP-0002112857 -DOJ-BP-0002112858
1582.                           Backpage.com Safety & Security Backgrounder, 12/28/2010
                                DOJ-BP-0000338165
1583.                           Email: Fe1Ter to Spear "adult changes done to date," 12/20/2010
                                DOJ-BP-0000000897
1584.                           Attachment: "Update, Dec. 20, 201 0"
                                DOJ-BP-0000000898 - DOJ-BP-0000000901
1585.                           Email from Padilla to Fe1Ter "delete whole ad te1ms," 02/16/2011
                                DOJ-BP-0002129849 -DOJ-BP-0002129850
                                              142
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D86.                                   bmall trom Padllla to v aught and moderators --new grndellnes m
                                       adult", 10/27/2010,
                        'i/ii-t /2.?   DOJ-BP-000000282 7
1587.                                  United States Senate PSI Report "Backpage.com's Knowing
                                       Facilitation of Online Sex Trafficking," 01/201 7
                                       DOJ-BP-0004601688-DOJ-BP-0004601740
1587-a                                 Redacted version of Exh 1587
                                       DOJ-BP-0004601688-DOJ-BP-0004601740
1588.                                  Email J. Doe to T. Umporowicz re Criminal Organized Prostitution
                                       Ring, 4/21/2017
                                       DOJ-BP-0005069181 - DOJ-BP-0005069239
1588-a                                 Printed Backpage Ad, "All American Spa-Best in the N01ihwest",
                                       Posted 04/23/2017
                                       DOJ-BP-0005069186 - DOJ-BP-0005069187
1588-b                                 Printed Backpage Ad, "4 American Girls", Posted 04/22/2017
                                       DOJ-BP-0005069188 - DOJ-BP-0005069189
1588-c                                 Printed Backpage Ad, "Im the One - Latina Blonde Princess", Posted
                                       03/23/2017
                                       DOJ-BP-0005069196
1588-d                                 Printed Backpage Ad, "Princess Vanessa", Posted 03/23/2017
                                       DOJ-BP-0005069201 -DOJ-BP-0005069203
1588-e                                 Printed profile from eroticmonkey.com, 04/23/2017,
                                       DOJ-BP-0005069221 -DOJ-BP-0005069223
1588-f                                 Printed profile from theeroticreview.com, 04/23/2017,
                                       DOJ-BP-0005069224 - DOJ-BP-0005069225
1588-g                                 Printed Backpage Ad, "4 American Girls", Posted 04/25/2017
                                       DOJ-BP-0005069227 - DOJ-BP-0005069232
1589.                                  1.31.12 email Fener to Vienneau with Twitter reference, 01/31/2012
                                       DOJ-BP-0005069244
1590.                                  2.13-14.12 emails Vienneau and Fener re ads still live, 02/14/2012,
                                       DOJ-BP-0005069246
1591.                                  Visa 4-Party Model Demonstrative
                                       USAO-BP-0041673
1592.                                  Alstadt signed declaration (Seattle, WA) dated 02/11/2013,
                                       DOJ-BP-0000880221 - DOJ-BP-0000880223
1593.                                  Email from McGoldrick, "wrongful termination", 05/12/2015,
                                       DOJ-BP-0003 721432
1594.                                  Email to Padilla, Hyer, Vaught, "Received - AVION I Website
                                       Technologies Invoice 16-30Jun2016", 07/18/2016,
                                       DOJ-BP-0000089807 - DOJ-BP-0000089809

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D95.                            hmall rrom 1:::H1.mst, 'Ke: wll'e amount", U// l~/2Ulb,
                                DOJ-BP-0002810290
1596.

1597.

1598.

1599.                           Database Export of Ads posted by Victim #13 (User ID 55827398)
                                from 08/04/2015 to 08/15/2015,
                                USAO-BP-0025 851
1599-a                          Database Expmi of images displayed with ads posted for Victim # 13
                                (User ID 55827398) from 08/04/2015 to 08/15/2015,
                                USAO-BP-0025852
1599-b                          Database Exp mi of images uploaded for Victim # 13 (User ID
                                55827398) from 08/04/2015 to 08/15/2015,
                                USAO-BP-0032987
1600.                           Recreation of ad with Object ID 55903275 posted by Victim #13
                                (User ID 55827398) 08/06/2015,
                                USAO-BP-0033020 - USAO-BP-0033025
1600-a                          Attached image 1-IMG_0684,
                                USAO-BP-0025 862
1600-b                          Attached image 2-IMG_2337,
                                USAO-BP-0025 863
1600-c                          Attached image 3-IMG_l 793,
                                USAO-BP-0025 864
1600-d                          Attached image 4-IMG_1475,
                                USAO-BP-0025865
1600-e                          Attached image 5-IMG_l 185,
                                USAO-BP-0025866
1600-f                          Attached image 6-IMG_0844,
                                USAO-BP-0025 867
1601.                           Recreation of ad with Object ID 56222045 [Exh.218] posted by
                                Victim #13 (User ID 55827398) 08/13/2015,
                                USAO-BP-0033026 - USAO-BP-0033029
1601-a                          Attached image 1-20150813_020915,
                                USAO-BP-0025873
1601-b                          Attached image 2-20150813_021056,
                                USAO-BP-0025874
1601-c                          Attached image 3-20150813_021143-1,
                                USAO-BP-0025875
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1601-d                               Attached image 4-20 D m~ u,_224 1j l,
                                     USAO-BP-0025876
1602.                                Recreation of ad with Object ID 56338699 posted by Victim #13
                                     (User ID 55827398) 08/15/2015,
                     \ c,{11.. (23   USAO-BP-0033030 -USAO-BP-0033034
1602-a                               Attached image 1-20150812_224731,
                                     USAO-BP-0025 869
1602-b                               Attached image 2-20150813 _021143-1,
                                     USAO-BP-0025870
1602-c                               Attached image 3-20150813_021004,
                                     USAO-BP-0025871
1602-d                               Attached image 4-IMG_20150813_140525,
                                     USAO-BP-0025872
1602-e                               Attached image 5-IMG20150815_102659,
                                     USAO-BP-0025891
1603.                                Recreation of ad with Object ID 56349648 posted by Victim# 13
                                     (User ID 55827398) 08/15/2015,
                                     USAO-BP-0033035 - USAO-BP-0033038
1603-a                               Attached image 1-IMG_20150813_140525,
                                     USAO-BP-0025855
1603-b                               Attached image 3-20150812_224731,
                                     USAO-BP-0025856
1603-c                               Attached image 5-20150813 _021143-1,
                                     USAO-BP-0025857
1603-d                               Attached image 7-IMG_20150815_102642,
                                     USAO-BP-0025858
1604.                                Printed Back.page Ad, "Lake City Way NE Grand Open Emerald
                                     Spa", Posted 11/19/2017
                                     DOJ-BP-0005069233 - DOJ-BP-0005069234
1605.                                Printed Back.page Ad, "Barbie's Dollhouse Massage & Spa", Posted
                                     06/27/2017
                                     DOJ-BP-0005069235 - DOJ-BP-0005069237
1606.                                Email from Officer Fritze to Back.page "Post ID 80670844",
                                     07/16/2012,
                     ~6/n /2.1       DOJ-BP-0000162047
1606-a                               Email from Officer Fritze to Back.page "Post ID 565611 0",
                                     07/16/2012,
                                     DOJ-BP-0000164992
1606-b                   ~           Email from Officer Fritze to Back.page "Post ID 7756616",
                                     07/16/2012,

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1606-c                                   Email from Officer Fritze to Backpage "Post ID 804357",
                                         07/16/2012,
                         t o/n /z.->:;   DOJ-BP-0000166089
1607.                '                   Email from Backpage to Officer Fritze, "Re: Post ID 80670844",
                                         07/16/2012
                                         DOJ-BP-0000166182 - DOJ-BP-0000166183
1607-a                                   Email from Padilla, "Re: Post ID 80670844", 07/16/2012,
                                         DOJ-BP-0000014662 - DOJ-BP-0000014663
1607-b                                   Email copied to Padilla, Fe1Ter, "Re: Post ID 80670844", 07/16/2012,
                                         DOJ-BP-0004537690
1608.                                    Subpoenas to Backpage from Officer Fritze, 07/22/2012,
                                         DOJ-BP-0004867389 -DOJ-BP-0004867391
1609.                                    AIM Group Report, "Sex ads: Where the money is", 09/15/2010,
                                         USAO-BP-0015533 - USAO-BP-0015556
1609-a                                   Version ofExh 1609, page 1 only,
                         9 /1'-j /1?     USAO-BP-0015533
1610.                                    AIM Group Release, "Backpage replaces Craigslist as prostitution-ad
                              i          leader", 10/19/2010,
                                         USAO-BP-0015506 - USAO-BP-0015508
1611.                                    Email from Myles to Spear, Fe1Ter, "introduction", 12/08/2010,
                         ci/, s/2}       DOJ-BP-0004428594 -DOJ-BP-0004428597
1612.                                    Email from Padilla, "stricter guidelines for nudity- January 2011",
                                         01/14/2011,
                                         DOJ-BP-0001096609
1612-a                                   Email from Hyer to Ferrer, "Re: Fwd: stricter guidelines for nudity-
                                         January 2011", 01/14/2011,
                                         DOJ-BP-0001096609
1612-b                                   Email from Fe1Ter to Spear, "Fwd: stricter guidelines for nudity -
                                         January 2011", 01/17/2011,
                         cij, r:; /i?;   DOJ-BP-0000002156
1613.                                    Emails from Fe1Ter to Kim, "Re: craigslist", 09/03/2010,
                          t-t/H h?       DOJ-BP-0002124684 -DOJ-BP-0002124687
1614.                                    Email from Padilla, "deleted ads", 01/19/2011,
                                         DOJ-BP-0001096589
1615.                                    Email from Myles, "Backpage visit to NCMEC and Polaris Project",
                                         01/21/2011,
                                         DOJ-BP-0004536084 -DOJ-BP-0004536085
1616.                                    Email from Padilla to moderators, "Burlington coat factory 11",
                                         03/29/2011,
                                                       146
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                                DOJ-tlP-UUU l U~b)Uj


1617.                           Email from Vaught to moderators, "Adult Moderation", 04/04/2011,
                                DOJ-BP-0001129850
1618.                           Email from Padilla to moderators, "the softer side of sears",
                                04/07/2011,
                                DOJ-BP-0001096489
1619.                           Email from Vaught to moderators, "Blank Pricing", 04/27/2011,
                                DOJ-BP-00000013 73
1620.                           Email from Padilla to moderators, "banned te1ms", 08/17/2011,
                                DOJ-BP-0001112942
1621.                           Emails to Hyer and FeITer, "Re:Links for TMZ", 01/19/2012,
                                DOJ-BP-0003828257 -DOJ-BP-0003828258
1621-a                          Attachment, CraigEscorts 1, (screenshots of other sites)
                                DOJ-BP-0003828259 -DOJ-BP-0003828285
1622.                           Email to Hyer and F e1Ter, "Craigslist Therapeutic Escorts Part l ",
                                DOJ-BP-0003828288 - DOJ-BP-0003828289
1622-a                          Attachment, CraigEsc01isl, (screenshots of other sites)
                                DOJ-BP-0003828290 -DOJ-BP-0003828285
1623.                           Email to FeITer, "Re: Send me the original doc you sent him",
                                05/02/2012,
                                DOJ-BP-0003435156
1623-a                          Attachment, Warrant Maricopa County 041912pdf, (screenshots of
                                other sites)
                                DOJ-BP-0003435157 -DOJ-BP-0003435176
1623-b                          Email to Ferrer (REDACTED), "Re: Send me the original doc you
                                sent him", 05/02/2012,
                                DOJ-BP-0003435156
1624.                           Email to Ferrer, "potential TOU Viol Sample #1", 09/20/2012,
                                DOJ-BP-000005 2165
1624-a                          Attachment, Potential TOU Viol Sample #1, (screenshots of other
                                sites)
                                DOJ-BP-0000052166 - DOJ-BP-0000052179
1624-b                          Attachment, Potential TOU Viol Sample #1 W Contact Info,
                                (screenshots of other sites)
                                DOJ-BP-0000052180 -DOJ-BP-0000052193
1625.                           FeITer signed declaration (Middle Dist. TN) dated 06/27/2012,
                                USAO-BP-0000204 - USAO-BP-0000212
1626.                           Ferrer signed declaration (Western Dist WA) dated 06/27/2012,
                                USAO-BP-0000335 - USAO-BP-0000343

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1627.                                                       westem 1J1st. wA) dated 06/3U/2012,
                                J:< e1Ter signed dec1arat10n (
                                USAO-BP-0000344 - USAO-BP-0000347
1628.                           Ferrer signed declaration (New Jersey) dated 06/25/2013,
                                DOJ-BP-0005068907 -DOJ-BP-0005068917
1629.                           Fel1'er signed declaration (Eastern Dist. Illinois) dated 07/21/2015,
                                DOJ-BP-0004693541 -DOJ-BP-0004693610
1630.                           Ferrer signed declaration (Washington State) dated 09/02/2016,
                                DOJ-BP-0005068881 -DOJ-BP-0005068890
1631.                           Ferrer signed declaration (Arizona) dated 02/13/2018,
                                DOJ-BP-0005068891 -DOJ-BP-0005068897
1632.                           Victim 5 Backpage Ad,
                                USAO-BP-0032427-USAO-BP-0032429
1633.                           K. Pride United States Senate PSI testimony,
                                USAO-BP-0032322-USAO-BP-0032324
1634.                           01 Track 1 (USO-BP-0032985).mp3, Audio recording by CalDOJ SA
                                Brian Fichtner of telephone call with Carl Ferrer, 3/16/15 (CalDOJ
                                Investigation Rep01i #3, Evidence Item 003-002)

1635.                           Video_2015-05-05_150651 UC ad #2 (USAO-BP-0032468).wmv
                                [video screen capture recording by CalDOJ SA Brian Fichtner of
                                posting the undercover esc01i ad titled "Sexy and Ready to Seduce
                                You" on Backpage.com, 5/5/15 (CalDOJ Investigation Rep01i #6,
                                Evidence Item 006-001)]

1636.                           Video_2015-09-08 _ 110231 (USAO-BP-00324 70).wmv
                                [video screen capture recording by CalDOJ SA Brian Fichtner of
                                randomly browsing Backpage.com's adult esc01i ad section, 9/8/15
                                (CalDOJ Investigation Rep01i #9, Evidence Item 009-001]

1636-a                          Clip from 1636, 00:00-01:20 [including Ny'La ad]

1636-b                          Clip from 1636, 04:23-04:50 [Tiffany ad]

1636-c                          Clip from 1636, 06:53-07:10 [Diana Bedroom Pleaser ad]

1636-d                          Screen shot from 1636, 8:51 [Sarah Bella ad]

1636-e                          Screen shot from 1636, 10:27 [Veronica ad]

1636-f                          Clip from 1636, 12:30-13:05 [sponsor ads]

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lbj /.                          CalUUJ lnvest1gat10n Keport #9 re random browsmg ot adult escort
                                section ofBackpage.com, plus Attachments 9-1 and 9-2, 9/8/15
                                DOJ-BP0004893613 - DOJ-BP0004893643
1638.                           Email from Colleen Backpage to James, 11/08/2012, deleted/ bp40
                                DOJ-BP-000009725 7
1639.                           Email from James Backpage to Colleen Backpage, 12/10/2012, Re:
                                bp40
                                DOJ-BP-00000002 78
1640.                           Email from Colleen Backpage to James Backpage, 7/16/2012, Re:
                                deleted ad
                                DOJ-BP-0000134890
1641.                           Email from Colleen Backpage to James, 11/1/2012, bp40 deleted
                                DOJ-BP-0000134552
1642.

1643.                           Email from Paiano to Colleen@backpage.com, 10/4/2012, doggy
                                DOJ-BP-000013 8923
1644.                           Email from Joye Backpage to Colleen, 4/3/2014, Performance
                                Warning 4/3/13
                                DOJ-BP-0003715769
1645.                           Email from Joye Backpage to Colleen, 2/27/2014, Moderation
                                Review 2/27/14
                                DOJ-BP-0003715685
1646.                           Email from James Backpage to Colleen Backpage, 7/10/2012, Re:
                                should I delete? (with attachment)
                                DOJ-BP-0001149058
1646-a                          Attachment. Banned.xis
                                DOJ-BP-000114959
1647.                           FBI-302 Colleen Paiano 1/21/2020 (with attachments)
                                USAO-BP-0026368
1647-a                          Attachment: Fwd_backpage_ web and phones
                                USAO-BP-0026381
1647-b                          Attachment: Fwd_Moderation Reminder_Update
                                USAO-BP-0026383 - USAO-BP-0026384
1648.                           Judgment in a Criminal Case, U.S. District Court, District of New
                                Jersey, Case Number 08-93844
                                USAO-BP-0033820- USAO-BP-0033823
1649.                           Email between Det. Carpenter and Fen-er, 6/22/2012, Request to hold
                                posts
                                DOJ-BP-0000052203 - DOJ-BP-0000052204

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16)0.                           bmail trom Mol1an to l'act111a, t errer, "t Yl - removmg these images",
                                11/05/2010,
                                DOJ-BP-0000210645
1650-a                          Attachment, "Remove these images it is saine as saying sex job"
                                DOJ-BP-0000210646
1651.                           Emails from Mohan and Padilla, "Moderation Expectation for
                                December and January", 12/02/2010,
                                DOJ-BP-0000004752 -DOJ-BP-0000004753
1652.                           Emails from Mohan and Padilla, "Vai·iations of the word CUM",
                                01/12/2011,
                                DOJ-BP-0001095888 -DOJ-BP-0001095889
1653.                           Email from Padilla to Mohan, "Wednesday morning review",
                                01/19/2011,
                                DOJ-BP-00010965 84
1653-a                          Attachment, "atl 5"
                                DOJ-BP-0001096585
1653-b                          Attachment, "atl2a"
                                DOJ-BP-00010965 86
1653-c                          Attachment, "atl 8"
                                DOJ-BP-0001096587
1653-d                          Attachment, "AT29"
                                DOJ-BP-0001096588
1654.                           Emails from Mohan, Padilla, FeITer, "Celebrity Photos", 01/23/2011,
                                DOJ-BP-0001093273 -DOJ-BP-0001096274
1655.                           Email from Padilla to Mohan, Vaught, "Audit feedback 012611",
                                01/26/2011,
                                DOJ-BP-0001096562
1655-a                          Attachment, "Classy T.E.R Reviewed Latina Exclusive-
                                Washington, DC escorts - back.page.com"
                                DOJ-BP-0001096563
1655-b                          Attachment, "Hott Blonde Click it Click.it Washington, DC escorts -
                                back.page.com"
                                DOJ-BP-0001096564
1655-c                          Attachment, "Lovely --- Pure --- Ts )-)-) In the Silver Spring area (-(-
                                (- Washington, DC transsexual escorts back.page.com"
                                DOJ-BP-0001096565
1655-d                          Attachment, "Sexy Ts TINY offrichmond hwy 65 for 1-2 -
                                washington, DC transsexual escorts - back.page.com"
                                DOJ-BP-0001096566


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lb))-e                          Attachment, "leacher uiana- :bL/) hr!!! - Vis1tmg teb Dth-L)th UC
                                and Tysons Corner! - washington, DC escorts - backpage.com"
                                DOJ-BP-0001096567
1655-f                          Attachment, "the most sexy latina transexul call anitime call anitime -
                                25 - washington, DC transsexual escorts - backpage.com"
                                DOJ-BP-0001096568
1655-g                          Attachment, "W_A_R_N_I_N_G C'•., -/'l E_X_T_R_ E_M_E_L_Y
                                C"•.,-A_D_D_I_ C_T_I_V_E- washington, DC escorts -
                                backpage. com"
                                DOJ-BP-0001096569
1655-h                          Attachment, "NEW -The Best Headucator so Bootilicious- I-M
                                100% Real! -) - washington, DC escorts - backpage.com"
                                DOJ-BP-0001096570
1655-i                          Attachment,"-• 0•-· • •• -•[ K ][ i ][ N][ K ][ Y] _LITTLE_ [ K ][ i] [ T
                                ][ T ][ El[ N ]•-· ••·_•0•- - washington, DC escorts - backpage.com"
                                DOJ-BP-0001096571
1655-j                          Attachment, "BA RD O T - B RUN ET TE - B US TY - LI C
                                MASSEUSE - washington, DC body rubs - backpage.com"
                                DOJ-BP-0001096572
1656.                           Emails from Mohan, Padilla, Fe1Ter, "Does you staff know about the
                                expired queue?", 02/15/2011,
                                DOJ-BP-0001096530 -DOJ-BP-0001096532
1657.                           Email from Padilla to Mohan, "Fwd: another term bites the dust",
                                02/18/2011,
                                DOJ-BP-0001096519
1657-a                          Attachment, "good"
                                DOJ-BP-0001096520
1657-b                          Attachment, "bad"
                                DOJ-BP-0001096521
1657c                           Attachment, "bad ( 1)"
                                DOJ-BP-0001096522
1657-d                          Attachment, "bad (2)"
                                DOJ-BP-0001096523
1657-e                          Attachment, "bad (3 )"
                                DOJ-BP-0001096524
1658.                           Email from Mohan to Padilla, Vaught, "Child warn ad", 06/15/2011,
                                DOJ-BP-0001095610
1658-a                          Attachment, "child-ad"
                                DOJ-BP-0001095611
1658-b                          Emails from Mohan, Vaught, "Re: Child warn ad", 06/15/2011,

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1659.                               Email from Padilla to Mohan, Vaught, "at29", 07/03/2011
                                    DOJ-BP-0001112969
1659-a                              Attachment, "Tell Your Wife Your GoinG To HOme Depot And
                                    come Na IL ME-) - phoenix escorts - backpage.com_
                                    1309666256269"
                                    DOJ-BP-0001112970
1660.                               Email from Mohan to Padilla, Vaught, "deleted this ad", 06/01/2012,
                                    DOJ-BP-0001095307
1660-a                              Attachment, "adult doubt"
                                    DOJ-BP-0001095308
1660-b                              Email from Padilla to Mohan, "re: deleted this ad", 06/01/2012,
                                    DOJ-BP-0000885556
1661.                               Email from Mohan to Padilla, Vaught, "Fwd: Underage Warning ad",
                                    06/03/2012
                                    DOJ-BP-0001095301
1661-a                              Attachment, "Underage Warning"
                                    DOJ-BP-0001095302
1662.                               Emails from Vaught, Padilla, Mohan, "Moderation Report",
                                    07/12/2012,
                                    DOJ-BP-0001095189 -DOJ-BP-0001095192
1663.                               Email from Ferrer, "Re: BI ad report for Jed and Gerard", 08/09/2012,
                                    DOJ-BP-0003 78 73 93
1663-a                              Attachment, "Weekly_7-30_ 8-5", 08/09/2012"
                                    DOJ-BP-0003787394 -DOJ-BP-0003787396
1664.                               Email from Ferrer to Larkin, Spear, Brunst, "Nov stats", 12/02/2012,
                     9   /2o h,?;   DOJ-BP-0002 724405
1664-a                              Attachment, "backpage.com_ nov"
                          l         DOJ-BP-0002724406 -DOJ-BP-0002724409
1665.                     \         Email from FetTer to Spear, "Budget 2013", 02/19/2013,
                                    DOJ-BP-0002 724960
1665-a                              Attachment, "backpage.com_predidents_ day"
                          ~   &'
                                    DOJ-BP-0002724961 -DOJ-BP-0002724964
1666.                               Email from FetTer to Spear, Larkin, Brunst, "Friday looked better",
                                    02/23/2013,
                                    DOJ-BP-0002 725 006
1666-a                              Attachment, "backpage.com2013 0222"
                                    DOJ-BP-0002725007 - DOJ-BP-0002725010
1667.                               Email from FetTer to Larkin, Spear, Brunst, "Acouple of reports on
                                    the UK",
                                                 152
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1667-a                               Attachment, "back.page.com_UK"
                                     DOJ-BP-0002725034 -DOJ-BP-0002725037
1667-b                               Attachment, "Analytics_Ireland_UK Audience Overview 20120126-
                                     20130223",
                                     DOJ-BP-0002725038
1668.                                Emails from Brunst and Ferrer Re: reports on revenue growth,
                                     06/11/2014,
                                     DOJ-BP-0003 818286 -DOJ-BP-0003 81828 7
1668-a                               Attachment: "Canada_Analytics _ backpage.com Location 20130501-
                                     20140531",
                                     DOJ-BP-0003818288
1668-b                               Attachment: "US_Analytics_ backpage.com Location
                                     20130501-20140531-1 ",
                                     DOJ-BP-0003818289
1668c                                Attachment: "INDIA_Analytics _ backpage.com Location 20130501-
                                     20140531-4.",
                                     DOJ-BP-0003818290
1668-d                               Attachment: "UK_Analytics_backpage.com Location 20130501-
                                     20140531-2.",
                                     DOJ-BP-0003818291
1668-e                               Attachment: "Global_STATS_MAYWorkbookl",
                                     DOJ-BP-0003818292
1668-f                               Attachment: "AUS_Analytics _backpage.com Location 20130501-
                                     20140531-3",
                                     DOJ-BP-0003 818293
1669.                                Emails from Hyer, email to Ferrer, "AZ November", 12/11/2014,
                                     DOJ-BP-000344464 2
1669-a                               Attachment, "Screen Shot 2014-12-11",
                                     DOJ-BP-0002725034 -DOJ-BP-0002725037
1670.                                Email from Ferrer to Brunst, Spear, "Nice Friday", 04/18/2015,
                     G/~1   h~'      DOJ-BP-0002711108
1670-a                               Attachment, Statistics Report for All Sections on Friday April 17
                     lo/1ci {,_.,,   DOJ-BP-0002711109 - DOJ-BP-0002711113
1671.                                Email from Ferrer, "New World order plan", 07/02/2015,
                                     DOJ-BP-0003391276
1672.                                Email to Ferrer, Re:New World order plan," 07/02/2015,
                                     DOJ-BP-0003391381 -DOJ-BP-0003391382
1673.                                Emails from Hyer, Ferrer, "New World Order: Payment F01m",
                                     07/03/2015,
                                                   153
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1674.                                Email to Ferrer, Hyer, Padilla, "Re: VISA is dead at 2pm Monday.
                                     Dallas time.", 07/03/2015,
                     C-t/2., /2?_,   DOJ-BP-0003739228 -DOJ-BP-0003739229
1675.                                Emails from FeITer to Hyer, Padilla, "Possible revision to the Monday
                                     plan", 07/04/2015,
                                     DOJ-BP-0003833650
1676.                                Photo of Ad Tech/Backpage Amsterdam office,
                                     USAO-BP-0032998
1677.                                Photo of Avion's Backpage work area,
                                     USAO-BP-0032999
1678.                                Photo of David Elms,
                                     USAO-BP-0033000
1679.                                Photo of Don Bennett Moon,
                                     USAO-BP-0033001
1680.                                Photo of Ed McNally,
                                     USAO-BP-0033002
1681.                                Photo of Elizabeth McDougall,
                                     USAO-BP-0033003
1682.                                Photo of Milagros Katz,
                                     USAO-BP-0033184
1683.                                Photo of Patricia Weber Carlin,
                                     USAO-BP-0033185
1684.                                Photo of Posting Solutions Money orders being opened,
                                     USAO-BP-0033186
1685.                                Photo of William Mersey,
                                     USAO-BP-0033187
1686.                                F e1Ter declaration (Masachusetts) dated 02/04/2015,
                                     USAO-BP-0032989 - USAO-BP-0032996
1686-a                               Executed signature page for Ferrer Declaration dated 02/04/2015,
                                     USAO-BP-0032997
1687.                                Transcript of Videotaped deposition ofFeITer, 08/18/2015,
                                     USAO-BP-0033039
1688.                                Google news alerts received by Ferrer between 08/19/2015 and
                                     03/24/2016 containing items related to Cynthia Worthy,
                                     DOJ-BP-0003557598; DOJ-BP-0003569204; DOJ-BP-0003575320;
                                     DOJ-BP-0004126306; DOJ-BP-0004126288 - DOJ-BP-0004126289;
                                     DOJ-BP-0000894241; DOJ-BP-0004126276 -DOJ-BP-0004126277;
                                     DOJ-BP-0002933346; DOJ-BP-0004126041 - DOJ-BP-0004126042;

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16~9.                                  Summary bxh1b1t - .Payments trom Camanllo Holctmgs to Spear
                     \o /n }2.:?;,     USAO-BP-0032697
1690.                     t            Summary Exhibit - Payments from Cereus Properties to Spear
                                       USAO-BP-0032698
1691.                                  Summary Exhibit - Payments from Website Tech to Cereus
                                       Properties
                     io I r1; /z_3     USAO-BP-0032733
1692.                                  Summary Exhibit - Spreadsheet with Payments to Spear and Cereus
                                       Properties
                                       USAO-BP-0032734
1693.                                  Summary Exhibit-Payments from Cereus Properties to Michael
                                       Lacey -- 01/11/2016-01/04/2017
                     \ol 1, / 0        USAO-BP-0025842- USAO-BP-0025844
1694.                                  Summary Exhibit - Payments from Cereus Properties to James Larkin
                                       and Family - 01/11/2016-01/11/2017
                                       USAO-BP-0025845- USAO-BP-0025847
1695.                                  Email from Padilla to Adam Padilla, 06/02/2011
                                       DOJ-BP-0002109794
1696.                                  Email from Vaught to Moderators, 06/14/2011
                     q /lC\ ( 1..'7,   DOJ-BP-000109615 0
1697.                                  Email from Vaught to Moderators, 06/23/2011
                                       DOJ-BP-0000001510
1697-a                                 Attachment. Photo mochpink.2544038
                                       DOJ-BP-0001126939
1698.                                  Email from Vaught to moderators, forwarded by Padilla, 08/31/2011
                                       DOJ-BP-0001038432
1698-a                                 Attachment. Photo ~~ SOUTHERN - HOSPITALITY ~~ With An
                           't,
                                       Upscale Experience -tallahassee escorts - backpage.com_
                                       DOJ-BP-0001038433
1699.                                  Email from Padilla to Moderators, "don't moderate this user",
                                       09/01/2011
                                       DOJ-BP-0002108531
1700.                                  Email from Padilla to Adam Padilla, "Moderation Review 11-2-11",
                                       11/02/2011
                                       DOJ-BP-0000001198- DOJ-BP-0000001199
1701.                                  Email from Padilla to Adam Padilla, "Model", 11/03/2011
                                       DOJ-BP-0002107078
1702.                                  Email from Hyer to Padilla, Ferrer, "No Ads Coming for Review",
                                       11/11/2011
                                       DOJ-BP-0003 799828- DOJ-BP-0003 799829

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l'/03.                          .bmail trom Padilla to Fe11'er, ncmec report totals , ll/Ul/201 l
                                DOJ-BP-0002107745
1704.                           Email from Padilla, Adam Padilla cc'd, "NCMEC", 12/15/2011
                                DOJ-BP-0002107184
1705.                           Email from Padilla to Adam Padilla and Vaught, "Cybertip Report
                                Confomation: 1299236", 12/19/2011
                                DOJ-BP-0002108120- DOJ-BP-0002108121
1706.                           Email from Vaught to Moderators, "quick reminder about the queue",
                                09/28/2012
                                DOJ-BP-0000000607
1707.                           Email from Padilla, forwarded to Tanya Perkins, 09/28/2012
                                DOJ-BP-000444 7839-DOJ-BP-0004447840
1707-a                          Attachment. Spreadsheet with updated terms list
                                09/28/2012
                                DOJ-BP-0004535436 (BP-PSI-152104)
1708.                           Email to Perkins re "Evening Crew info", 11/19/2012
                                DOJ-BP-0000095912
1709.                           Email from Padilla to Perkins, "Moderating Big City" 03/06/2014
                                DOJ-BP-0000894719- DOJ-BP-0000894720
1710.                           Email to Tanya Perkins re Video Guidelines, 08/23/2014
                                DOJ-BP-0000136642- DOJ-BP-0000136643
1711.                           Email from Vaught to Perkins, "Activity Report 2/24/15" 02/26/2015
                                DOJ-BP-0003 71845 8
1711-a                          Attachment. Spreadsheet with activity report, 02/26/2015
                                DOJ-BP-0003718459
1712.                           Email from Crosbie to Perkins and Vaught, "Sex Act Images",
                                05/07/2015,
                                DOJ-BP-0000105777
1713.                           Email to Perkins and Vaught, "sex act image in ad", 05/15/2015
                                DOJ-BP-0000110969
1714.                           Email to Perkins and Vaught, "Ad Restore & Sex Act Images",
                                06/02/2015
                                DOJ-BP-000010 5773
1715.                           Email from Perkins, "bp26", 06/23/2015
                                DOJ-BP-0001273357
1716.                           Email from Hyer to Perkins, "Re: bp26", 06/23/2015,
                                DOJ-BP-000034 7655
1717.                           Business Record Ce1iification for Wayback Records, 11/19/2019
                                USAO-BP-0032904-USAO-BP-0032905


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urn.                               Ad entitled ...r mally ! ! .PS.b & U.r .b - Kimber Kae and MIA Mane
                                   Together BOOK NOW"
                                   Apr. 21, 2016
                     C, (2-2--/~   USAO-BP-0032907-USAO-BP-0032909
1719.                              Ad entitled "GFEE New - 18"
                                   Nov. 3, 2016
                                   USAO-BP-0032910-USAO-BP-0032911
1720.                              Ad entitled "Mind blowing Tiffany. Incall in Taunton- 37," with
                                   accompanying text "Soft GFE ... Im real and reviewed"
                                   Nov. 11, 2016
                                   USAO-BP-0032912-USAO-BP-0032913
1721.                              Ad entitled "Top Model 2016 Special 'Best Looking Young Asian'
                                   ... - 22," with accompanying text "Sexy Asian Girl Incall Service"
                                   and "GFE"
                                   Nov. 14, 2016
                                   USAO-BP-0032914-0032916
1722.                              Ad entitled "The True (G)irl (F)riend (E)xperience ... Visiting
                                   November 27th Sunday~ PRE-BOOKING SPECIAL~ - 100," with
                                   accompanying text "Let's blur restrictions between financial
                                   transaction & Romantic Connection"
                                   Nov. 19, 2016
                                   USAO-BP-0032918-USAO-BP-0032919
1723.                              Ad entitled "Top Asian Grand Opening 100% Young 100% Sexy ...
                                   -23," with accompanying text "BEST INCALL IN TOWN!" and
                                   "GFE"
                                   Nov. 24, 2016
                                   USAO-BP-0032923-0032924
1724.                              Ad entitled "I LOVE MEN!! I'm a GFE. OutCall and Incall with
                                   exception on the Incall! ! - 42"
                                   DOJ-BP-0005070394-DOJ-BP-0005070440 (ad begins at DOJ-BP-
                                   0005070416)
                                   Nov. 26, 2016
                                   USAO-0032925-0032927
1725.                              Ad entitled "OMG Sexy Sensual 36DD-24-36 Stacked College Coed
                                   With The Best Mouth Ever! BOOK NOW! -24," with accompanying
                                   text "I do ALL the things YOU Wish Your Wife Did!!" and
                                   "(G).(F).(E) 30 min/$180"
                                   Dec. 20, 2016
                                   USAO-BP-0032928-0032930
1726.                     ~        Ad entitled "Real & Reviewed Girlfriend Theonesweet.weebly.com -
                                   30," with accompanying text "250 G F E"
                                                    157
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                                         Jan. D, 201 I
                                         USAO-BP-03293 l-USAO-BP-0032933
1727.                                    Ad entitled "KISSING & GFE KOREAN GIRLS - 20"
                                         April 4, 2017
                     °t(L-2.. 1~         USAO-BP-0032934-0032935
1728.                                    Ad entitled "Pettit Sexy #Corey# 4407239339 - 30," with
                                         accompanying text "complete GFE experience"
                                         Apr. 11, 2017
                     Cj {i2       lz'?   USAO-BP-0032936-USAO-BP-0032937
1729.                                    Ad entitled "WANNA HANG OUT NOW UpScale New In Town!
                                         Call ME now for an unforgettable visit - 20," with accompanying text
                                         "100% GFE with 100% no Pimps"
                                         July 3, 2017
                                         USAO-BP-0032938-USAO-BP-0032940
1730.                                    Ad entitled "Ready for some fun daddy? This is your chance too have
                                         a amazing time - 21," with accompanying text "Slim body, nice tits,
                                         freaky, GFE"
                                         July 15, 2017
                                         USAO-BP-0032941-USAO-BP-0032943
1731.                                    Ad entitled "New in town BiGBubble Booty SWEETLiPS HOT
                                         BODY - 24," with "GFE" in accompanying text
                                         July 15, 2017
                                         USAO-BP-0032944-USAO-BP-0032946
1732.                                    Ad entitled "Pettit Sexy #Corey# 4407239339 - 30," with
                                         accompanying text "complete GFE experience"
                                         July 21, 2017

1733.
                              i
                              j
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                              I
                                         USAO-BP-0032947-USAO-BP-0032948
                                         Ad entitled "ASIAN GODDESS - 100% young-20," with
                              I
                            ~            accompanying text "100% Discreet service" and "#GFE"
                                         July 23, 2017
                                         USAO-BP-0032949-USAO-BP-0032950
1734.                                    Business Record Certification for Wayback Records, 06/27/2021
                                         USAO-BP-0032315-USAO-BP-0032317
1735.                                    Ad entitled "Sometimes It's All About The Journey, And The
                                         Destination ..... Erectile Dysfunctional
                                         G F E Provider - 44," with accompanying text "You can find a few
                                         current reviews at T3R xxxxxx#" and "I have been EROS
                                         authenticated"
                                         Nov. 14, 2016
                     Cf }1...?.. }1.?    USAO-BP-0032319-USAO-BP-0032321

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1 /j6,                          Busmess Kecord Cert111cat10n tor Uncnartered :sortware K.ecords
                                USAO-BP-0032951-0032953
1737.                           Ad involving P.R. entitled "50 Red
                                R*O*S*E*S S*P*E*C*I*A*L - DONT MISS OUT!!!!!"
                                Jan.27,2014
                                USAO-BP-0032954
1738.                           Ad involving P.R. entitled "75 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                Feb. 6,2014
                                USAO-BP-0032955
1739.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                Apr. 20, 2014
                                USAO-BP-0032956
1740.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONTMISS OUT!!!!!"
                                May 7, 2014
                                USAO-BP-0032957
1741.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                May 31, 2014
                                USAO-BP-0032958
1742.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                July 1, 2014
                                USAO-BP-0032959
1743.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                Aug. 19, 2014
                                USAO-BP-0032960
1744.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                Feb.26,2015
                                USAO-BP-0032961
1745.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                Sept. 13, 2015
                                USAO-BP-0032962
1746.                           Ad involving P.R. entitled "50 Red
                                R *O*S*E*S S*P*E*C*I* A *L - DONT MISS OUT!!!!!"
                                Nov. 28, 2015
                                               159
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1747.                           Email from Powell to Padilla, "Edit/Delete link. Need Help? We
                                believe you", 04/16/2014,
                                DOJ-BP-0004434509 - DOJ-BP-0004434511
1747-a                          Attachment Ad "Need help? We believe you",
                                DOJ-BP-0004434512
1748.

1748-a                          Attachment, Letter from Powell dated 05/17/2012
                                DOJ-BP-0004434512
1749.                           Email from Powell to abuse.backpage.com, "Ad report", 05/21/2012
                                DOJ-BP-0000035650 -DOJ-BP-0000035651
1750.                           Second Amended Complaint filed in Massachusetts, 12/29/2014
                                DOJ-BP-0004882204 - DOJ-BP-0004882252
1751.                           Photograph of Hyer and Fen-er at awards ceremony,
                                USAO-BP-0013
1752.                           Photograph of Hyer and Larkin at awards ceremony,
                                USAO-BP-0014
1753.                           Emails from Hyer and Fe1Ter, "RFT Piece", 06/09/2008
                                DOJ-BP-0002133381
1753-a                          Linked Article, "Oldest Profession 2.0, A new Generation of Local
                                Providers and Hobbyists Create a Vi1iual Red Light District",
                                USAO-BP-0002 - USAO-BP-0012
1754.                           Emails from Fe1Ter and Hyer, "Current Guidelines", 04/05/2010,
                                DOJ-BP-0000005970 - DOJ-BP-0000005971
1755.                           Miscellaneous emails re: Sarah Backpage rep01iing posts to
                                supervisors.
                                DOJ-BP-0002115786
                                DOJ-BP-0000154033
                                DOJ-BP-0000134638
                                DOJ-BP-0000134603
                                DOJ-BP-0000134233
                                DOJ-BP-0000134263
                                DOJ-BP-0000134306
                                DOJ-BP-0000134936
                                DOJ-BP-0000134788
                                DOJ-BP-0000134449
                                DOJ-BP-0000134853
                                DOJ-BP-0000134914
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                                DOJ-BP-000013443 7
                                DOJ-BP-0000134354
                                DOJ-BP-0000134311
                                DOJ-BP-000013444 7
                                DOJ-BP-0000134236
                                DOJ-BP-0000134515
                                DOJ-BP-0000134342
                                DOJ-BP-0000022489
                                DOJ-BP-0000020179
1756.                           Email between Joye Backpage and Support, 2/24/2012,
                                Support/Abuse (with attachment)
                                DOJ-BP-0000322392
1756-a                          Attachment. 2883_001.pdf
                                DOJ-BP-0000322393 -DOJ-BP-0000322394
1757.                           Email from Joye Backpage to Moderators, 2/27/2012, New email
                                address for "young" ads
                                DOJ-BP-0001208131
1758.                           Email from Joye Backpage to Abuse/Support, 5/11/2012, ncmec
                                reports coming from abuse (with attachment)
                                DOJ-BP-0000886771
1758-a                          Attachment. Samplencmecrepmis.doc
                                DOJ-BP-0000886772
1759.                           Email from Ray Backpage to Sarah Backpage, 6/15/2012, New
                                website banned in filter escmis use
                                DOJ-BP-000013 7360
1760.                           Email from Andrew Backpage to Moderators, 3/6/2014, Moderating
                                BigCity 030514
                                DOJ-BP-0000894719
1761.                           Email from Joye Backpage to Sarah Backpage, 4/14/2012, Re:
                                Resignation
                                DOJ-BP-0003715847
1762.                           Paula Selis notes, 6/30/11 to 3/1/12
                                DOJ-BP-0005069248 - DOJ-BP-0005069261
1763.                           Brian Fichtner Arrest WatTant and Affidavit,
                                USAO-BP-0032971 - USAO-BP-0032984
1764.                           Email from Spear to Ferrer, "Agenda and 2010 plans", 11/09/2009,
                                DOJ-BP-0000192980
1764-a                          Attachment. Backpage meeting and budget planning document 11-8-
                                09
                                DOJ-BP-0000192981 -DOJ-BP-0000192984
                                              161
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                 Date
           Marked    Admitted                               Description
Exhibit     For         In
 No.      Evidence   Evidence
1/6).                           Uocument titled tlaclcpage.com 1 aslcs Agenda tor r eb l u
                                management meeting at 11 :00 pm, 02/10/2010,
                                DOJ-BP-0004602420 -DOJ-BP-0004602421
1766.                           Emails from Mersey and F eITer, "flagged again", 10/26/2010,
                     q/,y h">   DOJ-BP-0000210637
1766-a                          Attachment. Sophie (backpage ad)
                                DOJ-BP-000021063 8
1767.                           Email from Padilla to moderators and FeITer, "flagged again:"
                        ,1      10/26/2010,
                                DOJ-BP-0000005066
1768.                           Email to Ferrer, "message from BACDALMP5501", 06/30/2015,
                                DOJ-BP-0003389869
1768-a                          Attachment. Bank Frick Tennination Letter
                                DOJ-BP-0003389870
1769.                           Email from Voigt to FeITer, Impmiant - Letter from your Acquire!',
                                07/03/2015
                                DOJ-BP0003833262
1769-a                          Attachment. Bank Frick Te1mination Letter
                                DOJ-BP-0003833263
1770.                           Developer task initiated by Hyer, "New World Order: Write Patch to
                                go Free at a moments notice (revised)", 07/03/2015,
                                DOJ-BP-0003833253 -DOJ-BP-0003833261
1771.                           Email to F e1Ter, Hyer, Padilla, "Processor Repmi 10-1-16",
                                10/02/2016,
                                USAO-BP-0033314
1771-a                          Attachment. Processor Repmi 10-1-16 (Spreadsheet)
                                USAO-BP-0033318
1772.                           Spreadsheet named Processor Reports 10-04-16
                                USAO-BP-0032988
1773.                           Site design screenshots for Free Speech Foundation
                                USAO-BP-0033317
1773-a                          Site design screenshots for Back.page link to Free Speech Foundation
                                USAO-BP-0033315

1773-b                          Site design screenshots for Donation Choices for Free Speech
                                Foundation
                                USAO-BP-0033316
1774.                           Photos of D.R.,
                                USAO-BP-0033310 - USAO-BP-0033311


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                 Date
          Marked     Admitted                               Description
Exhibit     For         In
 No.      Evidence   Evidence
l / /).                         D Robinson - Backpage Ad, Special's All Night (8) Satisfaction
                                guaranteed 7739163087 - 18, Chicago escorts, Posted 12/02/2016,
                                USAO-BP-0033188 - USAO-BP-0033189
1775-a                          D Robinson - Backpage Ad, New in town @ Upscale Model 773-
                                495-7179-18, Chicago escorts., Posted 12/12/2016,
                                USAO-BP-0033190- USAO-BP-0033230
1775-b                          D Robinson - Backpage Ad, New in town One Night Only Dont Miss
                                Out 773-495-7179 - 18, Indianapolis escorts, Posted 12/17/2016,
                                USAO-BP-0033231 -USAO-BP-0033233
1775-c                          D Robinson - Backpage Ad, Holiday Specials All Night @ Upscale
                                Model 773-495-7179- 18, Chicago escorts D.R., Posted 12/24/2016
                                USAO-BP-0033234 - USAO-BP-0033269
1776.

1777.

1778.

1779.                           Dr. Roe-Sepowitz CV
                                Notice of Expert Testimony, Doc 422-6
1780.                           Screenshot of Facebook page related to Victim #10 (Facebook
                                Messenger)
                                DOJ-BP-0005069056
1781.                           Emails between Victim #2 and Backpage
                                USAO-BP-0026426- USAO-BP-0026536
1781-a                          Selected Emails between Victim #2 and Backpage
                                USAO-BP-0026457, USAO-BP-0026435, USAO-BP-0026465,
                                USAO-BP-0026463, USAO-BP-0026440, USAO-BP-0026491-
                                USAO-BP-0026492, USAO-BP-0026485- USAO-BP-0026486,
                                USAO-BP-0026458, USAO-BP-0026493, USAO-BP-0026447,
                                USAO-BP-0026516, USAO-BP-0026529.
1782.                           Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                                DOJ-BP-0005068980
1782-a                          Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                                DOJ-BP-0005068979
1782-b                          Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                                DOJ-BP-0005068988
1782-c                          Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                                DOJ-BP-0005068981


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1782-d                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005068994
1782-e                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005069003
1782-f                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005068990
1782-g                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005068992
1782-h                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005068996
1782-i                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005069009
1782-j                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005068984
1782-k                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005069022
1782-1                       Photo of Victim 7 Extracted from Seattle Marketplace by Matt Frost
                             DOJ-BP-0005069033
1782-m                       Photo related to Victim 7 Extracted from Portland Marketplace by
                             Matt Frost
                             DOJ-BP-0005068972
1782-n                       Photo related to Victim 7 Extracted from Pmtland Marketplace by
                             Matt Frost
                             DOJ-BP-0005068958
1782-o                       Photo related to Victim 7 Extracted from Portland Marketplace by
                             Matt Frost
                             DOJ-BP-0005068962
1782-p                       Photo related to Victim 7 Extracted from Pmiland Marketplace by
                             Matt Frost
                             DOJ-BP-0005068960
1782-q                       Photo related to Victim 7 Extracted from Pmiland Marketplace by
                             Matt Frost
                             DOJ-BP-0005068965
1782-r                       Photo related to Victim 7 Extracted from Portland Marketplace by
                             Matt Frost
                             DOJ-BP-0005068969
1782-s                       Photo related to Victim 7 Extracted from Portland Marketplace by
                             Matt Frost
                             DOJ-BP-0005068971
1783.                        Email from Liz McDougall to Art Lee and Dominique Roe-Sepowitz,
                             "Re: Backpage.com Meeting", 10/2/2012,
                             DOJ-BP-0004516518 - DOJ-BP-0004516522
1784.                        Database Expmi of Ads posted for Victim #7 (User ID 19270312),
                             DOJ-BP-0005068974


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1784-a                       Database Export of images displayed with ads posted for Victim #7
                             (User ID 19270312)
                             DOJ-BP-0005068975
1784-b                       Database Export of images uploaded for ads posted for Victim #7
                             (User ID 19270312)
                             DOJ-BP-0005068976
1784-c                       Database Export of invoices for ads posted for Victim #7 (User ID
                             19270312)
                             DOJ-BP-0005068977
1784-d                       Database Export of User info Victim #7 (User ID 19270312)
                             DOJ-BP-0005068978
1785.                        Database Export of Ads posted for Victim #7 (User ID 11569009),
                             DOJ-BP-0005068953
1785-a                       Database Export of images displayed with ads posted for Victim #7
                             (User ID 11569009)
                             DOJ-BP-0005068954
1785-b                       Database Export of images uploaded for ads posted for Victim #7
                             (User ID 11569009)
                             DOJ-BP-0005068955
1785-c                       Database Export of User info for Victim #7 (User ID 11569009)
                             DOJ-BP-0005068952
1786.                        Misc. Emails from Det. Scott Carpenter to Back.page
                             BP-AZGJ00130576- BP-AZGJ00130577, DOJ-BP-0000139200-
                             DOJ-BP-0000139201, DOJ-BP-00044 74750
1786-a.                      Misc. Emails from Det. Scott Carpenter to Back.page (redacted)
                             BP-AZGJ00130576- BP-AZGJ00130577
1787.                        Ce1iification of Authenticity, ABC Nightline Broadcast 04/24/2012,
                             (Exh 1569)
                             USAO-BP-0033 84 7
1788.                        Ce1iification of Authenticity, PBS, A Path Appears Broadcast
                             01/26/2015,
                             USAO-BP-0033858
1789.                        A Path Appears, Episode One, initially broadcast January 2015,
                             USAO-BP-0033865
1790.                        Document titled NCMEC Training,
                             DOJ-BP-0000154034 -DOJ-BP-0000154039
1791.                        Business Record Certification by Carl Fen-er of Back.page Ads
                             USAO-BP-0034323 - USAO-BP-0034325
1792.                        Business Record Certification by Carl Ferrer ofBackpage Blog
                             Entries and Screen Captures
                             USAO-BP-0034326 - USAO-BP-0034327
1793.                        Email from McDougall, "Alissa", 03/28/2012,
                             DOJ-BP-0004902114 -DOJ-BP-0004902115
1794.                        Notes by Dr. Roe-Sepowitz during 9/2012 meeting with McDougall
                             USAO-BP-0015342
                                           165
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1795.                               Dallas Morning News Alticle, "New trick of the sex trade: Pimps can
                                    use retail giftcards to buy Backpage.com ads", 07/24/2017,
                                    USAO-BP-0033824 - USAO-BP-0033834
1796.                               Email from Spear to Larkin, Brnnst, Ferrer, "Principal's Meeting",
                                    01/31/2018,
                    q /'Ul-/z..,;   USAO-BP-0033835 - USAO-BP-0033836
1797.                               Backpage Ad, "Blonedes DO Have More FUN!!", 07/29/2014,
                                    USAO-BP-0026289
1798.                               Backpage Ad, "Sexy Brnnette Bombshell Waiting 4 You!",
                                    10/16/2014,
                                    USAO-BP-0026290
1799.                               Email to Ferrer from DNA Foundation, "Ads", 10/01/2011,
                                    DOJ-BP-0002125868
1799-a                              Attachment. Spreadsheet with information for proposed ads,
                                    DOJ-BP-0002128329
1799-b                              Attachment. Proposed ad design - Being a pimp is illegal,
                                    DOJ-BP-0002125869
1799-c                              Attachment. Proposed ad design - Purchasing sex with a minor is
                                    illegal
                                    DOJ-BP-0002125871
1799-d                              Attachment. Proposed ad design - Buying sex doesn't make you a
                                    man,
                                    DOJ-BP-0002125872
1799-e                              Attachment. Proposed ad design - Don't close your eyes,
                                    DOJ-BP-0002125873
1799-f                              Attachment. Proposed ad design - The Internet is not anonymous,
                                    DOJ-BP-0002125874
1799-g                              Attachment. Proposed ad design - If you are being forced to sell sex,
                                    DOJ-BP-0002125870
1800.                               Email to Mattin Elliott, "Backpage.xlsx" and attachment, 07/01/2015,
                                    VISA00821 - VISA 00831
1801.                               Email from Mattin Elliott, "FW: Backpage" and attachment,
                                    07/01/2015,
                                    VISA0832- VISA00842
1802.                               New York Times atticle written by Nicholas Kristof, "When Emily
                                    Was Sold for Sex", 02/12/2014,
                                    USAO-BP-0033837 - USAO-BP-0033839
1802-a                              Redacted version of Exh 1802,
                                    USAO-BP-0033837 - USAO-BP-0033839
1803.

1804.                               Wayne County Search Warrant response, 08/15/2015,
                                    DOJ-BP-0002176909 - DOJ-BP-0002177109
1805.                               Email from Fifer to Hemu, Spear, Ferrer, Lacey, Larkin, "FW:
                                    Backpage.com -AG Working Group", 10/07/2010,
                                                  166
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                            DOJ-BP-000196373 -DOJ-BP-000196374

1805-a                      Attachment. Letter from 8 Attorneys General dated 10/02/2009,
                            DOJ-BP-0000196375 -DOJ-BP-0000196377
1805-6                      Attachment. Letter to Attorneys General - Working Group dated
                            11/16/2009,
                            DOJ-BP-0000196378 -DOJ-BP-0000196380
1805-c                      Attachment. Letter to Attorneys General - Working Group dated
                            05/03/2010,
                            DOJ-BP-0000196381 -DOJ-BP-0000196386
1805-d                      Attachment. Letter to Attorneys General - Working Group dated
                            09/02/2010,
                            DOJ-BP-00001963 87 - DOJ-BP-00001963 90
1805-e                      Attachment. Letter from 21 Attorneys General dated 09/21/2010,
                            DOJ-BP-0000196391 -DOJ-BP-0000196393
1806.                       Emails between Lacey and Larkin, "Olympia Washington Hearing
                            and a few others 1 30 12", 02/01/2012,
                            Filter-In-Cam-0000001332 - Filter-In-Cam-0000001335
1807.                       Email from Larkin to F e1Ter, "Fwd: Back.page Forum Scandal",
                            04/26/2012,
                            Filter-In-Cam-0000001305 - Filter-In-Cam-0000001306
1808.                       Emails to and from Lacey, "I knew it would happen ... Sorry the
                            won ... ", 09/27/2012,
                            Filter-In-Cam-0000001322
1809.                       Email from Brunst to F e1Ter, "UK/Ireland revenue model",
                            12/06/2012,
                            Filter-In-Cam-0000001307
1809-a                      Attachment. Spreadsheet titled "UK/Ireland Launch",
                            Filter-In-Cam-0000001308
1810.                       Emails between Lacey and Margaret Larkin, Re Stmy about Senate
                            subcommittee, 07/13/2016,
                            Filter-In-Cam-0000001304
1811.                       Emails from Lacey, "Fwd: From Norma Jean: Fwd: [CSWRPUS]
                            Lets Fight Back: Join us as we counter-protest to keep Back.page
                            open", 06/15/2012,
                            Filter-In-Cam-0000001323 - Filter-In-Cam-0000001325
1812.                       Emails to and from Padilla, "personals and adult jobs queue
                            standards", 10/26/2010,
                            DOJ-BP-0001130207
1813.                       Email from Padilla to moderators, "suggestive phrases", 12/01/2010,
                            DOJ-BP-0000002628
1813-a                      Attachment. Spreadsheet named "stripped terms in adult 120110",
                            DOJ-BP-0000002629
1814.                       Emails between Hyer and Padilla, "User who calls us every day",
                            12/15/2010,
                                          167
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                                      DOJ-BP-0000010883 -DOJ-BP-0000010884

1815.                                 Email from Padilla to Fern·er, Hyer, "Re: Add to strip out",
                                      01/20/2011,
                                      DOJ-BP-0000209041
1816.                                 Emails from Vaught to moderator, "spacecoast.bakpage.com Report
                                      Ad to NCMEC," 07/11/2013,
                    q /1.o /2.1       DOJ-BP-0000158037 -DOJ-BP-0000158D39
1817.                                 Emails between Vaught and moderator, "removal request for Children
                                      of the Night 072215", 07/22/2015,
                    lj /'2-1 /?.?;,   DOJ-BP-0000106214 -DOJ-BP-0000106215
1818.                                 Emails between BP moderators, Re the term "Quickie", 03/15/2016,
                                      DOJ-BP-0000097128
1819.                                 Emails from Padilla and Vaught to Avion, "Allowed Terms",
                                      03/25/2016,
                    q /2-1 /z1;       DOJ-BP-0000092569 -DOJ-BP-0000092672
1820.                                 Email from Vaught, "AVPH", 08/04/2016,
                       ~              DOJ-BP-0000099719
1821.                                 Emails between Padilla and moderator, "report, this one came in from
                                      scottsdale pd", 04/08/2012,
                                      DOJ-BP-0000031268
1822.                                 Recreation of ad with Object ID 32845289 posted by Victim #14
                                      06/19/2015,
                                      USAO-BP-0033319- USAO-BP-0033327
1823.                                 Database Export of ad posted for Victim #14 (User ID 32818159)
                                      USAO-BP-0033561
1823-a                                Database Export of images displayed with ad posted for Victim #14
                                      (User ID 32818159)
                                      USAO-BP-0033562
1823-b                                Database Export of images uploaded for ad posted for Victim # 14
                                      (User ID 32818159)
                                      USAO-BP-0033563
1823-c                                Database Export of User info Victim #14 (User ID 32818159)
                                      USAO-BP-0033564
1824.                                 Published Decision from Washington State Supreme Court in J.S. v.
                                      Village Voice Media Holdings, L.L.C., 09/03/2015,
                                      USAO-BP-0034693 - USAO-BP-0034 718
1825.                                 Email from Nickel to Fe1Ter, "Fwd: Subpoenas/Warrants 9/01/10 -
                                      10/21/10", 10/22/2010,
                                      DOJ-BP-0002130639 -DOJ-BP-0002130640
1826.                                 Email from Vaught to moderators, "Links in ads", 04/11/2011,
                                      DOJ-BP-0002114816
1827.                                 Email from Lacey to Larkin, Fe1Ter "Re: Post Article on BP",
                                      01/31/2012,
                                      DOJ-BP-0000349502 -DOJ-BP-0000349504
                                                   168
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1827-a                           Redacted version of Exh 182 7
                   9/19 lez.?;   DOJ-BP-0000349502 - DOJ-BP-0000349504
1828.                            Email from Fe1Ter to Lacey, Larkin, "Re: Post Article on BP",
                                 01/31/2012,
                                 DOJ-BP-0000348762
1828-a                           Attachment: DenverFacebook
                                 DOJ-BP-0000348764 -DOJ-BP-0000348774
1828-b                           Attachment: Warrant 11-828 Jefferson County
                                 DOJ-BP-0000348775 - DOJ-BP-0000349498
1829.                            Email from Vaught to Padilla, "caught up on filters", 04/23/2012,
                  q/1q 121       DOJ-BP-0004434048
1829-a                           Attachment: FilterTerm42312.worked.xls
                                 DOJ-BP-0004434049
1830.                            Email message from Padilla to Fe1Ter, "Re: Filtered term with false
                     ~~
                                 positives", 05/11/2012,
                                 DOJ-BP-0000020687
1830-a                           Attachment: Spreadsheet - filter term - forbidden.xlsx
                                 DOJ-BP-0004434049
1830-b                           PDF of 1830-a; Spreadsheet
                  °i/ici{~
1831.                            Email from Fe1Ter, "Attachment", 11/02/2015,
                                 DOJ-BP-0001361290
1831-a                           Attachment: Spreadsheet - FilterTerm.csv
                                 DOJ-BP-0001361291
1832.                            BP Google alert received by Fe1Ter, "Indictment: Brock Franklin
                                 Used Molly and Fists in Child Sex Ring," 05/28/2016
                                 DOJ-BP-0004126194 -DOJ-BP-0004126195
1833.                            Email from Padilla, "privileged and confidential client attorney
                                 communication 041916", 04/19/2016
                                 DOJ-BP-0001352170
1833-a                           Attachment: Spreadsheet- FilterTerm.csv
                                 DOJ-BP-0001351271
1833-b                           Spreadsheet - FilterTe1m - PDF Version -(Alphabetical)
                                 DOJ-BP-0002114819 -DOJ-BP-0002114919
1834.                            Email from Fe1Ter, "This TER deal is done. I'm looking for help on
                                 how to do below:", 07/26/2007,
                                 DOJ-BP-0002134983 -DOJ-BP-0002134984
1834-a                           Attachment: Final Logo CMYK
                                 DOJ-BP-0002134984
1835.                            Email from Staff@ TER to Ferrer, "Here is our stuff', 09/25/2007,
                   ct/,,'; h?J   DOJ-BP-0002135170 - DOJ-BP-0002135171 (
1835-a                           Attachment: ter 1 (TER Profile-Showing backpage banner)
                                 DOJ-BP-0002135172
                      ~...-
1835-b                           Attachment: ter2 (TER Review-Showing backpage banner)
                                 DOJ-BP-0002135173
                                               169
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1835-c                                Attachment: ter3 (New Reviews-Phoenix)
                   9/1'7 /1-,;,,,     DOJ-BP-0002135174
1835-d                                Attachment: ter4 (Search Reviews-Showing Cityvibe banner)
                                      DOJ-BP-0002135175
1836.                                 Email from Fe1Ter to Padilla, Back.page employee and urban.pimp,
                                      "Re: Fwd: please edit", 11/09/2007,
                                      DOJ-BP-0002125490
1837.                                 Emails from Hyer and Ferrer, "Moving adult and personals clean up
                                      to dallas", 03/13/2008
                       l
                   ,o v::1 '" Q       DOJ-BP-0002125428
1838.                                 Email from FeITer, "Re: FW: Changes in Monterey", 03/24/2008,
                                      DOJ-BP-0001388172 -DOJ-BP-0001388176
1839.                                 Email to Ferrer, "Re: Columbus, OH", 03/28/2008,
                                      DOJ-BP-0002133479
1840.                                 Email from FeITer, "Re: dallas.backpage.com Support Ticket. .. ",
                                      03/28/2008,
                                      DOJ-BP-0002133477
1841.                                 Email from Spear to Fener, "URLs", 04/01/2008,
                    q Ii 'J /z/J;J    DOJ-BP-0002133475
1842.                                 Email to F e1Ter, Padilla, "Fwd: I need better customer service",
                                      04/02/2008,
                                      DOJ-BP-0001388100
1842-a                                Attachment: Email "I need better customer service", 04/02/2008,
                                      DOJ-BP-0001388101
1843.                                 Email to Fener, "PHX clean up", 04/02/2008,
                                      DOJ-BP-0001388097
1844.                                 Email to Fener, "links for review", 04/10/2008,
                                      DOJ-BP-0002133439
1845.                                 Email to FeITer, "links to be reviewed", 04/14/2008,
                                      DOJ-BP-0002133437
1846.                                 Email to Fe1Ter, "links to be reviewed", 04/14/2008,
                                      DOJ-BP-0002133435
1847.                                 Email from Fe1Ter, "Progress Repmt", 04/19/2008,
                                      DOJ-BP-0002134 798
1847-a                                Attachment. Spreadsheet "Export_pdx",
                                      DOJ-BP-0002134799
1848.                                 Email from Spear to Ferrer, "talking points doc", 05/29/2008,
                                      DOJ-BP-0001391451
1848-a                                Attachment. "Adult talking points",
                                      DOJ-BP-0001391452
1849.                                 Email copying Fe1Ter, "TER-Backpage Links.xls", 06/11/2008,
                    9 / I7-J }-z_?;   DOJ-BP-000213 5191
1849-a                                Attachment. Spreadsheet "TER-Backpage Links.xls",
                           i          DOJ-BP-0002135192

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1850.                       Email to Fen-er, "Fwd: RE: bp/ ter links 5/6/08", 06/13/2008,
                            DOJ-BP-0002134834
1850-a                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/6/08", 05/07/2008
                            DOJ-BP-0002134835 -DOJ-BP-0002134836
1850-b                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/7/08", 05/07/2008
                            DOJ-BP-000213483 7
1850-c                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/8/08", 05/09/2008
                            DOJ-BP-0002134838 - DOJ-BP-0002134839
1850-d                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/9/08", 05/10/2008
                            DOJ-BP-0002134840 -DOJ-BP-0002134845
1850-e                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/12/08", 05/13/2008
                            DOJ-BP-0002134846
1850-f                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/13/08", 05/13/2008
                            DOJ-BP-0002134847
1850-g                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/14/08", 05/15/2008
                            DOJ-BP-0002134848 -DOJ-BP-0002134854
1850-h                      Attachment. Email, from staff(ci)theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/15/08", 05/16/2008
                            DOJ-BP-0002134855 -DOJ-BP-0002134858
1850-i                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/16/08", 05/17/2008
                            DOJ-BP-0002134859 -DOJ-BP-0002134861
1850-j                      Attachment. Email, from staff(ci),theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/19/08", 05/20/2008
                            DOJ-BP-0002134862 -DOJ-BP-0002134866
1850-k                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/20/08", 05/21/2008
                            DOJ-BP-0002134867 -DOJ-BP-0002134868
1850-1                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/21/08", 05/22/2008
                            DOJ-BP-0002134869 -DOJ-BP-0002134870
1850-m                      Attachment. Email, from staff@theeroticreview.com to
                            staff(a),backpage.com, "RE: bp / ter links 5/22/08", 05/23/2008
                            DOJ-BP-0002134871 -DOJ-BP-0002134873
1850-n                      Attachment. Email, from staff@theeroticreview.com to
                            staff@backpage.com, "RE: bp / ter links 5/27/08", 05/28/2008
                            DOJ-BP-0002134877 -DOJ-BP-0002134878


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1850-o                                Attachment. Email, from staff<mtheeroticreview.com to
                                      staff@backpage.com, "RE: bp I ter links 5/29/08", 05/30/2008
                                      DOJ-BP-0002134879 -DOJ-BP-0002134884
1850-p                                Attachment. Email, from staff@theeroticreview.com to
                                      staff@backpage.com, "RE: bp I ter links 5/30/08", 06/03/2008
                                      DOJ-BP-0002134885 -DOJ-BP-0002134886
1850-q                                Attachment. Email, from staff(cu,theeroticreview.com to
                                      staff(a),backpage.com, "RE: bp I ter links 6/6/08", 06/07/2008
                                      DOJ-BP-0002134887
1850-r                                Attachment. Email, from staff@theeroticreview.com to
                                      staff@backpage.com, "RE: bp I ter links 6/9/08", 06/10/2008
                                      DOJ-BP-0002134888 -DOJ-BP-0002134890
1850-s                                Attachment. Email, from staff@theeroticreview.com to
                                      staff@backpage.com, "RE: bp I ter links 6/10/08", 06/11/2008
                                      DOJ-BP-0002134891 -DOJ-BP-0002134892
1851.                                 Email from Peffer, copying Hyer, "Re: Willamette Week's Marketing
                                      Efforts (summary)", 06/17/2008,
                     9 Ji-,, j,7.?J   DOJ-BP-0002136271 -DOJ-BP-0002136272
1851-a                                Attachment. Preview.pdf,
                                      DOJ-BP-0002136273 -DOJ-BP-0002136286
1851-b                                Attachment. J avascript.doc,
                                      DOJ-BP-000213 6287 -DOJ-BP-000213 6289
1852.                                 Email from staff@backpage.com to admin@theeroticreview (copying
                                      Ferrer), "bp/ ter links 11/25/08", 11/25/2008,
                                      DOJ-BP-0002133060 -DOJ-BP-0002133061
1853.                                 Email from staff@backpage.com to admin@theeroticreview, "bp/ ter
                                      links 3", 12/02/2008,
                                      DOJ-BP-0002133044
1854.                                 Email from staff@backpage.com to admin@theeroticreview (copying
                                      Peffer), "bp/ ter links 4", 12/08/2008,
                                      DOJ-BP-0002133030 -DOJ-BP-0002133031
1855.                                 Email from staff@backpage.com to admin@theeroticreview (copying
                                      Ferrer), "bp/ ter kinks 5", 12/13/2008,
                                      DOJ-BP-0002133022 -DOJ-BP-0002133024
1856.                                 Email from staff@backpage.com to admin@theeroticreview (copying
                                      Ferrer), "bp/ ter links 6", 12/17/2008,
                                      DOJ-BP-0002132998 -DOJ-BP-0002132999
1857.                                 Email from Ferrer to admin@theeroticreview.com, "Fwd: bp/ter links
                                      (hey <lave)", 12/17/2018,
                     G /r? /2 1,      DOJ-BP-0002133012
1857-a.                               Attachment. Email to Peffer from staft@backpage.com, "bpi ter
                           I
                                      links", 12/17/2008,
                                      DOJ-BP-0002133013
1857-b.                  .l,~
                                      Email from staff@backpage.com to admin@theeroticreview, "bp/ ter
                                      links 3", 12/02/2008,
                                                   172
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                               DOJ-BP-0002133016

1858.                                Email from staff@backpage.com to admin@theeroticreview (copying
                                    •Ferrer), "bpi ter links 7", 12/20/2008,
                                     DOJ-BP-0002132977 - DOJ-BP-0002132978
1859.                                Email from staff@backpage.com to admin@theeroticreview (copying
                                     Ferrer) "bp/ ter links 8" 12/23/2008
                                            '
                                     DOJ-BP-0002132972         '            '
                                                             -DOJ-BP-0002132973
1860.                                Email from staff@backpage.com to admin@theeroticreview (copying
                                     Ferrer), "bp/ter links 9", 01/06/2009,
                                     DOJ-BP-0002132953 -DOJ-BP-0002132954
1861.                                Email from staft@backpage.com to admin@theeroticreview (copying
                                     Ferrer), "bp /ter links 10", 01/09/2009,
                                     DOJ-BP-0002132945 -DOJ-BP-0002132946
1862.                                Email from staff@backpage.com to admin@theeroticreview (copying
                                     Ferrer), "Fwd: ter/bp links 18", 02/18/2009,
                   9./ t '1 {1..?:, DOJ-BP-0002132785
1862-a.                              Email from staff@backpage.com to admin@theeroticreview, "ter/bp
                                     links 18", 02/11/2009,
                                     DOJ-BP-0002132786 -DOJ-BP-0002132787
1863.                                Email from staff@backpage.com to admin@theeroticreview (copying
                                     Ferrer), "bp/ ter links 19", 02/19/2009,
                                     DOJ-BP-0002132758 -DOJ-BP-0002132760
1864.                                Email from staff@backpage.com to admin@theeroticreview (copying
                                     Ferrer), "bp/ ter links 20", 02/20/2009,
                                     DOJ-BP-0002132752 -DOJ-BP-0002132754
1865.                                Email from Ferrer, "Fwd: Re: report", 03/25/2009,
                                     DOJ-BP-0002134996
1865-a.                              Attachment. "cList_Bad",
                                     DOJ-BP-0002134997 - DOJ-BP-0002135154
1865-b.                              Attachment. "cList Active"
                                     DOJ-BP-0002135155 -DOJ-BP-0002135168
1866.                                Email to Ferrer, "Here all done!!!!!", 03/27/2009,
                                     DOJ-BP-0002134700
1866-a.                              Attachment. Spreadsheet "links",
                                     DOJ-BP-0002134701
1867.                                Email to Ferrer, "New Links", 04/22/2009,
                                     DOJ-BP-0002134 786
1867-a.                              Attachment. Spreadsheet "Apr20",
                                     DOJ-BP-0002134701
1868.                                Email to Ferrer, "Re: TER Mistakes", 04/22/2009,
                                     DOJ-BP-0002135309 -DOJ-BP-0002135310
1868-a.                              Attachment. "bp_links.txt",
                                     DOJ-BP-0002135311 -DOJ-BP-0002135466


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1869.                               Email to Ferrer, "Possibly LSL terms", 05/28/2009,
                                    DOJ-BP-0002125269
1870.                               Email to Ferrer, "Latest Batch", 05/15/2009,
                                    DOJ-BP-0002134703
1870-a.                             Attachment. Spreadsheet "May 14 TER",
                                    DOJ-BP-0002134 704
1871.                               Email from Hyer to Ferrer, "Fwd: Retention Report", 06/15/2009
                                    DOJ-BP-0002134626
1871-a.                             Attachment. Spreadsheet "Abatement Retention",
                                    DOJ-BP-0002134627
1872.                               Email to Ferrer, "Re: Fwd: cleaned up version ofletter", 07/06/2009,
                                    DOJ-BP-0004428649
1872-a.                             Attachment. "Bp.com Letter",
                                    DOJ-BP-0004428650
1873.                               Email from Hyer to Ferrer, "Re: Question", 01/14/2010,
                                    DOJ-BP-0002131361 -DOJ-BP-0002131366
1874.                               Email to Ferrer, "Adult escort ad", 11/12/2010,
                     q /,~ {'2-'1   DOJ-BP-0002135725
1874-a.                  .}         Attachment. "DOC 111210-003 ",
                                    DOJ-BP-0002135726 -DOJ-BP-0002135729
1875.                               Email to Ferrer, "Re: http://admin
                                    .www.backpage.com/classifieds/central/ManageAds?
                                    use1-kankimkum@yahoo.com", 09/22/2010,
                                    DOJ-BP-0002135177
1875-a                              Attachment. Ad: "Hot & Sexy Brunette for your pleasure $75 special
                                    -25"
                                    DOJ-BP-0002135178 -DOJ-BP-0002135179
1875-b                              Attachment. Ad: "~75~Special Redbone-21"
                                    DOJ-BP-0002135180 - DOJ-BP-0002135181
1875-c                              Attachment. Ad: : "~ Miss Red Bone Tiffany~ 75 - 21"
                                    DOJ-BP-0002135182 - DOJ-BP-0002135183
1875-d                              Attachment. Ad: "~~~Super Thick ~4 ~Chocolate Lovers~~~ - 25"
                                    DOJ-BP-0002135184
1875-e                              Attachment. Ad: "~~~Super Thick ~4 ~Chocolate Lovers75~~~Off
                                    270 - 26"
                                    DOJ-BP-000213 5185
1875-f                              Attachment. Ad: "Super Thick~ $75 Special North
                                    Co~GFE~5914508 - 26"
                                    DOJ-BP-000213 586 - DOJ-BP-000213 5187
1875-g                              Attachment. Ad: "Warning: Extremely Thick- 26",
                                    DOJ-BP-0002135188 -DOJ-BP-0002135189
1876.                               Email to Ferrer, "Re: I am a $2000 Month advertising client",
                                    01/11/2011,
                                    DOJ-BP-0002134629 -DOJ-BP-0002134631

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 1877.                                Email from Padilla to Fe1Ter, "delete whole ad te1ms (draft)",
                                      02/07/2011,
                                      DOJ-BP-0002134897
 1877-a.                              Attachment. Spreadsheet "delete whole ad (draft)",
                                      DOJ-BP-0002134898
 1878.                                Email from Hyer, "RE: Discount code", 02/16/2011,
                                      DOJ-BP-0000208943 - DOJ-BP-0000208944
 1879.                                Email to Hyer and Fe1Ter, "Re: Discount Code", 02/21/2011,
                                      DOJ-BP-0000189874 -DOJ-BP-0000189890
 1880.                                Email from Padilla to Ferrer, Vaught, "Re: Fwd: C01Tupt Files",
                                      04/30/2011,
                                      DOJ-BP-0002134934 -DOJ-BP-0002134935
 1880-a.                              Attachment. "admin.indianapolis.nuvo.net- 2011-04-30",
                                      DOJ-BP-0002134936
 1881.                                Email to Fe1Ter, Padilla, "BP 5.17", 05/19/2011,
                       °I/\Ci {11.3   DOJ-BP-0002135712
 1881-a.                              Attachment. "BP 5 .1 7",
                           t          DOJ-BP-0002135713 -DOJ-BP-0002135715
 1882.                                Email from Larkin to Lacey, "Fwd: C. Fe1Ter letter to J. McCoy",
                                      08/04/2011,
                                      DOJ-BP-0000006669
 1883.                                Email from Ferrer to Julie McCoy, "Re: Follow up: Additional
                                      information on web based verification", 08/04/2011,
                                      DOJ-BP-0000006086
 1883-a.                              Attachment. "Letter to J. McCoy- Seattle- 8-4-2011-1",
                                      DOJ-BP-0000006087 -DOJ-BP-0000006098
 1884.                                Email to Hyer, "Sales emails cheat sheet", 08/23/2011,
                                      DOJ-BP-0000195503
 1884-a.                              Attachment. "sales replies",
                                      DOJ-BP-0000195504 -DOJ-BP-0000195516
 1885.                                Email from lindsey@backpage.com, "Sales Replies", 11/10/2011,
                                      DOJ-BP-00044 293 80
., 1885-a.                            Attachment. "sales replies",
                                      DOJ-BP-0004429381 -DOJ-BP-0004429391
 1886.                                Email from Hyer to Fe1Ter, "Re: Update on your escorts postings",
                                      03/26/2012
                                      DOJ-BP-0000327980 - DOJ-BP-0000327985
 1887.                                Email from Fe1Ter to Larkin, Spear, Bmnst, "Fwd: monthly review by
                                      section and category", 01/09/2013,
                                      DOJ-BP-0002 724644
 1887-a.                              Attachment. Spreadsheet: "Monthly Reviiew by Section and
                                      Category",
                                      DOJ-BP-0002 724645
 1888.                                Email to Padilla, Fe1Ter, Hyer, Bmnst, Larkin, Spear, "Page View and
                                      Revenue by Category Rep01is 012813 - 020313", 02/05/2013,
                                                    175
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                               DOJ-BP-0002724811

1888-a.                       Attachment. Spreadsheet: "Page View Growth Post CL change 2-3-
                              13",
                              DOJ-BP-0002724812
1888-b.                       Attachment. Spreadsheet: "revenue by category 012813-020313",
                              DOJ-BP-0002 724813
1889.                         Email from Fe1Ter to Padilla, Hyer, Brunst, Larkin, Spear, "Re: Page
                              View and Revenue by Category Reports O12813 - 020313",
                              02/05/2013,
                              DOJ-BP-0002724814
1890.                         Email from Fe1Ter to Spear, Brunst, "Update (PCI and DC),
                              02/07/2013,
                              DOJ-BP-0002724843
1890-a.                       Attachment. "Colocation Agreement 16-01-2013 DesertNet LLC",
                              DOJ-BP-0002724844 - DOJ-BP-0002724846
1891.                         Email from Fe1Ter to Spear, "Fwd: move to top by day updated",
                              02/18/2013,
                              DOJ-BP-0002 724948
1891-a.                       Attachment. Spreadsheet: "ad count by day",
                              DOJ-BP-0002724949
1892.                         Email from Spear, "Backpage AG Presentation v. 2", 08/28/2009,
                              DOJ-BP-0002127565
1892-a.                       Attachment. "AG presentation 8_28_ 2009v2.ppt",
                              DOJ-BP-0002127566 -DOJ-BP-0002127588
1893.                         Email from Spear to Adams, "ppt", 12/05/2009,
                              DOJ-BP-0002127337
1893-a.                       Attachment. "Backpage 2010 Budget Presentation-detail version 4
                              with notes 12-05-09.ppt",
                              DOJ-BP-0002127338 -DOJ-BP-0002127371
1894.                         Email from Spear to Fe1Ter, "Presentation", 12/06/2009,
                              DOJ-BP-0002127380
1894-a.                       Attachment. "Backpage Adult Content Training Session v2 12-05-
                              09.ppt",
                              DOJ-BP-0002127381 -DOJ-BP-0002127387
1894-b.                       Attachment. "Backpage Adult Content Training Session v3 12-05-
                              09.ppt",
                              DOJ-BP-0002127388 -DOJ-BP-0002127394
1895.                         Email from Adams to Fe1Ter, Spear, "2010 Backpage.com Budget/
                              Powerpoint- Finals", 12/10/2009
                              DOJ-BP-0002127432
1895-a.                       Attachment. Spreadsheet. 2010 Backpage Budget - Final 12-10-09",
                              DOJ-BP-0002128333
1895-b.                       Attachment. "Backpage 2010 Budget Presentation-detail version 4
                              with notes JA 12-10-09",
                                            176
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                             DOJ-BP-0002127433 -DOJ-BP-0002127468

1895-c.                      Sub exhibit to 1895-b; 4 pages ofBackpage 2010 Budget Presentation

1896.                        Email from Lacey to O1iega, "Re: Update?", 03/19/2012,
                   9/i9 h7   DOJ-BP-0004834481
1897.                        Email from Larkin to Lacey, "Records", 03/19/2012,
                             DOJ-BP-0004834485
1898.                        Email from Larkin to Lacey, "Fwd: Google Ale1i- backpage.com",
                             03/19/2012,
                             DOJ-BP-0004834486
1899.                        Email from Lacey to Larkin, [No subject]-Here's what is clear at this
                             point, 03/19/2012,
                             DOJ-BP-0004834476
1900.                        Email from Lacey to O1iega, [No subject]-pls drop Kristof an email,
                             03/20/2012,
                             DOJ-BP-00048343 72
1901.                        Emails between Lacey and Ortega, "Re: From TonyO at the Village
                             Voice", 03/20/2012,
                             DOJ-BP-0004834359
1902.                        Emails between Lacey and Ortega, "Re: From TonyO at the Village
                             Voice", 03/20/2012,
                             DOJ-BP-0004834358
1903.                        Email from Lacey to Larkin, [No subject]-here is first pass. Your eyes
                             only, 03/20/2012,
                             DOJ-BP-0000870360
1903-a.                      Attachment. "Kristof',
                             DOJ-BP-0000870361
1904.                        Email from Lacey to Larkin, [No subject]-this has been tweeked a bit,
                             03/20/2012,
                             DOJ-BP-0000870354
1904-a.                      Attachment "Kristof3 ",
                             DOJ-BP-0000870355 -DOJ-BP-0000870356
1905.                        Emails between Larkin and Lacey, [No subject]-in kristof's response
                             this am, 03/21/2012,
                             DOJ-BP-0004834336
1906.                        Email from Larkin, copying Brunst, "2012-03-23 NAAG Response
                             Doc Combined", 03/24/2012,
                             DOJ-BP-0004485 852
1906-a.                      Attachment "2012-03-23 NAAG Doc-Combined",
                             DOJ-BP-0004485853 -DOJ-BP-0004485875
1907.                        Email from Lacey to Larkin, [No subject]-take a look at attached,
                             04/03/2012,
                             DOJ-BP-0004485986


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1907-a.                             Attachment "Liz #2",
                                    DOJ-BP-0004485987 - DOJ-BP-0004485990
1908.                               Email from Larkin to Ortega,Lacey, "Fwd: Ernie Allen, Pres./CEO
                                    National Center for Missing and Exploited Children@ Dayton Ohio
                                    Daily News/Backpage Law Enforcement Cooperation", 04/19/2012,
                                    DOJ-BP-0000870380
1908-a.                             Attachment. Backpage Law Enforcement Kudos
                                    DOJ-BP-0000870381 -DOJ-BP-0000870390
1909.                               Email from McDougall to F e1Ter, Vaught, Padilla, "Fwd:
                                    Backpage.com", 01/21/2015,
                                    DOJ-BP-0004486441 -DOJ-BP-0004486444
1909-a.                             Redacted version of Exh 1909
                     9 l1..o h::;   DOJ-BP-0004486441 -DOJ-BP-0004486444
1910.                               Email from McDougall to Padilla, "ABC News questions for
                                    Backpage.com",
                                    DOJ-BP-0004486403 -DOJ-BP-0004486409
1911.                               Email from Lacey to K. Ferris re "legalized prostitution," 04/08/2012
                                    DOJ-BP-0004485960
1911-a.                             Attachment, "final liz to staff.doc",
                                    DOJ-BP-0004485961 -DOJ-BP-0004485964
1911-b.                             Redacted version of Exh 1911
                     q/,ci /z..,    DOJ-BP-000448 5960
1912.                               Email to Spear, "Analytics backpage.com 20111231 ", 01/01/2012,
                                    DOJ-BP-0004810770
1912-a.                             Attachment, "Analytics_backpage.com_20111231",
                                    DOJ-BP-0004810771
1913.                               Email to Spear, "Analytics backpage.com 20120114", 01/15/2012,
                                    DOJ-BP-0004811110
1913-a.                             Attachment, "Analytics_backpage.com_20120114",
                                    DOJ-BP-0004811111
1914.                               Email to Spear, "Analytics backpage.com 20120127", 01/28/2012,
                                    DOJ-BP-0004811421
1914-a.                             Attachment, "Analytics_backpage.com_2012012 7",
                                    DOJ-BP-0004811422
1915.                               Email to Spear, "Analytics backpage.com 20120210", 02/11/2012,
                                    DOJ-BP-0004811804
1915-a.                             Attachment, "Analytics_backpage.com_2012021 0",
                                    DOJ-BP-0004811805
1916.                               Email to Spear, "Analytics backpage.com 20120228", 03/01/2012,
                                    DOJ-BP-0004812314
1916-a.                             Attachment, "Analytics_backpage.com_20120228",
                                    DOJ-BP-0004812315
1917.                               Email to Spear, "Analytics backpage.com 20120312", 03/13/2012,
                                    DOJ-BP-0004812578

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1917-a.                              Attachment, "Analytics_backpage.com_20120312",
                                     DOJ-BP-0004812579
1918.                                Email to Spear, "Analytics backpage.com 20120330", 03/31/2012,
                                     DOJ-BP-0004813023
1918-a.                              Attachment, "Analytics_backpage.com_20120330",
                                     DOJ-BP-0004813024
1919.                                Email to Spear, "Analytics backpage.com 20120416", 04/17/2012,
                   °t/\q l ·2.'3     DOJ-BP-0004813492
                                     Attachment, "Analytics_backpage.com_20120416",
1919-a.
                       ~             DOJ-BP-0004813493
1919-b.                              Version of Exh 1919-a, Pages 1 - 2 only,
                                     DOJ-BP-0004813493
1920.                                Email to Spear, "Analytics backpage.com 20120501", 05/02/2012,
                                     DOJ-BP-0004813796
1920-a.                              Attachment, "Analytics_backpage.com_20120501",
                                     DOJ-BP-0004813 797
1921.                                Email to Spear, "Analytics backpage.com 20120514", 05/15/2012,
                                     DOJ-BP-0004814077
1921-a.                              Attachment, "Analytics_backpage.com_ 20120514",
                                     DOJ-BP-0004814078
1922.                                Email to Spear, "Analytics backpage.com 20120529", 05/30/2012,
                    9/1.1;; i-z."'   DOJ-BP-0004814366
1922-a.                              Attachment, "Analytics_backpage.com_ 20120529",
                                     DOJ-BP-0004814367
1922-b.                              Version ofExh 1922-a, Pages 1 - 2 only,
                    q/zo /it>J       DOJ-BP-0004814367
1923.                                Email to Spear, "Analytics backpage.com 20120603", 06/04/2012,
                                     DOJ-BP-0004814483
1923-a.                              Attachment, "Analytics_backpage.com_20120603 ",
                                     DOJ-BP-0004814484
1924.                                Email from Ferrer to Spear, Larkin, Brunst, "Fwd: Google Analytics
                                     Page Views by Category", 02/18/2013,
                                     DOJ-BP-0004810235
1924-a.                              Attachment. Spreadsheet. Google Analytics Page Views by Category
                                     DOJ-BP-0004810236
1924-b.                              Attachment, "Analytics Raw Data Profile Section Page views per visit
                                     20130118-20130217",
                                     DOJ-BP-000481023 7
1925.                                Email from Brunst to Fe1Ter, Larkin, Spear, "Re: Google Analytics
                                     Premium", 12/04/2013,
                   q /·z.o /7..1     DOJ-BP-0002721860 -DOJ-BP-0002721863
1926.                                Email from Fe1Ter to Spear, Brunst, Larkin, "Fwd: High Level
                                     Observations on Backpage.com Analytics for Ql board meeting",
                                     01/06/2014,
                                     DOJ-BP-0002711614 -DOJ-BP-000271615
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1927.                                 Email from Hyer to Fe11'er, "Ter Project", 06/23/2009
                                      DOJ-BP-002132328
1928.                                 Emails from Ferrer and Padilla, "Strip out or ban GFE and PSE",
                                      10/18/2010,
                     9 / 1'-t Ii.-?   DOJ-BP-0002124205
1929.                                 Email from Fe11'er to McDougall, "Re: Hey Liz ... hope I have your
                                      email c01Tect.", 02/16/2012,
                                      DOJ-BP-0004526458
1929-a.                               Attachment. Emails to Fe1Ter and McDougall, 02/15/2012,
                                      DOJ-BP-0004526459 -DOJ-BP-0004526460
1930.                                 Email from Fe1Ter to McDougall, Larkin, Lacey, Moon, "Fwd: New
                                      Classified Intelligence Report: 'Prostitution ads are back on
                                      Craigslist' and more ... ", 05/24/2012,
                                      DOJ-BP-0004524343 -DOJ-BP-0004524344
1930-a.                               Attachment. Classified Intelligence Report, 05/24/2012,
                                      DOJ-BP-0004524345 -DOJ-BP-0004524363
1931.                                 Emails to and from Ferrer, "Search Goldmine", 09/20/2012,
                                      DOJ-BP-0003435436 -DOJ-BP-0003435441
1931-a.                               Attachment. Search terms in Goldmine - PDF,
                                      DOJ-BP-0003435442 -DOJ-BP-0003435449
1932.                                 Emails from Fe1Ter and McDougall, "Playboy Inquiry", 3/12/2014,
                                      DOJ-BP-0004526051 - DOJ-BP-0004526053
1933.                                 Email from McDougall to Larkin, Lacey, Moon, Ferrer, [No subject],
                                      11/15/2014,
                                      DOJ-BP-0004526461
1933-a.                               Attachment. PowerPoint presentation. "Backpage.com anti-CHILD
                                      SEX Trafficking Public-Private Partnerships"
                                      DOJ-BP-0004526462 -DOJ-BP-0004526471
1934.

1935.                                 Email from Fe1Ter to Spear, "Re: Fwd: BP.com Budget and
                                      Presentation Summary", 12/14/2008,
                     ~Jr,, I 2.?      DOJ-BP-0000193698 -DOJ-BP-0000193699
1935-a.                               Attachment: "Analytics_backpage.com_20081201-
                                      20081213 _(SearchEnginesreport).pdf',
                                      DOJ-BP-0000193700 -DOJ-BP-0000193701
1935-b.                               Attachment. "notes.doc"
                                      DOJ-BP-0000193 702 - DOJ-BP-0000193 704
1936.                                 Developer Issue Log, "Add an Action to the filter terms", 09/07/2010,
                                      DOJ-BP-0000194961 -DOJ-BP-0000194962
1937.                                 Email from Fe1Ter to Larkin and others, "Re: TMZ is holding the
                                      story for a day", 01/18/2012,
                                      Needs Bates
1937-a.                               Attachment: "CL Massage Ads with Adult Reviews",
                                      Needs Bates
                                                    180
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1938.                              Email from Fen-er copying Lacey and Larkin, "Specifics on the
                                   Kendale 'Ace' Judge", 01/24/2012,
                                   DOJ-BP-0004901206
1938-a.                            Attachment: "Subpoena Kings County 111411",
                                   Needs Bates
1939.                              Article, Kristof: "Where Pimps Peddle Their Goods", 03/17/2012,
                                   Needs Bates
1939-a.                            Photo from Article: ""Where Pimps Peddle Their Goods", 03/17/2012
                                   Needs Bates
1939-b.                            Video from Article: "Sold on Backpage at 16", 03/17/2012
                                   Needs Bates
1940.                              Email to Fen-er, "Re:Question on Ter ads and links", 05/06/2008,
                                   DOJ-BP-0002133407
1941.                              Email to Fen-er, "new template for la", 11/08/2008,
                   Cf/1':J/2..-;   DOJ-BP-0002133132
1941-a.                 }          Attachment: TER Promo template
                                   DOJ-BP-0002133133
1942.                              Email to Fe1Ter, "Re: affiliate bonus", 12/23/2008,
                                   DOJ-BP-000213 297 5
1943.                              Email to Fen-er, "Re: Second batch of new markets needing a little
                                   content", 12/24/2008,
                                   DOJ-BP-0002132966 -DOJ-BP-0002132967
1944.                              Email from Fen-er to Padilla, "Dave at TER has some more legal
                                   problems this weekend", 02/16/2009,
                   CJ/1, '2"3      DOJ-BP-0002132791
1945.                              Email to Ferrer, "this client just got busted for prostitution this
                                   morning", 02/19/2009,
                                   DOJ-BP-0002132756
1946.                              Email from Spear to Fe1Ter and Hyer, "Fwd: Re: Revised TER
                                   Animated Gifs", 02/19/2009,
                   q/,, /?-~       DOJ-BP-0002132765
1946-a.                            Attachment: Email to Spear "Re: Revised TER Animated Gifs",
                                   02/19/2009,
                                   DOJ-BP-0002132766
1946-b.                            Attachment: BP_escorts_ 140x60_revised_4.gif
                                   DOJ-BP-0002132767
1947.                              Email to Fe1Ter, "bp ter links", 02/20/2009,
                                   DOJ-BP-0002132741
1947-a.                            Attachment: TERI 8
                                   DOJ-BP-0002132742 -DOJ-BP-0002132744
1947-b.                            Attachment: TERI 9
                                   DOJ-BP-0002132745 -DOJ-BP-0002132747
1947-c.                            Attachment: TER20
                                   DOJ-BP-0002132748 -DOJ-BP-0002132750


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1948.                              Email from FeITer, "Fwd: bp ter links", 02/21/2009,
                                   DOJ-BP-0002132730
1948-a.                            Attachment: TERl 8
                                   DOJ-BP-0002132731 - DOJ-BP-0002132733
1948-b.                            Attachment: TERl 9
                                   DOJ-BP-0002132734 -DOJ-BP-0002132736
1948-c.                            Attachment: TER20
                                   DOJ-BP-0002132737 -DOJ-BP-0002132739
1949.                              Email to FeITer, "Re: Fwd: ter username", 05/15/2009,
                                   DOJ-BP-0002132458
1950.                              Email to FeITer, "Fwd: Re: advertising", 05/23/2007,
                                   DOJ-BP-0002134247 -DOJ-BP-0002134249
1951.                              Email to Ferrer, "ter reciprocals", 08/20/2007,
                                   DOJ-BP00002134070
1952.                              TER Provider Profile with phone number matching ad for Count 29,
                                   USAO-BP-0037242 - USAO-BP 0037243
1952-a.                            Review of "Tiffany" dated August 2016
                                   USAO-BP-0037240- USAO-BP-0037241
1952-b.                            Review of "Tiffany" dated October 2016
                                   USAO-BP-0037239
1953.                              TER Provider Profile with phone number matching ad for Count 30
                                   and Count 33,
                    ~ o I11,,/2~   USAO-BP-0037245 - USAO-BP-0037246
1953-a.                            Review of "Candy" dated October 2016
                        ~          USAO-BP-0037244
1953-b.                            Search Result for phone number from ad for Count 30 and Count 33
                                   USAO-BP-0037247
1954.                              TER Provider Profile with phone number matching ad for Count 35,
                                   USAO-BP-0037255 - USAO-BP-0037257
1954-a.                            Review of "Rae Monroe" dated October 2015
                                   USAO-BP-0037248- USAO-BP-0037249
1954-b.                            Search Result for phone number from ad for Count 35
                                   USAO-BP-003 7251
1955.                              TER Provider Profile with Email address matching ad for Count 35,
                                   USAO-BP-0037253 - USAO-BP-0037254
1955-a.                            Review of"Kayla Fox and Milan" dated October 2017
                                   USAO-BP-003 7250
1955-b.                            Search Result for Email address from ad for Count 35
                                   USAO-BP-0037252
1956.                              TER Provider Profile with phone number matching ad for Count 36,
                                   USAO-BP-0037261- USAO-BP-0037262
1956-a.                            Review of"Sweer Vero/ Sweetveronica / Veronica" dated September
                                   2015,
                                   USAO-BP-0037259

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1956-b.                      Review of "Sweer Vero / Sweetveronica / Veronica" dated March
                             2016
                             USAO-BP-0037258
1956-c.                      Search Result for phone number from ad for Count 36
                             USAO-BP-003 7260
1957.                        TER Provider Profile with Phone number matching ads for Count 38
                             and Count 42,
                             USAO-BP-0037265 - USAO-BP-0037267
1957-a.                      Review of "Corey" dated June 2017,
                             USAO-BP-003 7264
1957-b.                      Review of "Corey" dated March 2016
                             USAO-BP-0037263
1957-c.                      Search Result for phone number from ad for Count 38 and Count 42
                             USAO-BP-003 7268
1958.                        TER Provider Profile with Phone number matching ad for Count 44
                             USAO-BP-0037271- USAO-BP-0037273
1958-a.                      Review of "Kitra" dated January 2018,
                             USAO-BP-003 7269
1958-b.                      Search Result for phone number from ad for Count 44
                             USAO-BP-0037270
1959.                        1st of 8 TER Provider Profiles with phone number matching ad for
                             Count46
                             USAO-BP-0037300 - USAO-BP-0037301
1959-a.                      Review of "YoYo" dated December 201 7,
                             USAO-BP-003 7280
1959-b.                      Review of "YoYo" dated February 2018
                             USAO-BP-0037263
1959-c.                      Search Result for phone number from ad for Count 46
                             USAO-BP-0037288- USSAO-BP-0037289
1960.                        2nd of 8 TER Provider Profiles with phone number matching ad for
                             Count46
                             USAO-BP-0037296- USAO-BP-0037297
1960-a.                      Review of "Tina" dated July 201 7,
                             USAO-BP-003 7283
1961.                        3rd of 8 TER Provider Profiles with phone number matching ad for
                             Count46
                             USAO-BP-0037294
1961-a.                      Review of"Macy" dated June 2017,
                             USAO-BP-0037281
1962.                        4th of 8 TER Provider Profiles with phone number matching ad for
                             Count 46
                             USAO-BP-0037298- USAO-BP-0037299
1962-a.                      Review of "Toy" dated December 2016,
                             USAO-BP- 0037282

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1962-b.                                Review of "Toy" dated January 2017
                                       USAO-BP-0037279
1963.                                  5th of 8 TER Provider Profiles with phone number matching ad for
                                       Count 46
                                       USAO-BP-0037284- USAO-BP-0037285
1963-a.                                Review of "CheITie" dated January 2017,
                                       USAO-BP- 0037276
1964.                                  6th of 8 TER Provider Profiles with phone number matching ad for
                                       Count 46
                                       USAO-BP-0037290- USAO-BP-0037291
1963-a.                                Review of "Lily" dated March 2016,
                                       USAO-BP- 0037278
1965.                                  7th of 8 TER Provider Profiles with phone number matching ad for
                                       Count 46
                                       USAO-BP-0037286 - USAO-BP-0037287
1965-a.                                Review of "Cici" dated January 2016,
                                       USAO-BP- 0037277
1966.                                  8th of 8 TER Provider Profiles with phone number matching ad for
                                       Count 46
                                       USAO-BP-0037292- USAO-BP-0037293
1966-a.                                Review of "Lucy" dated November 2015,
                                       USAO-BP- 0037274
1967.                                  1st of 2 TER Provider Profiles with phone number matching ad for
                                       Count 49
                    10/ p.. / 1..'>?   USAO-BP-0037306- USAO-BP-0037308
1967-a.                                Review of "Lissa / Annalise" dated January 2018
                                       USAO-BP-0037304
1967-b.                   'Ir-         Review of "Lissa/ Annalise" dated March 2018
                                       USAO-BP-0037303
1967-c.                                Search Result for phone number from ad for Count 49
                                       USAO-BP-0037305
1968.                                  2nd of 2 TER Provider Profiles with phone number matching ad for
                                       Count 49
                                       USAO-BP-0037309- USAO-BP-0037310
1968-a.                                Review of"Lissa / Annalise and Lori" dated February 2015
                                       USAO-BP-0037302
1969.                                  1st of 2 TER Provider Profiles with phone number matching ad for
                                       Count 51
                                       USAO-BP-0037315- USAO-BP-0037316
1969-a.                                Search Result for phone number from ad for Count 51
                                       USAO-BP-0037312
1970.                                  2nd of 2 TER Provider Profiles with phone number matching ad for
                                       Count 51
                                       USAO-BP-0037313 - USAO-BP-0037314


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1970-a.                          Review of "Hana" dated November 2019
                                 USAO-BP-0037311
1971.                            TER Provider Profile with phone number matching ad in Exhibit
                                 1546,
                   lo /12. /z.'? USAO-BP-0037319- USAO-BP-0037320
1971-a.                          Review of "Rachel" dated August 2013
                                 USAO-BP-0037317
1971-b.                 .,;;     Search Result for phone number from ad in Exhibit 1546
                                 USAO-BP-0037318
1972.                            The Erotic Review Advanced Search page as of 05/19/2023
                                 USAO-BP-0037340- USAO-BP-0037343
1973.                            The Erotic Review Guidelines for Submitting Reviews page as of
                                 05/19/2023
                                 USAO-BP-0037328 - USAO-BP-0037329
1974.                            The Erotic Review About Us page as of 05/19/2023
                                 USAO-BP-003 7321
1975.                            The Erotic Review Terms and Conditions as of 05/19/2023
                                 USAO-BP-0037330 - USAO-BP-0037339
1976.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering 10/01/2013 - 10/31/2013,
                                 USAO-BP-037344- USAO-BP-037345
1977.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering 11/01/2013 - 11/30/2013,
                                 USAO-BP-037346- USAO-BP-037347
1978.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering 12/01/2013 - 12/31/2013,
                                 USAO-BP-037348- USAO-BP-037349
1979.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering O1/01/2014 - 01/31/2014,
                                 USAO-BP-037350- USAO-BP-037351
1980.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring §ites covering 02/01/2014 - 02/28/2014,
                                 USAO-BP-037352..::: USAO-BP-037353
1981.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering 03/01/2014- 03/31/2014,
                                 USAO-BP-037354 - USAO-BP-037355
1982.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering 04/01/2014- 04/30/2014,
                                 USAO-BP-037356- USAO-BP-037357
1983.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering 05/01/2014 - 05/31/2014,
                                 USAO-BP-037358 - USAO-BP-037359
1984.                            Google Analytics Report showing Referrals to Backpage.com from
                                 top 10 referring sites covering 06/0l/2014-06/30/2014,
                     9 /U> /'LJ USAO-BP-037360 - USAO-BP-037361

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1985.                              Google Analytics Repmi showing Referrals to Backpage.com from
                                   top 10 referring sites covering 07/01/2014-07/31/2014,
                                   USAO-BP-037362 - USAO-BP-037363
1986.                              Google Analytics Repmi showing Referrals to Backpage.com from
                                   top 10 referring sites covering 08/01/2014 - 08/31/2014,
                                   USAO-BP-037364 - USAO-BP-037365
1987.                              Google Analytics Repmi showing Referrals to Backpage.com from
                                   top 10 refe11'ing sites covering 09/0l/2014-09/30/2014,
                                   USAO-BP-037366 - USAO-BP-037367
1988.                              Google Analytics Report showing Referrals to Backpage.com from
                                   top 10 referring sites covering 11/01/2014-11/30/2014,
                                   USAO-BP-037368 - USAO-BP-037369
1989.                              Google Analytics Report showing Refe11'als to Backpage.com from
                                   top 10 refe11'ing sites covering 12/1/2014-12/31/2014,
                  °' ll..6 fi_:3   USAO-BP-037370 - USAO-BP-037371
1990.                              Google Analytics Report showing Refet1'als to Backpage.com from
                                   top 10 refe11'ing sites covering O1/01/2015 - 01/31/2015,
                                   USAO-BP-037372- USAO-BP-037373
1991.                              Google Analytics Repmi showing Referrals to Backpage.com from
                                   top 10 refetTing sites covering 02/01/2015 - 02/28/2015,
                                   USAO-BP-037374- USAO-BP-037375
1992.                              Google Analytics Repmi showing RefetTals to Backpage.com from
                                   top 10 refe11'ing sites covering 03/01/2015 - 03/31/2015,
                                   USAO-BP-037376 - USAO-BP-037377
1993.                              Google Analytics Report showing Referrals to Backpage.com from
                                   top 10 refetTing sites covering 04/01/2015 - 04/30/2015,
                                   USAO-BP-037378- USAO-BP-037379
1994.                              Google Analytics Report showing Referrals to Backpage.com from
                                   top 10 refe11'ing sites covering 05/01/2015 - 05/31/2015,
                                   USAO-BP-037380 - USAO-BP-037381
1995.                              Google Analytics Report showing Referrals to Backpage.com from
                                   top 10 refe11'ing sites covering 06/01/2015 - 06/30/2015,
                  q /1-1 l,..?:J   USAO-BP-037382 - USAO-BP-037383
1996.                              Google Analytics Repmi showing Refet1'als to Backpage.com from
                                   top 10 referring sites covering 07/01/2015 - 07/31/2015,
                                   USAO-BP-037384- USAO-BP-037385
1997.                              Google Analytics Report showing Refe11'als to Backpage.com from
                                   top 10 referring sites covering 08/01/2015 - 08/31/2015,
                                   USAO-BP-037386 - USAO-BP-037387
1998.                              Google Analytics Repmi showing Referrals to Backpage.com from
                                   top 10 refe11'ing sites covering 09/01/2015 - 09/30/2015,
                                   USAO-BP-037388 - USAO-BP-037389
1999.                              Google Analytics Report showing Refe11'als to Backpage.com from
                                   top 10 refetTing sites covering 10/01/2015 - 10/31/2015,
                                   USAO-BP-037390 - USAO-BP-037391
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2000.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 refeffing sites covering 11/01/2015 - 11/30/2015,
                  q/'1...1 h?J USAO-BP-037392- USAO-BP-037393
2001.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 referring sites covering 12/01/2015 -12/31/2015,
                               USAO-BP-037394- USAO-BP-037395
2002.                          Google Analytics Report showing Refeffals to Backpage.com from
                               top 10 referring sites covering 0l/0l/2016-01/31/2016,
                               USAO-BP-037396 - USAO-BP-037397
2003.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 refening sites covering 02/01/2016 - 02/29/2016,
                               USAO-BP-037398- USAO-BP-037399
2004.                          Google Analytics Report showing Refeffals to Backpage.com from
                               top 10 referring sites covering 03/01/2016 - 03/31/2016,
                               USAO-BP-037400 - USAO-BP-037401
2005.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 referring sites covering 04/01/2016 - 04/30/2016,
                               USAO-BP-037402 - USAO-BP-037403
2006.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 refe1Ting sites covering 05/01/2016 - 05/31/2016,
                               USAO-BP-037404- USAO-BP-037405
2007.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 referring sites covering 06/01/2016 - 06/30/2016,
                               USAO-BP-037406 - USAO-BP-037407
2008.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 referring sites covering 07/01/2016 - 07/31/2016,
                               USAO-BP-037408 - USAO-BP-037409
2009.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 refe1Ting sites covering 08/01/2016 - 08/31/2016,
                               USAO-BP-037410- USAO-BP-037411
2010.                          Google Analytics Report showing RefeITals to Backpage.com from
                               top 10 referring sites covering 09/01/2016 - 09/30/2016,
                               USAO-BP-037412- USAO-BP-037413
2011.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 referring sites covering 10/01/2016 - 10/31/2016,
                               USAO-BP-037414- USAO-BP-037415
2012.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 referring sites covering 11/01/2016 - 11/30/2016,
                               USAO-BP-037416- USAO-BP-037417
2013.                          Google Analytics Rep01i showing Referrals to Backpage.com from
                               top 10 referring sites covering 12/0l/2016-12/31/2016,
                               USAO-BP-037418- USAO-BP-037419
2014.                          Google Analytics Report showing Referrals to Backpage.com from
                               top 10 referring sites covering 0 1/01/2017 - 01 /31/201 7,
                               USAO-BP-037420- USAO-BP-037421
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2015.                       Google Analytics Rep01t showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 02/01/2017 - 02/28/2017,
                            USAO-BP-037422 - USAO-BP-037423
2016.                       Google Analytics Rep01t showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 03/01/2017 - 03/31/2017,
                            USAO-BP-037424 - USAO-BP-037425
2017.                       Google Analytics Rep01t showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 04/01/2017 - 04/30/2017,
                            USAO-BP-037426 - USAO-BP-037427
2018.                       Google Analytics Report showing Refe1Tals to Backpage.com from
                            top 10 refeITing sites covering 05/0l/2017-05/31/2017,
                            USAO-BP-037428 - USAO-BP-037429
2019.                       Google Analytics Rep01t showing RefeITals to Backpage.com from
                            top 10 refeITing sites covering 06/01/2017 - 06/30/2017,
                            USAO-BP-037430- USAO-BP-037431
2020.                       Google Analytics Report showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 07/01/2017 - 07/31/2017,
                            USAO-BP-037432 - USAO-BP-037433
2021.                       Google Analytics Rep01t showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 08/01/2017 - 08/31/2017,
                            USAO-BP-037434 - USAO-BP-037435
2022.                       Google Analytics Rep01t showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 09/01/2017 - 09/30/2017,
                            USAO-BP-037436 - USAO-BP-037437
2023.                       Google Analytics Report showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 10/01/2017 - 10/31/2017,
                            USAO-BP-037438 - USAO-BP-037439
2024.                       Google Analytics Report showing Referrals to Backpage.com from
                            top 10 refeITing sites covering 11/01/2017 - 11/30/2017,
                            USAO-BP-037440 - USAO-BP-037441
2025.                       Google Analytics Report showing RefeITals to Backpage.com from
                            top 10 refeITing sites covering 12/01/2017 - 12/31/2017,
                            USAO-BP-037442 - USAO-BP-037443
2026.                       Google Analytics Rep01t showing Referrals to Backpage.com from
                            top 10 refe1Ting sites covering O1/01/2018 - 01/31/2018,
                            USAO-BP-037444 - USAO-BP-037445
2027.                       Google Analytics Rep01t showing Referrals to Backpage.com from
                            top 10 refe1Ting sites covering 02/01/2018 - 02/28/2018,
                            USAO-BP-037446- USAO-BP-037447
2028.                       Google Analytics Rep01t showing Refe1Tals to Backpage.com from
                            top 10 refe1Ting sites covering 03/01/2018 - 03/31/2018,
                            USAO-BP-037448- USAO-BP-037449
2029.                       Google Analytics Rep01t showing Refe1Tals to Backpage.com from
                            top 10 refe1Ting sites covering 04/01/2018 - 04/30/2018,
                            USAO-BP-037450- USAO-BP-037451
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2030.                                Demonstrative Exhibit Illustrating Backpage Aggregation Process,
                   9/i-z..h_~        USAO-BP-0037222
2031.                                Demonstrative Exhibit Illustrating Backpage Reciprocal Link
                        i            Program Process,
                                     USAO-BP-003 7223
2032.                                Ernie Allen Notes to File - Telephone Call, 11/30/2010,
                                     DOJ-BP-0004742221 - DOJ-BP-0004742223
2033.                                Ernie Allen Notes: Backpage Meeting, 03/01/2011,
                                     DOJ-BP-0004742224 - DOJ-BP-0004742226
2034.                                Ernie Allen Notes - Meeting with Don Moon, 03/31/2011,
                                     DOJ-BP-0004742227
2035.                                Staca Shehan Notes from Meetings on 04/19/2012, 07/30/2012 and
                                     08/27/2013,
                                     DOJ-BP-0004742251 - DOJ-BP-0004742256
2036.                                Email from Megan Lundstrom, Fw: BP Arrest 2012 Vail CO"
                                     09/11/2021
                                     USAO-BP-0034751
2036-a.                              Attachment: Backpage Ad dated 11/29/2012 "New In Town ...
                                     Bubbly Blonde ... Lets Play -26"
                    lol1c.;,h..3     USAO-BP-0034733
2037.                                Email from Larkin to Brunst, copying Ferrer and Spear, "cnn letter",
                                     02/01/2011,
                                     DOJ-BP-0000006061
2037-a.                              Attachment, "CNN letter to Vigilante O1.28.11.pdf'
                                     DOJ-BP-0000006062 - DOJ-BP-0000006065
2037-b.                              Redacted version of Exh 2037-a
                                     DOJ-BP-0000006062 - DOJ-BP-0000006065
2038.                                Email sent by Brunst, "response letter to cnn", 02/01/2011 ,
                                     USAO-BP-003 7828
2039.                                Email sent by Larkin, copying Brunst, "per our conversation this
                                     morning: the best media advice I've had re: GS.", 03/28/2012,
                                     DOJ-BP-0004848252
2040.                                Email sent by Brunst, "heads up", 03/27/2012,
                                     USAO-BP-0037948
2041.                                Email sent by Larkin, copying Brunst, "Fwd: VVM governance",
                                     03/27/2012,
                    q ln:z.. /i..~   USAO-BP-0037950
2042.                                Email sent by Brunst, "CP stock purchase and revised operating
                         ~           agreement", 05/09/2012,
                                     USAO-BP-0037593
2043.                                Email sent by Brunst, "deal points", 05/10/2012,
                                     USAO-BP-0037954
2044.                                Screenshots of Ad Posting Process by Det. Eric Murry, 02/09/2017,
                   1,b/11..   /q     DOJ-BP-0004874598 - DOJ-BP-0004874624


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2045.                                Email from Ferrer to Lacey, Larkin, Brunst, Spear, "Fwd:
                                     Organization Chait Vl.0",
                    CJ /2..1 /2-     DOJ-BP-0002718094
2045-a.                              Attachment, "OrganizationChatt5.8.13 .pdf'
                                     DOJ-BP-0002718095
2046.                                Archive.org capture of backpage.com Dallas Esc01ts page 1 for
                                     02/09/2008,
                    ~o /11 I 2.:1,
2047.                                Email to Ferrer, Lacey, Larkin, Spear, "Notice: RUSH/Correction re:
                                     Sunday broadcasts - scheduled for Feb. 6, 2011 ",
                                     DOJ-BP-0000196074 -DOJ-BP-0000196081

1049-b.                              Presentation; Backpage.com June 2014; 22 Pages

0489a-                               Clip from Exhibit 489a
l.
0489a-                               Clip from Exhibit 489a
2.
0489a-                               Clip from Exhibit 489a
3.
1569-f                               Clip from Exhibit 1569 (08:23-08:24)
                                     USAO-BP-0033845-USAO-BP-0033846
0131a                                Letter from Anti-Trafficking Experts to Larkin and VVM Board of
                                     Directors, 12/02/2011 - Redacted
                                     DOJ-BP-0004866580- DOJ-BP-0004866585




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 No.      Evidence   Evidence




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                 Date
           Marked    Admitted                        Description
Exhibit     For         In
 No.      Evidence   Evidence




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